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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       MDL No. 3076
                                CASE NO. 1:23-md-03076-KMM

   IN RE:

   FTX Cryptocurrency Exchange Collapse MDL Litigation
   _______________________________________________

   THIS DOCUMENT RELATES TO:

   Bank Defendants
         O’Keefe v. Sequoia Capital Operations, LLC, et al.,
         S.D. Fla. Case No. 1:23-cv-20700
         O’Keefe v. Farmington State Bank d/b/a Moonstone
         Bank, et al., E.D. Wa. Case No. 2:23-cv-00213-TOR

   Multinational VC Defendants
         O’Keefe v. Sequoia Capital Operations, LLC, et al.,
         S.D. Fla. Case No. 1:23-cv-20700
         O’Keefe v. Temasek Holdings (Private) Ltd., et al.,
         N.D. Cal. Case No. 3:23-cv-3655
         Chernyavsky et al. v. Temasek Holdings (Private) Ltd.,
         et al., S.D. Fla. Case No. 1:23-cv-22960
         Cabo et al. v. Temasek Holdings (Private) Ltd. et al.,
         N.D. Cal. Case No. 3:23-cv-03974

   Promoter Defendants
         Garrison, et al. v. Bankman-Fried, et al., S.D. Fla.
         Case No. 22-cv-23753
         Garrison, et al. v. Kevin Paffrath, et al., S.D. Fla. Case
         No. 23-cv-21023
   ________________________________________________________/

     PLAINTIFFS’ OMNIBUS MOTION TO LIFT DISCOVERY STAY AND FOR LEAVE TO
      CONDUCT JURISDICTIONAL DISCOVERY, AND, IF NECESSARY TO AMEND
      THEIR COMPLAINTS WITH ANY FACTS ARISING FROM SUCH DISCOVERY
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          Plaintiffs respectfully move the Court to enter an order: (1) lifting the stay of discovery

   imposed during the pendency of Sam Bankman-Fried’s Trial, [ECF Nos. 318, 336]; (2) granting

   Plaintiffs leave to (a) take brief jurisdictional discovery from the following Defendants, prior to a

   ruling on Defendants’ arguments to dismiss the actions against them for lack of personal

   jurisdiction or insufficient service of process: Steph Curry, Golden State Warriors LLC (“GSW”),

   Solomid Corporation (“TSM”), Naomi Osaka, Udonis Haslem, Lawrence Gene David, Andre Jikh,

   Jeremy LeFebvre, Graham Stephan, Jaspreet Singh, Erika Kullberg, Brian Jung, Creators Agency

   LLC (“CA”), SoftBank Group Corp., SoftBank Investment Advisers (UK) Limited, SoftBank

   Global Advisers Limited, Temasek Holdings (Private) Limited, Temasek International USA LLC,

   Sino Global Capital Holdings LLC, Farmington State Bank d/b/a Moonstone Bank

   (“Moonstone”), Deltec Bank and Trust Company Limited (“Deltec”), and Jean Chalopin; and (b)

   to file any amendments to the Administrative Complaints or oppositions to the pending motions

   within twenty (20) days after completing that brief jurisdictional discovery, so Plaintiffs may

   incorporate any additional facts that support personal jurisdiction over these Defendants and

   address arguments raised in all Defendants’ motions to dismiss.

                                           BACKGROUND

          Since before this MDL was created, the Promoter Defendants’ 1 primary argument was that

   Florida courts had no jurisdiction over them because neither they nor FTX conducted any

   substantial business regarding FTX in this state.


   1
     The “Promoter Defendants,” for purposes of this Motion, are defined as Steph Curry, Golden
   State Warriors LLC (“GSW”), Solomid Corporation (“TSM”), Naomi Osaka, Udonis Haslem,
   Lawrence Gene David, Andre Jikh, Jeremy LeFebvre, Graham Stephan, Jaspreet Singh, Erika
   Kullberg, Brian Jung, and CA. The “Bank Defendants,” for purposes of this Motion, are
   Moonstone, Deltec, and Jean Chalopin; the “VC Defendants” are SoftBank Group Corp., SoftBank
   Investment Advisers (UK) Limited, SoftBank Global Advisers Limited, Temasek Holdings
   (Private) Limited, Temasek International USA LLC, and Sino Global Capital Holdings LLC.


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            In Garrison v. Bankman-Fried, No. 1:22-cv-23753-KMM (“Garrison”), Plaintiffs filed a

   motion for leave to conduct jurisdictional discovery as to Defendants Curry, David, GSW, and

   Osaka, 2 and Udonis Haslem, based on the same jurisdictional arguments they raise in their now-

   pending motion to dismiss. See Garrison, ECF No. 163, attached as Exhibit A. The Court denied

   that motion as moot when the Court granted the Garrison Plaintiffs leave to amend their complaint,

   [ECF No. 207] which included, among other materials, the Declaration of Dan Friedberg, where

   he explained that FTX’s Vice President of Business Development, Avi Dabir, “operated from our

   Miami office, and he was focused on formulating and executing our important FTX celebrity

   partnerships.” [ECF No. 205-1, ¶¶ 20–25].

            The Garrison Plaintiffs maintained, however, that if “any FTX Defendant decides to renew

   any arguments, and/or raise additional arguments as to personal jurisdiction directed to that

   Amended Complaint, even in light of this new jurisdictional information, Plaintiffs respectfully

   submit that brief jurisdictional discovery (brief depositions and targeted discovery) may be

   necessary, consistent with the orders on discovery entered by Chief Judge Altonaga, Judge Altman,

   and Magistrate Judge Reid in the related Voyager Digital class actions pending before this Court.”

   [ECF No. 202].

            Also before this MDL, in Garrison v. Paffrath, No. 23-21023-CIV-ALTONAGA/Damian

   (“Paffrath”), Defendants Jikh, LeFebvre, Stephan, Singh, Kullberg, Jung, and CA also moved to

   dismiss on the same jurisdictional grounds they now raise here. After considering the Paffrath

   Parties’ Joint Report on Discovery, 3 Chief Judge Altonaga entered an Order, 4 ruling “[t]he Court



   2
       Defendant Shohei Ohtani as well, though he no longer contests personal jurisdiction here.
   3
       Paffrath, [ECF No. 93], attached as Exhibit B.
   4
       Id., [ECF No. 96], attached as Exhibit C.


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   finds that jurisdictional discovery is appropriate; additional jurisdictional facts need not be alleged

   in Plaintiffs’ pleading,” and granted Plaintiffs leave to conduct jurisdictional discovery—written

   requests and depositions—against Defendants Jikh, LeFebvre, Stephan, Singh, Kullberg, Jung, and

   CA. Further, Chief Judge Altonaga stayed any and all briefing on motions to dismiss under Federal

   Rule of Civil Procedure 12(b)(6) pending completion of jurisdictional discovery and the filing of

   operative complaints and motions to dismiss for lack of personal jurisdiction and/or to transfer

   venue. Id.

          Once this MDL was consolidated before this Court, however, these same Defendants

   renewed their claim that Plaintiffs are not entitled to jurisdictional discovery, ignoring that the

   Court already found these same allegations sufficient to trigger Plaintiffs’ “qualified right to

   jurisdictional discovery.” See Am. Civil Liberties, Union of Fla. v. City of Sarasota, 859 F.3d 1337,

   1341 (11th Cir. 2017).

          Shortly after Plaintiffs filed their Consolidated Amended Complaints, The Promoter

   Defendants, the Bank Defendants, and the Foreign VC Defendants all moved to dismiss the claims

   against them for lack of personal jurisdiction or for insufficient service of process.

          Given that Sam Bankman-Fried’s trial was imminent, the Court granted Mr. Bankman-

   Fried’s and the Government’s request to stay discovery in these proceedings pending the

   completion of Mr. Bankman-Fried’s criminal trial. [ECF Nos. 318, 336]. The Court ruled, however,

   that Plaintiffs may seek to lift the stay and renew this request for jurisdictional discovery when Mr.

   Bankman-Fried’s trial was over. [ECF No. 336].




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            On November 2, 2023, Mr. Bankman-Fried’s trial concluded when the jury returned a

   verdict finding him guilty on all seven counts. 5 Accordingly, Plaintiffs respectfully ask the Court

   at this stage to lift the stay and to grant Plaintiffs leave to conduct limited jurisdictional discovery,

   and to afford a very brief period (20 days) following that discovery to file any amendments to the

   Administrative Complaints or oppositions to the pending motions, especially because Courts

   routinely allow such amendments to cure pleading deficiencies in service of the general principle

   that “decisions on the merits are not to be avoided on the basis of ‘mere technicalities.’” Castros

   v. Signal Fin. Co. LLC, 1:17-CV-21870-KMM, 2018 WL 1137099, at *1 (S.D. Fla. Feb. 4, 2018)

   (Moore, C.J.) (collecting cases). 6

       I.      LEGAL ARGUMENT

            Florida’s long-arm statute provides for both general and specific personal jurisdiction. The

   Court has general personal jurisdiction over a defendant who has been “engaged in substantial and

   not isolated activity within this state ... whether or not the claim arises from that activity.” Fla. Stat.

   § 48.193(2). Specific jurisdiction exists for claims arising out of certain discrete acts of a defendant

   that occur in Florida, including “[c]omitting a tortious act within this state.” Fla. Stat. §

   48.193(1)(a)(2) (2022).



   5
          https://www.reuters.com/legal/ftx-founder-sam-bankman-fried-thought-rules-did-not-
   apply-him-prosecutor-says-2023-11-02/ (accessed November 3, 2023).
   6
            Granting Plaintiffs’ request would comport with the “policy of the federal rules []to permit
   liberal amendment to facilitate determination of claims on the merits and to prevent litigation from
   becoming a technical exercise in the fine points of pleading,” particularly where the proposed
   amendment would not violate any scheduling order in place and there is no “substantial reason” to
   deny the amendment, which “could include ‘undue delay, bad faith or dilatory motive, repeated
   failure to cure deficiencies by amendments previously allowed, undue prejudice to the opposing
   party, and futility of the amendment[,]’” none of which would apply since Plaintiffs would be
   providing their first substantive amendment to the complaint after, at a minimum, taking narrow
   discovery to address the jurisdictional arguments raised by some of the Defendants. Castros, 2018
   WL 1137099, at *1 (citations omitted).


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          In the Paffrath complaint, Plaintiffs invoked both general and specific jurisdiction as the

   basis for personal jurisdiction over each of the FTX Defendants under the long arm statute by

   alleging:

          11. FTX’s fraudulent scheme was designed to take advantage of investors from
          across the globe, including specifically in Florida, who sought out what was
          represented to be a safe platform to make their investments in the burgeoning
          cryptocurrency industry. The scheme resulted in FTX investors collectively
          sustaining billions of dollars in damages.

          ...

          33. This Court has personal jurisdiction against Defendants because they conduct
          substantial and not isolated business in Florida, and/or have otherwise intentionally
          availed themselves of the Florida consumer market through the promotion,
          marketing, and sale of FTX’s YBAs in Florida — including to Plaintiffs in this case
          — which constitutes committing a tortious act within the state of Florida.
          Defendants have also marketed and participated and/or assisted in the sale of FTX’s
          unregistered securities to consumers in Florida. Further, Defendants have engaged
          in a conspiracy in which some of the co-conspirators—including some who are
          Defendants in this action—committed overt acts in furtherance of the conspiracy in
          the State of Florida. This purposeful availment renders the exercise of jurisdiction
          by this Court over Defendants permissible under traditional notions of fair play and
          substantial justice.

   Paffrath, [ECF No. 1, at ¶¶ 11, 33]. Plaintiffs also alleged FTX’s domestic US base of operations

   was Miami, Florida [id., ¶ 63] and was where FTX put the alleged fraudulent plan, involving

   Defendants, into effect [id., ¶ 43]. Judge Altonaga found these allegations sufficient to allow

   Plaintiffs to proceed to jurisdictional discovery. Id., ECF No. 96.

          In Garrison, the Complaint’s allegations in support of personal jurisdiction in Florida are

   reliant on FTX’s domestic headquarters being based in Miami (ECF No. 205, ¶¶ 2–3, 7, 9, 23, 31,

   see also ECF No. 205-1), the defendants’ understanding of the overall publicity campaign

   emanating from Florida (¶¶ 371, 382, 405–407, 414, 427, 434–438, 576–581, 603–611, 623, 651-

   54), the value of such campaign overall (ECF No. 205 ¶¶ 12, 219, 624–29), their own place in that

   campaign both in terms of the publicity that their investment in/affiliation with FTX would provide



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   (¶¶ 6, 13, 219, 232, 365–399, 419–428, 560–567, 582–594, 631–642), participation with others

   located in Florida on matters relating to the publicity campaign (¶¶ 16, 231, 398, 424), and

   presence in Florida on related matters (Curry, see ¶¶ 372, 297, 408, and Osaka, see ¶¶ 556, 566–

   67).

          For O’Keefe v. Sequoia Capital Operations, LLC, et al., O’Keefe v. Temasek Holdings

   (Private) Ltd., et al., Chernyavsky et al. v. Temasek Holdings (Private) Ltd., et al., and Cabo et al.

   v. Temasek Holdings (Private) Ltd. et al., the allegations in support of PJ in Florida are reliant on

   FTX’s domestic headquarters being based in Florida (ECF No. 182, ¶¶ 9, 45, 121, 290),

   Defendants’ understanding of the overall publicity campaign emanating from Florida (see ECF

   No. 182, ¶¶ 281-91, 302; ECF No. 182-1), the value of such campaign overall (ECF No. 182, ¶¶

   231, 233, 287–88; ECF No. 182-2, at pp. 2-3, 6), their own place in that campaign both in terms

   of the publicity that their investment in/affiliation with FTX would provide as well as the fact that

   their investment moneys were used to further such campaign (ECF No. 182, ¶¶ 304–05, 318, 344–

   49, 351, 388), participation on the Advisory Board (by Temasek) with others located in Florida

   and on matters relating to the publicity campaign and LedgerX (also Florida-based) (ECF No. 182,

   ¶¶ 36, 251, 262, 361–63, 372), and presence in Florida (Sino Global) on related matters (ECF No.

   182, ¶¶ 35, 253, 264, 316–18)).

          Plaintiffs have already located certain documents demonstrating that jurisdictional

   discovery would yield jurisdictionally relevant facts—namely, the underlying conspiracy’s

   existence as well as contacts with the relevant jurisdictions.

          For example, an email exchange between Paradigm and FTX used as an exhibit in the

   criminal trial shows that the VCs were indeed inquiring into the relationship between FTX and

   Alameda, the lack of corporate controls at both companies or groups of companies, the VCs’




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   awareness of the value of their association with FTX, and that the VCs wanted only to bump FTX’s

   value before getting it on the selling block and cashing out. See GX-320, attached as Exhibit E.

   Plaintiffs have a right to discovery into similar exchanges between FTX and Temasek and/or Sino

   Global to further prove up the existence of conspiracy jurisdiction.

          Other exhibits from Sam Bankman-Fried’s criminal trial confirm FTX’s involvement in the

   Liquid Value fund in which Plaintiffs allege Sino Global and FTX were co general partners, which

   fund Plaintiffs further allege is representative of the quid pro quo arrangement existing between

   the entities—i.e., FTX’s favor to Sino Global in return for Sino Global’s agreement to invest in

   FTX and publicize the same. See GX-14B, an excerpt of which is attached as Exhibit F; see also

   ECF No. 182, ¶ 35 (alleging quid pro quo relationship involving Sino Global, FTX, and Liquid

   Value fund).

          Although Sino Global’s Matthew Graham denies any relevant Florida contacts in his

   declaration in support of the motion to dismiss for lack of personal jurisdiction, see ECF No. 300-

   1, a publicly available slide deck on the Liquid Value fund mentions that a “Sino Global Capital”

   team member was based in Miami, Florida. See Liquid Value Slide Deck, attached as Exhibit G,

   at p. 4. Sino Global further represented to regulators that its subsidiary maintained a “principal

   office and place of business” at 1111 Brickell Avenue, 10th Floor, Miami, Florida 33131 in relation

   to the Liquid Value fund. See Sino Global Capital Management LLC Form ADV, attached as

   Exhibit H, Sections 1 & 7.A.

          Still other trial exhibits include additional details regarding which employees from the

   venture capitalist defendants were involved with the FTX investment, see GX-26, an excerpt of

   which is attached as Exhibit I; confirm meetings between Temasek employees that served on

   FTX’s advisory board and FTX’s SBF and Ramnik Arora that further suggest a blurring of the




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    lines by Temasek between its numerous subsidiaries, see GX-286, attached as Exhibit J; and

    reveal that a large number of documents exist regarding the FTX advisory board on which Temasek

    employees sat and which monitored and advised on matters pertaining to the Miami publicity

    campaign and Miami-based LedgerX, LLC d/b/a FTX US Derivatives, an entity with a longtime

    base in Miami that likewise formed part of FTX’s publicity campaign to appear as the safe,

    dependable, and legitimate place to trade crypto, see S-2003, attached as Exhibit K, at Attachment

    A-1, at GX-29 (“Advisory_Board_Update_20210818 (1)”), GX-68 (“Advisory Board-

    comments”); id. Attachment A-2, at GX-234 (“Advisory Board Meeting Materials-09/19/2022”),

    GX-235 (“FTX Advisory Board Meeting 09_19_2022.pdf (Attachment To Advisory Board

    Meeting Materials – 09/19/2022), GX-278 (“RE: Advisory Board Meeting tomorrow”).

           If the guilty pleas of Caroline Ellison, Nishad Singh, and Gary Wang along with the

    agreements that we know exist between FTX and these venture capitalists, but which such venture

    capitalists have kept secret to date, do not alone provide sufficient basis for conspiracy jurisdiction

    to warrant jurisdictional discovery, then certainly Plaintiffs many detailed allegations combined

    with the foregoing documents tending to support the same get Plaintiffs across the line.

           With respect to Moonstone, Deltec, and Chalopin, certain documents have come to light

    since Plaintiffs filed their complaint further establishing that such banks’ services were key to the

    success of the conspiracy. For example, the indictment of Ryan Salame speaks to the struggle that

    FTX faced in locating banks that would provide the services that it needed to thrive—that is, until

    Deltec and Moonstone stepped in. See Salame Indictment, attached as Exhibit L, at ¶5 (“When

    FTX was founded … many U.S. banks were reluctant to do business with cryptocurrency

    companies, and those banks that were willing to open accounts for cryptocurrency companies had




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    extensive customer due diligence and licensing requirements, with which FTX was not compliant.”

    (emphasis added)).

           Others show that Moonstone made certain misrepresentations to regulators in order to

    obtain the licenses that it needed to enable FTX to move depositors’ funds offshore. Specifically,

    on August 17, 2023, just one week after Plaintiffs filed the Administrative Class Action Complaint,

    the Federal Reserve announced an enforcement action against Moonstone, because, upon

    information and belief, at Chalopin’s direction, Moonstone did not inform the Federal Reserve, in

    applying for membership, that Moonstone intended “to pursue a strategy focused on digital

    banking services or digital assets” (i.e., banking FTX and Alameda), and Moonstone “improperly

    chang[ed] its business plan” to provide such services (i.e., to FTX and Alameda) without prior

    notification or approval from the Federal Reserve. See Turner Wright, “Federal Reserve issues

    enforcement action against FTX-linked US bank,” Cointelegraph.com (Aug. 17, 2023), available

    at https://cointelegraph.com/news/federal-reserve-issues-enforcement-action-against-ftx-linked-

    bank (last accessed Nov. 3, 2023) (summarizing the Federal Reserve’s enforcement action and

    providing a link to the Federal Reserve’s cease and desist order arising from same). Moonstone,

    Deltec, and Chalopin deny that Plaintiffs’ allegations prove certain elements of their claims,

    including arguing that their routine banking services cannot constitute substantial assistance of any

    kind. Yet, these two documents alone prove the contrary. They likewise render even more plausible

    Plaintiffs’ conspiracy allegations in support of conspiracy jurisdiction over these defendants in

    Florida.

           None of the Defendants deny any of the Complaint’s material allegations that FTX

    marketed its products to investors in, and from Florida through the use of paid celebrity

    endorsements (many millions of dollars), or that FTX paid Defendants many millions of dollars to




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    promote FTX’s YBA’s to millions of investors worldwide, including in Florida. Instead, the

    Defendants’ jurisdictional declarations—exactly like the ones provided by Messrs. Cuban and

    Ehrlich in the Voyager cases—contain only general assertions regarding where the Defendants live

    and where they physically negotiated and signed their individual contracts with FTX.

           Further, for purposes of specific jurisdiction under Florida’s long arm statute, the issue is

    whether Defendants’ tortious acts caused injury in Florida. See Louis Vuitton Malleties, S.A. v.

    Mosseri, 736 F.3d 1339, 1354 (11th Cir. 2013) (“[W]e conclude that under Florida law where

    Mosseri created the websites and posted the alleged infringing material does not matter. For

    purposes of § 48.193(1)(a)(2), the issue is whether Mosseri’s tortious acts caused injury in

    Florida.”). Defendants’ general denials of contacts with Florida do not address whether these

    Defendants nevertheless committed a tortious act within Florida by knowingly and purposely

    promoting FTX’s products and services to Florida residents who purchased those products and

    services based on Defendants’ promotional activities, even if conducted outside of Florida. See

    Licciardo v. Lovelady, 544 F.3d 1280, 1283 (11th Cir. 2008) (holding that, under Florida law, a

    nonresident defendant commits “a tortious act within [Florida]” when he commits an act outside

    the state that causes injury within Florida).

           The law of this Circuit has long recognized a qualified right to jurisdictional discovery. See

    Am. Civil Liberties, Union of Fla., 859 F.3d at 1341. The qualified right is afforded when (1) the

    movant timely moves for jurisdictional discovery and (2) the information the movant seeks, if it

    exists, would give rise to jurisdiction. See Posner v. Essex Ins. Co., Ltd., 178 F.3d 1209, 1214 n.7

    (11th Cir. 1999) (distinguishing cases referring to qualified right of jurisdictional discovery

    because in Posner, plaintiff failed to make discovery requests in the eight months between the time

    the complaint was filed and the time it was dismissed) (citing Eaton v. Dorchester Dev., Inc., 692




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    F.2d 727, 729-31 (11th Cir. 1982); Gleneagle Ship Mgmt. Co. v. Leondakos, 602 So.2d 1282, 1284

    (Fla. 1992)); see also RMS Titanic, Inc. v. Kingsmen Creatives, Ltd., 579 F. App'x 779, 790 (11th

    Cir. 2014) (“Our case law suggests that federal courts should order limited jurisdictional discovery

    where the information plaintiff seeks, if it exists, would give rise to jurisdiction.).

            Thus, courts in this circuit routinely permit limited jurisdictional discovery before ruling

    on a jurisdictional motion to dismiss. See Happy Tax Franchising, LLC v. Hill, Case No. 19-24539-

    CIV, 2020 WL 13221241, *1 (S.D. Fla. Jun 24, 2020) (granting leave to conduct jurisdictional

    discovery prior to deciding motion to dismiss); Kilma v. Carnival Corp., 2008 WL 4559231, at *1

    (S.D. Fla. Oct. 10, 2008) (permitting jurisdictional discovery prior to ruling on a motion to dismiss)

    (Moore, J.); Sierra Equity Group, Inc. v. White Oak Equity Partners, LLC, 2008 WL. 1771857, *2

    (S.D. Fla. Apr. 15, 2008) (“[J]urisdictional discovery will be useful to determine the actual extent

    of Defendants’ contacts with Florida to determine whether this case can be resolved on its merits.

    Without factual discovery, the Court would be left to conjecture whether it could exercise

    jurisdiction over Defendants.”); Eaton, 692 F.2d at 729 (holding it was premature to dismiss a

    claim for lack of jurisdiction where plaintiffs were not given an opportunity to elicit material

    through discovery to support a determination on jurisdiction); Blanco Lines, 632 F.2d at 657

    (reversing a dismissal on jurisdictional grounds because “Plaintiff is not required to rely

    exclusively upon a defendant’s affidavit for resolution of the jurisdictional issue” where the

    dismissal was entered before Plaintiff had an adequate opportunity to take jurisdictional

    discovery).

            Here, limited jurisdictional discovery – consisting of the requests for production of

    documents, interrogatories, and a single deposition of each of the thirteen Defendants who are




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    challenging jurisdiction, see Composite Exhibit D – may reveal relevant facts, including, among

    other things:

            1.      Whether Defendants otherwise are engaged in substantial and not isolated activity

    targeting or taking place in Florida which may subject them to general jurisdiction in Florida;

            2.      Whether other agreements exist between Defendants and FTX under which

    Defendants agreed to target actions or submit to jurisdiction in Florida;

            3.      Whether Defendants have generated sales or revenue from advertising and

    marketing in Florida and/or to Florida consumers;

            4.      Whether Defendants are authorized to do business or conduct business in Florida;

            5.      Whether Defendants operate in the United States or sought financial investments

    or financing in the United States;

            6.      Whether Defendants maintain accounts with Florida based financial institutions;

            7.      Whether Defendants’ board of directors or employees reside in Florida;

            8.      Whether there are any other relevant contacts between Defendants and FTX that

    may be sufficient to establish general or specific jurisdiction under the long-arm statute.

            9.      Whether Defendants contracted to target their advertising or marketing efforts for

    FTX’s services and products to the state of Florida in a manner that may subject them to specific

    jurisdiction in Florida.

            Plaintiffs should have the opportunity to at least conduct jurisdictional discovery before

    the Court rules on Defendants’ jurisdictional arguments. Plaintiffs’ request is timely and

    appropriate considering Defendants’ jurisdictional arguments. See, e.g., Happy Tax Franchising,

    2020 WL 13221241 at *1 (“The qualified right [to jurisdictional discovery] is afforded when 1)




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    the movant timely moves for jurisdictional discovery and 2) the information the movant seeks if it

    exists, would give rise to jurisdiction.”).

                                                  CONCLUSION

            For all the foregoing reasons, Plaintiffs very respectfully request that the Court grant this

    Motion and enter an order granting leave for Plaintiffs to: (1) lift the stay of discovery in these

    proceedings now that Sam Bankman-Fried’s trial has concluded; (2) conduct limited jurisdictional

    discovery in the manner described above within sixty (60) days of the Court’s order on this Motion;

    and (3) to file any amendments to the Administrative Complaints or oppositions to the pending

    motions within twenty (20) days after completing that brief jurisdictional discovery. Any of the

    FTX Defendants can still raise any and all specific objections (undue burden, etc.) to the discovery

    that is served, which the Court can decide.

                                  S.D. FLA. L.R. 7.1 CERTIFICATION

            Plaintiffs’ Counsel certify that they have conferred with Counsel for Defendants Steph

    Curry, Golden State Warriors LLC, Solomid Corporation, Naomi Osaka, Udonis Haslem,

    Lawrence Gene David, Andre Jikh, Jeremy LeFebvre, Graham Stephan, Jaspreet Singh, Erika

    Kullberg, Brian Jung, Creators Agency LLC, Farmington State Bank d/b/a Moonstone Bank,

    SoftBank Group Corp., SoftBank Investment Advisers (UK) Limited, SoftBank Global Advisers

    Limited, Temasek Holdings (Private) Limited, Temasek International USA LLC, Sino Global

    Capital Holdings LLC, Deltec Bank and Trust Company Limited, and Jean Chalopin, in a good

    faith effort to resolve the issues raised in this Motion, and report that Defendants uniformly oppose

    the requested relief.




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    Dated: November 3, 2023.                  Respectfully submitted,

     By: /s/ Adam Moskowitz                       By: /s/ David Boies
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     Joseph M. Kaye                               Brooke A. Alexander
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                                                  kmiller@fishmanhaygood.com
     Plaintiffs’ Steering Committee Members
                                                  Plaintiffs’ Steering Committee Members




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                                                                          CASE NO. 1:23-md-03076-KMM
                                      CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on November 3, 2023, a true and correct copy of the foregoing

    was filed electronically with the Clerk of the Court, by using the CM/ECF system which will send

    an electronic notification of such filing to all counsel of record.



                                                   By: /s/ Adam M. Moskowitz
                                                   Adam M. Moskowitz




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                Exhibit A
    PLAINTIFFS’ OMNIBUS MOTION TO LIFT DISCOVERY STAY
   AND FOR LEAVE TO CONDUCT JURISDICTIONAL DISCOVERY,
    AND, IF NECESSARY TO AMEND THEIR COMPLAINTS WITH
          ANY FACTS ARISING FROM SUCH DISCOVERY
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                     CASE NO. 1:22-cv-23753-KMM

     EDWIN GARRISON, et al., on behalf of
     Themselves and all others similarly situated,

            Plaintiffs,
     v.

     SAM BANKMAN-FRIED, et al.,

           Defendants.
     _________________________________________/

     PLAINTIFFS’ EXPEDITED MOTION FOR LEAVE TO CONDUCT JURISDICTIONAL
      DISCOVERY, AND TO AMEND THEIR COMPLAINT WITH ANY FACTS ARISING
                            FROM SUCH DISCOVERY

            Plaintiffs, pursuant to Local Rule 7.1(d)(2), respectfully move the Court to enter an order

     granting Plaintiffs leave to: (1) take brief jurisdictional discovery from Defendants, Stephen Curry,

     Larry David, Golden State Warriors, LLC, Shohei Ohtani, and Naomi Osaka (collectively, “FTX

     Non-Florida Defendants”) prior to a ruling on Defendants’ jurisdictional arguments; and (2) to file

     their first substantive amendment to the Complaint within twenty (20) days after completing that

     brief jurisdictional discovery, so Plaintiffs’ may incorporate any additional facts that support

     personal jurisdiction over these FTX Non-Florida Defendants and address arguments raised in all

     Defendants’ motions to dismiss.

            This is the same, exact reasonable discovery that was opposed by defendants in

     Undersigned Counsel’s related Voyager Digital cases, and required to be produced by Chief Judge

     Altonaga, Judge Altman, and Magistrate Judge Reid, in various Orders based specifically on

     Eleventh Circuit precedent, in the pending related Voyager Digital class actions. See Composite

     Exhibit A. All FTX Defendants continue to argue and reiterate that none of these prior Orders by
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     this Court are in “in any manner” relevant to this inquiry, and cannot even be “considered by this

     Court,” but they are in fact based upon extremely analogous facts. For example, Voyager and Mr.

     Cuban specifically argued the cases against them should be dismissed for a lack of personal

     jurisdiction, alleging they had “no connection to Florida.” However, the plethora of evidence that

     was obtained in discovery demonstrated that not only was Florida one of the “main” targets for

     their promotion of Voyager’s unregistered securities, but it was also one of the most targeted states,

     and thus tens of thousands of Florida residents, in fact, suffered millions in damages from

     defendants’ offer and sale of these unregistered securities. Here, there is no dispute that FTX

     (unlike Voyager) conducted its activities from its headquarters here in Miami, Florida, and there

     can be no dispute that these Defendants’ activities were certainly not confined to some limited

     geographic area.

            All 18 FTX Defendants have, as of today, now definitively informed Plaintiffs that: (1)

     they have unilaterally decided not to respond to any discovery that Plaintiffs would serve following

     the initial Scheduling Conference, pending the Court’s ruling on their Motions to Dismiss

     (jurisdictional and/or merits) (while Judge Altman denied a very similar Motion to Stay All

     Discovery in the related Voyager litigation, See Comp. Ex. A); and (2) they request the Court rely

     upon their newly filed, Sworn FTX Defendant Declarations, where they make new arguments to

     support an alleged lack of personal jurisdiction (such as they were not just “physically present” in

     Florida), but will not allow Plaintiffs to test any such arguments, as was specifically ordered in the

     Voyager cases also pending before this Court.

            Plaintiffs diligently worked to confer with Defendants on these issues immediately after

     they filed their motions, but Defendants as a group were only available for a meet and confer on

     April 24, 2023, and a follow-up today, April 26, 2023, before they made clear this issue required




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     Court intervention. Plaintiffs’ responses to the pending Motions to Dismiss are currently due

     Monday, May 15, 2023; therefore, absent an expedited ruling before that date, this matter will

     likely not be fully briefed and decided under the rules until after that current deadline.

         I.      BACKGROUND

              This Court has acknowledged that all of these related FTX cases involve a main question

     of whether FTX’s offerings are securities that need to be registered by the SEC. See Norris, et al.

     v. Brady, et al., No. 1:23-cv-20439-KMM (“Norris”), ECF Nos. 43, 45. If the Court decides that

     question in the affirmative, the only remaining question will be whether these FTX Defendants

     “aided and abetted” in the offer and sale of such unregistered securities under Florida law.

              The FTX Non-Florida Defendants moved on Friday, April 14, 2023, to dismiss the

     complaint for lack of personal jurisdiction. ECF No. 139. Relying on newly filed declarations of

     Defendants Stephen Curry, Larry David, and Shohei Ohtani, these FTX Defendants argue that the

     entire case against them should be dismissed, because this Court lacks specific jurisdiction over

     them. 1 But the declarations contain only general assertions regarding where the declarants live and

     where they negotiated and signed their individual contracts. As demonstrated by the FTX Contracts

     produced in Norris by Brady, Ortiz, and O’Leary in support of their opposition to the motion to

     remand, these contracts are all varied in their requirements, with some requiring FTX Brand

     Ambassadors to create and publish numerous “social media posts,” autograph a certain number of


     1
       Defendants advance these arguments even in the face of allegations that, for instance, Defendant
     Osaka specifically attended matches in Miami wearing her FTX kit as part of the promotional
     activities for which she was paid by FTX, [ECF No. 16 ¶ 227], or that Defendant Golden State
     Warriors promoted the FTX Platform and its unregistered offerings through branding FTX as the
     “Official Crypto Platform and NFT Marketplace of the Golden State Warriors,” as a result of
     FTX being their “first international rights partner,” meaning they jointly advertised together on an
     international basis, and the Golden State Warriors dropped NFTs on the FTX Platform and
     promoted FTX throughout their G League and eSports teams, also internationally. ECF No. 16 ¶¶
     222–223 (emphasis in original).


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     items per year, launch NFTs across the country through FTX, conduct virtual meetings and

     lunches, host FTX charity events, etc.

            While Defendants assert that certain information must be filed under seal (and thus

     Plaintiffs will not be attaching them hereto or providing specifics), the few materials which were

     provided in the related Norris action were also produced in redacted form, some with complete

     paragraphs redacted (without any table or index to provide context) as well as all of the details

     regarding their compensation. All of this information was compelled by this Court in the related

     Voyager cases. See Comp. Ex. A. Plaintiffs have requested, but have been denied, any fully

     unredacted copies of these relevant materials. Further, Defendants attempt to handicap Plaintiffs

     in their efforts to address these specific questions. For example, Mr. David alludes in his

     declaration to an “FTX Restricted Stock Purchase Agreement,” which he references generally, but

     refuses to produce in this litigation. See ECF No. 139-2, at n.1.

            Some of these FTX Contracts specifically require the Defendants to collaborate with the

     FTX advertising company on these scripts (i.e., such as the fraudulent FTX “I am All In”

     Campaign), via phone and emails, and preclude these celebrities from promoting any FTX

     competitors, in any manner. At a minimum, Defendants’ declarations (just like those provided in

     Voyager) inject issues that cannot be resolved by the Court, or adequately addressed by Plaintiffs,

     absent some limited jurisdictional discovery and supplemental briefing and/or amended pleadings

     before the Court rules on Defendants’ jurisdictional arguments.

            Plaintiffs have been attempting for weeks to confer with Defendants on discovery. In

     response, Defendants have largely either ignored the requests or have indicated that they all need

     “proposed dates and times a week in advance (at minimum)” before they can schedule any time to




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     confer with Plaintiffs. 2 After reviewing Defendants’ Motions to Dismiss, Plaintiffs requested a

     meet and confer to discuss discovery in connection with the motions to dismiss. Plaintiffs also sent

     proposed jurisdictional discovery (requests for production and deposition notices) to Defendants

     to demonstrate how narrow the discovery sought was and to expedite the meet and confer process.

     See Composite Exhibit B (proposed jurisdictional discovery requests). After two meet and confer

     sessions, Defendants have now made it clear they will oppose Plaintiffs’ request for any

     jurisdictional discovery (no matter how narrow) and instead have sought to stay all discovery.

     Defendants take this position despite the fact that in two related cases against Voyager Digital and

     the celebrities alleged to have promoted the offer and sale of unregistered securities, Judge

     Altonaga, Judge Altman, and Magistrate Judge Reid all granted leave and allowed discovery on

     personal jurisdiction to proceed based on very similar declarations filed by defendants in support

     of their motions to dismiss for lack of personal jurisdiction, raising many of the same arguments

     as Defendants here. See Comp. Ex. A.

              Notably, Plaintiffs’ current Complaint has not gone through any substantive amendment,

     and certainly not one after the filing of a Motion to Dismiss or after any discovery has been

     produced, in that the amended complaint was filed December 16, 2023, to effect the consolidation

     of the Garrison and Podalsky actions in accordance with this Court’s Order. Defendant O’Neal,

     the last of the 18 Defendants was finally personally served April 16, 2023—10 days ago, within

     the deadline to do so set by this Court. No scheduling conference has yet been held, nor is there a

     case scheduling order. Indeed, the Court set a deadline of May 8, 2023, for the Parties to file a joint




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         Plaintiffs can provide the correspondence should the Court deem it necessary.


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     scheduling report after holding a scheduling conference once Defendant O’Neal was finally

     located and personally served. 3

               In the Voyager Digital cases, this Court denied defendants’ motion to stay all discovery, in

     part, because there was no showing, by declaration nor any evidence, that such requested discovery

     was unduly burdensome. See Comp. Ex. A. In fact, all of that discovery was already taken in those

     cases and is now completed. Certainly, none of these 18 FTX Defendants have made any showing

     of “undue burden,” in fact, they argue just the opposite, that very little responsive discovery (if

     any) should exist, conceding there is no burden.

               Plaintiffs respectfully ask the Court at this stage for leave to conduct limited jurisdictional

     discovery, and to afford a very brief period (20 days) following that discovery to allow them to file

     their first amended complaint with substantive amendments, especially because “Courts routinely

     allow such amendments to cure pleading deficiencies in service of the general principle that

     “decisions on the merits are not to be avoided on the basis of ‘mere technicalities.’” Castros v.

     Signal Fin. Co. LLC, 1:17-CV-21870-KMM, 2018 WL 1137099, at *1 (S.D. Fla. Feb. 4, 2018)

     (Moore, C.J.) (collecting cases). 4




     3
         The Parties have agreed to hold the Joint Conference this Friday, April 28, 2023.
     4
      Granting Plaintiffs’ request would comport with the “policy of the federal rules []to permit liberal
     amendment to facilitate determination of claims on the merits and to prevent litigation from
     becoming a technical exercise in the fine points of pleading,” particularly where the proposed
     amendment would not violate any scheduling order in place and there is no “substantial reason” to
     deny the amendment, which “could include ‘undue delay, bad faith or dilatory motive, repeated
     failure to cure deficiencies by amendments previously allowed, undue prejudice to the opposing
     party, and futility of the amendment[,]’” none of which would apply since Plaintiffs would be
     providing their first substantive amendment to the complaint after, at a minimum, taking narrow
     discovery to address the jurisdictional arguments raised by some of the Defendants. Castros, 2018
     WL 1137099, at *1 (citations omitted).


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         II.      LEGAL ARGUMENT

               Florida’s long-arm statute provides for both general and specific personal jurisdiction. The

     Court has general personal jurisdiction over a defendant who has been “engaged in substantial and

     not isolated activity within this state ... whether or not the claim arises from that activity.” Fla. Stat.

     § 48.193(2). Specific jurisdiction exists for claims arising out of certain discrete acts of a defendant

     that occur in Florida, including “[c]omitting a tortious act within this state.” Fla. Stat. §

     48.193(1)(a)(2) (2022).

               In their complaint, Plaintiffs have invoked both general and specific jurisdiction as the

     basis for personal jurisdiction over each of the FTX Defendants under the long arm statute by

     alleging:

               This Court has personal jurisdiction against Defendants because they conduct
               substantial and not isolated business in Florida, and/or have otherwise intentionally
               availed themselves of the Florida consumer market through the promotion,
               marketing, and sale of FTX’s YBAs in Florida, which constitutes committing a
               tortious act within the state of Florida. Defendants have also marketed and
               participated and/or assisted in the sale of FTX’s unregistered securities to
               consumers in Florida. Further, Defendants have engaged in a conspiracy in which
               some of the co-conspirators—including some who are Defendants in this action—
               committed overt acts in furtherance of the conspiracy in the State of Florida. This
               purposeful availment renders the exercise of jurisdiction by this Court over
               Defendants permissible under traditional notions of fair play and substantial justice.

     [ECF No. 16, at ¶ 50]. The Complaint also alleges that “FTX organized and emanated its fraudulent

     plan from its worldwide headquarters located here in Miami, Florida[,]” [ECF No. 16, at ¶ 8], that

     FTX promoted the sale of unregistered securities in Florida by using celebrity endorsers, including

     the Defendants, [ECF No. 16, at ¶ 16], and that FTX paid celebrity endorsers millions of dollars

     to use the positive reputation associated with specific celebrities to convince consumers that FTX

     was a safe place to buy and sell cryptocurrency. [ECF No. 16, at ¶¶ 193, 194].




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            None of the Defendants deny any of the Complaint’s material allegations that FTX

     marketed its products to investors in, and from Florida through the use of paid celebrity

     endorsements (many millions of dollars), or that FTX paid Defendants many millions of dollars to

     promote FTX’s YBA’s to millions of investors worldwide, including in Florida. Instead, the

     Defendants’ jurisdictional declarations—exactly like the ones provided by Messrs. Cuban and

     Ehrlich in the Voyager cases—contain only general assertions regarding where the Defendants live

     and where they physically negotiated and signed their individual contracts with FTX.

            More importantly, none of the FTX Non-Florida Defendants challenging jurisdiction have

     even attached copies of their FTX Agreements to which they repeatedly allude in their respective

     newly sworn declarations. 5

            Further, for purposes of specific jurisdiction under Florida’s long arm statute, the issue is

     whether Defendants’ tortious acts caused injury in Florida. See Louis Vuitton Malleties, S.A. v.

     Mosseri, 736 F.3d 1339, 1354 (11th Cir. 2013) (“[W]e conclude that under Florida law where

     Mosseri created the websites and posted the alleged infringing material does not matter. For

     purposes of § 48.193(1)(a)(2), the issue is whether Mosseri’s tortious acts caused injury in

     Florida.”). Defendants’ general denials of contacts with Florida do not address whether these

     Defendants nevertheless committed a tortious act within Florida by knowingly and purposely

     promoting FTX’s products and services to Florida residents who purchased those products and

     services based on Defendants’ promotional activities, even if conducted outside of Florida. See

     Licciardo v. Lovelady, 544 F.3d 1280, 1283 (11th Cir. 2008) (holding that, under Florida law, a



     5
       Defendant David moved for leave to file under seal one of the two referenced agreements in his
     Declaration, [ECF No. 146], which motion is pending, but has to date failed to provide a copy of
     either to Plaintiffs, redacted or otherwise, despite Plaintiffs’ agreement to preliminarily treat the
     agreement as confidential.


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    nonresident defendant commits “a tortious act within [Florida]” when he commits an act outside

    the state that causes injury within Florida).

            The law of this Circuit has long recognized a qualified right to jurisdictional discovery. See

    Am. Civil Liberties, Union of Fla. v. City of Sarasota, 859 F.3d 1337, 1341 (11th Cir. 2017). The

    qualified right is afforded when (1) the movant timely moves for jurisdictional discovery and (2)

    the information the movant seeks, if it exists, would give rise to jurisdiction. See Posner v. Essex

    Ins. Co., Ltd., 178 F.3d 1209, 1214 n.7 (11th Cir. 1999) (distinguishing cases referring to qualified

    right of jurisdictional discovery because in Posner, plaintiff failed to make discovery requests in

    the eight months between the time the complaint was filed and the time it was dismissed) (citing

    Eaton v. Dorchester Dev., Inc., 692 F.2d 727, 729-31 (11th Cir. 1982); Gleneagle Ship Mgmt. Co.

    v. Leondakos, 602 So.2d 1282, 1284 (Fla. 1992)); see also RMS Titanic, Inc. v. Kingsmen Creatives,

    Ltd., 579 F. App'x 779, 790 (11th Cir. 2014) (“Our case law suggests that federal courts should

    order limited jurisdictional discovery where the information plaintiff seeks, if it exists, would give

    rise to jurisdiction.).

            Thus, courts in this circuit routinely permit limited jurisdictional discovery before ruling

    on a jurisdictional motion to dismiss. See Happy Tax Franchising, LLC v. Hill, Case No. 19-24539-

    CIV, 2020 WL 13221241, *1 (S.D. Fla. Jun 24, 2020) (granting leave to conduct jurisdictional

    discovery prior to deciding motion to dismiss); Kilma v. Carnival Corp., 2008 WL 4559231, at *1

    (S.D. Fla. Oct. 10, 2008) (permitting jurisdictional discovery prior to ruling on a motion to dismiss)

    (Moore, J.); Sierra Equity Group, Inc. v. White Oak Equity Partners, LLC, 2008 WL. 1771857, *2

    (S.D. Fla. Apr. 15, 2008) (“[J]urisdictional discovery will be useful to determine the actual extent

    of Defendants’ contacts with Florida to determine whether this case can be resolved on its merits.

    Without factual discovery, the Court would be left to conjecture whether it could exercise




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    jurisdiction over Defendants.”); Eaton, 692 F.2d at 729 (holding it was premature to dismiss a

    claim for lack of jurisdiction where plaintiffs were not given an opportunity to elicit material

    through discovery to support a determination on jurisdiction); Blanco Lines, 632 F.2d at 657

    (reversing a dismissal on jurisdictional grounds because “Plaintiff is not required to rely

    exclusively upon a defendant’s affidavit for resolution of the jurisdictional issue” where the

    dismissal was entered before Plaintiff had an adequate opportunity to take jurisdictional

    discovery).

            Here, limited jurisdictional discovery – consisting of the requests for production of

    documents and a single deposition of each of the five Defendants who is challenging jurisdiction,

    see Comp. Ex. B – may reveal relevant facts, including, among other things:

            1.      Whether Defendants otherwise are engaged in substantial and not isolated activity

    targeting Florida which may subject them to general jurisdiction in Florida;

            2.      Whether other agreements exist between Defendants and FTX under which

    Defendants agreed to target actions or submit to jurisdiction in Florida;

            3.      Whether there are any other relevant contacts between Defendants and FTX that

    may be sufficient to establish general or specific jurisdiction under the long-arm statute.

            4.      Whether Defendants contracted to target their advertising or marketing efforts for

    FTX’s services and products to the state of Florida in a manner that may subject them to specific

    jurisdiction in Florida.

            Plaintiffs should have the opportunity to at least conduct jurisdictional discovery before

    the Court rules on Defendants’ jurisdictional arguments. Plaintiffs’ request is timely and

    appropriate considering Defendants’ jurisdictional arguments. See, e.g., Happy Tax Franchising,

    2020 WL 13221241 at *1 (“The qualified right [to jurisdictional discovery] is afforded when 1)




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    the movant timely moves for jurisdictional discovery and 2) the information the movant seeks if it

    exists, would give rise to jurisdiction.”).

        III.      CONCLUSION

               For all the foregoing reasons, Plaintiffs very respectfully request that the Court grant this

    Expedited Motion and enter an order granting leave for Plaintiffs to: (1) conduct limited

    jurisdictional discovery in the manner described above within forty-five (45) days of the Court’s

    order on this Motion; and (2) file an amended complaint with any additional facts revealed by such

    additional discovery that establish personal jurisdiction over the Defendants within 20 days after

    the close of such jurisdictional discovery. Any of the FTX Defendants can still raise any and all

    specific objections (undue burden, etc.) to the discovery that is served, which the Court can decide.

                                    S.D. FLA. L.R. 7.1 CERTIFICATION

               Plaintiffs’ Counsel certify that they have conferred with Defendants’ Counsel on the earliest

    dates Defendants’ Counsel made available, via Zoom videoconference on April 24, 2023, and

    again on April 26, 2023, in a good faith effort to resolve the issues raised in this Motion, and report

    that Defendants oppose the requested relief.




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    Dated: April 26, 2023                      Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

              I hereby certify that a true and correct copy of the forgoing was filed on April 26, 2023,

    via the Court’s CM/ECF system, which will send notification of such filing to all attorneys of

    record.

                                                                   By: /s/ Adam M. Moskowitz__
                                                                      ADAM M. MOSKOWITZ




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-24441-CIV-ALTONAGA/Torres

    MARK CASSIDY,

           Plaintiff,
    v.

    VOYAGER DIGITAL LTD., et al.,

          Defendants.
    ______________________________/
                                                ORDER

           THIS CAUSE came before the Court on Defendants, Voyager Digital Ltd.’s (“Voyager

    Ltd.”) and Voyager Digital, LLC’s Expedited Motion to Stay Discovery Pending Resolution of

    Defendants’ Motion to Compel Arbitration and to Dismiss the Complaint [ECF No. 29], filed on

    February 17, 2022. The Court issued an Order [ECF No. 30] requiring expedited briefing.

    Plaintiff, Mark Cassidy, filed a Response [ECF No. 33], to which Defendants filed their Reply

    [ECF No. 34]. For the following reasons, the Motion is denied.

           Standard. A district court “has broad discretion to stay discovery pending decision on a

    dispositive motion.” Panola Land Buyers Ass’n v. Shuman, 762 F.2d 1550, 1560 (11th Cir. 1985)

    (citations omitted). “Motions to stay discovery ‘are not favored because when discovery is delayed

    or prolonged it can create case management problems which impede the Court’s responsibility to

    expedite discovery and cause unnecessary litigation expenses and problems.’” Randy Rosenberg,

    D.C., P.A. v. GEICO Gen. Ins. Co., No. 19-cv-61422, 2019 WL 6052408, at *1 (S.D. Fla. Nov.

    15, 2019) (quoting Feldman v. Flood, 176 F.R.D. 651, 652 (M.D. Fla. 1997)). In determining

    whether to stay discovery, courts must take a “preliminary peek” at a dispositive motion to assess

    the likelihood that the motion will be granted. McCabe v. Foley, 233 F.R.D. 683, 685 (M.D. Fla.

    2006) (quotation marks omitted; quoting Feldman, 176 F.R.D. at 652). Parties seeking to stay
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    discovery must make a “specific showing of prejudice or burdensomeness[.]” Cuhaci v. Kouri

    Grp., LP, No. 20-cv-23950, 2021 WL 1945819, at *2 (S.D. Fla. May 14, 2021) (quotation marks

    and citation omitted).

           Discussion.       Having taken a “preliminary peek” at Defendants’ Motion to Compel

    Arbitration and to Dismiss the Complaint [ECF No. 28] (“Motion to Compel & Dismiss”), the

    Court cannot grant the Motion to Stay. Instead, the parties must conduct limited discovery to

    determine (1) whether the Court has personal jurisdiction over Voyager Ltd.; and (2) whether the

    arbitration agreement is enforceable. The Court explains.

           Motion to Dismiss for Lack of Personal Jurisdiction. Voyager Ltd. seeks to dismiss the

    Complaint [ECF No. 1] for lack of personal jurisdiction. (See Mot. to Compel & Dismiss 23).1

    Voyager Ltd. maintains that Plaintiff has “failed to make a prima facie showing of personal

    jurisdiction” over it. (Reply 7; see Mot. to Compel & Dismiss 23). To establish personal

    jurisdiction over a nonresident defendant, a plaintiff “initially need only allege sufficient facts to

    make out a prima facie case of jurisdiction.” Posner v. Essex Ins. Co., Ltd., 178 F.3d 1209, 1214

    (11th Cir. 1999) (citation omitted). Courts must accept the facts alleged as true, to the extent they

    are undisputed. See id. at 1214–15. A genuine dispute of material jurisdictional fact warrants

    jurisdictional discovery. See Aviation One of Fla., Inc. v. Airborne Ins. Consultants (PTY), Ltd,

    722 F. App’x 870, 878 (11th Cir. 2018).

           Voyager Ltd. disputes that it purposefully “avail[ed itself] of the Florida consumer market

    through the promotion, marketing, sale, and service of [its] Voyager Platform in Florida.” (Compl.

    ¶ 15 (alterations added); see Mot. to Compel & Dismiss 23). Voyager Ltd. describes itself as a




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    mere “holding company” that does not conduct business in Florida. (Reply 7 (citations omitted);

    see also Mot. to Compel & Dismiss 24).

            But Voyager Ltd.’s own statements contradict its position and bolster Plaintiff’s allegations

    that it provides services in Florida. In Voyager Ltd.’s March 2021 earnings call, one of its

    representatives stated, “We’re at 49 states today. We offer our services in 49 states. It’s only New

    York that we’re not — we don’t offer this service.” (Compl., Ex. G, March 3, 2021 Earnings Call

    [ECF No. 1-8] 17; see id. 2 (“[W]elcome to Voyager Digital Limited earnings call.” (alteration

    added)). It is possible that the representative meant to reference Voyager Digital, LLC, when he

    used “we,” but this ambiguity only accentuates the need for jurisdictional discovery.

            Although the Court is only conducting a “preliminary peek at the merits,” McCabe, 233

    F.R.D. at 685 (citation and quotation marks omitted), other courts have concluded that similar

    evidence of business activity within a jurisdiction is sufficient to satisfy a plaintiff’s initial burden

    of alleging personal jurisdiction. See, e.g., Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d 623,

    628, 632 (11th Cir. 1996) (affirming finding of personal jurisdiction over nonresident defendant

    where her “sporadic” business activities occurred in Florida); Kinney v. Mindsize, LLC, No. 20-

    62094-Civ, 2021 WL 3911859, at *4–5 (S.D. Fla. June 7, 2021) (concluding that unrebutted

    allegations of business activity in a state “establish at least a prima facie basis for exercising

    personal jurisdiction” (italics omitted)). Given the Complaint’s allegations and Voyager Ltd.’s

    own statement that it operates in 49 states, including Florida, the possibility of dismissal “is not

    apparent enough after a ‘preliminary peek’ to warrant an across-the-board stay of discovery[.]”

    Cabrera v. Progressive Behav. Sci., Inc., 331 F.R.D. 185, 187 (S.D. Fla. 2019) (alteration added).

            While Plaintiff has satisfied his prima facie showing at this juncture, Voyager Ltd. has

    produced a declaration that conflicts with Plaintiff’s allegations and evidence. (See Mot. to

    Compel & Dismiss, Ex. A., Casey Decl. [ECF No. 28-1] 3 (“Voyager Ltd[.] is a foreign holding

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    company parent of Voyager [Digital] LLC with no operations or employees. Voyager Ltd[.] does

    not operate or market the Voyager Platform.” (alterations added))). Even though factual conflicts

    merit jurisdictional discovery, see Aviation One of Fla., 722 F. App’x at 878, Voyager Ltd. opposes

    discovery because “Plaintiff has not moved the Court for jurisdictional discovery or for an

    extension of time to respond to the Motion to Compel” (Reply 6). 2

            Courts may occasionally deny informal requests for jurisdictional discovery, see Hinkle v.

    Cirrus Design Corp., 775 F. App’x 545, 550 (11th Cir. 2019), but they also “have the power to

    order the discovery of facts necessary to determine their jurisdiction over the merits[,]” Aviation

    One of Fla., 722 F. App’x at 878 (alteration added; citation omitted). The Court opts to exercise

    its authority to order jurisdictional discovery to resolve the disputed facts surrounding personal

    jurisdiction rather than waste time awaiting further briefing.

            Nevertheless, if Plaintiffs’ jurisdictional discovery requests are too far-reaching, and

    conferral is unsuccessful at resolving any disagreement, Defendants may address that matter with

    Magistrate Judge Torres.

            Motion to Compel Arbitration. Defendants also argue that (1) permitting discovery

    prejudices Defendants because it risks a conclusion that they waived their right to arbitrate (see

    Mot. 4); (2) the Federal Arbitration Act (“FAA”) requires the Court stay discovery until arbitration

    is conducted (see id. 4–5); and (3) failure to grant a stay will waste the parties’ resources (see id.

    5–6). These arguments do not persuade.

            First, Defendants can rest assured knowing that their participation in court-ordered

    discovery will not waive their right to arbitrate. It may be true that “substantially participat[ing]


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      Voyager Ltd. also argues that the Court should deny Plaintiff’s “informal requests for” jurisdictional
    discovery because Plaintiff omitted any jurisdictional inquiries in his first wave of requests. (Reply 6).
    Nonsense. Plaintiff served discovery before Voyager Ltd. moved to dismiss for lack of personal
    jurisdiction. (See Resp. 6). Plaintiff’s failure to predict Voyager Ltd.’s position does not require that he
    forgo jurisdictional discovery.
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    in litigation” could reach “a point inconsistent with an intent to arbitrate.” Citibank, N.A. v. Stok

    & Assocs., P.A., 387 F. App’x 921, 924 (11th Cir. 2010) (alteration added; citation and quotation

    marks omitted). But no waiver occurs when a party invokes its right to arbitrate, and the court

    orders it to engage in discovery. See, e.g., Burch v. P.J. Cheese, Inc., 861 F.3d 1338, 1351–52

    (11th Cir. 2017) (“To conclude that [defendant] acted inconsistently with its right to arbitrate, we

    would have to conclude that [defendant] should have disobeyed the District Court’s order. We

    decline to adopt such a position.” (alterations added)).

           Second, Defendants are correct that the FAA requires courts to stay “any issue referable to

    arbitration under an agreement[,]” but courts must first be “satisfied that the issue involved in such

    suit or proceeding is referable to arbitration under such an agreement[.]” 9 U.S.C. § 3 (alterations

    added). It is not immediately apparent, even after a “preliminary peek at the merits” of the Motion

    to Compel, that the arbitration agreement is enforceable. McCabe, 233 F.R.D. at 685 (citation and

    quotation marks omitted).

           To begin, assessing the merits proves difficult because it is unclear whether Florida or New

    Jersey law applies. (See Mot. to Compel & Dismiss 18–21; Resp. 13). Regardless, courts in both

    jurisdictions have chosen not to immediately enforce arbitration agreements that bear at least some

    resemblance to the arbitration agreement at issue here. See Doe v. Natt, 299 So. 3d 599, 600–02

    (Fla. 2d DCA 2020); Morgan v. Sanford Brown Inst., 137 A.3d 1168, 1182 (N.J. 2016).

           Moreover, compelling arbitration could depend on which version, if any, of the arbitration

    provisions Plaintiff assented to. For example, even if a January 2021 arbitration provision is

    unenforceable (see Resp. 14), then Plaintiff could still be subject to an amended, later, valid

    arbitration agreement. Until the parties have an opportunity to evaluate different iterations of the

    arbitration agreement and fully brief their enforceability, the Court cannot definitively state that



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    Defendants’ chance of success is “apparent enough” to merit a discovery stay. Cabrera, 331

    F.R.D. at 187.

            Third, Defendants maintain that permitting discovery will waste the parties’ and Court’s

    resources. (See Mot. 5). Not only does this argument rely on a premature assumption that Plaintiff

    has “an invalid claim” (id. 6 (quotation marks omitted; quoting Chudasama v. Mazda Motor Corp.,

    123 F.3d 1353, 1368 (11th Cir. 1997)), but Defendants point only to cherry-picked exhibits

    purportedly demonstrating that discovery would be a waste (see Mot. 6 (citing Mot. to Compel &

    Dismiss, Exs. A–F [ECF No. 28-1])). The Court cannot take Defendants’ word without giving

    Plaintiff a chance to investigate the evidence. Plaintiff will therefore have an opportunity to take

    discovery and assess the validity of the arbitration clause. See Envision Ins. Co. v. GrayRobinson,

    P.A., No. 8:13-cv-114, 2013 WL 12388601, at *3 (M.D. Fla. Aug. 19, 2013) (denying a motion to

    stay discovery pending a motion to compel arbitration where the arbitration clause’s validity was

    at issue).

            Accordingly, it is

            ORDERED AND AJUDGED as follows:

    1.      Defendants, Voyager Digital Ltd. and Voyager Digital, LLC’s Expedited Motion to Stay

            Discovery Pending Resolution of Defendants’ Motion to Compel Arbitration and to

            Dismiss the Complaint [ECF No. 29] is DENIED without prejudice.

    2.      Plaintiff shall propound written jurisdictional and arbitration-related discovery requests by

            March 7, 2022. 3

    3.      Defendants shall serve objections to written jurisdictional arbitration-related discovery

            requests — following proper conferral with Plaintiff — by March 17, 2022. Should any



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     Defendants may similarly engage in discovery if they wish; the Court will not address deadlines for such
    discovery as this is not an issue in the parties’ briefing.
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          objections be served, Plaintiff shall contact Magistrate Judge Edwin G. Torres’s chambers

          by March 21, 2022 to arrange a date for a discovery hearing.

    4.    Defendants shall respond to written jurisdictional discovery requests by March 24, 2022.

    5.    The parties shall complete jurisdictional discovery, including depositions, by April 14,

          2022.

    6.    Plaintiff has until April 14, 2022 to file his first amended complaint or file a notice stating

          that he intends to proceed with the Complaint [ECF No. 1].

    7.    Defendants have until April 16, 2022 to file a notice indicating they will not be challenging

          personal jurisdiction or seeking to compel arbitration, or until April 24, 2022 to renew their

          motion to compel arbitration and dismiss for lack of personal jurisdiction. The response

          and reply memoranda are due within the times permitted by the Rules. No extensions of

          time will be given.

    8.    The deadlines set forth in the Court’s Scheduling Order [ECF No. 20] are SET ASIDE.

          Once the matters of personal jurisdiction and arbitration are resolved, the parties will be

          instructed by separate order to submit an amended joint scheduling report.

    9.    All pending motions are DENIED as premature.

          DONE AND ORDERED in Miami, Florida, this 3rd day of March, 2022.



                                                 ________________________________________
                                                 CECILIA M. ALTONAGA
                                                 CHIEF UNITED STATES DISTRICT JUDGE

    cc:   counsel of record




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     From:           cmecfautosender@flsd.uscourts.gov
     To:             flsd_cmecf_notice@flsd.uscourts.gov
     Subject:        Activity in Case 1:22-cv-22538-RKA Robertson et al v. Cuban et al Order on Motion to Certify Class
     Date:           Friday, November 18, 2022 4:33:14 PM




     This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT
     RESPOND to this e-mail because the mail box is unattended.
     ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States
     policy permits attorneys of record and parties in a case (including pro se litigants) to
     receive one free electronic copy of all documents filed electronically, if receipt is required
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     charges, download a copy of each document during this first viewing. However, if the
     referenced document is a transcript, the free copy and 30 page limit do not apply.

                                                   U.S. District Court

                                            Southern District of Florida

     Notice of Electronic Filing

     The following transaction was entered on 11/18/2022 at 4:31 PM EST and filed on 11/18/2022
     Case Name:           Robertson et al v. Cuban et al
     Case Number:         1:22-cv-22538-RKA
     Filer:
     WARNING: CASE CLOSED on 08/31/2022
     Document Number: 45(No document attached)

     Docket Text:
     PAPERLESS ORDER denying without prejudice [40] the Plaintiffs' Motion for
     Class Certification. The Plaintiffs may refile their motion after we rule on the
     pending Motion to Dismiss [ECF No. 41]. We also DENY as moot [43] the
     Defendants' Motion for Extension of Time since we've denied the Plaintiffs'
     Motion for Class Certification.

     Finally, we deny [42] the Defendants' Motion to Stay and for a Protective Order.
     "Motions to stay discovery are not favored because when discovery is delayed
     or prolonged it can create case management problems which impede the
     Court's responsibility to expedite discovery and cause unnecessary litigation
     expenses and problems." Cuhaci v. Kouri Grp., LP, 2021 WL 1945819, at *2 (S.D.
     Fla. May 14, 2021) (cleaned up). "[D]iscovery stay motions are generally denied
     except where a specific showing of prejudice or burdensomeness is made."
     Montoya v. PNC Bank, N.A., 2014 WL 2807617, at *2 (S.D. Fla. June 20, 2014).
     The party moving for a stay of discovery "bears the burden of showing good
     cause and reasonableness." Feldman v. Flood, 176 F.R.D. 651, 652 (M.D. Fla.
     1997). Similarly, the Court's scheduling orders may be modified "only for good
     cause." Fed. R. Civ. P. 16(b)(4).

     Here, the Defendants have failed to establish that staying discovery is
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    warranted. The Defendants' sole justification for requesting a stay is that their
    pending motion to dismiss might eliminate the need for discovery. But that
    could be said about nearly all motions to dismiss -- and so, the Defendants
    have done nothing to establish a "specific showing of prejudice or
    burdensomeness." They have not, for example, pointed to extraordinary costs
    or to a long-awaited ruling on a dispositive motion or to a particularly dubious
    complaint. In fact, taking "a preliminary peek" at the merits of the motion to
    dismiss, the motion is not "clearly" meritorious. Feldman, 176 F.R.D. at 652-53.
    For these reasons, the Defendants have not established that a stay would be
    reasonable or that there is good cause for the request in this case.

    And, to the extent the Defendants' Motion seeks a protective order, we'll DENY
    that, too, because the Defendants haven't told us what they seek protection
    from or what that protective order might look like. Signed by Judge Roy K.
    Altman on 11/18/2022. (js07)


    1:22-cv-22538-RKA Notice has been electronically mailed to:

    Adam M. Moskowitz adam@moskowitz-law.com, dione@moskowitz-law.com,
    rejane@moskowitz-law.com, service@moskowitz-law.com

    Alexandra Lyn Tifford atifford@fowler-white.com, aherazo@ecf.courtdrive.com,
    aherazo@fowler-white.com, atifford@ecf.courtdrive.com, CAfilings@fowler-white.com,
    mramirez@ecf.courtdrive.com

    Barbara Cabrera Lewis    barbara@moskowitz-law.com, service@moskowitz-law.com

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    Stephen A. Best     sbest@brownrudnick.com

    Stephen N. Zack     szack@bsfllp.com, Cwashenko@BSFLLP.com

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    will be provided by other means. For further assistance, please contact our Help Desk at
    1-888-318-2260.:
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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-cv-22538-ALTMAN/REID

    PIERCE ROBERTSON, et al.,

            Plaintiffs,

    v.

    MARK CUBAN, et al.,

            Defendants.
                                           /

                                   ORDER FOLLOWING HEARING

            This cause comes before the Court following a discovery hearing conducted on January 6,

    2023. [ECF No. 76]. At the hearing the parties discussed the following issues: (1) Defendants’

    request to bifurcate deposition discovery; (2) Defendants’ responses to Plaintiff’s initial discovery

    requests; (3) the date for Defendant Mark Cuban’s deposition; (4) whether Mr. Cuban’s deposition

    will be limited to jurisdictional issues; (5) the date Defendant Dallas Mavericks (“Mavericks”)

    must produce employees Ryan Mackey and Kyle Tapply to be deposed; (6) scheduling the in-

    person depositions of three Florida-based Plaintiffs, Pierce Robertson, Rachel Gold, and Sanford

    Gold, as well as non-party Eric Rares (Rachel Gold’s husband); and (7) Plaintiffs’ responses to

    Defendants’ First Omnibus Request for Production.

            Having heard from the parties, in accordance with the ruling from the bench, and for the

    reasons stated on the record, it is ORDERED AND ADJUDGED as follows:

         1. Defendants’ request to bifurcate discovery allowing Plaintiffs to initially depose witnesses
            regarding solely jurisdictional issues is denied’

         2. Mark Cuban’s deposition, scheduled to take place in Dallas, Texas, on February 2, 2023,
            will be taken in full and will not be limited to jurisdictional issues;

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          3. The three Florida-based Plaintiffs shall appear for in-person depositions as follows:

                 a. Pierce Robertson may be deposed in Chicago, Illinois during the week of January
                    9, 2023;

                 b. Rachel Gold shall be deposed in her Coral Springs, Florida home on January 23,
                    2023;

                 c. Sanford Gold shall be deposed in Miami, Florida, on either January 23 or 24, 2023;

                 d. Non-party Eric Rares shall be deposed in Miami, Florida on either January 23 or
                    24, 2023;

          4. Plaintiffs shall produce outstanding discovery requested in Defendants’ First Omnibus
             Request for Production. Specifically, Plaintiffs must produce outstanding discovery
             relating to Plaintiffs’ Voyager accounts and trading and financial information related to
             those Voyager accounts by the close of business January 13, 2023. With respect to the
             request for “documents relating to any investment accounts with any brokerage firm,
             person or entity,” at this juncture, Plaintiffs have not established the relevancy of those
             documents; and

          5. Defendants shall produce Mavericks employees Ryan Mackey and Kyle Tapply to be
             deposed prior to February 23, 2023. Defendants shall prioritize and produce all discovery
             to Plaintiffs as to these two individuals by the end of January 2023.

             DONE AND ORDERED in Chambers at Miami, Florida this 6th day of January 2023.




                                                           LISETTE M. REID
                                                           UNITED STATES MAGISTRATE JUDGE


    cc:      U.S. District Court Judge Roy K. Altman; and

             All Counsel of Record




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        PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR
                PRODUCTION TO DEFENDANT
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                     CASE NO. 1:22-cv-23753-KMM

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    SAM BANKMAN-FRIED, et al.,

           Defendants.
                                                      /

          PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR PRODUCTION TO
                    DEFENDANT GOLDEN STATE WARRIORS LLC

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Golden State

     Warriors LLC (“GSW”), produce the documents requested in response to these three requests.

    Dated: April 21, 2023                           Respectfully submitted,

                                                     By: /s/ Adam Moskowitz
                                                     Adam M. Moskowitz
                                                     Florida Bar No. 984280
                                                     adam@moskowitz-law.com
                                                     Joseph M. Kaye
                                                     Florida Bar No. 117520
                                                     joseph@moskowitz-law.com
                                                     THE MOSKOWITZ LAW FIRM, PLLC
                                                     2 Alhambra Plaza, Suite 601
                                                     Coral Gables, FL 33134
                                                     Telephone: (305) 740-1423

                                                     By: /s/ David Boies
                                                     David Boies
                                                     (Pro Hac Vice)
                                                     Alex Boies
                                                     (Pro Hac Vice)
                                                     BOIES SCHILLER FLEXNER LLP
                                                     333 Main Street
                                                     Armonk, NY 10504
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                                                          Phone: (914) 749–8200
                                                          dboies@bsfllp.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          BOIES SCHILLER FLEXNER LLP
                                                          100 SE 2nd St., Suite 2800
                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com

                                                          Co-Counsel for Plaintiff and the Class




                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on April 21, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ




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                                DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “GSW,” “You,” or “Your” means Defendant Golden State Warriors LLC and

     any of its affiliates, subsidiaries, divisions, segments, predecessors, successors, officers,

     directors, employees, representatives, or agents.

            2.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., and any of their affiliates, subsidiaries, divisions, segments, predecessors,

     successors, officers, directors, employees, representatives, or agents.

            3.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            4.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            5.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            6.       “FTX Platform” refers to the FTX Entities’ mobile application cryptocurrency

     investment service that places cryptocurrency trade orders on behalf of users.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and


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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                             THREE REQUESTS FOR PRODUCTION
      Please refer to the Definitions and Instructions when responding to these requests. To the
          extent that any of these requests seek information considered by Defendants to be
        confidential, Plaintiff have already agreed to enter into any reasonable confidentiality
            agreement with Defendants to protect such alleged confidential information.
             1.    All Documents and Communications, including but not limited to contracts or

    agreements, regarding Your “First-Of-Its-Kind” International Partnership with the FTX Entities.

    See https://www.nba.com/warriors/warriors-ftx-partnership-20211214 (accessed April 21,

    2023).

              2.   All Documents and Communications, that show, evidence and/or relate to

     Defendant “targeting” Defendant’s Florida fans, and Florida’s FTX consumers, including but

     not limited to (1) any advertising for the FTX Platform or FTX Entities located in the Chase

     Center that was broadcast in or viewable by Florida investors and GSW fans residing in Florida

     during GSW games (including GSW home games where GSW played either the Miami Heat or

     Orlando Magic); (2) any advertising for the FTX Platform or FTX Entities located in the

     Warriors Gaming Squad court during NBA 2K League games; and (3) any NFTs that GSW

     offered for sale on the FTX Platform.

             3.    All documents regarding any and all communications with the FTX Entities

    regarding whether YBAs or FTT constitute a security under any federal or state law.




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       PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR
               PRODUCTION TO DEFENDANT
                  LAWRENCE GENE DAVID
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                    CASE NO. 1:22-cv-23753-KMM

   EDWIN GARRISON, et al., on behalf of
   themselves and all others similarly situated,

          Plaintiffs,

   v.

   SAM BANKMAN-FRIED, et al.,

          Defendants.
                                                     /

         PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR PRODUCTION TO
                       DEFENDANT LAWRENCE GENE DAVID

           Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Lawrence Gene

     David (“David”), produce the documents requested in response to these three requests.

   Dated: April 21, 2023                            Respectfully submitted,

                                                     By: /s/ Adam Moskowitz
                                                     Adam M. Moskowitz
                                                     Florida Bar No. 984280
                                                     adam@moskowitz-law.com
                                                     Joseph M. Kaye
                                                     Florida Bar No. 117520
                                                     joseph@moskowitz-law.com
                                                     THE MOSKOWITZ LAW FIRM, PLLC
                                                     2 Alhambra Plaza, Suite 601
                                                     Coral Gables, FL 33134
                                                     Telephone: (305) 740-1423

                                                     By: /s/ David Boies
                                                     David Boies
                                                     (Pro Hac Vice)
                                                     Alex Boies
                                                     (Pro Hac Vice)
                                                     BOIES SCHILLER FLEXNER LLP
                                                     333 Main Street
                                                     Armonk, NY 10504
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                                                         Phone: (914) 749–8200
                                                         dboies@bsfllp.com

                                                         By: /s/ Stephen Neal Zack
                                                         Stephen Neal Zack
                                                         Florida Bar No. 145215
                                                         BOIES SCHILLER FLEXNER LLP
                                                         100 SE 2nd St., Suite 2800
                                                         Miami, FL 33131
                                                         Office: 305-539-8400
                                                         szack@bsfllp.com

                                                         Co-Counsel for Plaintiff and the Class




                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 21, 2023, a true and correct copy of the foregoing was

   sent via electronic mail to counsel for Defendants.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                DEFINITIONS AND INSTRUCTIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

           1.       “David,” “You,” or “Your” means Defendant Lawrence Gene David and any of

    his affiliates, representatives, or agents.

           2.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

    Blockfolio, Inc., and any of their affiliates, subsidiaries, divisions, segments, predecessors,

    successors, officers, directors, employees, representatives, or agents.

           3.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

    cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

           4.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

    FTX Platform.

           5.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

    ecosystem.

           6.       “FTX Platform” refers to the FTX Entities’ mobile application cryptocurrency

    investment service that places cryptocurrency trade orders on behalf of users.

           7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

    kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

    and copies bearing notations or marks not found on the original, including but not limited to

    memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

    messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

    magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

    agreements, contracts, and all other written communications, of any type, including inter and

    intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,


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    charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

    other recordings, print-outs or compilations from which information can be obtained or, if

    necessary, translated through detection devices into reasonably usable form, including all

    underlying or preparatory materials and drafts thereof.

           8.       Unless otherwise stated in a request, the time period for which you must respond

    is beginning in January 1, 2019 and ending at the present time.

            9.      “Person” or “People” means any natural person(s) or any business, legal, or

    governmental entity (or entities) or association(s).

            10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

    or each as necessary to bring within the scope of the discovery request all responses that might

    otherwise be construed to be outside its scope.

            11.     Objections: Where an objection is made to any request, the objection shall state

    with specificity all grounds. Any ground not stated in an objection within the time provided by

    the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

    waived.

            12.     Whenever a reference to a business entity appears, the reference shall mean the

    business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

    employees, agents, clients or other representatives of affiliated third parties.

                                            INSTRUCTIONS

   1.     Production of documents and items requested herein shall be made at the offices of The

          Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

          at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email

          addresses provided in the signature blocks of the attorneys serving these requests.




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   2.    These requests shall include all documents that are in the possession, custody or control of

         Defendant or in the possession, custody or control of the present or former agents,

         representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

         Defendant, or its present or former agents, representatives, or attorneys.

   3.    For any document covered by a request that is withheld from production, Defendant shall

         provide the following information in the form of a privilege log:

                        a.      the reasons and facts supporting any withholding;

                        b.      the date such document was prepared;

                        c.      the names, employment positions and addresses of the author or

                                preparers of such document;

                        d.      the names, employment positions, and the addresses of each person

                                who received such document;

                        e.      the title and a brief description of the document; and

                        f.      the number of the request under which such document would be

                                produced but for the objection.

   4.    If any document responsive to a request has been destroyed, produce all documents

         describing or referencing:

                        a.      the contents of the lost or destroyed document;

                        b.      all locations in which any copy of the lost or destroyed document

                                had been maintained;

                        c.      the date of such loss or destruction;

                        d.      the name of each person who ordered, authorized, and carried out

                                the destruction of any responsive document;




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                        e.      all document retention and destruction policies in effect at the time

                                any requested document was destroyed; and

                        f.      all efforts made to locate any responsive document alleged to have

                                been lost.

   5.    In producing the documents requested, indicate the specific request(s) pursuant to which

         document or group of documents is being produced.

   6.    These requests should be deemed continuing, and supplemental productions should be

         provided as additional documents become available.

   7.    All documents are to be produced in the following method:

          a) Single page .TIFF

          b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

              produced in .jpg format)

          c) OCR at document level (All documents are to be provided with searchable text files

              with the exception of the redacted portions of redacted documents)

          d) Electronic documents and Emails are to be processed and converted from the

              electronic format to single page tiff




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                            THREE REQUESTS FOR PRODUCTION
      Please refer to the Definitions and Instructions when responding to these requests. To the
          extent that any of these requests seek information considered by Defendants to be
        confidential, Plaintiff have already agreed to enter into any reasonable confidentiality
            agreement with Defendants to protect such alleged confidential information.
          1.      All Documents and Communications, including contracts or agreements,

   regarding any business You conducted with the FTX Entities.

           2.     All Documents and Communications, that show, evidence and/or relate to

    Defendant “targeting” Defendant’s Florida fans, and Florida’s FTX consumers, including but

    not limited to the “Don’t Miss Out on Crypto” 2022 Super Bowl advertisement. See

    https://youtu.be/hWMnbJJpeZc (accessed April 21, 2023).

          3.      All documents regarding any and all communications with the FTX Entities

   regarding whether YBAs or FTT constitute a security under any federal or state law.




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       PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                    CASE NO. 1:22-cv-23753-KMM

   EDWIN GARRISON, et al., on behalf of
   themselves and all others similarly situated,

          Plaintiffs,

   v.

   SAM BANKMAN-FRIED, et al.,

          Defendants.
                                                     /

         PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR PRODUCTION TO
                           DEFENDANT NAOMI OSAKA

           Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Naomi Osaka

     (“Osaka”), produce the documents requested in response to these three requests.

   Dated: April 21, 2023                            Respectfully submitted,

                                                     By: /s/ Adam Moskowitz
                                                     Adam M. Moskowitz
                                                     Florida Bar No. 984280
                                                     adam@moskowitz-law.com
                                                     Joseph M. Kaye
                                                     Florida Bar No. 117520
                                                     joseph@moskowitz-law.com
                                                     THE MOSKOWITZ LAW FIRM, PLLC
                                                     2 Alhambra Plaza, Suite 601
                                                     Coral Gables, FL 33134
                                                     Telephone: (305) 740-1423

                                                     By: /s/ David Boies
                                                     David Boies
                                                     (Pro Hac Vice)
                                                     Alex Boies
                                                     (Pro Hac Vice)
                                                     BOIES SCHILLER FLEXNER LLP
                                                     333 Main Street
                                                     Armonk, NY 10504
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                                                         Phone: (914) 749–8200
                                                         dboies@bsfllp.com

                                                         By: /s/ Stephen Neal Zack
                                                         Stephen Neal Zack
                                                         Florida Bar No. 145215
                                                         BOIES SCHILLER FLEXNER LLP
                                                         100 SE 2nd St., Suite 2800
                                                         Miami, FL 33131
                                                         Office: 305-539-8400
                                                         szack@bsfllp.com

                                                         Co-Counsel for Plaintiff and the Class




                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 21, 2023, a true and correct copy of the foregoing was

   sent via electronic mail to counsel for Defendants.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                DEFINITIONS AND INSTRUCTIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

           1.       “Osaka,” “You,” or “Your” means Defendant Naomi Osaka and any of her

    affiliates, representatives, or agents.

           2.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

    Blockfolio, Inc., and any of their affiliates, subsidiaries, divisions, segments, predecessors,

    successors, officers, directors, employees, representatives, or agents.

           3.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

    cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

           4.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

    FTX Platform.

           5.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

    ecosystem.

           6.       “FTX Platform” refers to the FTX Entities’ mobile application cryptocurrency

    investment service that places cryptocurrency trade orders on behalf of users.

           7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

    kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

    and copies bearing notations or marks not found on the original, including but not limited to

    memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

    messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

    magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

    agreements, contracts, and all other written communications, of any type, including inter and

    intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,


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    charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

    other recordings, print-outs or compilations from which information can be obtained or, if

    necessary, translated through detection devices into reasonably usable form, including all

    underlying or preparatory materials and drafts thereof.

           8.       Unless otherwise stated in a request, the time period for which you must respond

    is beginning in January 1, 2019 and ending at the present time.

            9.      “Person” or “People” means any natural person(s) or any business, legal, or

    governmental entity (or entities) or association(s).

            10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

    or each as necessary to bring within the scope of the discovery request all responses that might

    otherwise be construed to be outside its scope.

            11.     Objections: Where an objection is made to any request, the objection shall state

    with specificity all grounds. Any ground not stated in an objection within the time provided by

    the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

    waived.

            12.     Whenever a reference to a business entity appears, the reference shall mean the

    business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

    employees, agents, clients or other representatives of affiliated third parties.

                                            INSTRUCTIONS

   1.     Production of documents and items requested herein shall be made at the offices of The

          Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

          at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email

          addresses provided in the signature blocks of the attorneys serving these requests.




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   2.    These requests shall include all documents that are in the possession, custody or control of

         Defendant or in the possession, custody or control of the present or former agents,

         representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

         Defendant, or its present or former agents, representatives, or attorneys.

   3.    For any document covered by a request that is withheld from production, Defendant shall

         provide the following information in the form of a privilege log:

                        a.      the reasons and facts supporting any withholding;

                        b.      the date such document was prepared;

                        c.      the names, employment positions and addresses of the author or

                                preparers of such document;

                        d.      the names, employment positions, and the addresses of each person

                                who received such document;

                        e.      the title and a brief description of the document; and

                        f.      the number of the request under which such document would be

                                produced but for the objection.

   4.    If any document responsive to a request has been destroyed, produce all documents

         describing or referencing:

                        a.      the contents of the lost or destroyed document;

                        b.      all locations in which any copy of the lost or destroyed document

                                had been maintained;

                        c.      the date of such loss or destruction;

                        d.      the name of each person who ordered, authorized, and carried out

                                the destruction of any responsive document;




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                        e.      all document retention and destruction policies in effect at the time

                                any requested document was destroyed; and

                        f.      all efforts made to locate any responsive document alleged to have

                                been lost.

   5.    In producing the documents requested, indicate the specific request(s) pursuant to which

         document or group of documents is being produced.

   6.    These requests should be deemed continuing, and supplemental productions should be

         provided as additional documents become available.

   7.    All documents are to be produced in the following method:

          a) Single page .TIFF

          b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

              produced in .jpg format)

          c) OCR at document level (All documents are to be provided with searchable text files

              with the exception of the redacted portions of redacted documents)

          d) Electronic documents and Emails are to be processed and converted from the

              electronic format to single page tiff




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                            THREE REQUESTS FOR PRODUCTION
      Please refer to the Definitions and Instructions when responding to these requests. To the
          extent that any of these requests seek information considered by Defendants to be
        confidential, Plaintiff have already agreed to enter into any reasonable confidentiality
            agreement with Defendants to protect such alleged confidential information.
            1.     All Documents and Communications, including contracts or agreements,

   regarding      Your     Global      Partnership            with    the    FTX      Entities.    See

   https://www.prnewswire.com/news-releases/naomi-osaka-world-renowned-tennis-player-and-

   activist-becomes-global-ambassador-and-shareholder-of-ftx-with-long-term-partnership-to-

   increase-access-and-opportunity-for-women-in-crypto-301506633.html (accessed April 21,

   2023).

             2.    All Documents and Communications, that show, evidence and/or relate to

    Defendant “targeting” Defendant’s Florida fans, and Florida’s FTX consumers, including but

    not limited to, (1) through wearing the FTX logo on the kit Defendant wore at tournaments,

    including the 2022 Miami Open, and (2) through any and all content you directed, created,

    produced, or participated in in association with the FTX Entities designed to promote the FTX

    Platform,     FTT,   and/or     YBAs,   such         as     the   advertisement   viewable    here:

    https://youtu.be/pkuf8avR50k (accessed April 21, 2023).

            3.     All documents regarding any and all communications with the FTX Entities

   regarding whether YBAs or FTT constitute a security under any federal or state law.




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       PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR
        PRODUCTION TO DEFENDANT SHOHEI OHTANI
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                    CASE NO. 1:22-cv-23753-KMM

   EDWIN GARRISON, et al., on behalf of
   themselves and all others similarly situated,

          Plaintiffs,

   v.

   SAM BANKMAN-FRIED, et al.,

          Defendants.
                                                      /

         PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR PRODUCTION TO
                          DEFENDANT SHOHEI OHTANI

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Shohei Ohtani

     (“Ohtani”), produce the documents requested in response to these three requests.

   Dated: April 21, 2023                             Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/ David Boies
                                                      David Boies
                                                      (Pro Hac Vice)
                                                      Alex Boies
                                                      (Pro Hac Vice)
                                                      BOIES SCHILLER FLEXNER LLP
                                                      333 Main Street
                                                      Armonk, NY 10504
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                                                         Phone: (914) 749–8200
                                                         dboies@bsfllp.com

                                                         By: /s/ Stephen Neal Zack
                                                         Stephen Neal Zack
                                                         Florida Bar No. 145215
                                                         BOIES SCHILLER FLEXNER LLP
                                                         100 SE 2nd St., Suite 2800
                                                         Miami, FL 33131
                                                         Office: 305-539-8400
                                                         szack@bsfllp.com

                                                         Co-Counsel for Plaintiff and the Class




                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 21, 2023, a true and correct copy of the foregoing was

   sent via electronic mail to counsel for Defendants.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                DEFINITIONS AND INSTRUCTIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

           1.       “Ohtani,” “You,” or “Your” means Defendant Shohei Ohtani and any of his

    affiliates, representatives, or agents.

           2.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

    Blockfolio, Inc., and any of their affiliates, subsidiaries, divisions, segments, predecessors,

    successors, officers, directors, employees, representatives, or agents.

           3.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

    cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

           4.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

    FTX Platform.

           5.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

    ecosystem.

           6.       “FTX Platform” refers to the FTX Entities’ mobile application cryptocurrency

    investment service that places cryptocurrency trade orders on behalf of users.

           7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

    kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

    and copies bearing notations or marks not found on the original, including but not limited to

    memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

    messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

    magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

    agreements, contracts, and all other written communications, of any type, including inter and

    intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,


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    charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

    other recordings, print-outs or compilations from which information can be obtained or, if

    necessary, translated through detection devices into reasonably usable form, including all

    underlying or preparatory materials and drafts thereof.

           8.       Unless otherwise stated in a request, the time period for which you must respond

    is beginning in January 1, 2019 and ending at the present time.

            9.      “Person” or “People” means any natural person(s) or any business, legal, or

    governmental entity (or entities) or association(s).

            10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

    or each as necessary to bring within the scope of the discovery request all responses that might

    otherwise be construed to be outside its scope.

            11.     Objections: Where an objection is made to any request, the objection shall state

    with specificity all grounds. Any ground not stated in an objection within the time provided by

    the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

    waived.

            12.     Whenever a reference to a business entity appears, the reference shall mean the

    business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

    employees, agents, clients or other representatives of affiliated third parties.

                                            INSTRUCTIONS

   1.     Production of documents and items requested herein shall be made at the offices of The

          Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

          at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email

          addresses provided in the signature blocks of the attorneys serving these requests.




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   2.    These requests shall include all documents that are in the possession, custody or control of

         Defendant or in the possession, custody or control of the present or former agents,

         representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

         Defendant, or its present or former agents, representatives, or attorneys.

   3.    For any document covered by a request that is withheld from production, Defendant shall

         provide the following information in the form of a privilege log:

                        a.      the reasons and facts supporting any withholding;

                        b.      the date such document was prepared;

                        c.      the names, employment positions and addresses of the author or

                                preparers of such document;

                        d.      the names, employment positions, and the addresses of each person

                                who received such document;

                        e.      the title and a brief description of the document; and

                        f.      the number of the request under which such document would be

                                produced but for the objection.

   4.    If any document responsive to a request has been destroyed, produce all documents

         describing or referencing:

                        a.      the contents of the lost or destroyed document;

                        b.      all locations in which any copy of the lost or destroyed document

                                had been maintained;

                        c.      the date of such loss or destruction;

                        d.      the name of each person who ordered, authorized, and carried out

                                the destruction of any responsive document;




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                        e.      all document retention and destruction policies in effect at the time

                                any requested document was destroyed; and

                        f.      all efforts made to locate any responsive document alleged to have

                                been lost.

   5.    In producing the documents requested, indicate the specific request(s) pursuant to which

         document or group of documents is being produced.

   6.    These requests should be deemed continuing, and supplemental productions should be

         provided as additional documents become available.

   7.    All documents are to be produced in the following method:

          a) Single page .TIFF

          b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

              produced in .jpg format)

          c) OCR at document level (All documents are to be provided with searchable text files

              with the exception of the redacted portions of redacted documents)

          d) Electronic documents and Emails are to be processed and converted from the

              electronic format to single page tiff




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                             THREE REQUESTS FOR PRODUCTION
      Please refer to the Definitions and Instructions when responding to these requests. To the
          extent that any of these requests seek information considered by Defendants to be
        confidential, Plaintiff have already agreed to enter into any reasonable confidentiality
            agreement with Defendants to protect such alleged confidential information.
          1.        All Documents and Communications, including contracts or agreements,

   regarding     Your       Global    Partnership            with      the    FTX      Entities.   See

   https://www.prnewswire.com/news-releases/mlb-superstar-shohei-ohtani-joins-ftx-as-global-

   ambassador-through-long-term-partnership-301425911.html (accessed April 21, 2023).

           2.       All Documents and Communications, that show, evidence and/or relate to

    Defendant “targeting” Defendant’s Florida fans, and Florida’s FTX consumers, including but

    not   limited      to   the   “Shohei   Does        it      All”     advertising   campaign.   See

    https://www.youtube.com/watch?v=Is72XSKuUqA (accessed April 21, 2023).

          3.        All documents regarding any and all communications with the FTX Entities

   regarding whether YBAs or FTT constitute a security under any federal or state law.




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       PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                    CASE NO. 1:22-cv-23753-KMM

   EDWIN GARRISON, et al., on behalf of
   themselves and all others similarly situated,

          Plaintiffs,

   v.

   SAM BANKMAN-FRIED, et al.,

          Defendants.
                                                      /

         PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR PRODUCTION TO
                          DEFENDANT STEPHEN CURRY

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Stephen Curry

     (“Curry”), produce the documents requested in response to these three requests.

   Dated: April 21, 2023                             Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/ David Boies
                                                      David Boies
                                                      (Pro Hac Vice)
                                                      Alex Boies
                                                      (Pro Hac Vice)
                                                      BOIES SCHILLER FLEXNER LLP
                                                      333 Main Street
                                                      Armonk, NY 10504
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                                                         Phone: (914) 749–8200
                                                         dboies@bsfllp.com

                                                         By: /s/ Stephen Neal Zack
                                                         Stephen Neal Zack
                                                         Florida Bar No. 145215
                                                         BOIES SCHILLER FLEXNER LLP
                                                         100 SE 2nd St., Suite 2800
                                                         Miami, FL 33131
                                                         Office: 305-539-8400
                                                         szack@bsfllp.com

                                                         Co-Counsel for Plaintiff and the Class




                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 21, 2023, a true and correct copy of the foregoing was

   sent via electronic mail to counsel for Defendants.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                DEFINITIONS AND INSTRUCTIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

           1.       “Curry,” “You,” or “Your” means Defendant Stephen Curry and any of his

    affiliates, representatives, or agents.

           2.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

    Blockfolio, Inc., and any of their affiliates, subsidiaries, divisions, segments, predecessors,

    successors, officers, directors, employees, representatives, or agents.

           3.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

    cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

           4.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

    FTX Platform.

           5.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

    ecosystem.

           6.       “FTX Platform” refers to the FTX Entities’ mobile application cryptocurrency

    investment service that places cryptocurrency trade orders on behalf of users.

           7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

    kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

    and copies bearing notations or marks not found on the original, including but not limited to

    memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

    messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

    magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

    agreements, contracts, and all other written communications, of any type, including inter and

    intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,


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    charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

    other recordings, print-outs or compilations from which information can be obtained or, if

    necessary, translated through detection devices into reasonably usable form, including all

    underlying or preparatory materials and drafts thereof.

           8.       Unless otherwise stated in a request, the time period for which you must respond

    is beginning in January 1, 2019 and ending at the present time.

            9.      “Person” or “People” means any natural person(s) or any business, legal, or

    governmental entity (or entities) or association(s).

            10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

    or each as necessary to bring within the scope of the discovery request all responses that might

    otherwise be construed to be outside its scope.

            11.     Objections: Where an objection is made to any request, the objection shall state

    with specificity all grounds. Any ground not stated in an objection within the time provided by

    the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

    waived.

            12.     Whenever a reference to a business entity appears, the reference shall mean the

    business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

    employees, agents, clients or other representatives of affiliated third parties.

                                            INSTRUCTIONS

   1.     Production of documents and items requested herein shall be made at the offices of The

          Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

          at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email

          addresses provided in the signature blocks of the attorneys serving these requests.




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   2.    These requests shall include all documents that are in the possession, custody or control of

         Defendant or in the possession, custody or control of the present or former agents,

         representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

         Defendant, or its present or former agents, representatives, or attorneys.

   3.    For any document covered by a request that is withheld from production, Defendant shall

         provide the following information in the form of a privilege log:

                        a.      the reasons and facts supporting any withholding;

                        b.      the date such document was prepared;

                        c.      the names, employment positions and addresses of the author or

                                preparers of such document;

                        d.      the names, employment positions, and the addresses of each person

                                who received such document;

                        e.      the title and a brief description of the document; and

                        f.      the number of the request under which such document would be

                                produced but for the objection.

   4.    If any document responsive to a request has been destroyed, produce all documents

         describing or referencing:

                        a.      the contents of the lost or destroyed document;

                        b.      all locations in which any copy of the lost or destroyed document

                                had been maintained;

                        c.      the date of such loss or destruction;

                        d.      the name of each person who ordered, authorized, and carried out

                                the destruction of any responsive document;




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                        e.      all document retention and destruction policies in effect at the time

                                any requested document was destroyed; and

                        f.      all efforts made to locate any responsive document alleged to have

                                been lost.

   5.    In producing the documents requested, indicate the specific request(s) pursuant to which

         document or group of documents is being produced.

   6.    These requests should be deemed continuing, and supplemental productions should be

         provided as additional documents become available.

   7.    All documents are to be produced in the following method:

          a) Single page .TIFF

          b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

              produced in .jpg format)

          c) OCR at document level (All documents are to be provided with searchable text files

              with the exception of the redacted portions of redacted documents)

          d) Electronic documents and Emails are to be processed and converted from the

              electronic format to single page tiff




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                            THREE REQUESTS FOR PRODUCTION
      Please refer to the Definitions and Instructions when responding to these requests. To the
          extent that any of these requests seek information considered by Defendants to be
        confidential, Plaintiff have already agreed to enter into any reasonable confidentiality
            agreement with Defendants to protect such alleged confidential information.
          1.      All Documents and Communications, including contracts or agreements,

   regarding     Your      Global     Partnership       with     the     FTX       Entities.     See

   https://www.prnewswire.com/news-releases/nba-superstar-stephen-curry-becomes-global-

   ambassador-and-shareholder-of-leading-cryptocurrency-exchange-ftx-through-long-term-

   partnership-301370497.html (accessed April 21, 2023).

           2.     All Documents and Communications, including but not limited to Contracts or

    Agreements and any negotiations, that shows, evidences and/or relates to Defendant “targeting”

    Defendant’s Florida fans, and Florida’s FTX consumers, including but not limited to, through

    any NFTs You offered for sale on the FTX Platform, or through the extremely well-marketed

    the “#notanexpert” campaign and Your statements made in that campaign, including “I’m not

    an expert, and I don’t need to be. With FTX I have everything I need to buy, sell, and trade

    crypto safely.” See https://www.youtube.com/watch?v=gsy2N-XI04o (accessed April 21,

    2023); see also https://www.prnewswire.com/news-releases/stephen-curry-drops-surprise-nft-

    for-charity-to-commemorate-breaking-all-time-nba-three-point-record-301447687.html

    (accessed April 21, 2023).

          3.      All documents regarding any and all communications with the FTX Entities

   regarding whether YBAs or FTT constitute a security under any federal or state law.




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     NOTICES OF TAKING THE VIDEOTAPED DEPOSITION
        OF DEFENDANTS GOLDEN STATE WARRIORS
         LLC’S RULE 30(b)(6) REPRESENTATIVE(S),
         LAWRENCE GENE DAVID, NAOMI OSAKA,
          SHOHEI OHTANI, AND STEPHEN CURRY
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                     CASE NO. 1:22-cv-23753-KMM

   EDWIN GARRISON, et al., on behalf of
   themselves and all others similarly situated,

          Plaintiffs,

   v.

   SAM BANKMAN-FRIED, et al.,

          Defendants.
                                                        /

         NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF DEFENDANT
         GOLDEN STATE WARRIORS LLC’S RULE 30(b)(6) REPRESENTATIVE(S)

          Pursuant to Federal Rule of Civil Procedure 30(b)(6), Plaintiff’s counsel will take the

   deposition of the below-named person/entity on the date, time, and at the location indicated.


          DEPONENT:               Defendant Golden State Warriors LLC, (the “GSW”), by and
                                  through GSW’ corporate representative(s) with knowledge
                                  of the four topics listed in Exhibit A, pursuant to Federal
                                  Rule of Civil Procedure 30(b)(6).
          DATE:                   May 8, 2023
          TIME:                   10:00 AM (PDT) // 1:00 PM (EDT)
          LOCATION:               Boies, Schiller Flexner, LLP
                                  725 S Figueroa Street, 31st Floor
                                  Los Angeles, CA 90017
                                  Phone (213) 629–9040


          The aforesaid deposition will be before a court reporter, an officer authorized by law to

   administer oaths and take depositions in the State of California. The deposition is being taken for

   the purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under

   the Federal and Local Rules of Civil Procedure.
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          Pursuant to Federal Rule of Civil Procedure 30(b)(6), Defendant Golden State Warriors

   LLC (the “GSW”) shall both designate one or more officers, directors, managing agents, or other

   persons to testify on its behalf on each topic listed on Exhibit A attached hereto.

   Dated: April 21, 2023                                Respectfully submitted,

                                                        By: /s/ Adam Moskowitz
                                                        Adam M. Moskowitz
                                                        Florida Bar No. 984280
                                                        adam@moskowitz-law.com
                                                        Joseph M. Kaye
                                                        Florida Bar No. 117520
                                                        joseph@moskowitz-law.com
                                                        THE MOSKOWITZ LAW FIRM, PLLC
                                                        2 Alhambra Plaza, Suite 601
                                                        Coral Gables, FL 33134
                                                        Telephone: (305) 740-1423

                                                        By: /s/ David Boies
                                                        David Boies
                                                        (Pro Hac Vice)
                                                        Alex Boies
                                                        (Pro Hac Vice)
                                                        BOIES SCHILLER FLEXNER LLP
                                                        333 Main Street
                                                        Armonk, NY 10504
                                                        Phone: (914) 749–8200
                                                        dboies@bsfllp.com

                                                        By: /s/ Stephen Neal Zack
                                                        Stephen Neal Zack
                                                        Florida Bar No. 145215
                                                        BOIES SCHILLER FLEXNER LLP
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                                                        Miami, FL 33131
                                                        Office: 305-539-8400
                                                        szack@bsfllp.com

                                                        Co-Counsel for Plaintiff and the Class




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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on April 21,

   2023, via the Court’s CM/ECF system, which will send notification of such filing to all attorneys

   of record.


                                                By: /s/ Adam M. Moskowitz______
                                                   ADAM M. MOSKOWITZ




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                                               EXHIBIT A

                              I. DEFINITIONS AND INSTRUCTIONS

   Unless otherwise specified, the terms set forth below have the following meanings:

           1.       “GSW,” “You,” or “Your” means Defendant, Golden State Warriors LLC, any

    of its affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

    employees, representatives, or agents.

           2.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

    Blockfolio, Inc., and any of their affiliates, subsidiaries, divisions, segments, predecessors,

    successors, officers, directors, employees, representatives, or agents.

           3.       “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

    cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

           4.       “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

    FTX Platform.

           5.       “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

    ecosystem.

           6.       “FTX Platform” refers to the FTX Entities’ mobile application cryptocurrency

    investment service that places cryptocurrency trade orders on behalf of users.

           7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

    kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

    and copies bearing notations or marks not found on the original, including but not limited to

    memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

    messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

    magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,



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    agreements, contracts, and all other written communications, of any type, including inter and

    intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

    charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

    other recordings, print-outs or compilations from which information can be obtained or, if

    necessary, translated through detection devices into reasonably usable form, including all

    underlying or preparatory materials and drafts thereof.

            8.      “Person” or “People” means any natural person(s) or any business, legal, or

    governmental entity (or entities) or association(s).

            9.      All/Each – The terms “all” and “each” shall be construed as meaning either all

    or each as necessary to bring within the scope of the discovery request all responses that might

    otherwise be construed to be outside its scope.

            10.     Objections: Where an objection is made to any request, the objection shall state

    with specificity all grounds. Any ground not stated in an objection within the time provided by

    the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall

    be waived.

            11.     Whenever a reference to a business entity appears, the reference shall mean the

    business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

    employees, agents, clients or other representatives of affiliated third parties.

            12.     Unless otherwise stated in a request, the time period for which you must respond

    is beginning in January 1, 2019 and ending at the present time.




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                                  II. FOUR DEPOSITION SUBJECTS

            Pursuant to Rule 30(b)(6), the GSW shall designate and produce for deposition one or more
   of its officers, directors, managing agents, or other persons who are knowledgeable about and
   consent to testify on its behalf concerning the following subject matters:

             1.      All Documents and responses provided in response to Plaintiffs’ request for

    production, each dated and served on April 21, 2023.

             2.      All contracts or agreements and circumstances regarding Your “First-Of-Its-

    Kind”         International     Partnership      with      the      FTX         Entities.     See

    https://www.nba.com/warriors/warriors-ftx-partnership-20211214 (accessed April 21, 2023).

             3.      All Documents and Communications, that show, evidence and/or relate to

    Defendant “targeting” Defendant’s Florida fans, and Florida’s FTX consumers, including but

    not limited to (1) any advertising for the FTX Platform or FTX Entities located in the Chase

    Center that was broadcast in or viewable by Florida investors and GSW fans residing in Florida

    during GSW games (including GSW home games where GSW played either the Miami Heat or

    Orlando Magic); (2) any advertising for the FTX Platform or FTX Entities located in the

    Warriors Gaming Squad court during NBA 2K League games; and (3) any NFTs that GSW

    offered for sale on the FTX Platform.

             4.      All research or due diligence YOU and/or the NBA performed about the FTX

    Entities, the FTX Platform, or whether YBAs or FTT constitute a security under any federal or

    state law.




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                     CASE NO. 1:22-cv-23753-KMM

   EDWIN GARRISON, et al., on behalf of
   themselves and all others similarly situated,

          Plaintiffs,

   v.

   SAM BANKMAN-FRIED, et al.,

          Defendants.
                                                        /

                  NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                             DEFENDANT LAWRENCE GENE DAVID

          Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
   of the below-named person/entity on the date, time, and at the location indicated.

          DEPONENT:               Defendant Lawrence Gene David
          DATE:                   May 11, 2023
          TIME:                   10:00 AM (PDT) // 1:00 PM (EDT)
          LOCATION:               Boies, Schiller Flexner, LLP
                                  725 S Figueroa Street, 31st Floor
                                  Los Angeles, CA 90017
                                  Phone (213) 629–9040

          The aforesaid deposition will be before a court reporter, an officer authorized by law to
   administer oaths and take depositions in the State of California. The deposition is being taken for
   the purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under
   the Federal and Local Rules of Civil Procedure.



   Dated: April 21, 2023                               Respectfully submitted,

                                                       By: /s/ Adam Moskowitz
                                                       Adam M. Moskowitz
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                                                      Florida Bar No. 984280
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                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
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                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/ David Boies
                                                      David Boies
                                                      (Pro Hac Vice)
                                                      Alex Boies
                                                      (Pro Hac Vice)
                                                      BOIES SCHILLER FLEXNER LLP
                                                      333 Main Street
                                                      Armonk, NY 10504
                                                      Phone: (914) 749–8200
                                                      dboies@bsfllp.com

                                                      By: /s/ Stephen Neal Zack
                                                      Stephen Neal Zack
                                                      Florida Bar No. 145215
                                                      BOIES SCHILLER FLEXNER LLP
                                                      100 SE 2nd St., Suite 2800
                                                      Miami, FL 33131
                                                      Office: 305-539-8400
                                                      szack@bsfllp.com

                                                      Co-Counsel for Plaintiff and the Class



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on April 21,

   2023, via the Court’s CM/ECF system, which will send notification of such filing to all attorneys

   of record.


                                                By: /s/ Adam M. Moskowitz______
                                                   ADAM M. MOSKOWITZ




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                                UNITED STATES DISTRICT COURT
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                                       MIAMI DIVISION
                                     CASE NO. 1:22-cv-23753-KMM

   EDWIN GARRISON, et al., on behalf of
   themselves and all others similarly situated,

          Plaintiffs,

   v.

   SAM BANKMAN-FRIED, et al.,

          Defendants.
                                                        /

                  NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                   DEFENDANT NAOMI OSAKA

          Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
   of the below-named person/entity on the date, time, and at the location indicated.

          DEPONENT:               Defendant Naomi Osaka
          DATE:                   May 10, 2023
          TIME:                   10:00 AM (PDT) // 1:00 PM (EDT)
          LOCATION:               Boies, Schiller Flexner, LLP
                                  725 S Figueroa Street, 31st Floor
                                  Los Angeles, CA 90017
                                  Phone (213) 629–9040

          The aforesaid deposition will be before a court reporter, an officer authorized by law to
   administer oaths and take depositions in the State of California. The deposition is being taken for
   the purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under
   the Federal and Local Rules of Civil Procedure.



   Dated: April 21, 2023                               Respectfully submitted,

                                                       By: /s/ Adam Moskowitz
                                                       Adam M. Moskowitz
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                                                      Florida Bar No. 984280
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                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/ David Boies
                                                      David Boies
                                                      (Pro Hac Vice)
                                                      Alex Boies
                                                      (Pro Hac Vice)
                                                      BOIES SCHILLER FLEXNER LLP
                                                      333 Main Street
                                                      Armonk, NY 10504
                                                      Phone: (914) 749–8200
                                                      dboies@bsfllp.com

                                                      By: /s/ Stephen Neal Zack
                                                      Stephen Neal Zack
                                                      Florida Bar No. 145215
                                                      BOIES SCHILLER FLEXNER LLP
                                                      100 SE 2nd St., Suite 2800
                                                      Miami, FL 33131
                                                      Office: 305-539-8400
                                                      szack@bsfllp.com

                                                      Co-Counsel for Plaintiff and the Class



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on April 21,

   2023, via the Court’s CM/ECF system, which will send notification of such filing to all attorneys

   of record.


                                                By: /s/ Adam M. Moskowitz______
                                                   ADAM M. MOSKOWITZ




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                                UNITED STATES DISTRICT COURT
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                                       MIAMI DIVISION
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   EDWIN GARRISON, et al., on behalf of
   themselves and all others similarly situated,

          Plaintiffs,

   v.

   SAM BANKMAN-FRIED, et al.,

          Defendants.
                                                        /

                  NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                  DEFENDANT SHOHEI OHTANI

          Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
   of the below-named person/entity on the date, time, and at the location indicated.

          DEPONENT:               Defendant Shohei Ohtani
          DATE:                   May 12, 2023
          TIME:                   10:00 AM (PDT) // 1:00 PM (EDT)
          LOCATION:               Boies, Schiller Flexner, LLP
                                  725 S Figueroa Street, 31st Floor
                                  Los Angeles, CA 90017
                                  Phone (213) 629–9040

          The aforesaid deposition will be before a court reporter, an officer authorized by law to
   administer oaths and take depositions in the State of California. The deposition is being taken for
   the purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under
   the Federal and Local Rules of Civil Procedure.



   Dated: April 21, 2023                               Respectfully submitted,

                                                       By: /s/ Adam Moskowitz
                                                       Adam M. Moskowitz
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                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
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                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/ David Boies
                                                      David Boies
                                                      (Pro Hac Vice)
                                                      Alex Boies
                                                      (Pro Hac Vice)
                                                      BOIES SCHILLER FLEXNER LLP
                                                      333 Main Street
                                                      Armonk, NY 10504
                                                      Phone: (914) 749–8200
                                                      dboies@bsfllp.com

                                                      By: /s/ Stephen Neal Zack
                                                      Stephen Neal Zack
                                                      Florida Bar No. 145215
                                                      BOIES SCHILLER FLEXNER LLP
                                                      100 SE 2nd St., Suite 2800
                                                      Miami, FL 33131
                                                      Office: 305-539-8400
                                                      szack@bsfllp.com

                                                      Co-Counsel for Plaintiff and the Class



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on April 21,

   2023, via the Court’s CM/ECF system, which will send notification of such filing to all attorneys

   of record.


                                                By: /s/ Adam M. Moskowitz______
                                                   ADAM M. MOSKOWITZ




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                                UNITED STATES DISTRICT COURT
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                                       MIAMI DIVISION
                                     CASE NO. 1:22-cv-23753-KMM

   EDWIN GARRISON, et al., on behalf of
   themselves and all others similarly situated,

          Plaintiffs,

   v.

   SAM BANKMAN-FRIED, et al.,

          Defendants.
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                  NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                  DEFENDANT STEPHEN CURRY

          Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
   of the below-named person/entity on the date, time, and at the location indicated.

          DEPONENT:               Defendant Stephen Curry
          DATE:                   May 9, 2023
          TIME:                   10:00 AM (PDT) // 1:00 PM (EDT)
          LOCATION:               Boies, Schiller Flexner, LLP
                                  725 S Figueroa Street, 31st Floor
                                  Los Angeles, CA 90017
                                  Phone (213) 629–9040


          The aforesaid deposition will be before a court reporter, an officer authorized by law to
   administer oaths and take depositions in the State of California. The deposition is being taken for
   the purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under
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                                                  Edwin Garrison, et al. v. Samuel Bankman-Fried, et al.
                                                                          Case No. 1:22-cv-23753-KMM

    Dated: April 21, 2023                              Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on April 21,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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               Exhibit B
    PLAINTIFFS’ OMNIBUS MOTION TO LIFT DISCOVERY STAY
        AND FOR LEAVE TO CONDUCT JURISDICTIONAL
       DISCOVERY, AND, IF NECESSARY TO AMEND THEIR
      COMPLAINTS WITH ANY FACTS ARISING FROM SUCH
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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                               MIAMI DIVISION

                                   CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

                 Plaintiffs,
    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

          Defendants.
    _____________________________________/

        JOINT REPORT IN RESPONSE TO THE COURT’S MAY 16, 2023 ORDER [ECF 88]

                  Plaintiffs, Edwin Garrison, et al. (“Plaintiffs”), and Kevin Paffrath, et al. (“Defendants”)
        (Defendants together with Plaintiffs, the “Parties”), submit this Joint Report, in accordance with
        the Court’s May 16, 2023 Order. ECF No. 88. All of the Parties have been very cooperative and
        met via phone and Zoom teleconference, but respectfully submit different suggestions for how the Court
        should conduct discovery on issues of service and jurisdiction. In accordance with the Court’s Order,
        the Parties respectfully state as follows:
            I.        PLAINTIFFS’ REPORT ON DISCOVERY
                 Plaintiffs and their Counsel have been litigating crypto class actions before this Court 1 for
    over a year and have learned a great deal during the discovery process. Plaintiffs and their Counsel
    have fully briefed, and received many Orders, on issues including jurisdictional
    discovery. Plaintiffs’ Counsel have also been litigating similar class actions against Defendants
    Mark Cuban and his Dallas Mavericks, for their role in promoting Voyager’s unregistered
    securities offerings, 2 where plaintiffs have completed most of the necessary discovery and
    depositions.

    1
        Mark Cassidy v. Voyager Digital Ltd., et al., Case No. 21-cv-24441 (the “Cassidy Action”)
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        Robertson, et al. v. Mark Cuban, et al., Case No. 22-CV-22538 (the “Voyager Brand
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            Plaintiffs want to streamline and narrow discovery so that the Parties can focus on two
    main questions: (1) Did FTX offer and sell “unregistered securities” (including through offering
    and selling the FTX interest accounts and FTT tokens), and (2) did these specific Defendants
    “promote” the sale of the unregistered securities, leading to joint and several liability against FTX
    under the Florida (and/or other applicable state) securities statute(s).
            In the Court’s Case Management Order [D.E. 62], the Court already stated it was not (at
    this stage) bifurcating discovery. In the related Voyager cases, this Court (in the Cassidy Action)
    and Magistrate Judge Reid and Judge Altman (in the Voyager Brand Ambassadors Action) also
    found that there was no clear line between merits and class discovery under these facts and declined
    to bifurcate discovery. After these rulings in the Voyager Brand Ambassadors Action, counsel for
    Mr. Cuban even agreed that we take only one deposition (7 hours), so we only took one complete
    deposition that covered all areas (jurisdiction and merits). The Court has set a discovery deadline
    here of July 3rd [D.E. 62], for Plaintiffs to complete discovery related to the impending class
    certification.
            Service of the Complaint: Issues regarding whether the Defendants were properly served
    is easier, because Plaintiffs provided 8 of the 10 Defendants (other than Armstrong and Creators
    Agency LLC) via email on March 31, 2023, with a copy of the Complaint and Notice of
    Commencement of Action and Request for Waiver of Service forms. See Composite Exhibit A.
    Many of the Defendants declined to return the Waiver forms, so they were served with formal
    process. Although a few Defendants contend that they were improperly served, each defendant has
    now appeared through counsel, who should be authorized (either by their client or by the Court)
    to accept service of process on their behalf, to the extent there are any perceived issues with how
    process was served. The current service as it stands was certainly sufficient to provide all
    Defendants with notice to the extent that they have now appeared in this Action. In any event,
    Plaintiffs certainly would not object to the Court granting Defendants—as requested—an
    extension of time for their responses to the Complaint as if their counsel now executed the waiver
    (as the deadline for responses under the waivers that were sent on March 31, 2023, would be May
    30, 2023).
            To the extent that any of these Defendants refuse to authorize their counsel to accept service
    on their behalf, Plaintiffs respectfully submit that the Court can enter an order authorizing Plaintiffs

    Ambassadors Action”)


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    to serve any Defendant with process through email to their counsel in this Action, particularly in
    the case of Defendant Kullberg, whose whereabouts are unknown but may be currently outside of
    the United States, 3 since the Court ordered all Defendants be served before June 13, 2023. See,
    e.g., ECF Nos. 3, 61, 65.
           Jurisdictional Discovery: Judge K. Michael Moore recently granted Plaintiffs leave to file
    an Amended Complaint in the related matter, Garrison v. Bankman-Fried, No. 1:22-cv-23753-
    KMM, ECF No. 205. We know now that it was FTX’s Miami office, and its Miami-based Vice
    President of Business Development, Mr. Avinash Dabir, who was personally involved with
    originating, organizing and directing most of the FTX celebrity and promotional activities. Now
    that the Parties conducted their Rule 26 Meeting, Plaintiffs already served Defendants on May 17,
    2023, with 7 very narrow requests for production (seeking documents about their own FTX
    promotions) and notices for one brief Zoom deposition of each Defendant. See Composite Exhibit
    B.
           Plaintiffs do not want to create any unreasonable burdens for any party. In all of our prior
    cases, none of the Defendants have sustained their burden to show any “undue burden” in
    responding to this discovery, and Plaintiffs have effectively completed all of that discovery
    efficiently and expeditiously. These 7 narrow requests are very specific and Plaintiffs are glad for
    defendants to produce their materials, as they are kept in the ordinary course of business. Plaintiffs
    are also open to work out any specific cases, where for some reason, the production of the
    responsive materials may be “unduly burdensome.” Moreover, Plaintiffs agree to take only one
    deposition via Zoom (so no travel is necessary), and Defendants can select their own location), on
    any date (at least 10 days after the materials are produced, but well before July 3rd).




    3
      Various recent sources state that Kullberg may be located in the “United States” or in Japan, and
    her husband, Eric Kullberg, lists Dubai as his location on his LinkedIn profile. See
    https://www.linkedin.com/in/erika2/ (Erika Kullberg LinkedIn); https://ae.linkedin.com/in/eric-
    kullberg-315b633a?trk=public_post_feed-actor-name             (Eric     Kullberg         LinkedIn);
    https://il.linkedin.com/posts/eric-kullberg-315b633a_erikataughtme-activity-
    6988093145766887425-Vacy (“I am unbelievably proud of my wife, Erika Kullberg, who has
    travelled the world over the past four months to interview industry experts, entrepreneurs, leaders,
    authors and creators as part of her latest project — the ‘Erika Taught Me’ podcast.”).


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              2.     DEFENDANT’S REPORT ON DISCOVERY
                     Defendants Creators Agency LLC, Erika Kullberg, Brian Jung, Tom Nash, Jaspreet
    Singh, Ben Armstrong, Jeremy Lefebvre, Andrei Jikh, Graham Stephan, and Kevin Paffrath intend
    to challenge personal jurisdiction over them. Additionally, Defendants Jeremy Lefebvre, Andrei
    Jikh, Erika Kullberg, and Kevin Paffrath do not believe that they have been properly served. As
    required by the Court’s amended order of May 16, 2023, ECF No. 88, Plaintiffs and Defendants
    have conferred. Below, Defendants set forth their positions and address the Court’s directives.
              Defendants summarize their position as follows: Defendants do not believe that Plaintiffs
    are entitled to any jurisdictional discovery for the reasons set forth below. If, however, the Court
    permits limited jurisdictional discovery, then the Court should adopt a discovery and briefing
    schedule similar to the one it issued in Cassidy v. Voyager Digital Ltd. See Order, Cassidy v.
    Voyager Digital Ltd., No. 21-cv-24441-CMA, at 6–7 (S.D. Fla. Mar. 3, 2022), ECF No. 36 (the
    “Voyager Digital Order”). Regardless of whether the Court permits limited jurisdictional
    discovery, the Court—as it also ruled in the Voyager Digital Order—should set aside or stay all
    other deadlines in its Scheduling Order. ECF No. 62. Only if any of Defendants are not dismissed
    because of lack of personal jurisdiction or improper service should the case then proceed on the
    merits.
                     Personal Jurisdiction
              At the outset, based on the allegations in the Complaint, Plaintiffs are not entitled to any
    jurisdictional discovery. It is well established that courts have wide latitude in denying
    jurisdictional discovery where a plaintiff has failed to make a prima facie case for jurisdiction. See,
    e.g., Frontera Res. Azerbaijan Corp. v. State Oil Co. of the Azerbaijan Rep., 582 F.3d 393, 401
    (2d Cir. 2009) (“A district court has wide latitude to determine the scope of discovery, and is
    typically within its discretion to deny jurisdictional discovery when the plaintiff has not made out
    a prima facie case for jurisdiction.” (alteration omitted) (citation omitted) (internal quotation marks
    omitted)); Negrón–Torres v. Verizon Commc’ns, Inc., 478 F.3d 19, 27 (1st Cir. 2007) (“[B]ecause
    Negrón has failed to make a colorable claim for personal jurisdiction, we have no reason to
    overturn the district court’s denial of her request for jurisdictional discovery.”); Vision Media TV
    Grp., LLC v. Forte, 724 F. Supp. 2d 1260, 1267 n.3 (S.D. Fla. 2010) (“Plaintiff must provide the
    Court with some showing establishing the need for jurisdictional discovery.”); 8 CHARLES ALAN
    WRIGHT, FEDERAL PRACTICE AND PROCEDURE § 2008.3 (3d ed. Apr. 2014) (“[A] district court



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    may properly refuse or limit jurisdictional discovery if the plaintiff has not made a sufficient
    showing that there may be a basis for exercise of jurisdiction ….”).
             Here, Plaintiffs have failed to make a prima facie case for personal jurisdiction over any
    Defendant. To begin with, the Complaint contains no well-pleaded allegations about any one of
    Defendants that would support personal jurisdiction over any of them. Indeed, apart from brief
    allegations identifying Defendants, see Compl. ¶¶ 22–31, the Complaint contains no allegations
    about any Defendant suggesting that any is subject to personal jurisdiction in Florida. Although
    the Complaint does contain a paragraph on personal jurisdiction, see Compl. ¶ 33, the allegations
    in that paragraph—which lumps all Defendants together—contain “no more than conclusions” that
    “are not entitled to the assumption of truth.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
    Although—as the Court recently observed—“a plaintiff ‘initially need only allege sufficient facts
    to make out a prima facie case of jurisdiction,’” Voyager Digital Order at 2 (quoting Posner v.
    Essex Ins. Co., 178 F.3d 1209, 1214 (11th Cir. 1999), Plaintiffs’ Complaint has failed even to do
    that. In short, the Court should not permit any jurisdictional discovery at all. See Indus. Network,
    Inc. v. Hitti, 2014 WL 324656, at *3 (S.D. Fla. Jan. 28, 2014) (“The purpose of jurisdictional
    discovery is to ascertain the truth of the allegations underlying the assertion of personal
    jurisdiction—it is not a vehicle for a fishing expedition in the hopes that discovery will sustain the
    exercise of jurisdiction.”).
             If the Court does not permit any jurisdictional discovery, then the Court should require
    Defendants to file their motions to dismiss for lack of personal jurisdiction, to dismiss for improper
    service, and to dismiss for failure to state a claim and to join indispensable parties within 30 days,
    so that all Defendants respond at the same time. All other deadlines and merits discovery should
    be stayed until after the Court rules on these motions to dismiss.
             If, on the other hand, the Court is inclined instead to permit limited jurisdictional discovery,
    then the Court should adopt a discovery and briefing schedule similar to the one set forth in the
    Voyager Digital Order. Specifically, Defendants propose the following schedule, which would
    conclude jurisdictional discovery within roughly two months’ time:
         •   Within 10 days after the Court enters an order, the parties must serve any written discovery
             (which may consist of requests for production, interrogatories, and requests for admission)
             on the opposing party 4, which must be limited solely to personal jurisdiction.


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        For clarity, if jurisdictional discovery is permitted, Defendants seek to take discovery from


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       •   Within 21 days after service of any written discovery, the parties must serve responses, any
           objections, and any non-objected-to discovery (together, “Responsive Discovery”). For
           any objections, the parties must promptly meet and confer and contact Judge Damian’s
           chambers to arrange a date for a hearing.

       •   Within 21 days after service of the Responsive Discovery, any desired depositions must
           take place. As with the written discovery, the scope of any deposition is limited solely to
           personal jurisdiction and is limited to 5 hours each.

       •   Within 7 days after completion of jurisdictional discovery, Defendants must file their
           motions to dismiss for lack of personal jurisdiction, for improper service, and for failure to
           state a cause of action and failure to join indispensable parties. Thereafter, response and
           reply memoranda are due within the timeframe permitted by the Local Rules.

           Defendants acknowledge that this briefing schedule builds in more time than that in the
    Voyager Digital Order. But that additional time—about two months for jurisdictional discovery to
    be completed and for the motions to dismiss for lack of personal jurisdiction to be filed—is
    necessary because inn Voyager Digital, there were only two defendants; here, there are ten
    defendants. Thus, discovery will take longer logistically, and additional time is warranted.
           Regardless of whether the Court permits limited jurisdictional discovery, the Court should
    set aside or stay all other deadlines in its Scheduling Order. ECF No. 62 including merits discovery.
    “As a general rule, courts should address issues relating to personal jurisdiction before reaching
    the merits of a plaintiff’s claims.” Rep. of Pan. v. BCCI Holdings (Lux.) S.A., 119 F.3d 935, 941
    (11th Cir. 1997); see also id. (“A defendant that is not subject to the jurisdiction of the court cannot
    be bound by its rulings. Thus, as a preliminary matter, courts should determine if they have the
    power to bind a defendant with a ruling on the merits of the case.” (citation omitted)). For this
    reason, the Court stayed all its deadlines in the Voyager Digital Order, and it should do the same
    here. Only if any Defendant is not dismissed because of lack of personal jurisdiction or improper
    service should the Court permit merits discovery.
                   Service of Process
           Four Defendants assert that that have not been properly served with process: Jeremy
    Lefebvre, Andrei Jikh, Kevin Paffrath, and Erika Kullberg. On May 18, 2023, these Defendants


    Plaintiffs regarding personal jurisdiction as well. During meet-and-confer sessions with counsel
    for Defendant Paffrath, Plaintiffs’ counsel seem to indicate that they believed jurisdictional
    discovery should be provided only from Defendants to Plaintiff. Defendants disagree with this
    position and believe that jurisdictional discovery should be available to all parties.


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    conferred with Plaintiffs in an attempt to resolve the issues surrounding service. Defendants
    Lefebvre, Jikh, and Paffrath have agreed to accept service of process through an appropriate
    waiver, and it is their position that doing so would entitle them to 60 days to answer or otherwise
    respond to the Complaint. See FED. R. CIV. P. 4(d). Based on the conferral, Plaintiffs seemed
    inclined to permit these Defendants additional time to respond if Defendants accepted service of
    process. Plaintiffs, however, raised a concern that the Court would not want multiple or varying
    deadlines within which different Defendants would respond.
             To address this concern, Defendants propose that, if no jurisdictional discovery is
    permitted, all Defendants be given 30 days to file a motion for lack of personal jurisdiction and to
    file a motion to dismiss based on Rule 12(b)(6) and/or Rule 12(b)(7) grounds (and Defendant
    Kullberg will file a motion to dismiss to challenge the sufficiency of service). Alternatively, if
    jurisdictional discovery is permitted, the motions to dismiss would be filed in accordance with the
    schedule proposed above (7 days after completion of jurisdictional discovery) and all Defendants
    would agree to participate in jurisdictional discovery in the interim period before the motions to
    dismiss would be due.
             With regard to Defendant Paffrath, Plaintiffs claim to have served Mr. Paffrath by serving
    the summons complaint on the windshield of his wife’s automobile, in Ventura, California on April
    27, 2023. (See Affidavit of Jeffrey S. Larock, ECF No. 58). Paffrath’s counsel has preliminarily
    reviewed whether this purported service of process complies with federal or California law and
    believes the service is defective. However, Paffrath’s counsel has proposed to Plaintiffs’ counsel
    it would accept Plaintiffs’ Request for Waiver of Service of Process, pursuant to Federal Rule of
    Civil Procedure(4)(d) in lieu of contesting service and would agree to the procedure proposed
    above.
             Defendant Kullberg conferred with Plaintiffs’ counsel via a zoom conference and via email
    in an effort to resolve the issues surrounding service. Specifically, Kullberg’s service was not
    proper under New York law because she does not reside, and has never resided, at 40 Waterside
    Plz, Apt 11D, New York, NY, see ECF No. 25, nor at any location in New York. Furthermore, the
    return of service has inaccurate statements. Defendant Kullberg has requested that Plaintiffs
    withdraw their affidavit of return of service, and properly serve Defendant Kullberg. No agreement
    on the issues of service as it relates to Kullberg has been reached.




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                  Respectfully submitted May 18, 2023.

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                                                By: /s/Joseph M. Mysorewala
                                               Josef M Mysorewala
                                               josefm@lawjmm.com
                                               LAW OFFICE OF JOSEF M MYSOREWALA,
                                               PLLC
                                               2000 S. Dixie Highway, Suite 112
                                               Miami, Florida 33133
                                               (305) 356-1031

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                                               kps@fdllawlv.com
                                               FLANGAS LAW GROUP, INC.
                                               3275 South Jones Blvd., Suite 105
                                               Las Vegas, Nevada 89146
                                               (702) 307-9500

                                               Counsel for Defendants Graham Stephan,
                                               Adrei Jikh, and Jeremy Lefebvre

                                                By: /s/Darren Adam Heitner
                                               Darren Adam Heitner
                                               darren@heitnerlegal.com
                                               HEITNER LEGAL, P.L.L.C.
                                               215 Hendricks Isle
                                               Fort Lauderdale, Florida 33301
                                               (954) 558-6999

                                               Counsel for Ben Armstrong

                                               By: /s/Adam J. Lamb
                                               JOSEPH A. DEMARIA, B.C.S.
                                               Florida Bar No. 764711
                                               JDeMaria@FoxRothschild.com
                                               ADAM J. LAMB
                                               Florida Bar No. 899046
                                               alamb@FoxRothschild.com
                                               FOX ROTHSCHILD LLP
                                               One Biscayne Tower, Suite 2750
                                               2 South Biscayne Blvd.
                                               Miami, Florida 33131
                                               Telephone: 305.442.6547
                                               Facsimile: 305.442.6541

                                               Attorney for Defendant Kevin Paffrath




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                                     CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the forgoing was filed on May 18, 2023,

     with the Court via the CM/ECF system, which will send notification of such filing to all

     attorneys and/or parties of record.

                                                                By: s/ Adam M. Moskowitz
                                                                     ADAM M. MOSKOWITZ




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Rejane Passos

From:              Joseph Kaye
Sent:              Friday, March 31, 2023 12:29 AM
To:                andrei@majikh.com
Cc:                Adam Moskowitz; Rejane Passos; dboies@bsfllp.com; aboies@bsfllp.com; Jose Ferrer; Michelle Genet
                   Bernstein; Stuart Grossman; Alex Arteaga-Gomez; Stephen N. Zack
Subject:           Re: Garrison, et al. v. Paffrath, et al. - No. 1:23-cv-21023-CMA - Request for Waiver of Service -
                   Andrei Jikh
Attachments:       2023.03.31 - ANDRE JIKH - Garrison v. Paffrath - Waiver Return.pdf; Garrison v. Paffrath - 23-
                   cv-21023 - D.E. 1 - Complaint.PDF; 2023.03.31 - ANDRE JIKH - Garrison v. Paffrath - Waiver
                   Request.pdf

Follow Up Flag:    Follow up
Flag Status:       Flagged



Goodȱevening,ȱMr.ȱJikh,ȱ
ȱ
WeȱrepresentȱPlaintiffsȱandȱtheȱputativeȱclassesȱinȱtheȱaboveȬreferenceȱaction.ȱAȱcopyȱofȱtheȱoperativeȱ
complaintȱisȱattached.ȱIȱamȱreachingȱoutȱtoȱyouȱwithȱaȱNoticeȱofȱCommencementȱofȱActionȱandȱRequestȱforȱ
WaiverȱofȱServiceȱ(bothȱformsȱattached).ȱPleaseȱsign,ȱdate,ȱandȱreturnȱtheȱwaiverȱsoȱweȱmayȱproceedȱwithȱtheȱ
litigation.ȱThankȱyou.ȱȱ
ȱ
Best,

JosephȱM.ȱKaye,ȱP.A.ȱ
Partnerȱ
TheȱMoskowitzȱLawȱFirm,ȱPLLCȱ
P.O.ȱBoxȱ141609ȱ
CoralȱGables,ȱFLȱ33114ȱ
ForȱHandȱDeliveriesȱUse:ȱ
251ȱValenciaȱAveȱ#141609ȱ
CoralȱGables,ȱFLȱ33114
Office:ȱ(305)ȱ740Ȭ1423
Direct:ȱ(786)ȱ309Ȭ9585

Note:ȱTheȱinformationȱinȱthisȱemailȱisȱconfidentialȱandȱintendedȱtoȱbeȱlegallyȱprivileged.ȱIfȱyouȱareȱnotȱtheȱ
intendedȱrecipient,ȱyouȱmustȱnotȱread,ȱuseȱorȱdisseminateȱtheȱinformationȱcontainedȱherein;ȱpleaseȱadviseȱtheȱ
senderȱimmediatelyȱbyȱreplyȱemailȱandȱdeleteȱthisȱmessageȱandȱanyȱattachmentsȱwithoutȱretainingȱaȱcopy.ȱ
Althoughȱthisȱemailȱandȱanyȱattachmentsȱareȱbelievedȱtoȱbeȱfreeȱofȱanyȱvirusesȱorȱotherȱdefectsȱthatȱmayȱaffectȱ
anyȱcomputerȱsystemȱintoȱwhichȱitȱisȱreceivedȱandȱopened,ȱitȱisȱtheȱresponsibilityȱofȱtheȱrecipientȱtoȱensureȱthatȱ
itȱisȱvirusȬfreeȱandȱnoȱresponsibilityȱisȱacceptedȱbyȱTheȱMoskowitzȱLawȱFirmȱorȱtheȱsenderȱofȱthisȱemailȱforȱanyȱ
lossȱorȱdamageȱarisingȱinȱanyȱwayȱfromȱitsȱuse.
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CIRCULARȱ230ȱDISCLAIMER:ȱTheȱIRSȱnowȱrequiresȱwrittenȱadviceȱ(includingȱelectronicȱcommunications)ȱ
regardingȱoneȱorȱmoreȱFederalȱ(i.e.,ȱUnitedȱStates)ȱtaxȱissuesȱtoȱmeetȱcertainȱstandards.ȱThoseȱstandardsȱ
involveȱaȱdetailedȱandȱcarefulȱanalysisȱofȱtheȱfactsȱandȱapplicableȱlawȱwhichȱweȱexpectȱwouldȱbeȱtimeȱ

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Rejane Passos

From:              Joseph Kaye
Sent:              Friday, March 31, 2023 12:29 AM
To:                team@jungmedia.io
Cc:                Adam Moskowitz; Rejane Passos; dboies@bsfllp.com; aboies@bsfllp.com; Jose Ferrer; Michelle Genet
                   Bernstein; Stuart Grossman; Alex Arteaga-Gomez; Stephen N. Zack
Subject:           Re: Garrison, et al. v. Paffrath, et al. - No. 1:23-cv-21023-CMA - Request for Waiver of Service - Brian
                   Jung
Attachments:       2023.03.31 - BRIAN JUNG - Garrison v. Paffrath - Waiver Return.pdf; Garrison v. Paffrath - 23-
                   cv-21023 - D.E. 1 - Complaint.PDF; 2023.03.31 - BRIAN JUNG - Garrison v. Paffrath - Waiver
                   Request.pdf

Follow Up Flag:    Follow up
Flag Status:       Flagged



Goodȱevening,ȱMr.ȱJung,ȱ
ȱ
WeȱrepresentȱPlaintiffsȱandȱtheȱputativeȱclassesȱinȱtheȱaboveȬreferenceȱaction.ȱAȱcopyȱofȱtheȱoperativeȱ
complaintȱisȱattached.ȱIȱamȱreachingȱoutȱtoȱyouȱwithȱaȱNoticeȱofȱCommencementȱofȱActionȱandȱRequestȱforȱ
WaiverȱofȱServiceȱ(bothȱformsȱattached).ȱPleaseȱsign,ȱdate,ȱandȱreturnȱtheȱwaiverȱsoȱweȱmayȱproceedȱwithȱtheȱ
litigation.ȱThankȱyou.ȱȱ
ȱ
Best,

JosephȱM.ȱKaye,ȱP.A.ȱ
Partnerȱ
TheȱMoskowitzȱLawȱFirm,ȱPLLCȱ
P.O.ȱBoxȱ141609ȱ
CoralȱGables,ȱFLȱ33114ȱ
ForȱHandȱDeliveriesȱUse:ȱ
251ȱValenciaȱAveȱ#141609ȱ
CoralȱGables,ȱFLȱ33114
Office:ȱ(305)ȱ740Ȭ1423
Direct:ȱ(786)ȱ309Ȭ9585

Note:ȱTheȱinformationȱinȱthisȱemailȱisȱconfidentialȱandȱintendedȱtoȱbeȱlegallyȱprivileged.ȱIfȱyouȱareȱnotȱtheȱ
intendedȱrecipient,ȱyouȱmustȱnotȱread,ȱuseȱorȱdisseminateȱtheȱinformationȱcontainedȱherein;ȱpleaseȱadviseȱtheȱ
senderȱimmediatelyȱbyȱreplyȱemailȱandȱdeleteȱthisȱmessageȱandȱanyȱattachmentsȱwithoutȱretainingȱaȱcopy.ȱ
Althoughȱthisȱemailȱandȱanyȱattachmentsȱareȱbelievedȱtoȱbeȱfreeȱofȱanyȱvirusesȱorȱotherȱdefectsȱthatȱmayȱaffectȱ
anyȱcomputerȱsystemȱintoȱwhichȱitȱisȱreceivedȱandȱopened,ȱitȱisȱtheȱresponsibilityȱofȱtheȱrecipientȱtoȱensureȱthatȱ
itȱisȱvirusȬfreeȱandȱnoȱresponsibilityȱisȱacceptedȱbyȱTheȱMoskowitzȱLawȱFirmȱorȱtheȱsenderȱofȱthisȱemailȱforȱanyȱ
lossȱorȱdamageȱarisingȱinȱanyȱwayȱfromȱitsȱuse.
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CIRCULARȱ230ȱDISCLAIMER:ȱTheȱIRSȱnowȱrequiresȱwrittenȱadviceȱ(includingȱelectronicȱcommunications)ȱ
regardingȱoneȱorȱmoreȱFederalȱ(i.e.,ȱUnitedȱStates)ȱtaxȱissuesȱtoȱmeetȱcertainȱstandards.ȱThoseȱstandardsȱ
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Rejane Passos

From:              Joseph Kaye
Sent:              Friday, March 31, 2023 12:30 AM
To:                grahamstephanbusiness@gmail.com; graham.stephan@gmail.com; graham.stephan1@gmail.com;
                   graham_stephan@yahoo.com; grahamthebeast@yahoo.com; gstephan@youtube.com;
                   grahamstephan@youtube.com
Cc:                Adam Moskowitz; Rejane Passos; dboies@bsfllp.com; aboies@bsfllp.com; Jose Ferrer; Michelle Genet
                   Bernstein; Stuart Grossman; Alex Arteaga-Gomez; Stephen N. Zack
Subject:           Re: Garrison, et al. v. Paffrath, et al. - No. 1:23-cv-21023-CMA - Request for Waiver of Service -
                   Graham Stephan
Attachments:       2023.03.31 - GRAHAM STEPHAN - Garrison v. Paffrath - Waiver Request.pdf; 2023.03.31 - GRAHAM
                   STEPHAN - Garrison v. Paffrath - Waiver Return.pdf; Garrison v. Paffrath - 23-cv-21023 - D.E. 1 -
                   Complaint.PDF

Follow Up Flag:    Follow up
Flag Status:       Flagged



Goodȱevening,ȱMr.ȱStephan,ȱ
ȱ
WeȱrepresentȱPlaintiffsȱandȱtheȱputativeȱclassesȱinȱtheȱaboveȬreferenceȱaction.ȱAȱcopyȱofȱtheȱoperativeȱ
complaintȱisȱattached.ȱIȱamȱreachingȱoutȱtoȱyouȱwithȱaȱNoticeȱofȱCommencementȱofȱActionȱandȱRequestȱforȱ
WaiverȱofȱServiceȱ(bothȱformsȱattached).ȱPleaseȱsign,ȱdate,ȱandȱreturnȱtheȱwaiverȱsoȱweȱmayȱproceedȱwithȱtheȱ
litigation.ȱThankȱyou.ȱȱ
ȱ
Best,

JosephȱM.ȱKaye,ȱP.A.ȱ
Partnerȱ
TheȱMoskowitzȱLawȱFirm,ȱPLLCȱ
P.O.ȱBoxȱ141609ȱ
CoralȱGables,ȱFLȱ33114ȱ
ForȱHandȱDeliveriesȱUse:ȱ
251ȱValenciaȱAveȱ#141609ȱ
CoralȱGables,ȱFLȱ33114
Office:ȱ(305)ȱ740Ȭ1423
Direct:ȱ(786)ȱ309Ȭ9585

Note:ȱTheȱinformationȱinȱthisȱemailȱisȱconfidentialȱandȱintendedȱtoȱbeȱlegallyȱprivileged.ȱIfȱyouȱareȱnotȱtheȱ
intendedȱrecipient,ȱyouȱmustȱnotȱread,ȱuseȱorȱdisseminateȱtheȱinformationȱcontainedȱherein;ȱpleaseȱadviseȱtheȱ
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Althoughȱthisȱemailȱandȱanyȱattachmentsȱareȱbelievedȱtoȱbeȱfreeȱofȱanyȱvirusesȱorȱotherȱdefectsȱthatȱmayȱaffectȱ
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CIRCULARȱ230ȱDISCLAIMER:ȱTheȱIRSȱnowȱrequiresȱwrittenȱadviceȱ(includingȱelectronicȱcommunications)ȱ
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Rejane Passos

From:              Joseph Kaye
Sent:              Friday, March 31, 2023 12:30 AM
To:                team@theminoritymindset.com; jsingh@theminoritymindset.com; jasingh21@gmail.com
Cc:                Adam Moskowitz; Rejane Passos; dboies@bsfllp.com; aboies@bsfllp.com; Jose Ferrer; Michelle Genet
                   Bernstein; Stuart Grossman; Alex Arteaga-Gomez; Stephen N. Zack
Subject:           Re: Garrison, et al. v. Paffrath, et al. - No. 1:23-cv-21023-CMA - Request for Waiver of Service -
                   Jaspreet Singh
Attachments:       2023.03.31 - JASPREET SINGH - Garrison v. Paffrath - Waiver Request.pdf; 2023.03.31 - JASPREET
                   SINGH - Garrison v. Paffrath - Waiver Return.pdf; Garrison v. Paffrath - 23-cv-21023 - D.E. 1 -
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Follow Up Flag:    Follow up
Flag Status:       Flagged



Goodȱevening,ȱMr.ȱSingh,ȱ
ȱ
WeȱrepresentȱPlaintiffsȱandȱtheȱputativeȱclassesȱinȱtheȱaboveȬreferenceȱaction.ȱAȱcopyȱofȱtheȱoperativeȱ
complaintȱisȱattached.ȱIȱamȱreachingȱoutȱtoȱyouȱwithȱaȱNoticeȱofȱCommencementȱofȱActionȱandȱRequestȱforȱ
WaiverȱofȱServiceȱ(bothȱformsȱattached).ȱPleaseȱsign,ȱdate,ȱandȱreturnȱtheȱwaiverȱsoȱweȱmayȱproceedȱwithȱtheȱ
litigation.ȱThankȱyou.ȱȱ
ȱ
ȱ
Best,

JosephȱM.ȱKaye,ȱP.A.ȱ
Partnerȱ
TheȱMoskowitzȱLawȱFirm,ȱPLLCȱ
P.O.ȱBoxȱ141609ȱ
CoralȱGables,ȱFLȱ33114ȱ
ForȱHandȱDeliveriesȱUse:ȱ
251ȱValenciaȱAveȱ#141609ȱ
CoralȱGables,ȱFLȱ33114
Office:ȱ(305)ȱ740Ȭ1423
Direct:ȱ(786)ȱ309Ȭ9585

Note:ȱTheȱinformationȱinȱthisȱemailȱisȱconfidentialȱandȱintendedȱtoȱbeȱlegallyȱprivileged.ȱIfȱyouȱareȱnotȱtheȱ
intendedȱrecipient,ȱyouȱmustȱnotȱread,ȱuseȱorȱdisseminateȱtheȱinformationȱcontainedȱherein;ȱpleaseȱadviseȱtheȱ
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CIRCULARȱ230ȱDISCLAIMER:ȱTheȱIRSȱnowȱrequiresȱwrittenȱadviceȱ(includingȱelectronicȱcommunications)ȱ
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Rejane Passos

From:              Joseph Kaye
Sent:              Friday, March 31, 2023 12:30 AM
To:                jlbrandsproduction@yahoo.com; jeremy@financialeducationjeremy.com
Cc:                Adam Moskowitz; Rejane Passos; dboies@bsfllp.com; aboies@bsfllp.com; Jose Ferrer; Michelle Genet
                   Bernstein; Stuart Grossman; Alex Arteaga-Gomez; Stephen N. Zack
Subject:           Re: Garrison, et al. v. Paffrath, et al. - No. 1:23-cv-21023-CMA - Request for Waiver of Service -
                   Jeremy Lefebvre
Attachments:       2023.03.31 - JEREMY LEFEBVRE - Garrison v. Paffrath - Waiver Request.pdf; 2023.03.31 - JEREMY
                   LEFEBVRE - Garrison v. Paffrath - Waiver Return.pdf; Garrison v. Paffrath - 23-cv-21023 - D.E. 1 -
                   Complaint.PDF

Follow Up Flag:    Follow up
Flag Status:       Flagged



Goodȱevening,ȱMr.ȱLefebvre,ȱ
ȱ
WeȱrepresentȱPlaintiffsȱandȱtheȱputativeȱclassesȱinȱtheȱaboveȬreferenceȱaction.ȱAȱcopyȱofȱtheȱoperativeȱ
complaintȱisȱattached.ȱIȱamȱreachingȱoutȱtoȱyouȱwithȱaȱNoticeȱofȱCommencementȱofȱActionȱandȱRequestȱforȱ
WaiverȱofȱServiceȱ(bothȱformsȱattached).ȱPleaseȱsign,ȱdate,ȱandȱreturnȱtheȱwaiverȱsoȱweȱmayȱproceedȱwithȱtheȱ
litigation.ȱThankȱyou.ȱȱ
ȱ
Best,

JosephȱM.ȱKaye,ȱP.A.ȱ
Partnerȱ
TheȱMoskowitzȱLawȱFirm,ȱPLLCȱ
P.O.ȱBoxȱ141609ȱ
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intendedȱrecipient,ȱyouȱmustȱnotȱread,ȱuseȱorȱdisseminateȱtheȱinformationȱcontainedȱherein;ȱpleaseȱadviseȱtheȱ
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lossȱorȱdamageȱarisingȱinȱanyȱwayȱfromȱitsȱuse.
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Rejane Passos

From:              Joseph Kaye
Sent:              Friday, March 31, 2023 12:29 AM
To:                staff@meetkevin.com; kevin@meetkevin.com; kevinpaffrath@gmail.com
Cc:                Adam Moskowitz; Rejane Passos; dboies@bsfllp.com; aboies@bsfllp.com; Jose Ferrer; Michelle Genet
                   Bernstein; Stuart Grossman; Alex Arteaga-Gomez; Stephen N. Zack
Subject:           Re: Garrison, et al. v. Paffrath, et al. - No. 1:23-cv-21023-CMA - Request for Waiver of Service - Kevin
                   Paffrath
Attachments:       2023.03.31 - KEVIN PAFFRATH - Garrison v. Paffrath - Waiver Request.pdf; 2023.03.31 - KEVIN
                   PAFFRATH - Garrison v. Paffrath - Waiver Return.pdf; Garrison v. Paffrath - 23-cv-21023 - D.E. 1 -
                   Complaint.PDF

Follow Up Flag:    Follow up
Flag Status:       Flagged



Goodȱevening,ȱMr.ȱPaffrath,ȱ
ȱ
WeȱrepresentȱPlaintiffsȱandȱtheȱputativeȱclassesȱinȱtheȱaboveȬreferenceȱaction.ȱAȱcopyȱofȱtheȱoperativeȱ
complaintȱisȱattached.ȱIȱamȱreachingȱoutȱtoȱyouȱwithȱaȱNoticeȱofȱCommencementȱofȱActionȱandȱRequestȱforȱ
WaiverȱofȱServiceȱ(bothȱformsȱattached).ȱPleaseȱsign,ȱdate,ȱandȱreturnȱtheȱwaiverȱsoȱweȱmayȱproceedȱwithȱtheȱ
litigation.ȱThankȱyou.ȱȱ
ȱ
Best,

JosephȱM.ȱKaye,ȱP.A.ȱ
Partnerȱ
TheȱMoskowitzȱLawȱFirm,ȱPLLCȱ
P.O.ȱBoxȱ141609ȱ
CoralȱGables,ȱFLȱ33114ȱ
ForȱHandȱDeliveriesȱUse:ȱ
251ȱValenciaȱAveȱ#141609ȱ
CoralȱGables,ȱFLȱ33114
Office:ȱ(305)ȱ740Ȭ1423
Direct:ȱ(786)ȱ309Ȭ9585

Note:ȱTheȱinformationȱinȱthisȱemailȱisȱconfidentialȱandȱintendedȱtoȱbeȱlegallyȱprivileged.ȱIfȱyouȱareȱnotȱtheȱ
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Rejane Passos

From:              Joseph Kaye
Sent:              Friday, March 31, 2023 12:29 AM
To:                tomnashyt@gmail.com
Cc:                Adam Moskowitz; Rejane Passos; dboies@bsfllp.com; aboies@bsfllp.com; Jose Ferrer; Michelle Genet
                   Bernstein; Stuart Grossman; Alex Arteaga-Gomez; Stephen N. Zack
Subject:           Re: Garrison, et al. v. Paffrath, et al. - No. 1:23-cv-21023-CMA - Request for Waiver of Service - Tom
                   Nash
Attachments:       2023.03.31 - TOM NASH - Garrison v. Paffrath - Waiver Return.pdf; Garrison v. Paffrath - 23-cv-21023
                   - D.E. 1 - Complaint.PDF; 2023.03.31 - TOM NASH - Garrison v. Paffrath - Waiver Request.pdf

Follow Up Flag:    Follow up
Flag Status:       Flagged



Goodȱevening,ȱMr.ȱNash,ȱ
ȱ
WeȱrepresentȱPlaintiffsȱandȱtheȱputativeȱclassesȱinȱtheȱaboveȬreferenceȱaction.ȱAȱcopyȱofȱtheȱoperativeȱ
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litigation.ȱThankȱyou.ȱȱ
ȱ
Best,

JosephȱM.ȱKaye,ȱP.A.ȱ
Partnerȱ
TheȱMoskowitzȱLawȱFirm,ȱPLLCȱ
P.O.ȱBoxȱ141609ȱ
CoralȱGables,ȱFLȱ33114ȱ
ForȱHandȱDeliveriesȱUse:ȱ
251ȱValenciaȱAveȱ#141609ȱ
CoralȱGables,ȱFLȱ33114
Office:ȱ(305)ȱ740Ȭ1423
Direct:ȱ(786)ȱ309Ȭ9585

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consumingȱandȱcostly.ȱWeȱhaveȱnotȱmadeȱandȱhaveȱnotȱbeenȱaskedȱtoȱmakeȱthatȱtypeȱofȱanalysisȱinȱconnectionȱ

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      From:          Joseph Kaye
      To:            erika@creatorsagency.co; erika@erikakullberg.com
      Cc:            Adam Moskowitz; Rejane Passos; dboies@bsfllp.com; aboies@bsfllp.com; Jose Ferrer; Michelle Genet Bernstein;
                     Stuart Grossman; Alex Arteaga-Gomez; Stephen N. Zack
      Subject:       Re: Garrison, et al. v. Paffrath, et al. - No. 1:23-cv-21023-CMA - Request for Waiver of Service - Erika Kullberg
      Date:          Friday, March 31, 2023 12:29:54 AM
      Attachments:   2023.03.31 - ERIKA KULLBERG - Garrison v. Paffrath - Waiver Request.pdf
                     2023.03.31 - ERIKA KULLBERG - Garrison v. Paffrath - Waiver Return.pdf
                     Garrison v. Paffrath - 23-cv-21023 - D.E. 1 - Complaint.PDF


     Good evening, Ms. Kullberg,

     We represent Plaintiffs and the putative classes in the above-reference action. A copy of the
     operative complaint is attached. I am reaching out to you with a Notice of Commencement
     of Action and Request for Waiver of Service (both forms attached). Please sign, date, and
     return the waiver so we may proceed with the litigation. Thank you.



     Best,

     Joseph M. Kaye, P.A.
     Partner
     The Moskowitz Law Firm, PLLC
     P.O. Box 141609
     Coral Gables, FL 33114
     For Hand Deliveries Use:
     251 Valencia Ave #141609
     Coral Gables, FL 33114
     Office: (305) 740-1423
     Direct: (786) 309-9585

     Note: The information in this email is confidential and intended to be legally privileged. If
     you are not the intended recipient, you must not read, use or disseminate the information
     contained herein; please advise the sender immediately by reply email and delete this
     message and any attachments without retaining a copy. Although this email and any
     attachments are believed to be free of any viruses or other defects that may affect any
     computer system into which it is received and opened, it is the responsibility of the
     recipient to ensure that it is virus-free and no responsibility is accepted by The Moskowitz
     Law Firm or the sender of this email for any loss or damage arising in any way from its use.

     CIRCULAR 230 DISCLAIMER: The IRS now requires written advice (including electronic
     communications) regarding one or more Federal (i.e., United States) tax issues to meet
     certain standards. Those standards involve a detailed and careful analysis of the facts and
     applicable law which we expect would be time consuming and costly. We have not made
     and have not been asked to make that type of analysis in connection with any advice given
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                  DEFENDANT BEN ARMSTRONG

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Ben Armstrong
           DATE:                   June 19, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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                                                   Edwin Garrison, et al. v. Kevin Paffrath, et al.
                                                  CASE NO. 23-21023-CIV-ALTONAGA/Damian

           Dated: May 17, 2023                   Respectfully submitted,

                                                By: /s/ Adam Moskowitz
                                                Adam M. Moskowitz
                                                Florida Bar No. 984280
                                                adam@moskowitz-law.com
                                                Joseph M. Kaye
                                                Florida Bar No. 117520
                                                joseph@moskowitz-law.com
                                                THE MOSKOWITZ LAW FIRM, PLLC
                                                2 Alhambra Plaza, Suite 601
                                                Coral Gables, FL 33134
                                                Telephone: (305) 740-1423

                                                By: /s/Stuart Z. Grossman
                                                Stuart Z. Grossman
                                                Florida Bar No. 156113
                                                Manuel A. Arteaga-Gomez
                                                Florida Bar No. 18122
                                                GROSSMAN ROTH YAFFA COHEN, P.A.
                                                2525 Ponce de Leon Boulevard, Suite 1150
                                                Coral Gables, FL 33134
                                                Ph: 305-442-8666
                                                Fx: 305-285-1668
                                                szg@grossmanroth.com
                                                aag@grossmanroth.com

                                                By: /s/ Stephen Neal Zack
                                                Stephen Neal Zack
                                                Florida Bar No. 145215
                                                Tyler Ulrich
                                                Florida Bar No. 94705
                                                BOIES SCHILLER FLEXNER LLP
                                                100 SE 2nd St., Suite 2800
                                                Miami, FL 33131
                                                Office: 305-539-8400
                                                szack@bsfllp.com
                                                tulrich@bsfllp.com

                                                By: /s/ Jose Ferrer
                                                Jose Ferrer
                                                Florida Bar No. 173746
                                                Michelle Genet Bernstein
                                                Florida Bar No. 1030736
                                                MARK MIGDAL HAYDEN LLP
                                                8 SW 8th Street, Suite 1999


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                                                         CASE NO. 23-21023-CIV-ALTONAGA/Damian

                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

           PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                           DEFENDANT BEN ARMSTRONG

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Ben Armstrong

      (“Armstrong”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/Stuart Z. Grossman
                                                      Stuart Z. Grossman
                                                      Florida Bar No. 156113
                                                      Manuel A. Arteaga-Gomez
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                                                             Edwin Garrison, et al. v. Kevin Paffrath, et al.
                                                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

                                                          Florida Bar No. 18122
                                                          GROSSMAN ROTH YAFFA COHEN, P.A.
                                                          2525 Ponce de Leon Boulevard, Suite 1150
                                                          Coral Gables, FL 33134
                                                          Ph: 305-442-8666
                                                          Fx: 305-285-1668
                                                          szg@grossmanroth.com
                                                          aag@grossmanroth.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
                                                          BOIES SCHILLER FLEXNER LLP
                                                          100 SE 2nd St., Suite 2800
                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com
                                                          tulrich@bsfllp.com

                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
                                                          MARK MIGDAL HAYDEN LLP
                                                          8 SW 8th Street, Suite 1999
                                                          Miami, FL 33130
                                                          Office: 305-374-0440
                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ



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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Armstrong,” “You,” or “Your” means Defendant Ben Armstrong and any of his

     affiliates, representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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           addresses provided in the signature blocks of the attorneys serving these requests.

    2.     These requests shall include all documents that are in the possession, custody or control of

           Defendant or in the possession, custody or control of the present or former agents,

           representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

           Defendant, or its present or former agents, representatives, or attorneys.

    3.     For any document covered by a request that is withheld from production, Defendant shall

           provide the following information in the form of a privilege log:

                          a.      the reasons and facts supporting any withholding;

                          b.      the date such document was prepared;

                          c.      the names, employment positions and addresses of the author or

                                  preparers of such document;

                          d.      the names, employment positions, and the addresses of each person

                                  who received such document;

                          e.      the title and a brief description of the document; and

                          f.      the number of the request under which such document would be

                                  produced but for the objection.

    4.     If any document responsive to a request has been destroyed, produce all documents

           describing or referencing:

                          a.      the contents of the lost or destroyed document;

                          b.      all locations in which any copy of the lost or destroyed document

                                  had been maintained;

                          c.      the date of such loss or destruction;

                          d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                  DEFENDANT KEVIN PAFFRATH

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Kevin Paffrath
           DATE:                   June 20, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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          Dated: May 17, 2023                   Respectfully submitted,

                                               By: /s/ Adam Moskowitz
                                               Adam M. Moskowitz
                                               Florida Bar No. 984280
                                               adam@moskowitz-law.com
                                               Joseph M. Kaye
                                               Florida Bar No. 117520
                                               joseph@moskowitz-law.com
                                               THE MOSKOWITZ LAW FIRM, PLLC
                                               2 Alhambra Plaza, Suite 601
                                               Coral Gables, FL 33134
                                               Telephone: (305) 740-1423

                                               By: /s/Stuart Z. Grossman
                                               Stuart Z. Grossman
                                               Florida Bar No. 156113
                                               Manuel A. Arteaga-Gomez
                                               Florida Bar No. 18122
                                               GROSSMAN ROTH YAFFA COHEN, P.A.
                                               2525 Ponce de Leon Boulevard, Suite 1150
                                               Coral Gables, FL 33134
                                               Ph: 305-442-8666
                                               Fx: 305-285-1668
                                               szg@grossmanroth.com
                                               aag@grossmanroth.com

                                               By: /s/ Stephen Neal Zack
                                               Stephen Neal Zack
                                               Florida Bar No. 145215
                                               Tyler Ulrich
                                               Florida Bar No. 94705
                                               BOIES SCHILLER FLEXNER LLP
                                               100 SE 2nd St., Suite 2800
                                               Miami, FL 33131
                                               Office: 305-539-8400
                                               szack@bsfllp.com
                                               tulrich@bsfllp.com

                                               By: /s/ Jose Ferrer
                                               Jose Ferrer
                                               Florida Bar No. 173746
                                               Michelle Genet Bernstein
                                               Florida Bar No. 1030736
                                               MARK MIGDAL HAYDEN LLP
                                               8 SW 8th Street, Suite 1999


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                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                       /

           PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                           DEFENDANT KEVIN PAFFRATH

             Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Kevin Paffrath

      (“Paffrath”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                             Respectfully submitted,

                                                       By: /s/ Adam Moskowitz
                                                       Adam M. Moskowitz
                                                       Florida Bar No. 984280
                                                       adam@moskowitz-law.com
                                                       Joseph M. Kaye
                                                       Florida Bar No. 117520
                                                       joseph@moskowitz-law.com
                                                       THE MOSKOWITZ LAW FIRM, PLLC
                                                       2 Alhambra Plaza, Suite 601
                                                       Coral Gables, FL 33134
                                                       Telephone: (305) 740-1423

                                                       By: /s/Stuart Z. Grossman
                                                       Stuart Z. Grossman
                                                       Florida Bar No. 156113
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                                                          Florida Bar No. 18122
                                                          GROSSMAN ROTH YAFFA COHEN, P.A.
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                                                          aag@grossmanroth.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
                                                          BOIES SCHILLER FLEXNER LLP
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                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com
                                                          tulrich@bsfllp.com

                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
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                                                          Miami, FL 33130
                                                          Office: 305-374-0440
                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ



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                                 DEFINITIONS AND INSTRUCTIONS

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     affiliates, representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

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            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

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            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

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     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                     DEFENDANT ANDREI JIKH

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Andre Jikh
           DATE:                   June 21, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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          Dated: May 17, 2023                   Respectfully submitted,

                                               By: /s/ Adam Moskowitz
                                               Adam M. Moskowitz
                                               Florida Bar No. 984280
                                               adam@moskowitz-law.com
                                               Joseph M. Kaye
                                               Florida Bar No. 117520
                                               joseph@moskowitz-law.com
                                               THE MOSKOWITZ LAW FIRM, PLLC
                                               2 Alhambra Plaza, Suite 601
                                               Coral Gables, FL 33134
                                               Telephone: (305) 740-1423

                                               By: /s/Stuart Z. Grossman
                                               Stuart Z. Grossman
                                               Florida Bar No. 156113
                                               Manuel A. Arteaga-Gomez
                                               Florida Bar No. 18122
                                               GROSSMAN ROTH YAFFA COHEN, P.A.
                                               2525 Ponce de Leon Boulevard, Suite 1150
                                               Coral Gables, FL 33134
                                               Ph: 305-442-8666
                                               Fx: 305-285-1668
                                               szg@grossmanroth.com
                                               aag@grossmanroth.com

                                               By: /s/ Stephen Neal Zack
                                               Stephen Neal Zack
                                               Florida Bar No. 145215
                                               Tyler Ulrich
                                               Florida Bar No. 94705
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                                               Miami, FL 33131
                                               Office: 305-539-8400
                                               szack@bsfllp.com
                                               tulrich@bsfllp.com

                                               By: /s/ Jose Ferrer
                                               Jose Ferrer
                                               Florida Bar No. 173746
                                               Michelle Genet Bernstein
                                               Florida Bar No. 1030736
                                               MARK MIGDAL HAYDEN LLP
                                               8 SW 8th Street, Suite 1999


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                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

           PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                              DEFENDANT ANDREI JIKH

             Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Andrei Jikh

      (“Jikh”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/Stuart Z. Grossman
                                                      Stuart Z. Grossman
                                                      Florida Bar No. 156113
                                                      Manuel A. Arteaga-Gomez
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                                                          aag@grossmanroth.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
                                                          BOIES SCHILLER FLEXNER LLP
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                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com
                                                          tulrich@bsfllp.com

                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
                                                          MARK MIGDAL HAYDEN LLP
                                                          8 SW 8th Street, Suite 1999
                                                          Miami, FL 33130
                                                          Office: 305-374-0440
                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ



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                                   DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Jikh,” “You,” or “Your” means Defendant Andrei Jikh and any of his affiliates,

     representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                 DEFENDANT GRAHAM STEPHAN

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Graham Stephan
           DATE:                   June 22, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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          Dated: May 17, 2023                   Respectfully submitted,

                                               By: /s/ Adam Moskowitz
                                               Adam M. Moskowitz
                                               Florida Bar No. 984280
                                               adam@moskowitz-law.com
                                               Joseph M. Kaye
                                               Florida Bar No. 117520
                                               joseph@moskowitz-law.com
                                               THE MOSKOWITZ LAW FIRM, PLLC
                                               2 Alhambra Plaza, Suite 601
                                               Coral Gables, FL 33134
                                               Telephone: (305) 740-1423

                                               By: /s/Stuart Z. Grossman
                                               Stuart Z. Grossman
                                               Florida Bar No. 156113
                                               Manuel A. Arteaga-Gomez
                                               Florida Bar No. 18122
                                               GROSSMAN ROTH YAFFA COHEN, P.A.
                                               2525 Ponce de Leon Boulevard, Suite 1150
                                               Coral Gables, FL 33134
                                               Ph: 305-442-8666
                                               Fx: 305-285-1668
                                               szg@grossmanroth.com
                                               aag@grossmanroth.com

                                               By: /s/ Stephen Neal Zack
                                               Stephen Neal Zack
                                               Florida Bar No. 145215
                                               Tyler Ulrich
                                               Florida Bar No. 94705
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                                               Miami, FL 33131
                                               Office: 305-539-8400
                                               szack@bsfllp.com
                                               tulrich@bsfllp.com

                                               By: /s/ Jose Ferrer
                                               Jose Ferrer
                                               Florida Bar No. 173746
                                               Michelle Genet Bernstein
                                               Florida Bar No. 1030736
                                               MARK MIGDAL HAYDEN LLP
                                               8 SW 8th Street, Suite 1999


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                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

           PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                           DEFENDANT GRAHAM STEPHAN

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Graham Stephan

      (“Stephan”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/Stuart Z. Grossman
                                                      Stuart Z. Grossman
                                                      Florida Bar No. 156113
                                                      Manuel A. Arteaga-Gomez
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                                                          Florida Bar No. 18122
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                                                          Fx: 305-285-1668
                                                          szg@grossmanroth.com
                                                          aag@grossmanroth.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
                                                          BOIES SCHILLER FLEXNER LLP
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                                                          Office: 305-539-8400
                                                          szack@bsfllp.com
                                                          tulrich@bsfllp.com

                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
                                                          MARK MIGDAL HAYDEN LLP
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                                                          Miami, FL 33130
                                                          Office: 305-374-0440
                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ


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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Stephan,” “You,” or “Your” means Defendant Graham Stephan and any of his

     affiliates, representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

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                                 the destruction of any responsive document;

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           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                   DEFENDANT JASPREET SINGH

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Jaspreet Singh
           DATE:                   June 23, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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          Dated: May 17, 2023                   Respectfully submitted,

                                               By: /s/ Adam Moskowitz
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                                               Florida Bar No. 984280
                                               adam@moskowitz-law.com
                                               Joseph M. Kaye
                                               Florida Bar No. 117520
                                               joseph@moskowitz-law.com
                                               THE MOSKOWITZ LAW FIRM, PLLC
                                               2 Alhambra Plaza, Suite 601
                                               Coral Gables, FL 33134
                                               Telephone: (305) 740-1423

                                               By: /s/Stuart Z. Grossman
                                               Stuart Z. Grossman
                                               Florida Bar No. 156113
                                               Manuel A. Arteaga-Gomez
                                               Florida Bar No. 18122
                                               GROSSMAN ROTH YAFFA COHEN, P.A.
                                               2525 Ponce de Leon Boulevard, Suite 1150
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                                               Ph: 305-442-8666
                                               Fx: 305-285-1668
                                               szg@grossmanroth.com
                                               aag@grossmanroth.com

                                               By: /s/ Stephen Neal Zack
                                               Stephen Neal Zack
                                               Florida Bar No. 145215
                                               Tyler Ulrich
                                               Florida Bar No. 94705
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                                               Office: 305-539-8400
                                               szack@bsfllp.com
                                               tulrich@bsfllp.com

                                               By: /s/ Jose Ferrer
                                               Jose Ferrer
                                               Florida Bar No. 173746
                                               Michelle Genet Bernstein
                                               Florida Bar No. 1030736
                                               MARK MIGDAL HAYDEN LLP
                                               8 SW 8th Street, Suite 1999


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                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

           PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                            DEFENDANT JASPREET SINGH

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Jaspreet Singh

      (“Singh”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/Stuart Z. Grossman
                                                      Stuart Z. Grossman
                                                      Florida Bar No. 156113
                                                      Manuel A. Arteaga-Gomez
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                                                          Florida Bar No. 18122
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                                                          Fx: 305-285-1668
                                                          szg@grossmanroth.com
                                                          aag@grossmanroth.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
                                                          BOIES SCHILLER FLEXNER LLP
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                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com
                                                          tulrich@bsfllp.com

                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
                                                          MARK MIGDAL HAYDEN LLP
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                                                          Miami, FL 33130
                                                          Office: 305-374-0440
                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ


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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Singh,” “You,” or “Your” means Defendant Jaspreet Singh and any of his

     affiliates, representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                      DEFENDANT BRIAN JUNG

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Brian Jung
           DATE:                   June 26, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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                                                  Edwin Garrison, et al. v. Kevin Paffrath, et al.
                                                 CASE NO. 23-21023-CIV-ALTONAGA/Damian

          Dated: May 17, 2023                   Respectfully submitted,

                                               By: /s/ Adam Moskowitz
                                               Adam M. Moskowitz
                                               Florida Bar No. 984280
                                               adam@moskowitz-law.com
                                               Joseph M. Kaye
                                               Florida Bar No. 117520
                                               joseph@moskowitz-law.com
                                               THE MOSKOWITZ LAW FIRM, PLLC
                                               2 Alhambra Plaza, Suite 601
                                               Coral Gables, FL 33134
                                               Telephone: (305) 740-1423

                                               By: /s/Stuart Z. Grossman
                                               Stuart Z. Grossman
                                               Florida Bar No. 156113
                                               Manuel A. Arteaga-Gomez
                                               Florida Bar No. 18122
                                               GROSSMAN ROTH YAFFA COHEN, P.A.
                                               2525 Ponce de Leon Boulevard, Suite 1150
                                               Coral Gables, FL 33134
                                               Ph: 305-442-8666
                                               Fx: 305-285-1668
                                               szg@grossmanroth.com
                                               aag@grossmanroth.com

                                               By: /s/ Stephen Neal Zack
                                               Stephen Neal Zack
                                               Florida Bar No. 145215
                                               Tyler Ulrich
                                               Florida Bar No. 94705
                                               BOIES SCHILLER FLEXNER LLP
                                               100 SE 2nd St., Suite 2800
                                               Miami, FL 33131
                                               Office: 305-539-8400
                                               szack@bsfllp.com
                                               tulrich@bsfllp.com

                                               By: /s/ Jose Ferrer
                                               Jose Ferrer
                                               Florida Bar No. 173746
                                               Michelle Genet Bernstein
                                               Florida Bar No. 1030736
                                               MARK MIGDAL HAYDEN LLP
                                               8 SW 8th Street, Suite 1999


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                                                         CASE NO. 23-21023-CIV-ALTONAGA/Damian

                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

           PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                              DEFENDANT BRIAN JUNG

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Brian Jung

      (“Jung”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/Stuart Z. Grossman
                                                      Stuart Z. Grossman
                                                      Florida Bar No. 156113
                                                      Manuel A. Arteaga-Gomez
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                                                          Florida Bar No. 18122
                                                          GROSSMAN ROTH YAFFA COHEN, P.A.
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                                                          Coral Gables, FL 33134
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                                                          Fx: 305-285-1668
                                                          szg@grossmanroth.com
                                                          aag@grossmanroth.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
                                                          BOIES SCHILLER FLEXNER LLP
                                                          100 SE 2nd St., Suite 2800
                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com
                                                          tulrich@bsfllp.com

                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
                                                          MARK MIGDAL HAYDEN LLP
                                                          8 SW 8th Street, Suite 1999
                                                          Miami, FL 33130
                                                          Office: 305-374-0440
                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ


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                                   DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Jung,” “You,” or “Your” means Defendant Brian Jung and any of his affiliates,

     representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                 DEFENDANT JEREMY LEFEBVRE

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Jeremy LeFebvre
           DATE:                   June 27, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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                                                  Edwin Garrison, et al. v. Kevin Paffrath, et al.
                                                 CASE NO. 23-21023-CIV-ALTONAGA/Damian

          Dated: May 17, 2023                   Respectfully submitted,

                                               By: /s/ Adam Moskowitz
                                               Adam M. Moskowitz
                                               Florida Bar No. 984280
                                               adam@moskowitz-law.com
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                                               By: /s/Stuart Z. Grossman
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                                               By: /s/ Stephen Neal Zack
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                                               By: /s/ Jose Ferrer
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                                               Florida Bar No. 173746
                                               Michelle Genet Bernstein
                                               Florida Bar No. 1030736
                                               MARK MIGDAL HAYDEN LLP
                                               8 SW 8th Street, Suite 1999


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                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                     /

          PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                          DEFENDANT JEREMY LEFEBVRE

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Jeremy

      LeFebvre (“LeFebvre”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                           Respectfully submitted,

                                                     By: /s/ Adam Moskowitz
                                                     Adam M. Moskowitz
                                                     Florida Bar No. 984280
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                                                     Joseph M. Kaye
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                                                     Stuart Z. Grossman
                                                     Florida Bar No. 156113
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                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ



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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “LeFebvre,” “You,” or “Your” means Defendant Jeremy LeFebvre and any of

     his affiliates, representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                       DEFENDANT TOM NASH

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Tom Nash
           DATE:                   June 28, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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          Dated: May 17, 2023                 Respectfully submitted,

                                             By: /s/ Adam Moskowitz
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                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
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                                 UNITED STATES DISTRICT COURT
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                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                     /

          PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                              DEFENDANT TOM NASH

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Tom Nash

     (“Nash”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                           Respectfully submitted,

                                                    By: /s/ Adam Moskowitz
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                                                    Coral Gables, FL 33134
                                                    Telephone: (305) 740-1423

                                                    By: /s/Stuart Z. Grossman
                                                    Stuart Z. Grossman
                                                    Florida Bar No. 156113
                                                    Manuel A. Arteaga-Gomez
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                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
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                                                          Tyler Ulrich
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                                                          By: /s/ Jose Ferrer
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                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
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                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ



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                                   DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Nash,” “You,” or “Your” means Defendant Tom Nash and any of his affiliates,

     representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                  DEFENDANT ERIKA KULLBERG

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Erika Kullberg
           DATE:                   June 29, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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          Dated: May 17, 2023                 Respectfully submitted,

                                             By: /s/ Adam Moskowitz
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                                             Joseph M. Kaye
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                                             By: /s/Stuart Z. Grossman
                                             Stuart Z. Grossman
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                                             By: /s/ Jose Ferrer
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                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
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                                        MIAMI DIVISION
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    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

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    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
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    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

          PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                          DEFENDANT ERIKA KULLBERG

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Erika Kullberg

     (“Kullberg”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
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                                                      THE MOSKOWITZ LAW FIRM, PLLC
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                                                          By: /s/ Jose Ferrer
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                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ



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            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

          NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF DEFENDANT
            CREATORS AGENCY, LLC’S RULE 30(b)(6) REPRESENTATIVE(S)

           Pursuant to Federal Rule of Civil Procedure 30(b)(6), Plaintiff’s counsel will take the

    deposition of the below-named person/entity on the date, time, and at the location indicated.


           DEPONENT:               Defendant Creators Agency, LLC, (the “Creators”), by and
                                   through Creators’ corporate representative(s) with
                                   knowledge of the eight topics listed in Exhibit A, pursuant
                                   to Federal Rule of Civil Procedure 30(b)(6).
           DATE:                   June 30, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to

    administer oaths and take depositions in the State of Florida. The deposition is being taken for the

    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the

    Federal and Local Rules of Civil Procedure.
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           Pursuant to Federal Rule of Civil Procedure 30(b)(6), Defendant Creators Agency, LLC

    (the “Creators”) shall both designate one or more officers, directors, managing agents, or other

    persons to testify on its behalf on each topic listed on Exhibit A attached hereto.

           Dated: May 17, 2023                            Respectfully submitted,

                                                         By: /s/ Adam Moskowitz
                                                         Adam M. Moskowitz
                                                         Florida Bar No. 984280
                                                         adam@moskowitz-law.com
                                                         Joseph M. Kaye
                                                         Florida Bar No. 117520
                                                         joseph@moskowitz-law.com
                                                         THE MOSKOWITZ LAW FIRM, PLLC
                                                         2 Alhambra Plaza, Suite 601
                                                         Coral Gables, FL 33134
                                                         Telephone: (305) 740-1423

                                                         By: /s/Stuart Z. Grossman
                                                         Stuart Z. Grossman
                                                         Florida Bar No. 156113
                                                         Manuel A. Arteaga-Gomez
                                                         Florida Bar No. 18122
                                                         GROSSMAN ROTH YAFFA COHEN, P.A.
                                                         2525 Ponce de Leon Boulevard, Suite 1150
                                                         Coral Gables, FL 33134
                                                         Ph: 305-442-8666
                                                         Fx: 305-285-1668
                                                         szg@grossmanroth.com
                                                         aag@grossmanroth.com

                                                         By: /s/ Stephen Neal Zack
                                                         Stephen Neal Zack
                                                         Florida Bar No. 145215
                                                         Tyler Ulrich
                                                         Florida Bar No. 94705
                                                         BOIES SCHILLER FLEXNER LLP
                                                         100 SE 2nd St., Suite 2800
                                                         Miami, FL 33131
                                                         Office: 305-539-8400
                                                         szack@bsfllp.com
                                                         tulrich@bsfllp.com




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                                                       By: /s/ Jose Ferrer
                                                       Jose Ferrer
                                                       Florida Bar No. 173746
                                                       Michelle Genet Bernstein
                                                       Florida Bar No. 1030736
                                                       MARK MIGDAL HAYDEN LLP
                                                       8 SW 8th Street, Suite 1999
                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                                EXHIBIT A

                                I. DEFINITIONS AND INSTRUCTIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

             1.      “CA,” “You,” or “Your” means Defendant Creators Agency LLC and any of its

     affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

             2.      “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

             3.      “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

             4.      “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

             5.      “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

             6.      “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

             7.      “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,




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     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and

     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

             8.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             9.      All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             10.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall

     be waived.

             11.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

             12.     Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.




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                                   II. EIGHT DEPOSITION SUBJECTS

              Pursuant to Rule 30(b)(6), CA shall designate and produce for deposition one or more of
    its officers, directors, managing agents, or other persons who are knowledgeable about and consent
    to testify on its behalf concerning the following subject matters:

               1.      All Documents and responses provided in response to Plaintiffs’ request for

        production, dated and served on May 18, 2023.

               2.      All Documents and Communications, including contracts or agreements,

        regarding any business You (personally or through any entity owned by You, or any of Your or

        Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

        including all documents and communications regarding any payments made to You (personally

        or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

        employees, or agents) in accordance with any such contract or agreement.

               3.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               4.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.


    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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           5.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’

    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           6.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           7.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

            8.      All Documents that show, evidence and/or relate to Your purchases, ownership,

     or control of FTT, including any wallet addresses controlled by You related to your FTT

     holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                       /

          PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                       DEFENDANT CREATORS AGENCY LLC

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Creators Agency

     LLC (“CA”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                             Respectfully submitted,

                                                       By: /s/ Adam Moskowitz
                                                       Adam M. Moskowitz
                                                       Florida Bar No. 984280
                                                       adam@moskowitz-law.com
                                                       Joseph M. Kaye
                                                       Florida Bar No. 117520
                                                       joseph@moskowitz-law.com
                                                       THE MOSKOWITZ LAW FIRM, PLLC
                                                       2 Alhambra Plaza, Suite 601
                                                       Coral Gables, FL 33134
                                                       Telephone: (305) 740-1423

                                                       By: /s/Stuart Z. Grossman
                                                       Stuart Z. Grossman
                                                       Florida Bar No. 156113
                                                       Manuel A. Arteaga-Gomez
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                                                          tulrich@bsfllp.com

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                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
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                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ



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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “CA,” “You,” or “Your” means Defendant Creators Agency LLC and any of its

     affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,



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     agreements, contracts, and all other written communications, of any type, including inter and

     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries




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          at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email

          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;




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                         d.      the name of each person who ordered, authorized, and carried out

                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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               Exhibit C
   PLAINTIFFS’ OMNIBUS MOTION TO LIFT DISCOVERY STAY
  AND FOR LEAVE TO CONDUCT JURISDICTIONAL DISCOVERY,
   AND, IF NECESSARY TO AMEND THEIR COMPLAINTS WITH
         ANY FACTS ARISING FROM SUCH DISCOVERY
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al.,

           Plaintiffs,
    v.

    KEVIN PAFFRATH, et al.,

          Defendants.
    __________________________/

                                                  ORDER

           THIS CAUSE came before the Court upon the parties’ Joint Report [ECF No. 93] in

    response to the Court’s May 16, 2023 Order [ECF No. 88]. The parties state that they have

    conferred but have different proposals as to how the Court should proceed on issues of

    jurisdictional discovery and service. (See Joint Report 1).

           With respect to jurisdictional discovery, Plaintiffs have already served Defendants with “7

    very narrow requests for production . . . and notices for one brief Zoom deposition of each

    Defendant[,]” which Plaintiffs believe should not create “any unreasonable burdens for any party.”

    (Id. 3 (alterations added)). Defendants oppose any jurisdictional discovery, arguing that Plaintiffs

    have “failed to make a prima facie case for personal jurisdiction over any Defendant.” (Id. 5). If

    the Court permits jurisdictional discovery, Defendants propose a schedule lasting approximately

    two months. (See id. 5–6).

           Three of the parties previously contesting the sufficiency of service have agreed to accept

    service of process through waiver. (See id. 7). The parties have not reached agreement on the

    issue of service with respect to Defendant Erika Kullberg, who maintains that service was

    improper. (See id. 7). Plaintiffs request that to the extent Kullberg refuses to authorize her counsel
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    to accept service on her behalf, that the Court authorize Plaintiffs to serve her through email to her

    counsel. (See id. 2–3 (noting that Defendant Kullberg’s “whereabouts are unknown but may be

    currently outside of the United States” (footnote call number omitted)).

           The Court finds that jurisdictional discovery is appropriate; additional jurisdictional facts

    need not be alleged in Plaintiffs’ pleading. Being fully advised, it is

           ORDERED as follows:

               1. Erika Kullberg has until May 30, 2023 to file a motion challenging the sufficiency

                   of service.

               2. The parties have until May 22, 2023 to serve written jurisdictional discovery

                   requests.

               3. Objections to written jurisdictional discovery requests — following proper

                   conferral with opposing counsel — must be exchanged by May 29, 2023. Should

                   any objections be served and not resolved by conferral, the moving party or parties

                   shall contact Magistrate Judge Melissa Damian by June 1, 2023 to arrange a date

                   and time for a discovery hearing.

               4. The parties shall complete document production related to personal jurisdiction and

                   answers to interrogatories in response to jurisdictional discovery requests by June

                   12, 2023.

               5. Defendants and Plaintiffs shall complete any depositions related to jurisdictional

                   discovery by June 23, 2023.

               6. Plaintiffs have until June 30, 2023 to file an amended complaint or a notice

                   advising they intend to proceed with the Complaint [ECF No. 1].




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              7. Defendants have until July 18, 2023 to file a combined motion to dismiss for lack

                  of personal jurisdiction and/or to transfer venue, or a notice that they are

                  withdrawing their challenge to personal jurisdiction and/or venue. No extensions

                  of time will be given for response and reply memoranda.

              8. No answers to the Complaint or motions to dismiss under Federal Rule of Civil

                  Procedure 12(b)(6) shall be filed until after Defendants either file a motion to

                  dismiss for lack of personal jurisdiction and/or to transfer venue or notice that they

                  are withdrawing their challenge to personal jurisdiction and/or venue.

          DONE AND ORDERED in Miami, Florida, this 19th day of May, 2023.



                                                   ________________________________________
                                                   CECILIA M. ALTONAGA
                                                   CHIEF UNITED STATES DISTRICT JUDGE

    cc:   counsel of record




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           Composite
           Exhibit D
   PLAINTIFFS’ OMNIBUS MOTION TO LIFT DISCOVERY STAY
  AND FOR LEAVE TO CONDUCT JURISDICTIONAL DISCOVERY,
   AND, IF NECESSARY TO AMEND THEIR COMPLAINTS WITH
         ANY FACTS ARISING FROM SUCH DISCOVERY



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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        MDL No. 3076
                                 CASE NO. 1:23-md-03076-KMM



     In Re: FTX Cryptocurrency Exchange Collapse Litigation


          PLAINTIFFS’ SECOND SET OF INTERROGATORIES TO DEFENDANTS
        HASLEM, CURRY, DAVID, GOLDEN STATE WARRIORS, OSAKA, SOLOMID
         CORPORATION, STEPHAN, JIKH, KULLBERG, SINGH, JUNG, LEFEBVRE,
                          AND CREATORS AGENCY, LLC

           Plaintiffs, pursuant to Fed. R. Civ. P. 26 and 33, and Rule 26.1 of the Local Rules of the

    Southern District of Florida, request that Defendants Udonis Haslem, Stephen Curry, Naomi Osaka,

    Lawrence Gene David, Solomid Corporation, Golden State Warriors, LLC, Graham Stephan,

    Andrei Jikh, Erika Kullberg, Jaspreet Singh, Brian Jung, Jeremy Lefebvre, and Creators Agency,

    LLC, respectively respond, in writing and under oath, to the following interrogatories, within the

    time prescribed by such rules.

    Respectfully submitted on November ___, 2023.

                                      Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                           By: /s/ David Boies
     Adam M. Moskowitz                                David Boies
     Florida Bar No. 984280                           Alex Boies
     Joseph M. Kaye                                   Brooke Alexander
     Florida Bar No. 117520                           BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                     333 Main Street
     Continental Plaza                                Armonk, NY 10504
     3250 Mary Street, Suite 202                      Office: (914) 749-8200
     Coconut Grove, FL 33133                          dboies@bsfllp.com
     Office: (305) 740-1423                           aboies@bsfllp.com
     adam@moskowitz-law.com                           balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                                                 Committee Members
     K. Rachel Lanier                                     Barbara C. Lewis
     Alex J. Brown                                        Florida Bar No. 118114
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     Houston, TX 77064                                    3250 Mary Street, Suite 202
     Telephone: (713) 659-5200                            Coconut Grove, FL 33133
     Facsimile: (713) 659-2204                            Office: (305) 740-1423
     Rachel.Lanier@lanierlawfirm.com                      Barbara@moskowitz-law.com
     Alex.Brown@lanierlawfirm.com

                                        CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the foregoing was
    served via email to all counsel of record.

                                                            By: /s/ Adam Moskowitz
                                                               Adam M. Moskowitz
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                                               DEFINITIONS

          Unless otherwise specified, the terms set forth below have the following meanings:

          1.        “FTX Entities” refers to FTX Trading and/or FTX US.

          2.        “FTX Trading” refers to FTX Trading Ltd. d/b/a FTX Trading, including, but not

   limited to, its past and present subsidiaries, affiliates, divisions, segments (including any mobile

   application and/or web-based cryptocurrency investment services or trading platform, such as

   FTX.com), predecessors (including acquired entities or lines of business such as Blockfolio, Inc.),

   successors, directors, officers, employees, representatives and/or agents.

          3.        “FTX US” refers to West Realm Shires Services Inc. d/b/a FTX US, including, but

   not limited to, its past and present subsidiaries, affiliates, divisions, segments (including any mobile

   application and/or web-based cryptocurrency investment services or platform, such as FTX.com),

   predecessors (including acquired entities or lines of business such as Blockfolio, Inc.), successors,

   directors, officers, employees, representatives and/or agents.

          4.        “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

   cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

          5.        “Person” or “People” refers to any natural person(s) or any business, legal, or

   governmental entity (or entities) or association(s).

          6.        “Alameda” refers to Alameda Research LLC, including, but not limited to, its past

   and present subsidiaries, affiliates, divisions, segments (including any mobile application and/or

   web-based cryptocurrency investment services or trading platform), predecessors (including acquired

   entities or lines of business), successors, directors, officers, employees, representatives and/or agents.

          7.        All/Each and And/Or – The terms “all”, “each”, “and” and “or” shall be construed

   as meaning either all or each as necessary, or conjunctively, to bring within the scope of the discovery

   request all responses that might otherwise be construed to be outside its scope.


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           8.      “FTT” refers to the native cryptocurrency exchange token of the FTX

   Platform ecosystem.

           9.      “Communication” refers to the transmittal of information in the form of facts,

   ideas, inquiries or otherwise, and whether orally or in writing, or by any other means or

   medium, including in person, electronically and/or by exchange or communication of any

   document.

           10.     “Concerning” means relating to, referring to, describing, evidencing or

   constituting.

           11.     “Defendants” refers to any and all persons and/or entities named as

   defendants in any of the actions consolidated with, and into, the above-captioned action. For

   purposes of these Requests, Defendants also includes Silvergate Capital Corporation (a/k/a

   Silvergate Bank).

           12.     “Document” refers to any written, printed, typed or other graphic matter, of

   any kind or nature, whether in hard copy or electronic format, whether the original, draft, or

   a copy and copies bearing notations or marks not found on the original, including, but not

   limited to, memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails,

   text messages, instant messages (including, but not limited to, messages exchanged or sent

   using Slack, Teams, Discord, WhatsApp, Signal or any other similar application), transcripts,

   studies, analyses, tests, books, articles, minutes, agreements, contracts, and all other written

   communications,     of   any type, including inter and intra-office communications,

   questionnaires, surveys, charts, graphs, videos, photographs, tapes, voice messages or other

   recordings, print-outs or compilations from which information can be obtained or, if necessary,

   translated through detection devices into reasonably usable form, including all underlying or

   preparatory materials and drafts thereof. To the extent not already covered in the above


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   definition, “Document” specifically includes any “writing”, “recording”, “photograph”, “original” or

   “duplicate” as defined in Rule 1001 of the Federal Rules of Evidence, and/or “Electronically Stored

   Information” as set forth in Rule 34 of the Federal Rules of Civil Procedure and/or as further defined

   as “ESI” herein.

           13.        “ESI” refers to Electronically Stored Information, as consistent with Rule 34 of the

   Federal Rules of Civil Procedure, and includes all computer or electronically stored or generated data

   and information, including all attachments to and enclosures within any requested item, and all drafts

   thereof. ESI includes all information and documents stored in any format and on any storage media,

   including, but not limited to: hard disks; optical disks, floppy disks; flash memory drives; and

   magnetic tape, whether fixed, portable or removable, and ESI further includes, but is not limited to,

   electronic spreadsheets, electronic presentation documents, e-mail messages, text messages, instant

   messages (including, but not limited to, message exchanged or sent using Slack, Teams, Discord,

   WhatsApp, Signal or any other similar application); image files; sound files; material or information

   stored in a database or accessible from a database. ESI also includes all associated metadata that is

   maintained or saved (including for example, author, recipient, file creation date, file modification

   date, etc.).

           14.        “You” or “Your” shall refer to the defendant responding to these requests, including,

   but not limited to, its international, national or local branches or offices, and current and prior

   partners, employees and agents.

           15.        Whenever a reference to a business entity appears, the reference shall mean the

   business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

   employees, agents, clients or other representatives of affiliated third parties.




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          16.       Defined terms may or may not be capitalized or made uppercase; the given

   definitions apply even if a term in question is not capitalized or made uppercase. No waiver of a

   definition is implied by the use of a defined term in a non-capitalized or lowercase form.




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                                                 INSTRUCTIONS

          1.        Production of responses and objections to the interrogatories shall be made at the

   offices of The Moskowitz Law Firm, P.O. Box 653409, Miami, FL 33133, or via electronic mail to

   the email addresses provided in the signature blocks of the attorneys serving these interrogatories.

          2.        Unless otherwise stated in an interrogatory, the time period for which you must

   respond is January 1, 2019 through the date of response to these interrogatories.

          3.        These interrogatories shall include all information in your possession, custody or

   control or in the possession, custody or control of your present or former agents, representatives, or

   your attorneys, or any and all persons acting on your behalf, or your present or former agents,

   representatives, or attorneys.

          4.        Each interrogatory objection and/or response must immediately follow the quoted

   interrogatory, and no part of an interrogatory shall be left unanswered merely because an objection

   is interposed to another part of the interrogatory.

          5.        If you claim there is any ambiguity in either a particular interrogatory or in a

   definition or an instruction applicable thereto, you shall not use such claim as a basis for refusing to

   respond to the interrogatory, but you shall set forth as part of the response the language you deem

   ambiguous and the interpretation you used in responding.

          6.        Where an objection is made to any interrogatory, the objection shall state with

   specificity all grounds. Any ground not stated in an objection within the time provided by the Federal

   Rules of Civil Procedure, the local rules of the Southern District of Florida, or by the Court’s order,

   or any extensions thereof, shall be waived.

          7.        Where a claim of privilege or protection from disclosure is asserted in objecting to

   any interrogatory, or sub-part thereof, and a complete answer is not provided on the basis of such

   assertion, you shall provide a log within the time period set forth in Rule 26.1 of the Local Rules of


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   the Southern District of Florida, and in conformity with the requirements of that rule.

          8.         If you answer any interrogatory by reference to records or materials from

   which the answer may be derived or ascertained, you shall make available within the time

   period specified in Rule 26.1 of the Local Rules of the Southern District of Florida:

                    (A)     any electronically stored information or summaries thereof that you have or

                            can adduce by a relatively simple procedure, unless those materials are

                            privileged or otherwise immune from discovery.

                    (B)     any relevant compilations, abstracts or summaries in your custody or readily

                            obtainable by you, unless those materials are privileged or otherwise immune

                            from discovery.

          9.         If any documents are produced in connection with responding to any

   interrogatory, such documents are to be produced in the following method:

                       a.     Single page .TIFF

                       b.     Color .jpg (documents wherein reflection of importance relies on

                color, shall be produced in .jpg format)

                       c.     OCR at document level (all documents are to be provided with

                searchable text files with the exception of the redacted portions of redacted

                documents).

                       d.     Electronic documents, e-mails, text or instant messages are to be

                processed and converted from the electronic format to single page tiff.

          10.        These interrogatories shall be deemed continuing, and supplemental

   interrogatory responses shall be provided as additional responsive information becomes

   available.




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                                          INTERROGATORIES

   For All Defendants:

          1.        State whether you are authorized to do business in Florida and provide the date of

   issuance and nature of such authorization.

          2.        Identify each contract you have entered with any person or entity in Florida and

   provide the nature and dates of each said contract.

          3.        State all business you conduct or have conducted within Florida during the past three

   years, including the number of employees and/or agents located in Florida and any subsidiary entities

   located in Florida.

          4.        List any communication(s) you had to, from, or in Florida (whether written or oral)

   with any individual or entity for the purpose of conducting business for you or on your behalf.

          5.        State each occasion in which you travelled to Florida and the purpose and dates of

   such travel.

          6.        State the existence and nature of any regular sales You have within Florida.

          7.        List all advertising activity directed towards Florida.

          8.        State the location/address of any bank, credit union, or other financial institution at

   which you maintain account(s) in Florida.

            9.      State whether you have paid state income tax in Florida in the last three years.



   For Defendant Erika Kullberg:

            10.     State your full legal name and any aliases you have.

            11.     State your domicile and your current residence address.

            12.     State all residence addresses you have resided in and the address(es) at which you

                    have received mail.


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            13.       State the address(es) shown on your driver’s license and any professional

    license(s).

            14.       State the address(es) of any business(es) you own or operate in the United States.

            15.       State each location in which you are licensed or otherwise authorized to do business

    and provide the date of issuance.

            16.       State any previous names or aliases.

            17.       List any and all dates for which you have either visited, lived, or resided at 40

    Waterside Plz, Apt. 11D, New York, New York 10010.

            18.       State whether you have ever leased a residence under the name “Erika Nicole

    Shannon.”

            19.       State all addresses for which you have entered into a lease using the name

    “Erika Nicole Shannon” or “Erika Kullberg.”

            20.       State how you became aware of the service attempt on April 6, 2023 at 40

    Waterside Plz, Apt. 11D, New York, New York 10010.

            21.       State whether you received any telephone calls from an individual purporting

    to be a front desk worker or security for an apartment building on April 6, 2023.

            22.       State how you know Arzu Malik.

            23.       State how you became aware that you were named as a Defendant in the above-

    captioned case.




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                                            VERIFICATION



                                                           ____________________________________
                                                            SIGNATURE


   STATE OF ____________________ )
                                 ) SS:
   COUNTY OF __________________ )


            BEFORE ME, the undersigned authority, personally appeared _________________
   [ ] personally known to me or [ ] who produced identification of _______________________,
   who after being first duly sworn, deposes and states that he executed the foregoing and that it is true
   and correct.

            SWORN TO AND SUBSCRIBED BEFORE ME this ____ day of _______________, 2023.

   [Seal]


                                                 _____________________________________
                                                 Notary Public


                                                 ___________________________________
                                                 Print Name




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation


                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                               DEFENDANT ANDREI JIKH
           Pursuant to Federal Rule of Civil Procedure 30, Plaintiffs’ counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Andre Jikh
           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.

    Respectfully submitted on November ___, 2023.

                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                       333 Main Street
     Continental Plaza                                  Armonk, NY 10504
     3250 Mary Street, Suite 202                        Office: (914) 749-8200
     Coconut Grove, FL 33133                            dboies@bsfllp.com
     Office: (305) 740-1423                             aboies@bsfllp.com
     adam@moskowitz-law.com                             balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
     THE MOSKOWITZ LAW FIRM, PLLC                     THE LANIER LAW FIRM, P.C.
     Continental Plaza                                10940 W. Sam Houston Pkwy N.
     3250 Mary Street, Suite 202                      Houston, TX 77064
     Coconut Grove, FL 33133                          Telephone: (713) 659-5200
     Office: (305) 740-1423                           Rachel.Lanier@lanierlawfirm.com
     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com



                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation


                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                               DEFENDANT BRIAN JUNG
           Pursuant to Federal Rule of Civil Procedure 30, Plaintiffs’ counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Brian Jung
           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.

    Respectfully submitted on November ___, 2023

                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                       333 Main Street
     Continental Plaza                                  Armonk, NY 10504
     3250 Mary Street, Suite 202                        Office: (914) 749-8200
     Coconut Grove, FL 33133                            dboies@bsfllp.com
     Office: (305) 740-1423                             aboies@bsfllp.com
     adam@moskowitz-law.com                             balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
     THE MOSKOWITZ LAW FIRM, PLLC                     THE LANIER LAW FIRM, P.C.
     Continental Plaza                                10940 W. Sam Houston Pkwy N.
     3250 Mary Street, Suite 202                      Houston, TX 77064
     Coconut Grove, FL 33133                          Telephone: (713) 659-5200
     Office: (305) 740-1423                           Rachel.Lanier@lanierlawfirm.com
     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com



                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation



             NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
      DEFENDANT CREATORS AGENCY, LLC’S RULE 30(b)(6) REPRESENTATIVE(S)

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Creators Agency, LLC, (the “Creators”), by and
                                   through Creators’ corporate representative(s) with
                                   knowledge of the eight topics listed in Exhibit A, pursuant
                                   to Federal Rule of Civil Procedure 30(b)(6).
           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.


    Respectfully submitted on November ___, 2023.

                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                       333 Main Street
     Continental Plaza                                  Armonk, NY 10504
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     3250 Mary Street, Suite 202                      Office: (914) 749-8200
     Coconut Grove, FL 33133                          dboies@bsfllp.com
     Office: (305) 740-1423                           aboies@bsfllp.com
     adam@moskowitz-law.com                           balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com

                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
     THE MOSKOWITZ LAW FIRM, PLLC                     THE LANIER LAW FIRM, P.C.
     Continental Plaza                                10940 W. Sam Houston Pkwy N.
     3250 Mary Street, Suite 202                      Houston, TX 77064
     Coconut Grove, FL 33133                          Telephone: (713) 659-5200
     Office: (305) 740-1423                           Rachel.Lanier@lanierlawfirm.com
     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com



                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                                EXHIBIT A

                                I. DEFINITIONS AND INSTRUCTIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

             1.      “CA,” “You,” or “Your” means Defendant Creators Agency LLC and any of its

     affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

             2.      “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

             3.      “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

             4.      “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

             5.      “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

             6.      “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

             7.      “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,


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     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and

     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

             8.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             9.      All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             10.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall

     be waived.

             11.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

             12.     Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.




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                                          II. DEPOSITION SUBJECTS

              Pursuant to Rule 30(b)(6), CA shall designate and produce for deposition one or more of
    its officers, directors, managing agents, or other persons who are knowledgeable about and consent
    to testify on its behalf concerning the following subject matters:

               1.      All Documents and responses provided in response to Plaintiffs’ requests for

        production and interrogatories.

               2.      Contracts or agreements regarding any business You (personally or through any

        entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees, or

        agents) conducted with the FTX Entities, including any payments made to You (personally or

        to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

        employees, or agents) in accordance with any such contract or agreement.

               3.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               4.     Defendant’s “targeting” of Florida audience and Florida’s FTX consumers.

              5.      Your (or Your entities’ affiliates, representatives, employees, or agents)

    promotion of FTT, YBAs or the FTX Platform.


    1
      Any such videos and/or content either should still be saved on Defendant’s hard drives and
    preserved for use in this litigation or should still be on the private-facing portions of their social
    media platforms—for instance, Defendant could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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           6.     All due diligence You (personally or through any entity owned by You, or any of

    Your or Your entities’ affiliates, representatives, employees, or agents) conducted before

    promotion of FTT, YBAs or FTX Platform to the public.

           7.     This lawsuit and/or the subject matter of this lawsuit.




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation


                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                             DEFENDANT ERIKA KULLBERG
           Pursuant to Federal Rule of Civil Procedure 30, Plaintiffs’ counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Erika Kullberg
           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

    The aforesaid deposition will be before a court reporter, an officer authorized by law to administer

    oaths and take depositions in the State of Florida. The deposition is being taken for the purpose

    of discovery, for use at trial, or both, or for such other purposes as are permitted under the Federal

    and Local Rules of Civil Procedure.

    Respectfully submitted on November ___, 2023.

                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                       333 Main Street
     Continental Plaza                                  Armonk, NY 10504
     3250 Mary Street, Suite 202                        Office: (914) 749-8200
     Coconut Grove, FL 33133                            dboies@bsfllp.com
     Office: (305) 740-1423                             aboies@bsfllp.com
     adam@moskowitz-law.com                             balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
     THE MOSKOWITZ LAW FIRM, PLLC                     THE LANIER LAW FIRM, P.C.
     Continental Plaza                                10940 W. Sam Houston Pkwy N.
     3250 Mary Street, Suite 202                      Houston, TX 77064
     Coconut Grove, FL 33133                          Telephone: (713) 659-5200
     Office: (305) 740-1423                           Rachel.Lanier@lanierlawfirm.com
     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com



                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation



                 NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                DEFENDANT GOLDEN STATE WARRIORS LLC RULE 30(b)(6)
                               REPRESENTATIVE(S)

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiffs’ counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Golden State Warriors LLC

           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.

    Respectfully submitted on November ___, 2023.

                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                       333 Main Street
     Continental Plaza                                  Armonk, NY 10504
     3250 Mary Street, Suite 202                        Office: (914) 749-8200
     Coconut Grove, FL 33133                            dboies@bsfllp.com
     Office: (305) 740-1423                             aboies@bsfllp.com
     adam@moskowitz-law.com                             balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
     THE MOSKOWITZ LAW FIRM, PLLC                     THE LANIER LAW FIRM, P.C.
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     3250 Mary Street, Suite 202                      Houston, TX 77064
     Coconut Grove, FL 33133                          Telephone: (713) 659-5200
     Office: (305) 740-1423                           Rachel.Lanier@lanierlawfirm.com
     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com



                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                                EXHIBIT A

                                I. DEFINITIONS AND INSTRUCTIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

             1.      “GSW,” “You,” or “Your” means Defendant Golden State Warriors LLC and

     any of its affiliates, subsidiaries, divisions, segments, predecessors, successors, officers,

     directors, employees, representatives, or agents.

             2.      “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

             3.      “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

             4.      “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

             5.      “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

             6.      “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

             7.      “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and
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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

             8.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             9.      All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             10.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall

     be waived.

             11.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

             12.     Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.




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                                       II. DEPOSITION SUBJECTS

           Pursuant to Rule 30(b)(6), GSW shall designate and produce for deposition one or more of
    its officers, directors, managing agents, or other persons who are knowledgeable about and consent
    to testify on its behalf concerning the following subject matters:

             1.     All Documents and responses provided in response to Plaintiffs’ requests for

     production and interrogatories.

             2.     Contracts or agreements, regarding any business You (personally or through any

     entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees, or

     agents) conducted with the FTX Entities, including any payments made to You (personally or

     to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

     employees, or agents) in accordance with any such contract or agreement.

            3.     All content You (personally or through any entity owned by You, or any of Your

     or Your entities’ affiliates, representatives, employees, or agents) produced or generated

     regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including

     content that may no longer be publicly available.

            4.     Defendant’s “targeting” of Florida audience and Florida’s FTX consumers.

           5.      Your (or Your entities’ affiliates, representatives, employees, or agents)

    promotion of FTT, YBAs or the FTX Platform.

           6.      All due diligence You (personally or through any entity owned by You, or any of

    Your or Your entities’ affiliates, representatives, employees, or agents) conducted before

    promotion of FTT, YBAs or FTX Platform to the public.

             7.     Your sales and revenue generated from advertising and marketing in Florida

     and/or to Florida consumers.

           8.      This lawsuit and/or the subject matter of this lawsuit.



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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation


                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                             DEFENDANT JASPREET SINGH
           Pursuant to Federal Rule of Civil Procedure 30, Plaintiffs’ counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Jaspreet Singh
           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

    The aforesaid deposition will be before a court reporter, an officer authorized by law to administer

    oaths and take depositions in the State of Florida. The deposition is being taken for the purpose

    of discovery, for use at trial, or both, or for such other purposes as are permitted under the Federal

    and Local Rules of Civil Procedure.

    Respectfully submitted on November ___, 2023.

                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                       333 Main Street
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     3250 Mary Street, Suite 202                        Office: (914) 749-8200
     Coconut Grove, FL 33133                            dboies@bsfllp.com
     Office: (305) 740-1423                             aboies@bsfllp.com
     adam@moskowitz-law.com                             balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
     THE MOSKOWITZ LAW FIRM, PLLC                     THE LANIER LAW FIRM, P.C.
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     3250 Mary Street, Suite 202                      Houston, TX 77064
     Coconut Grove, FL 33133                          Telephone: (713) 659-5200
     Office: (305) 740-1423                           Rachel.Lanier@lanierlawfirm.com
     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com



                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation


                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                            DEFENDANT JEREMY LEFEBVRE
           Pursuant to Federal Rule of Civil Procedure 30, Plaintiffs’ counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Jeremy LeFebvre
           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.

    Respectfully submitted on November ___, 2023.


                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                       333 Main Street
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     Coconut Grove, FL 33133                            dboies@bsfllp.com
     Office: (305) 740-1423                             aboies@bsfllp.com
     adam@moskowitz-law.com                             balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
     THE MOSKOWITZ LAW FIRM, PLLC                     THE LANIER LAW FIRM, P.C.
     Continental Plaza                                10940 W. Sam Houston Pkwy N.
     3250 Mary Street, Suite 202                      Houston, TX 77064
     Coconut Grove, FL 33133                          Telephone: (713) 659-5200
     Office: (305) 740-1423                           Rachel.Lanier@lanierlawfirm.com
     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com



                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation


                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                              DEFENDANT LAWRENCE GENE DAVID

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiffs’ counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Lawrence Gene David

           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

    The aforesaid deposition will be before a court reporter, an officer authorized by law to administer

    oaths and take depositions in the State of Florida. The deposition is being taken for the purpose

    of discovery, for use at trial, or both, or for such other purposes as are permitted under the Federal

    and Local Rules of Civil Procedure.

    Respectfully submitted on November ___, 2023.

                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
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     Continental Plaza                                  Armonk, NY 10504
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     Coconut Grove, FL 33133                            dboies@bsfllp.com
     Office: (305) 740-1423                             aboies@bsfllp.com
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     adam@moskowitz-law.com                           balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com

                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
     THE MOSKOWITZ LAW FIRM, PLLC                     THE LANIER LAW FIRM, P.C.
     Continental Plaza                                10940 W. Sam Houston Pkwy N.
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     Coconut Grove, FL 33133                          Telephone: (713) 659-5200
     Office: (305) 740-1423                           Rachel.Lanier@lanierlawfirm.com
     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com



                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation


                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                              DEFENDANT NAOMI OSAKA

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiffs’ counsel will take the deposition

    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Naomi Osaka

           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.

    Respectfully submitted on November ___, 2023.

                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
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     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
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     Office: (305) 740-1423                           Rachel.Lanier@lanierlawfirm.com
     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com



                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation



                NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
             DEFENDANT SOLOMID CORP. RULE 30(b)(6) REPRESENTATIVE(S)

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiffs’ counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Solomid Corp. by and through Solomid Corp.’
                                   corporate representative(s) with knowledge of the eight topics
                                   listed in Exhibit A, pursuant to Federal Rule of Civil Procedure
                                   30(b)(6).

           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.

    Respectfully submitted on November ___, 2023.

                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
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     adam@moskowitz-law.com                           balexander@bsfllp.com
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                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
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     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com




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                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                                EXHIBIT A

                                I. DEFINITIONS AND INSTRUCTIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

             1.      “Solomid,” “You,” or “Your” means Defendant Solomid Corp. and any of its

     affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

             2.      “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

             3.      “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

             4.      “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

             5.      “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

             6.      “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

             7.      “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,



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     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and

     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

             8.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             9.      All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             10.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall

     be waived.

             11.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

             12.     Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.




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                                       II. DEPOSITION SUBJECTS

           Pursuant to Rule 30(b)(6), Solomid shall designate and produce for deposition one or more
    of its officers, directors, managing agents, or other persons who are knowledgeable about and
    consent to testify on its behalf concerning the following subject matters:

            1.      All Documents and responses provided in response to Plaintiffs’ requests for

     production and interrogatories.

            2.      Contracts or agreements, regarding any business You (personally or through any

     entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees, or

     agents) conducted with the FTX Entities, including any payments made to You (personally or

     to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

     employees, or agents) in accordance with any such contract or agreement.

            3.     All content You (personally or through any entity owned by You, or any of Your

     or Your entities’ affiliates, representatives, employees, or agents) produced or generated

     regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including

     content that may no longer be publicly available.

            4.     Defendant’s “targeting” of Florida audience and Florida’s FTX consumers.

           5.      Your (or Your entities’ affiliates, representatives, employees, or agents)

    promotion of FTT, YBAs or the FTX Platform.

           6.      All due diligence You (personally or through any entity owned by You, or any of

    Your or Your entities’ affiliates, representatives, employees, or agents) conducted before

    promotion of FTT, YBAs or FTX Platform to the public.

            7.      Your sales and revenue generated from advertising and marketing in Florida

     and/or to Florida consumers.

           8.      This lawsuit and/or the subject matter of this lawsuit.


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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation


                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                              DEFENDANT STEPHEN CURRY

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiffs’ counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Stephen Curry

           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.

    Respectfully submitted on November ___, 2023.

                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
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     Office: (305) 740-1423                             aboies@bsfllp.com
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     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
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     Office: (305) 740-1423                           Rachel.Lanier@lanierlawfirm.com
     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com



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                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation


                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                              DEFENDANT UDONIS HASLEM
           Pursuant to Federal Rule of Civil Procedure 30, Plaintiffs’ counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Udonis Haslem
           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.

    Respectfully submitted on November ___, 2023.

                                        Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
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                                Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
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     Office: (305) 740-1423                           Rachel.Lanier@lanierlawfirm.com
     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com




                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation


                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                            DEFENDANT GRAHAM STEPHAN

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiffs’ counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Graham Stephan
           DATE:
           TIME:
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.

    Respectfully submitted on November ___, 2023.

                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                             By: /s/ David Boies
     Adam M. Moskowitz                                  David Boies
     Florida Bar No. 984280                             Alex Boies
     Joseph M. Kaye                                     Brooke Alexander
     Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
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                              Plaintiffs’ Promoter Committee Members
     Barbara C. Lewis                                 K. Rachel Lanier
     Florida Bar No. 118114                           Alex Brown
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     barbara@moskowitz-law.com                        Alex.Brown@lanierlawfirm.com
     service@moskowitz-law.com



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           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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            Composite
            Exhibit D
   PLAINTIFFS’ OMNIBUS MOTION TO LIFT DISCOVERY STAY
  AND FOR LEAVE TO CONDUCT JURISDICTIONAL DISCOVERY,
   AND, IF NECESSARY TO AMEND THEIR COMPLAINTS WITH
         ANY FACTS ARISING FROM SUCH DISCOVERY



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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        MDL No. 3076
                                 CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation




     PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
            DEFENDANT DELTEC BANK AND TRUST COMPANY LIMITED.

           Plaintiffs in the above-titled action, pursuant to Rules 26 and 34 of the Federal Rules of

    Civil Procedure, and Local Rule 26.1 of the United States District Court for the Southern District

    of Florida, request that Defendant Deltec Bank and Trust Company Limited, produce all

    documents, electronically stored information, and things that are in your possession, custody, or

    control requested in response to the following Requests for Production.


    Respectfully submitted on November ___, 2023


                                      Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                           By: /s/ David Boies
     Adam M. Moskowitz                                David Boies
     Florida Bar No. 984280                           Alex Boies
     Joseph M. Kaye                                   Brooke Alexander
     Florida Bar No. 117520                           BOIES SCHILLER FLEXNER LLP
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     joseph@moskowitz-law.com
     service@moskowitz-law.com




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                               Plaintiffs’ Steering Committee Members

     Joseph R. Saveri                                 James R. Swanson
     JOSEPH SAVERI LAW FIRM                           Kerry J. Miller
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     San Francisco, CA 94108                          201 St. Charles Avenue, 46th Floor
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     jsaveri@saverilawfirm.com                        Telephone: (504) 586-5252
                                                      jswanson@fishmanhaygood.com
                                                      kmiller@fishmanhaygood.com


     Robert Lieff
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     Rutherford, CA 94573
     rlieff@lieff.com




                                    CERTIFICATE OF SERVICE
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                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                            DEFINITIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

           1.     “Alameda” refers to Alameda Research LLC, including, but not limited to, its past

                  and present subsidiaries, affiliates, divisions, segments (including any mobile

                  application and/or web-based cryptocurrency investment services or trading

                  platform), predecessors (including acquired entities or lines of business),

                  successors, directors, officers, employees, representatives and/or agents. No

                  specific reference to any of the foregoing in the following Requests, including any

                  specific reference to Samuel Bankman-Fried, Caroline Ellison, Gary Wang, or

                  Nishad Singh, serves to limit the scope of any reference to Alameda herein.

           2.     “All/Each” and “And/Or” – The terms “all”, “each”, “and” and “or” shall be

                  construed as meaning either all or each as necessary, or conjunctively, to bring

                  within the scope of the discovery request all responses that might otherwise be

                  construed to be outside its scope.

           3.     “Bankruptcy Actions” refers to Case No. 22-11068 (JTD) (Jointly Administered)

                  pending in the United States Bankruptcy Court for the District of Delaware, and all

                  bankruptcy proceedings filed in or after November 2022 on behalf of any of the

                  FTX Entities and/or Alameda, and all adversary proceedings filed in connection

                  therewith.

           4.     “Communication” means, without limitation, the transmittal of information in the

                  form of facts, ideas, inquiries or otherwise, and whether orally or in writing, or by

                  any other means or medium, including in person, electronically and/or by exchange

                  or communication of any document, and includes, without limitation,



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                correspondence, memoranda, reports, presentations, face-to-face conversations,

                telephone conversations, text messages, instant messages, voice messages,

                negotiations, Agreements, inquiries, understandings, meetings, letters, notes,

                telegrams, mail, email, exchanges of recorded information, and postings of any

                type. The term “Communication” includes instances where one party disseminates

                information that the other party receives but does not respond to.

           5.   “Concerning” means relating to, referring to, describing, evidencing or

                constituting.

           6.   “Control person” means a person (as defined herein) in direct or indirect possession

                of the power to direct or cause the direction of the management and policies of a

                person (as defined herein), whether through the ownership of voting securities, by

                contract, or otherwise.

           7.   “Creditors” refers to all creditors in the Bankruptcy Actions, including, but not

                limited to, any committees of such creditors.

           8.   “Criminal Proceedings” refers to United States v. Sam Bankman-Fried, 1:22-CR-

                00673 pending in the Southern District of New York, and all criminal proceedings

                filed in or after November 2022 relating to the FTX Entities and/or Alameda.

                “Debtors” refers to all FTX Entities and/or Alameda that have filed petitions for

                bankruptcy protection in the Bankruptcy Actions. When referring to the FTX

                Entities and/or Alameda in the Requests, the Requests cover the periods both prior

                to, and after, their filing of any of the Bankruptcy Actions.

           9.   “Defendants” refers to any and all persons and/or entities named as defendants in

                any of the actions consolidated with, and into, the above-captioned action. For



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                 purposes of these Requests, Defendants also includes Silvergate Capital

                 Corporation (a/k/a Silvergate Bank) and Signature Bank.

           10.   “Document” refers to any written, printed, typed or other graphic matter, of any

                 kind or nature, whether in hard copy or electronic format, whether the original,

                 draft, or a copy and copies bearing notations or marks not found on the original,

                 including, but not limited to, memoranda, reports, recommendations, notes, letters,

                 envelopes, post-its, emails, text messages, instant messages (including, but not

                 limited to, messages exchanged or sent using Slack, Teams, Discord, WhatsApp,

                 Signal or any other similar application), transcripts, studies, analyses, tests, books,

                 articles, minutes, agreements, contracts, and all other written communications, of

                 any type, including inter and intra-office communications, questionnaires, surveys,

                 charts, graphs, videos, photographs, tapes, voice messages or other recordings,

                 print-outs or compilations from which information can be obtained or, if necessary,

                 translated through detection devices into reasonably usable form, including all

                 underlying or preparatory materials and drafts thereof. To the extent not already

                 covered in the above definition, “Document” specifically includes any “writing”,

                 “recording”, “photograph”, “original” or “duplicate” as defined in Rule 1001 of the

                 Federal Rules of Evidence, and/or “Electronically Stored Information” within the

                 full scope of Rule 34 of the Federal Rules of Civil Procedure and/or as further

                 defined as “ESI” herein.

           11.   “ESI” refers to Electronically Stored Information, as consistent with Rule 34 of the

                 Federal Rules of Civil Procedure and includes all computer or electronically stored

                 or generated data and information, including all attachments to and enclosures



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                within any requested item, and all drafts thereof. ESI includes all information and

                documents stored in any format and on any storage media, including, but not limited

                to: internal and external storage devices, hard drives, flash drives; and magnetic

                tape, whether fixed, portable or removable, and ESI further includes, but is not

                limited to, electronic spreadsheets, electronic presentation documents, e-mail

                messages, text messages, message platforms (including, but not limited to, Slack,

                Teams, Discord, WhatsApp, Telegram, Messenger, Signal or any other similar

                platforms where chat messages are exchanged); image files; sound files; material

                or information stored in a database or accessible from a database (including, but

                not limited to, Salesforce, Azure Cloud, or SQL databases). Responsive ESI may

                also include data on social media websites (e.g., LinkedIn, Facebook, Twitter,

                Instagram, and internal intranet social media). To the extent that a document or ESI

                contains tracked changes, comments, or other hidden text, the document or ESI

                should be imaged with that hidden text displayed. ESI also includes all associated

                metadata that is maintained or saved (including for example, author, recipient, file

                creation date, file modification date, etc.). Metadata preservation includes

                preserving parent-child relationships within a document family (the association

                between an attachment and its parents’ document or between embedded documents

                and their parent). The entire document and attachments will be produced, except

                any attachments that may be withheld or redacted on the basis of any protection or

                privilege, work product, or other applicable protection. Best efforts shall be made

                to ensure that the parent-child relationships within a document family (the

                association between an attachment and its parent document) are preserved and that



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                 such responsive child document(s) should be consecutively produced immediately

                 after the responsive parent document.

           12.   “FTT” refers to the digital token created by the FTX Entities.

           13.   “FTX Entities” refers to FTX Trading and/or FTX US.

           14.   “FTX Trading” refers to FTX Trading Ltd. d/b/a FTX Trading, including, but not

                 limited to, its past and present subsidiaries, affiliates, divisions, segments

                 (including any mobile application and/or web-based cryptocurrency investment

                 services or trading platform, such as FTX.com), predecessors (including acquired

                 entities or lines of business such as Blockfolio, Inc.), successors, directors, officers,

                 employees, representatives and/or agents. No specific reference to any of the

                 foregoing in the following Requests, including any specific reference to Samuel

                 Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                 scope of any reference to FTX Trading herein.

           15.   “FTX US” refers to West Realm Shires Services Inc. d/b/a FTX US, including, but

                 not limited to, its past and present subsidiaries, affiliates, divisions, segments

                 (including any mobile application and/or web-based cryptocurrency investment

                 services or platform, such as FTX.com), predecessors (including acquired entities

                 or lines of business such as Blockfolio, Inc.), successors, directors, officers,

                 employees, representatives and/or agents. No specific reference to any of the

                 foregoing in the following Requests, including any specific reference to Samuel

                 Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                 scope of any reference to FTX US herein.




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           16.   “Liquidators” refers to all liquidators in the Bankruptcy Actions, including, but not

                 limited to, the Joint Provisional Liquidators of FTX Digital Markets Ltd.

           17.   “Moonstone” refers to Farmington State Bank d/b/a Moonstone Bank, its

                 predecessors, successors, subsidiaries, departments divisions, and/or affiliates,

                 including, but not limited to, any banking entities affiliated with or held by

                 Moonstone or in which Moonstone is a member or other owner, its international,

                 national or local branches or offices. “Moonstone” shall also encompass

                 Moonstone’s current and prior partners, officers, directors, employees,

                 representatives, agents or any persons acting or purporting to act on behalf of

                 Moonstone, including but not limited to Jean Chalopin and Janvier Chalopin

           18.   “Person” or “People” refers to any natural person(s) or any business, legal, or

                 governmental entity (or entities) or association(s).

           19.   “Trustee” refers to the U.S. Trustee assigned in the Bankruptcy Actions, including

                 any of the Trustee’s employee or agents, including any examiner appointed in the

                 Bankruptcy Actions.

           20.   “You” or “Your” shall refer to Deltec Bank and Trust Company Limited (“Deltec”),

                 its predecessors, successors, subsidiaries, departments divisions, and/or affiliates,

                 including, but not limited to, any banking entities affiliated with or held by Deltec

                 or in which Deltec is a member or other owner, its international, national or local

                 branches or offices. “You” or “Your” shall also encompass Deltec’s current and

                 prior partners, officers, directors, employees, representatives, agents or any persons

                 acting or purporting to act on behalf of Deltec, including but not limited to Jean

                 Chalopin.



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           21.   Whenever a reference to a business entity appears, the reference shall mean the

                 business entity, its affiliated companies, partnerships, divisions, subdivisions,

                 directors, officers, employees, agents, clients or other representatives of affiliated

                 third parties.

           22.   Defined terms may or may not be capitalized or made uppercase; the given

                 definitions apply even if a term in question is not capitalized or made uppercase.

                 No waiver of a definition is implied by the use of a defined term in a non-capitalized

                 or lowercase form.




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                                            INSTRUCTIONS

           1.   Production of documents and items requested herein shall be made at the offices of

                The Moskowitz Law Firm, P.O. Box 653409, Miami, FL 33133, or via electronic

                mail to the email addresses provided in the signature blocks of the attorneys serving

                these requests.

           2.   Unless otherwise stated in a request, the time period for which you must respond is

                January 1, 2019, through the date of production.

           3.   Objections: Where an objection is made to any request, the objection shall state

                with specificity all grounds for the objection and respond to the Request to the

                extent it is not objectionable. Any ground not stated in an objection within the time

                provided by the Federal Rules of Civil Procedure, or by the Court’s order, or any

                extensions thereof, shall be waived.

           4.   These requests shall include all documents that are in your possession, custody or

                control or in the possession, custody or control of your present or former agents,

                representatives, or your attorneys, or any and all persons acting on your behalf, or

                your present or former agents, representatives, or attorneys.

           5.   For any document, or portion thereof, covered by a request that is withheld from

                production (or redacted in whole or in part) under claim of privilege, work product

                protection or any other basis, you shall provide the following information in the

                form of a privilege log:


                a.     the reasons and each and every fact supporting any withholding, and legal
                       basis for withholding the document including sufficient facts for the Court
                       to make a full determination as to whether the claim of privilege is valid;

                b.     the date such document was prepared;


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                c.     the names, employment positions and addresses of the author or preparers
                       of such document;

                d.     the names, employment positions, and the addresses of each person who
                       received such document;

                e.     the title, a brief description, and the subject matter of the document;

                f.     the number of the request under which such document would be produced
                       but for the objection; and

                g.     description of the subject matter sufficient to determine whether the
                       privilege is properly invoked (without revealing privileged information)

           6.   If any document responsive to a request has been destroyed, produce all documents

                describing or referencing:


                a.     the contents of the lost or destroyed document;

                b.     all locations in which any copy of the lost or destroyed document had been
                       maintained;

                c.     the date of such loss or destruction;

                d.     the name of each person who ordered, authorized, and carried out the
                       destruction of any responsive document;

                e.     all document retention and destruction policies in effect at the time any
                       requested document was destroyed; and

                f.     all efforts made to locate any responsive document alleged to have been
                       lost.

           7.   In producing the documents requested, indicate the specific request(s) pursuant to

                which document or group of documents is being produced.

           8.   These requests should be deemed continuing such that if you, your directors,

                officers, employees, agents, representatives, or any person acting on your behalf,

                subsequently discover or obtain possession, custody, or control of any document or

                ESI previously requested or required to be produced, you should make a



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                 supplemental production of such document or ESI. Supplemental productions

                 should be provided on a rolling basis as additional documents become available.

           9.    All documents that cannot be accurately represented in TIFF format (such as

                 spreadsheets, computer slide presentations, audio files, video files, and other

                 similar file types) shall be provided in native format. The parties will further meet

                 and confer regarding appropriate format of production for databases and structured

                 data (e.g., Microsoft Teams, Slack, Microsoft Access, Azure Cloud, Salesforce,

                 Oracle, or other ephemeral messaging or proprietary database systems).

           10.   In responding to these Document Requests, you are to include Documents:


                 a.     obtained from witnesses who gave information to any governmental agency
                        or investigatory body;

                 b.     that constitute, or refer or relate to, summaries of testimony or other
                        statements in connection with any governmental agency or investigatory
                        body proceeding or investigation; or

                 c.     obtained on your behalf by counsel in preparing for testimony or interviews
                        before any governmental agency or investigatory body.


           11.   All documents are to be produced in the following method if not produced in its

                 Native Format:


                 a.     Single page .TIFF images

                 b.     Color.jpg (documents wherein reflection of importance relies on color, shall
                        be produced in .jpg format)

                 c.     Document level Text Files containing extracted full text or OCR text

                 d.     Electronic documents, e-mails, text or instant messages are to be processed
                        and converted from the electronic format to single page tiff.




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                                REQUESTS FOR PRODUCTION

           1.   All workpapers, communications and/or other documents concerning any of the

                accounts at Deltec that were opened or held in the name of or for the benefit of FTX

                Entities and/or Alameda, including, but not limited to, account lists, account

                opening documents, signature cards, and terms for the accounts..

           2.   All agreements between you and FTX Entities and/or Alameda, including but not

                limited to deposit agreements, wire transfer agreements, escrow agreements,

                custodial agreements, loan agreements, ACH agreements and authorization limits,

                account signatory agreements, and any other service or account management

                agreements.

           3.   All workpapers, communications and/or other documents concerning the expected

                account activity in the accounts at Deltec that were opened or held in the name of

                or for the benefit of FTX Entities and/or Alameda.

           4.   All workpapers, communications and/or other documents concerning the actual

                account activity in the accounts that were opened or held in the name of or for the

                benefit of FTX Entities and/or Alameda. This request specifically seeks but is not

                limited to: all account statements and summaries, records of deposits and

                withdrawals, wire transfer records, records of all other electronic funds transfers

                not constituting wire transfers, ACH records, records of account transfers between

                accounts opened or held in the name of or for the benefit of FTX Entities and/or

                Alameda at Deltec, and records of all account activity involving checks.

           5.   All workpapers, communications and/or other documents concerning any loans

                made or credit facilities (e.g. irrevocable standby letters of credit, or other letters of



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                credit) offered by you to or for the benefit of FTX Entities and/or Alameda

                including all documents and communications concerning:


                a.     any loan evaluations,

                b.     any claimed or actual security or collateral for such loans or credit facilities,

                c.     any repayment of such loans or credit facilities that you sought or that any
                       person made, and

                d.     any claimed or actual use of the proceeds of such loans or credit facilities.


                This includes a request for documents sufficient to identify your employees with

                responsibility for making, approving, and monitoring such loans or credit facilities.

           6.   All workpapers, communications and/or documents concerning concerning

                accounts personally held by directors, officers, managers,                 employees,

                representatives, or agents of FTX Entities and/or Alameda at Deltec, and any non-

                market or non-standard terms in those accounts, including but not limited to in

                respect of wire or electronic transfer processes, overdraft privileges, interest rates,

                and amortization.

           7.   Your policies, procedures, manuals, training materials, instructions, or forms

                related to Anti-Money Laundering (“AML”), Countering the Financing of

                Terrorism (“CFT”), verification of customer identity, Customer Due Diligence

                (“CDD”), Know Your Customer (“KYC”), Customer Risk Assessment or Risk

                Rating, Services Risk Assessment or Risk Rating, Enhanced CDD, on-going

                monitoring of customer relationships, electronic funds transfers, Suspicious

                Transaction Reports (“STR”), account-opening, risk management, record-keeping,

                and any similar such policies or procedures related to customer due diligence or


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                account monitoring, as well as any heightened or enhanced versions of such policies

                or procedures. This request includes all versions of the foregoing documents that

                were proposed or put in place from 2019 to present.

           8.   All workpapers, communications and/or documents concerning your monitoring

                for suspicious or fraudulent activity, including but not limited to actual or potential

                alerts, cautions, flags, or alarms raised as a result of Your monitoring systems or

                the policies and procedures referenced in the previous request – including enhanced

                versions of them – and any reports (e.g., STRs, Currency Transaction Reports

                (“CTR”), Reports of International Transportation of Currency or Monetary

                Instruments (“CMIR”), large scale cash deposits, large scale transaction reports,

                low balance reports, balance fluctuation reports, reports of international funds

                transfers just below reporting threshold, or reports of atypical or uneconomical

                account activity or funds movement) made thereof, including any STR filed by you.

                This includes a request for documents sufficient to identify your employees who

                were involved in such procedures.

           9.   All workpapers, communications and/or documents concerning your review of, or

                inquiry or investigation into, any activity at any time in any accounts (including

                correspondent accounts) held or opened in the name of or for the benefit of FTX

                Entities and/or Alameda at Deltec. This includes a request for all documents and

                communications concerning any actual or potential alerts, cautions, flags, alarms,

                or red flags raised by such review, inquiry, or investigation, based upon:


                a.     possible or actual comingling of FTX Entities’ depositors’ funds or assets
                       with FTX Entities’ or Alameda’s funds or assets,

                b.     the volume of transfers made into and out of such accounts,

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                c.   the individual or aggregate value of transfers made into and out of such
                     accounts,

                d.   the rationale or lack thereof for large transactions made into and out of such
                     accounts,

                e.   the frequency of transfers made into and out of such accounts,

                f.   the round trip or circular nature of any of the transfers made into and out
                     of such accounts,

                g.   the geographic place of origin or destination of transfers made into and out
                     of such accounts,

                h.   the unusual, atypical, or uneconomic nature of transfers made into and out
                     of such accounts,

                i.   the repetitiveness of transfers made into and out of such accounts,

                j.   the complexity of transfers made into and out of such accounts,

                k.   the electronic nature of transfers made into and out of such accounts,

                l.   the purpose of transfers made into and out of such accounts,

                m.   the identity of the transferees for transfers made out of such accounts,
                     including whether the transferees (or the transferee accounts) were related
                     to the transferors (or the transferor accounts),

                n.   the identity of the transferees for transfers made out of such accounts,
                     including whether the transferees appeared to take possession of funds or
                     assets of depositors of FTX Entities,

                o.   the identity of the transferees for transfers made out of such accounts,
                     including whether the transferees were entities whose role as transferee
                     had been disclosed to FTX Entities’ depositors or you by FTX Entities or
                     Alameda,

                p.    any round number dollar amounts involved in the transfers made into or
                     out of such accounts,

                q.   any check pouching or cash letter activity in such accounts, or

                r.   certain of these accounts being correspondent accounts.




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                 This also includes a request for documents sufficient to identify your directors,

                 officers, managers, employees, representatives, or other agents involved in such

                 review, inquiry, or investigation.

           10.   All workpapers, communications and/or documents concerning generated by or

                 concerning any automated transaction monitoring systems maintained by you in

                 response to activity at any time in any accounts (including correspondent accounts)

                 held or opened in the name of or for the benefit of FTX Entities and/or Alameda,

                 including documents sufficient to identify the codes, rules, thresholds or parameters

                 that have been established for or used by the automated transaction monitoring

                 systems that generated any alerts, cautions, flags, alarms or red flags that are

                 responsive to the previous request. This includes a request for any and all

                 documents necessary to understand all fields in documents produced in response to

                 the previous request.

           11.   All workpapers, communications and/or documents, including investigation

                 reports, concerning the automated transaction monitoring system alerts, cautions,

                 flags, alarms, or red flags that are responsive to individual request number 8. This

                 includes a request for documents sufficient to identify your employees involved in

                 reviewing such alerts, cautions, flags, alarms, or red flags.

           12.   All your general policies, procedures, or operating manuals related to the services

                 you provided to FTX Entities and/or Alameda, including but not limited to those

                 relating to processing wire transfers or other electronic funds transfers, treasury

                 services, any advisory services, trade financing services, banking and taking

                 custody of cryptocurrencies, or trading, lending, and borrowing digital assets.



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           13.   All workpapers, communications and/or documents reflecting or relating to any

                 special policies, procedures, or manuals—whether official or unofficial—that you

                 prepared and followed specifically for the FTX Entities’ and/or Alameda accounts.

           14.   All workpapers, communications and/or documents concerning actual, requested,

                 or proposed visits by you to FTX Entities and/or Alameda or by FTX Entities and/or

                 Alameda to you.

           15.   All communications among or between Deltec’s directors, officers, managers,

                 employees, representatives and/or agents concerning accounts held in the name of

                 FTX Entities and/or Alameda.

           16.   All work papers, documents, and/or communications concerning the FTX Entities

                 and/or Alameda that you provided to or exchanged with:


                 a.     Officers, directors, employees, and control persons of any of the FTX
                        Entities and/or Alameda, including, but not limited to, Samuel Bankman-
                        Fried, Gary Wang, Nishad Singh, Caroline Ellison, Brett Harrison, Sam
                        Trabucco, Zach Dexter, Ryne Miller, Ryan Salame, Dan Friedberg, and
                        Ramnik Arora;

                 b.     any actual or prospective customer of any of the FTX Entities and/or any
                        actual or prospective investor in any of the FTX Entities; or

                 c.     any of the Defendants.


           17.   All workpapers, communications and/or documents concerning (a) whether FTX

                 Entities and/or Alameda were registered (including any registration for purposes of

                 the Investment Company Act of 1940, 15 U.S.C. § 80a, et seq.) or regulated

                 (including by the SEC or FINRA), or (b) whether any applicable digital assets were

                 registered or were subject to a Regulation D exemption from registration under the

                 Securities Act of 1933, 15 U.S.C. § 77a, et seq.


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           18.   All workpapers, communications and/or documents that you gathered or created

                 before November 11, 2022 concerning:


                 a.     any news articles or media coverage concerning FTX Entities and/or
                        Alameda,

                 b.     any litigation activity concerning FTX Entities and/or Alameda, or to which
                        FTX Entities and/or Alameda was a party,

                 c.     any proceedings at any administrative or regulatory body concerning FTX
                        Entities and/or Alameda, or to which FTX Entities and/or Alameda was a
                        party, including proceedings involving their employees or their customers,
                        and the outcomes of any such proceedings, including sanctions,
                        suspensions, fines, or censures,

                 d.     any action that was taken or notice that was issued concerning FTX Entities
                        and/or Alameda by a governmental, regulatory (including self-regulatory),
                        oversight, administrative, criminal law, or enforcement body,

                 e.     any proposed or final report issued or to be issued by any agency or
                        government instrumentality (e.g., an administrative or regulatory body or
                        committee or subcommittee of either chamber of the U.S. Congress)
                        concerning FTX Entities and/or Alameda,

                 f.     allegations made by any claimed whistleblower against or concerning FTX
                        Entities and/or Alameda,

                 g.     any examination, inquiry, or review by a governmental or regulatory agency
                        into or concerning FTX Entities and/or Alameda, and

                 h.     all assertions that FTX Entities and/or Alameda were or might be engaged
                        in or part of a fraudulent enterprise or Ponzi scheme, or were or might be
                        engaged in or part of money-laundering activities for drug cartels or others.


                 This includes a request for all documents and communications concerning FTX

                 Entities and/or Alameda that you conducted or attempted to conduct with persons

                 litigating against them, including employees and customers (as referenced in

                 subparagraphs (b) and (c) above), or with journalists (as referenced in subparagraph

                 (a) above), or with whistleblowers (as referenced in subparagraph (f) above).



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           19.   All   workpapers,       communications      and/or   documents     concerning     any

                 recommendations, referrals, or references that you provided to or for FTX Entities

                 and/or Alameda, including as addressed to all actual or prospective depositors

                 generally speaking, business counterparties, regulators or other governmental

                 bodies, specific persons, “To Whom It May Concern,” or otherwise. This includes

                 a request for all documents and communications whereby you vouch for FTX

                 Entities and/or Alameda, including for FTX Entities and/or Alameda insiders or

                 control persons.

           20.   All workpapers, communications and/or documents concerning the size and

                 importance to You of your actual and prospective relationships with FTX Entities

                 and/or Alameda, on an absolute basis and on a comparative basis to your

                 relationships with other clients. This includes a request for all documents and

                 communications concerning the size and importance to you of:


                 a.        your actual and prospective revenue and profits from FTX Entities and/or
                           Alameda, on an absolute basis and on a comparative basis to your revenues
                           and profits from other clients, and

                 b.        the balances in the accounts (including correspondent accounts) in the
                           names of FTX Entities and/or Alameda, on an absolute basis and on a
                           comparative basis to balances in the accounts in the names of other clients.


                 This also includes documentation showing total deposits at Deltec in the accounts

                 in the name of FTX Entities and/or Alameda as well as total deposits overall at

                 Deltec.

           21.   All workpapers, communications and/or documents concerning (a) threats,

                 indications, or statements by FTX Entities and/or Alameda concerning the

                 movement of some or all of their business, accounts, or balances from Deltec, (b)

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                 your contemplation that FTX Entities and/or Alameda might do so, and (c) actual

                 or potential efforts by you to grow your business, relationships, accounts, or

                 balances with FTX Entities and/or Alameda.

           22.   All workpapers, communications and/or documents concerning FTX Entities

                 and/or Alameda, or any of their officers or directors or control persons actually or

                 potentially being (a) designated as a “VIP customer,” (b) designated as a

                 “Politically Exposed Person,” or (c) deemed to be in a “Special Category of

                 Clients,” as well as all documents and communications concerning any risk level

                 assigned by you to FTX Entities and/or Alameda.

           23.   All correspondent banking agreements between you and any other bank relating to

                 any services performed by you concerning the FTX Entities and/or Alameda.

           24.   All audit, due diligence, or other reports (whether prepared by you or others)

                 concerning the FTX Entities and/or Alameda, and all documents and

                 communications concerning such reports.

           25.   Any periodic or intermittent audits, reviews, evaluations, or reports, either prepared

                 internally or by a third party, regarding your compliance with applicable Statutes

                 and Regulations or internal policies and procedures regarding compliance with

                 Statutes and Regulations or industry standards and best practices, including any

                 KYC procedures, AML procedures, customer identification procedures, procedures

                 and related guidelines pursuant to the Bahamas Banks and Trust Companies

                 Regulation Act, the Central Bank of the Bahamas Act and the Bahamas Cooperative

                 Credit Unions Act, AML risk management, client due diligence, or account-

                 opening policies and procedures maintained by you. This includes a request for any



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                 audit or model validation reports regarding automated transaction monitoring

                 systems maintained by you.

           26.   All workpapers, communications and/or documents concerning the source of funds

                 deposited into any accounts (including correspondent accounts) opened or held in

                 the name of or for the benefit of FTX Entities and/or Alameda, including all

                 documents and communications concerning whether these funds originated from

                 (a) the purchase of cryptocurrencies or tokens, or (b) other deposit products offered

                 by FTX Entities and/or Alameda.

           27.   All workpapers, communications and/or documents concerning any services or

                 products that FTX Entities and/or Alameda offered to customers or depositors or

                 investors.

           28.   All workpapers, communications and/or documents concerning the formation and

                 governance of any of the FTX Entities and/or Alameda, including, but not limited

                 to, articles of incorporation, articles of formation, by-laws, membership

                 agreements, partnership agreements, and certificates of good standing.

           29.   All workpapers, communications and/or documents concerning the ownership of,

                 and relationship between, if any, each of the FTX Entities and/or Alameda and/or

                 any joint ventures, affiliates, and/or subsidiaries, including, but not limited to,

                 organizational charts.

           30.   All workpapers, communications and/or documents concerning your efforts to

                 transform Bahamian laws, regulations, policies, or other guidance in order to make

                 them more favorable for digital asset startups.




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           31.   All workpapers, communications and/or documents concerning the accounts

                 opened by Tether Limited Inc. (“Tether”) at Deltec, Tether’s expected banking

                 activity at Deltec, Tether’s actual banking activity at Deltec, including transactions

                 by, to, or through the FTX entities, their insiders, or their affiliates.

           32.   All workpapers, communications and/or documents concerning the Crypto

                 Bahamas cryptocurrency summit that you co-hosted with FTX in the Bahamas.

           33.   All workpapers, communications and/or documents concerning the $50 million

                 loan in favor of Deltec International Group from Norton Hall Ltd, and any other

                 loans or other transactions between you and FTX, its insiders, or its affiliates.

           34.   All workpapers, communications and/or documents concerning Jean Chalopin’s

                 efforts to obtain funding, whether via investment or loan or any other form

                 whatsoever, for Deltec or Moonstone from the FTX Entities and/or Alameda.

           35.   All workpapers, communications and/or documents concerning Alameda’s $11.5

                 million investment in Moonstone.

           36.   All workpapers, communications and/or documents between FTX Entities and/or

                 Alameda and Jean Chalopin, whether in his personal capacity or representative

                 capacity for Deltec and/or Moonstone, concerning the U.S. banking services that

                 FTX Entities and/or Alameda requested or required.

           37.   To the extent not already produced in connection with any of the above requests,

                 all work papers, communications, transcripts and/or recordings of any depositions,

                 testimony, interviews, or statements you have provided concerning the FTX

                 Entities and/or Alameda in any court, administrative proceedings, the Bankruptcy




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                 Actions, the Criminal Proceedings, or any other foreign or domestic forum or in

                 response to any governmental agency request.

           38.   All workpapers, communications, documents or other discovery concerning your

                 operations in the United States.

           39.   To the extent not produced in response to any of the foregoing requests, all

                 documents and communications concerning any account at Deltec in the name of

                 FTX Entities and/or Alameda. This includes a request for documents sufficient to

                 identify your employees involved in (a) opening such accounts, (b) ongoing activity

                 in such accounts, or (c) any review, inquiry, or investigation into the holders of

                 such accounts or into any activity in such accounts.




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        MDL No. 3076
                                 CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation




     PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                         DEFENDANT MOONSTONE BANK

           Plaintiffs in the above-titled action, pursuant to Rules 26 and 34 of the Federal Rules of

    Civil Procedure, and Local Rule 26.1 of the United States District Court for the Southern District

    of Florida, request that Defendant Farmington State Bank d/b/a Moonstone Bank, produce all

    documents, electronically stored information, and things that are in your possession, custody, or

    control requested in response to the following Requests for Production.

    Respectfully submitted on November ___, 2023


                                      Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                           By: /s/ David Boies
     Adam M. Moskowitz                                David Boies
     Florida Bar No. 984280                           Alex Boies
     Joseph M. Kaye                                   Brooke Alexander
     Florida Bar No. 117520                           BOIES SCHILLER FLEXNER LLP
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                               Plaintiffs’ Steering Committee Members

     Joseph R. Saveri                                 James R. Swanson
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     Robert Lieff
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     Rutherford, CA 94573
     rlieff@lieff.com




                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz




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                                            DEFINITIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

           1.     “Alameda” refers to Alameda Research LLC, including, but not limited to, its past

                  and present subsidiaries, affiliates, divisions, segments (including any mobile

                  application and/or web-based cryptocurrency investment services or trading

                  platform), predecessors (including acquired entities or lines of business),

                  successors, directors, officers, employees, representatives and/or agents. No

                  specific reference to any of the foregoing in the following Requests, including any

                  specific reference to Samuel Bankman-Fried, Caroline Ellison, Gary Wang, or

                  Nishad Singh, serves to limit the scope of any reference to Alameda herein.

           2.     “All/Each” and “And/Or” – The terms “all”, “each”, “and” and “or” shall be

                  construed as meaning either all or each as necessary, or conjunctively, to bring

                  within the scope of the discovery request all responses that might otherwise be

                  construed to be outside its scope.

           3.     “Bankruptcy Actions” refers to Case No. 22-11068 (JTD) (Jointly Administered)

                  pending in the United States Bankruptcy Court for the District of Delaware, and all

                  bankruptcy proceedings filed in or after November 2022 on behalf of any of the

                  FTX Entities and/or Alameda, and all adversary proceedings filed in connection

                  therewith.

           4.     “Communication” means, without limitation, the transmittal of information in the

                  form of facts, ideas, inquiries or otherwise, and whether orally or in writing, or by

                  any other means or medium, including in person, electronically and/or by exchange

                  or communication of any document, and includes, without limitation,



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                 correspondence, memoranda, reports, presentations, face-to-face conversations,

                 telephone conversations, text messages, instant messages, voice messages,

                 negotiations, Agreements, inquiries, understandings, meetings, letters, notes,

                 telegrams, mail, email, exchanges of recorded information, and postings of any

                 type. The term “Communication” includes instances where one party disseminates

                 information that the other party receives but does not respond to.

           5.    “Concerning” means relating to, referring to, describing, evidencing or

                 constituting.

           6.    “Control person” means a person (as defined herein) in direct or indirect possession

                 of the power to direct or cause the direction of the management and policies of a

                 person (as defined herein), whether through the ownership of voting securities, by

                 contract, or otherwise.

           7.    “Creditors” refers to all creditors in the Bankruptcy Actions, including, but not

                 limited to, any committees of such creditors.

           8.    “Criminal Proceedings” refers to United States v. Sam Bankman-Fried, 1:22-CR-

                 00673 pending in the Southern District of New York, and all criminal proceedings

                 filed in or after November 2022 relating to the FTX Entities and/or Alameda.

           9.    “Debtors” refers to all FTX Entities and/or Alameda that have filed petitions for

                 bankruptcy protection in the Bankruptcy Actions. When referring to the FTX

                 Entities and/or Alameda in the Requests, the Requests cover the periods both prior

                 to, and after, their filing of any of the Bankruptcy Actions.

           10.   “Defendants” refers to any and all persons and/or entities named as defendants in

                 any of the actions consolidated with, and into, the above-captioned action. For



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                 purposes of these Requests, Defendants also includes Silvergate Capital

                 Corporation (a/k/a Silvergate Bank) and Signature Bank.

           11.   “Deltec” refers to Deltec Bank & Trust Company Ltd. including, but not limited to,

                 its past and present subsidiaries, affiliates, divisions, segments (including any

                 mobile application and/or web-based cryptocurrency investment services or trading

                 platform), predecessors (including acquired entities or lines of business),

                 successors, directors, officers, employees, representatives and/or agents.

           12.   “Document” refers to any written, printed, typed or other graphic matter, of any

                 kind or nature, whether in hard copy or electronic format, whether the original,

                 draft, or a copy and copies bearing notations or marks not found on the original,

                 including, but not limited to, memoranda, reports, recommendations, notes, letters,

                 envelopes, post-its, emails, text messages, instant messages (including, but not

                 limited to, messages exchanged or sent using Slack, Teams, Discord, WhatsApp,

                 Signal or any other similar application), transcripts, studies, analyses, tests, books,

                 articles, minutes, agreements, contracts, and all other written communications, of

                 any type, including inter and intra-office communications, questionnaires, surveys,

                 charts, graphs, videos, photographs, tapes, voice messages or other recordings,

                 print-outs or compilations from which information can be obtained or, if necessary,

                 translated through detection devices into reasonably usable form, including all

                 underlying or preparatory materials and drafts thereof. To the extent not already

                 covered in the above definition, “Document” specifically includes any “writing”,

                 “recording”, “photograph”, “original” or “duplicate” as defined in Rule 1001 of the

                 Federal Rules of Evidence, and/or “Electronically Stored Information” within the



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                 full scope of Rule 34 of the Federal Rules of Civil Procedure and/or as further

                 defined as “ESI” herein.

           13.   “ESI” refers to Electronically Stored Information, as consistent with Rule 34 of the

                 Federal Rules of Civil Procedure and includes all computer or electronically stored

                 or generated data and information, including all attachments to and enclosures

                 within any requested item, and all drafts thereof. ESI includes all information and

                 documents stored in any format and on any storage media, including, but not limited

                 to: internal and external storage devices, hard drives, flash drives; and magnetic

                 tape, whether fixed, portable or removable, and ESI further includes, but is not

                 limited to, electronic spreadsheets, electronic presentation documents, e-mail

                 messages, text messages, message platforms (including, but not limited to, Slack,

                 Teams, Discord, WhatsApp, Telegram, Messenger, Signal or any other similar

                 platforms where chat messages are exchanged); image files; sound files; material

                 or information stored in a database or accessible from a database (including, but

                 not limited to, Salesforce, Azure Cloud, or SQL databases). Responsive ESI may

                 also include data on social media websites (e.g., LinkedIn, Facebook, Twitter,

                 Instagram, and internal intranet social media). To the extent that a document or ESI

                 contains tracked changes, comments, or other hidden text, the document or ESI

                 should be imaged with that hidden text displayed. ESI also includes all associated

                 metadata that is maintained or saved (including for example, author, recipient, file

                 creation date, file modification date, etc.). Metadata preservation includes

                 preserving parent-child relationships within a document family (the association

                 between an attachment and its parents’ document or between embedded documents



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                 and their parent). The entire document and attachments will be produced, except

                 any attachments that may be withheld or redacted on the basis of any protection or

                 privilege, work product, or other applicable protection. Best efforts shall be made

                 to ensure that the parent-child relationships within a document family (the

                 association between an attachment and its parent document) are preserved and that

                 such responsive child document(s) should be consecutively produced immediately

                 after the responsive parent document.

           14.   “FTT” refers to the digital token created by the FTX Entities.

           15.   “FTX Entities” refers to FTX Trading and/or FTX US.

           16.   “FTX Trading” refers to FTX Trading Ltd. d/b/a FTX Trading, including, but not

                 limited to, its past and present subsidiaries, affiliates, divisions, segments

                 (including any mobile application and/or web-based cryptocurrency investment

                 services or trading platform, such as FTX.com), predecessors (including acquired

                 entities or lines of business such as Blockfolio, Inc.), successors, directors, officers,

                 employees, representatives and/or agents. No specific reference to any of the

                 foregoing in the following Requests, including any specific reference to Samuel

                 Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                 scope of any reference to FTX Trading herein.

           17.   “FTX US” refers to West Realm Shires Services Inc. d/b/a FTX US, including, but

                 not limited to, its past and present subsidiaries, affiliates, divisions, segments

                 (including any mobile application and/or web-based cryptocurrency investment

                 services or platform, such as FTX.com), predecessors (including acquired entities

                 or lines of business such as Blockfolio, Inc.), successors, directors, officers,



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                 employees, representatives and/or agents. No specific reference to any of the

                 foregoing in the following Requests, including any specific reference to Samuel

                 Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                 scope of any reference to FTX US herein.

           18.   “Liquidators” refers to all liquidators in the Bankruptcy Actions, including, but not

                 limited to, the Joint Provisional Liquidators of FTX Digital Markets Ltd.

           19.   “Moonstone” refers to Farmington State Bank d/b/a Moonstone Bank, its

                 predecessors, successors, subsidiaries, departments divisions, and/or affiliates,

                 including, but not limited to, any banking entities affiliated with or held by

                 Moonstone or in which Moonstone is a member or other owner, its international,

                 national or local branches or offices. “Moonstone” shall also encompass

                 Moonstone’s current and prior partners, officers, directors, employees,

                 representatives, agents or any persons acting or purporting to act on behalf of

                 Moonstone, including but not limited to Jean Chalopin and Janvier Chalopin

           20.   “Person” or “People” refers to any natural person(s) or any business, legal, or

                 governmental entity (or entities) or association(s).

           21.   “Trustee” refers to the U.S. Trustee assigned in the Bankruptcy Actions, including

                 any of the Trustee’s employee or agents, including any examiner appointed in the

                 Bankruptcy Actions.

           22.   “You” or “Your” shall refer to Farmington State Bank d/b/a Moonstone Bank

                 (“Moonstone”), its predecessors, successors, subsidiaries, departments divisions,

                 and/or affiliates, including, but not limited to, any banking entities affiliated with

                 or held by Moonstone or in which Deltec is a member or other owner, its



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                 international, national or local branches or offices. “You” or “Your” shall also

                 encompass Moonstone’s current and prior partners, officers, directors, employees,

                 representatives, agents or any persons acting or purporting to act on behalf of

                 Moonstone, including but not limited to Jean Chalopin.

           23.   Whenever a reference to a business entity appears, the reference shall mean the

                 business entity, its affiliated companies, partnerships, divisions, subdivisions,

                 directors, officers, employees, agents, clients or other representatives of affiliated

                 third parties.

           24.   Defined terms may or may not be capitalized or made uppercase; the given

                 definitions apply even if a term in question is not capitalized or made uppercase.

                 No waiver of a definition is implied by the use of a defined term in a non-capitalized

                 or lowercase form.




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                                            INSTRUCTIONS

           1.   Production of documents and items requested herein shall be made at the offices of

                The Moskowitz Law Firm, P.O. Box 653409, Miami, FL 33133, or via electronic

                mail to the email addresses provided in the signature blocks of the attorneys serving

                these requests.

           2.   Unless otherwise stated in a request, the time period for which you must respond is

                January 1, 2019, through the date of production.

           3.   Objections: Where an objection is made to any request, the objection shall state

                with specificity all grounds for the objection and respond to the Request to the

                extent it is not objectionable. Any ground not stated in an objection within the time

                provided by the Federal Rules of Civil Procedure, or by the Court’s order, or any

                extensions thereof, shall be waived.

           4.   These requests shall include all documents that are in your possession, custody or

                control or in the possession, custody or control of your present or former agents,

                representatives, or your attorneys, or any and all persons acting on your behalf, or

                your present or former agents, representatives, or attorneys.

           5.   For any document, or portion thereof, covered by a request that is withheld from

                production (or redacted in whole or in part) under claim of privilege, work product

                protection or any other basis, you shall provide the following information in the

                form of a privilege log:


                a.     the reasons and each and every fact supporting any withholding, and legal
                       basis for withholding the document including sufficient facts for the Court
                       to make a full determination as to whether the claim of privilege is valid;

                b.     the date such document was prepared;


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                c.     the names, employment positions and addresses of the author or preparers
                       of such document;

                d.     the names, employment positions, and the addresses of each person who
                       received such document;

                e.     the title, a brief description, and the subject matter of the document;

                f.     the number of the request under which such document would be produced
                       but for the objection; and

                g.     description of the subject matter sufficient to determine whether the
                       privilege is properly invoked (without revealing privileged information)

           6.   If any document responsive to a request has been destroyed, produce all documents

                describing or referencing:


                a.     the contents of the lost or destroyed document;

                b.     all locations in which any copy of the lost or destroyed document had been
                       maintained;

                c.     the date of such loss or destruction;

                d.     the name of each person who ordered, authorized, and carried out the
                       destruction of any responsive document;

                e.     all document retention and destruction policies in effect at the time any
                       requested document was destroyed; and

                f.     all efforts made to locate any responsive document alleged to have been
                       lost.

           7.   In producing the documents requested, indicate the specific request(s) pursuant to

                which document or group of documents is being produced.

           8.   These requests should be deemed continuing such that if you, your directors,

                officers, employees, agents, representatives, or any person acting on your behalf,

                subsequently discover or obtain possession, custody, or control of any document or

                ESI previously requested or required to be produced, you should make a



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                 supplemental production of such document or ESI. Supplemental productions

                 should be provided on a rolling basis as additional documents become available.

           9.    All documents that cannot be accurately represented in TIFF format (such as

                 spreadsheets, computer slide presentations, audio files, video files, and other

                 similar file types) shall be provided in native format. The parties will further meet

                 and confer regarding appropriate format of production for databases and structured

                 data (e.g., Microsoft Teams, Slack, Microsoft Access, Azure Cloud, Salesforce,

                 Oracle, or other ephemeral messaging or proprietary database systems).

           10.   In responding to these Document Requests, you are to include Documents:


                 a.     obtained from witnesses who gave information to any governmental agency
                        or investigatory body;

                 b.     that constitute, or refer or relate to, summaries of testimony or other
                        statements in connection with any governmental agency or investigatory
                        body proceeding or investigation; or

                 c.     obtained on your behalf by counsel in preparing for testimony or interviews
                        before any governmental agency or investigatory body.


           11.   All documents are to be produced in the following method if not produced in its

                 Native Format:


                 a.     Single page .TIFF images

                 b.     Color.jpg (documents wherein reflection of importance relies on color, shall
                        be produced in .jpg format)

                 c.     Document level Text Files containing extracted full text or OCR text

                 d.     Electronic documents, e-mails, text or instant messages are to be processed
                        and converted from the electronic format to single page tiff.




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                                REQUESTS FOR PRODUCTION

           1.   All workpapers, communications and/or other documents concerning any of the

                accounts at Moonstone that were opened or held in the name of or for the benefit

                of FTX Entities and/or Alameda, including, but not limited to, account lists, account

                opening documents, signature cards, and terms for the accounts.

           2.   All agreements between you and FTX Entities and/or Alameda, including but not

                limited to deposit agreements, wire transfer agreements, escrow agreements,

                custodial agreements, loan agreements, ACH agreements and authorization limits,

                account signatory agreements, and any other service or account management

                agreements.

           3.   All workpapers, communications and/or other documents describing the expected

                account activity in the accounts at Moonstone that were opened or held in the name

                of or for the benefit of FTX Entities and/or Alameda.

           4.   All workpapers, communications and/or other documentation reflecting the actual

                account activity in the accounts that were opened or held in the name of or for the

                benefit of FTX Entities and/or Alameda. This request specifically seeks but is not

                limited to: all account statements and summaries, records of deposits and

                withdrawals, wire transfer records, records of all other electronic funds transfers

                not constituting wire transfers, ACH records, records of account transfers between

                accounts opened or held in the name of or for the benefit of FTX Entities and/or

                Alameda at Moonstone, and records of all account activity involving checks.

           5.   All workpapers, communications and/or documents concerning any loans made or

                credit facilities (e.g. irrevocable standby letters of credit, or other letters of credit)



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                offered by you to or for the benefit of FTX Entities and/or Alameda including all

                documents and communications concerning:


                a.     any loan evaluations,

                b.     any claimed or actual security or collateral for such loans or credit facilities,

                c.     any repayment of such loans or credit facilities that you sought or that any
                       person made, and

                d.     any claimed or actual use of the proceeds of such loans or credit facilities.


                This includes a request for documents sufficient to identify your employees with

                responsibility for making, approving, and monitoring such loans or credit facilities.

           6.   All workpapers, communications and/or documents concerning accounts

                personally held by directors, officers, managers, employees, representatives, or

                agents of FTX Entities and/or Alameda at Moonstone, and any non-market or non-

                standard terms in those accounts, including but not limited to in respect of wire or

                electronic transfer processes, overdraft privileges, interest rates, and amortization.

           7.   Your policies, procedures, manuals, training materials, instructions, or forms

                related to Anti-Money Laundering (“AML”), Countering the Financing of

                Terrorism (“CFT”), verification of customer identity, Customer Due Diligence

                (“CDD”), Know Your Customer (“KYC”), Customer Risk Assessment or Risk

                Rating, Services Risk Assessment or Risk Rating, Enhanced CDD, on-going

                monitoring of customer relationships, electronic funds transfers, Suspicious

                Activity Reports (“SAR”), account-opening, risk management, record-keeping, and

                any similar such policies or procedures related to customer due diligence or account

                monitoring, as well as any heightened or enhanced versions of such policies or


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                procedures. This request includes all versions of the foregoing documents that were

                proposed or put in place from 2019 to present.

           8.   All workpapers, communications and/or documents concerning your monitoring

                for suspicious or fraudulent activity, including but not limited to actual or potential

                alerts, cautions, flags, or alarms raised as a result of Your monitoring systems or

                the policies and procedures referenced in the previous request – including enhanced

                versions of them – and any reports (e.g., SARs, Currency Transaction Reports

                (“CTR”), Reports of International Transportation of Currency or Monetary

                Instruments (“CMIR”), large scale cash deposits, large scale transaction reports,

                low balance reports, balance fluctuation reports, reports of international funds

                transfers just below reporting threshold, or reports of atypical or uneconomical

                account activity or funds movement) made thereof, including any SAR filed by

                you. This includes a request for documents sufficient to identify your employees

                who were involved in such procedures.

           9.   All workpapers, communications and/or documents concerning your review of, or

                inquiry or investigation into, any activity at any time in any accounts (including

                correspondent accounts) held or opened in the name of or for the benefit of FTX

                Entities and/or Alameda at Moonstone. This includes a request for all documents

                and communications concerning any actual or potential alerts, cautions, flags,

                alarms, or red flags raised by such review, inquiry, or investigation, based upon:


                a.     possible or actual comingling of FTX Entities’ depositors’ funds or assets
                       with FTX Entities’ or Alameda’s funds or assets,

                b.     the volume of transfers made into and out of such accounts,



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                c.   the individual or aggregate value of transfers made into and out of such
                     accounts,

                d.   the rationale or lack thereof for large transactions made into and out of such
                     accounts,

                e.   the frequency of transfers made into and out of such accounts,

                f.   the round trip or circular nature of any of the transfers made into and out
                     of such accounts,

                g.   the geographic place of origin or destination of transfers made into and out
                     of such accounts,

                h.   the unusual, atypical, or uneconomic nature of transfers made into and out
                     of such accounts,

                i.   the repetitiveness of transfers made into and out of such accounts,

                j.   the complexity of transfers made into and out of such accounts,

                k.   the electronic nature of transfers made into and out of such accounts,

                l.   the purpose of transfers made into and out of such accounts,

                m.   the identity of the transferees for transfers made out of such accounts,
                     including whether the transferees (or the transferee accounts) were related
                     to the transferors (or the transferor accounts),

                n.   the identity of the transferees for transfers made out of such accounts,
                     including whether the transferees appeared to take possession of funds or
                     assets of depositors of FTX Entities,

                o.   the identity of the transferees for transfers made out of such accounts,
                     including whether the transferees were entities whose role as transferee
                     had been disclosed to FTX Entities’ depositors or you by FTX Entities or
                     Alameda,

                p.    any round number dollar amounts involved in the transfers made into or
                     out of such accounts,

                q.   any check pouching or cash letter activity in such accounts, or

                r.   certain of these accounts being correspondent accounts.




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                 This also includes a request for documents sufficient to identify your directors,

                 officers, managers, employees, representatives, or other agents involved in such

                 review, inquiry, or investigation.

           10.   All workpapers, communications and/or documents generated by or concerning any

                 automated transaction monitoring systems maintained by you in response to

                 activity at any time in any accounts (including correspondent accounts) held or

                 opened in the name of or for the benefit of FTX Entities and/or Alameda, including

                 documents sufficient to identify the codes, rules, thresholds or parameters that have

                 been established for or used by the automated transaction monitoring systems that

                 generated any alerts, cautions, flags, alarms or red flags that are responsive to the

                 previous request. This includes a request for any and all documents necessary to

                 understand all fields in documents produced in response to the previous request.

           11.   All workpapers, communications and/or documents, including investigation

                 reports, concerning the automated transaction monitoring system alerts, cautions,

                 flags, alarms, or red flags that are responsive to individual request number 8. This

                 includes a request for documents sufficient to identify your employees involved in

                 reviewing such alerts, cautions, flags, alarms, or red flags.

           12.   All your general policies, procedures, or operating manuals related to the services

                 you provided to FTX Entities and/or Alameda, including but not limited to those

                 relating to processing wire transfers or other electronic funds transfers, treasury

                 services, any advisory services, trade financing services, banking and taking

                 custody of cryptocurrencies, or trading, lending, and borrowing digital assets.




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           13.   All workpapers, communications and/or documents concerning any special

                 policies, procedures, or manuals—whether official or unofficial—that you prepared

                 and followed specifically for the FTX Entities’ and/or Alameda accounts.

           14.   All workpapers, communications and/or documents concerning actual, requested,

                 or proposed visits by you to FTX Entities and/or Alameda or by FTX Entities and/or

                 Alameda to you.

           15.   All communications among or between Moonstone’s directors, officers, managers,

                 employees, representatives and/or agents concerning accounts held in the name of

                 FTX Entities and/or Alameda.

           16.   All documents, work papers, and/or communications concerning the FTX Entities

                 and/or Alameda that you provided to or exchanged with:


                 a.     Officers, directors, employees, and control persons of any of the FTX
                        Entities and/or Alameda, including, but not limited to, Samuel Bankman-
                        Fried, Gary Wang, Nishad Singh, Caroline Ellison, Constance Wang, Brett
                        Harrison, Sam Trabucco, Zach Dexter, Ryne Miller, Ryan Salame, Dan
                        Friedberg, and Ramnik Arora;

                 b.     any actual or prospective customer of any of the FTX Entities and/or any
                        actual or prospective investor in any of the FTX Entities; or

                 c.     any of the Defendants.


           17.   All workpapers, communications and/or documents concerning (a) whether FTX

                 Entities and/or Alameda were registered (including any registration for purposes of

                 the Investment Company Act of 1940, 15 U.S.C. § 80a, et seq.) or regulated

                 (including by the SEC or FINRA), or (b) whether any applicable digital assets were

                 registered or were subject to a Regulation D exemption from registration under the

                 Securities Act of 1933, 15 U.S.C. § 77a, et seq.


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           18.   All workpapers, communications and/or documents that you gathered or created

                 before November 11, 2022 concerning:


                 a.     any news articles or media coverage concerning FTX Entities and/or
                        Alameda,

                 b.     any litigation activity concerning FTX Entities and/or Alameda, or to which
                        FTX Entities and/or Alameda was a party,

                 c.     any proceedings at any administrative or regulatory body concerning FTX
                        Entities and/or Alameda, or to which FTX Entities and/or Alameda was a
                        party, including proceedings involving their employees or their customers,
                        and the outcomes of any such proceedings, including sanctions,
                        suspensions, fines, or censures,

                 d.     any action that was taken or notice that was issued concerning FTX Entities
                        and/or Alameda by a governmental, regulatory (including self-regulatory),
                        oversight, administrative, criminal law, or enforcement body,

                 e.     any proposed or final report issued or to be issued by any agency or
                        government instrumentality (e.g., an administrative or regulatory body or
                        committee or subcommittee of either chamber of the U.S. Congress)
                        concerning FTX Entities and/or Alameda,

                 f.     allegations made by any claimed whistleblower against or concerning FTX
                        Entities and/or Alameda,

                 g.     any examination, inquiry, or review by a governmental or regulatory agency
                        into or concerning FTX Entities and/or Alameda, and

                 h.     all assertions that FTX Entities and/or Alameda were or might be engaged
                        in or part of a fraudulent enterprise or Ponzi scheme, or were or might be
                        engaged in or part of money-laundering activities for drug cartels or others.


                 This includes a request for all documents and communications concerning FTX

                 Entities and/or Alameda that you conducted or attempted to conduct with persons

                 litigating against them, including employees and customers (as referenced in

                 subparagraphs (b) and (c) above), or with journalists (as referenced in subparagraph

                 (a) above), or with whistleblowers (as referenced in subparagraph (f) above).



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           19.   All   workpapers,    communications      and/or   documents     concerning     any

                 recommendations, referrals, or references that you provided to or for FTX Entities

                 and/or Alameda, including as addressed to all actual or prospective depositors

                 generally speaking, business counterparties, regulators or other governmental

                 bodies, specific persons, “To Whom It May Concern,” or otherwise. This includes

                 a request for all documents and communications whereby you vouch for FTX

                 Entities and/or Alameda, including for FTX Entities and/or Alameda insiders or

                 control persons.

           20.   All workpapers, communications and/or documents concerning the size and

                 importance to You of your actual and prospective relationships with FTX Entities

                 and/or Alameda, on an absolute basis and on a comparative basis to your

                 relationships with other clients. This includes a request for all documents and

                 communications concerning the size and importance to you of:


                 a.     your actual and prospective revenue and profits from FTX Entities and/or
                        Alameda, on an absolute basis and on a comparative basis to your revenues
                        and profits from other clients, and

                 b.     the balances in the accounts (including correspondent accounts) in the
                        names of FTX Entities and/or Alameda, on an absolute basis and on a
                        comparative basis to balances in the accounts in the names of other clients.


                 This also includes documentation showing total deposits at Deltec in the accounts

                 in the name of FTX Entities and/or Alameda as well as total deposits overall at

                 Moonstone.

           21.   All workpapers, communications and/or documents concerning (a) threats,

                 indications, or statements by FTX Entities and/or Alameda concerning the

                 movement of some or all of their business, accounts, or balances from Moonstone,

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                 (b) your contemplation that FTX Entities and/or Alameda might do so, and (c)

                 actual or potential efforts by you to grow your business, relationships, accounts, or

                 balances with FTX Entities and/or Alameda.

           22.   All workpapers, communications and/or documents concerning FTX Entities

                 and/or Alameda, or any of their officers or directors or control persons actually or

                 potentially being (a) designated as a “VIP customer,” (b) designated as a

                 “Politically Exposed Person,” or (c) deemed to be in a “Special Category of

                 Clients,” as well as all documents and communications concerning any risk level

                 assigned by you to FTX Entities and/or Alameda.

           23.   All correspondent banking agreements between you and any other bank relating to

                 any services performed by you concerning the FTX Entities and/or Alameda.

           24.   All audit, due diligence, or other reports (whether prepared by you or others)

                 concerning the FTX Entities and/or Alameda, and all documents and

                 communications concerning such reports.

           25.   Any periodic or intermittent audits, reviews, evaluations, or reports, either prepared

                 internally or by a third party, regarding your compliance with applicable Statutes

                 and Regulations or internal policies and procedures regarding compliance with

                 Statutes and Regulations or industry standards and best practices, including any

                 KYC procedures, AML procedures, customer identification procedures, procedures

                 and related guidelines pursuant to the Bank Secrecy Act, Patriot Act, FinCEN,

                 FFEIC Manual, AML risk management, client due diligence, or account-opening

                 policies and procedures maintained by you. This includes a request for any audit or




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                    model validation reports regarding automated transaction monitoring systems

                    maintained by you.

           26.      All workpapers, communications and/or documents concerning the source of funds

                    deposited into any accounts (including correspondent accounts) opened or held in

                    the name of or for the benefit of FTX Entities and/or Alameda, including all

                    documents and communications concerning whether these funds originated from

                    (a) the purchase of cryptocurrencies or tokens, or (b) other deposit products offered

                    by FTX Entities and/or Alameda.

           27.      All workpapers, communications and/or documents concerning any services or

                    products that FTX Entities and/or Alameda offered to customers or depositors or

                    investors.

           28.      All workpapers, communications and/or documents concerning the formation and

                    governance of any of the FTX Entities and/or Alameda, including, but not limited

                    to, articles of incorporation, articles of formation, by-laws, membership

                    agreements, partnership agreements, and certificates of good standing.

           29.      All workpapers, communications and/or documents concerning the ownership of,

                    and relationship between, if any, each of the FTX Entities and/or Alameda and/or

                    any joint ventures, affiliates, and/or subsidiaries, including, but not limited to,

                    organizational charts.

                 30. All workpapers, communications and/or documents concerning the accounts

                    opened by Tether Limited Inc. (“Tether”) at Deltec, Tether’s expected banking

                    activity at Deltec, Tether’s actual banking activity at Deltec, including transactions

                    by, to, or through the FTX Entities, their insiders, or their affiliates.



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           31.   All workpapers, communications and/or documents concerning your efforts to

                 transform Bahamian laws, regulations, policies, or other guidance in order to make

                 them more favorable for digital asset startups.

           32.   All workpapers, communications and/or documents concerning the $50 million

                 loan in favor of Deltec International Group from Norton Hall Ltd.

           33.   All workpapers, communications and/or documents concerning Jean Chalopin’s

                 efforts to obtain funding, whether via investment or loan or any other form

                 whatsoever, for Deltec or Moonstone from the FTX Entities and/or Alameda.

           34.   All workpapers, communications and/or documents concerning Alameda’s $11.5

                 million investment in Moonstone.

           35.   All workpapers, communications and/or documents between FTX Entities and/or

                 Alameda and Jean Chalopin, whether in his personal capacity or representative

                 capacity for Deltec and/or Moonstone, concerning the U.S. banking services that

                 FTX Entities and/or Alameda requested or required.

           36.   To the extent not already produced in connection with any of the above requests,

                 all work papers, communications, transcripts and/or recordings of any depositions,

                 testimony, interviews, or statements you have provided concerning the FTX

                 Entities and/or Alameda in any court, administrative proceedings, the Bankruptcy

                 Actions, the Criminal Proceedings, or any other foreign or domestic forum or in

                 response to any governmental agency request.

           37.   All workpapers, communications, documents, other discovery concerning your

                 operations in the United States.




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           38.   To the extent not produced in response to any of the foregoing requests, all

                 documents and communications concerning any account at Moonstone in the name

                 of FTX Entities and/or Alameda. This includes a request for documents sufficient

                 to identify your employees involved in (a) opening such accounts, (b) ongoing

                 activity in such accounts, or (c) any review, inquiry, or investigation into the

                 holders of such accounts or into any activity in such accounts.




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        MDL No. 3076
                                 CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation




     PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                           DEFENDANT JEAN CHALOPIN

           Plaintiffs in the above-titled action, pursuant to Rules 26 and 34 of the Federal Rules of

    Civil Procedure, and Local Rule 26.1 of the United States District Court for the Southern District

    of Florida, request that Defendant Jean Chalopin, produce all documents, electronically stored

    information, and things that are in your possession, custody, or control requested in response to

    the following Requests for Production.



    Respectfully submitted on November ___, 2023


                                      Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                           By: /s/ David Boies
     Adam M. Moskowitz                                David Boies
     Florida Bar No. 984280                           Alex Boies
     Joseph M. Kaye                                   Brooke Alexander
     Florida Bar No. 117520                           BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                     333 Main Street
     Continental Plaza                                Armonk, NY 10504
     3250 Mary Street, Suite 202                      Office: (914) 749-8200
     Coconut Grove, FL 33133                          dboies@bsfllp.com
     Office: (305) 740-1423                           aboies@bsfllp.com
     adam@moskowitz-law.com                           balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                               Plaintiffs’ Steering Committee Members

     Joseph R. Saveri                                 James R. Swanson
     JOSEPH SAVERI LAW FIRM                           Kerry J. Miller
     601 California Street, Suite 1000                FISHMAN HAYGOOD LLP
     San Francisco, CA 94108                          201 St. Charles Avenue, 46th Floor
     Telephone: (415) 500-6800                        New Orleans, LA 70170
     jsaveri@saverilawfirm.com                        Telephone: (504) 586-5252
                                                      jswanson@fishmanhaygood.com
                                                      kmiller@fishmanhaygood.com


     Robert Lieff
     P.O. Drawer A
     Rutherford, CA 94573
     rlieff@lieff.com




                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz
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                                            DEFINITIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

           1.     “Alameda” refers to Alameda Research LLC, including, but not limited to, its past

                  and present subsidiaries, affiliates, divisions, segments (including any mobile

                  application and/or web-based cryptocurrency investment services or trading

                  platform), predecessors (including acquired entities or lines of business),

                  successors, directors, officers, employees, representatives and/or agents. No

                  specific reference to any of the foregoing in the following Requests, including any

                  specific reference to Samuel Bankman-Fried, Caroline Ellison, Gary Wang, or

                  Nishad Singh, serves to limit the scope of any reference to Alameda herein.

           2.     “All/Each” and “And/Or” – The terms “all”, “each”, “and” and “or” shall be

                  construed as meaning either all or each as necessary, or conjunctively, to bring

                  within the scope of the discovery request all responses that might otherwise be

                  construed to be outside its scope.

           3.     “Bankruptcy Actions” refers to Case No. 22-11068 (JTD) (Jointly Administered)

                  pending in the United States Bankruptcy Court for the District of Delaware, and all

                  bankruptcy proceedings filed in or after November 2022 on behalf of any of the

                  FTX Entities and/or Alameda, and all adversary proceedings filed in connection

                  therewith.

           4.     “Communication” means, without limitation, the transmittal of information in the

                  form of facts, ideas, inquiries or otherwise, and whether orally or in writing, or by

                  any other means or medium, including in person, electronically and/or by exchange

                  or communication of any document, and includes, without limitation,



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                 correspondence, memoranda, reports, presentations, face-to-face conversations,

                 telephone conversations, text messages, instant messages, voice messages,

                 negotiations, Agreements, inquiries, understandings, meetings, letters, notes,

                 telegrams, mail, email, exchanges of recorded information, and postings of any

                 type. The term “Communication” includes instances where one party disseminates

                 information that the other party receives but does not respond to.

           5.    “Concerning” means relating to, referring to, describing, evidencing or

                 constituting.

           6.    “Control person” means a person (as defined herein) in direct or indirect possession

                 of the power to direct or cause the direction of the management and policies of a

                 person (as defined herein), whether through the ownership of voting securities, by

                 contract, or otherwise.

           7.    “Creditors” refers to all creditors in the Bankruptcy Actions, including, but not

                 limited to, any committees of such creditors.

           8.    “Criminal Proceedings” refers to United States v. Sam Bankman-Fried, 1:22-CR-

                 00673 pending in the Southern District of New York, and all criminal proceedings

                 filed in or after November 2022 relating to the FTX Entities and/or Alameda.

           9.    “Debtors” refers to all FTX Entities and/or Alameda that have filed petitions for

                 bankruptcy protection in the Bankruptcy Actions. When referring to the FTX

                 Entities and/or Alameda in the Requests, the Requests cover the periods both prior

                 to, and after, their filing of any of the Bankruptcy Actions.

           10.   “Defendants” refers to any and all persons and/or entities named as defendants in

                 any of the actions consolidated with, and into, the above-captioned action. For



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                 purposes of these Requests, Defendants also includes Silvergate Capital

                 Corporation (a/k/a Silvergate Bank) and Signature Bank.

           11.   Deltec” refers to Deltec Bank & Trust Company Ltd. including, but not limited to,

                 its past and present subsidiaries, affiliates, divisions, segments (including any

                 mobile application and/or web-based cryptocurrency investment services or trading

                 platform), predecessors (including acquired entities or lines of business),

                 successors, directors, officers, employees, representatives and/or agents.

           12.   “Document” refers to any written, printed, typed or other graphic matter, of any

                 kind or nature, whether in hard copy or electronic format, whether the original,

                 draft, or a copy and copies bearing notations or marks not found on the original,

                 including, but not limited to, memoranda, reports, recommendations, notes, letters,

                 envelopes, post-its, emails, text messages, instant messages (including, but not

                 limited to, messages exchanged or sent using Slack, Teams, Discord, WhatsApp,

                 Signal or any other similar application), transcripts, studies, analyses, tests, books,

                 articles, minutes, agreements, contracts, and all other written communications, of

                 any type, including inter and intra-office communications, questionnaires, surveys,

                 charts, graphs, videos, photographs, tapes, voice messages or other recordings,

                 print-outs or compilations from which information can be obtained or, if necessary,

                 translated through detection devices into reasonably usable form, including all

                 underlying or preparatory materials and drafts thereof. To the extent not already

                 covered in the above definition, “Document” specifically includes any “writing”,

                 “recording”, “photograph”, “original” or “duplicate” as defined in Rule 1001 of the

                 Federal Rules of Evidence, and/or “Electronically Stored Information” within the



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                 full scope of Rule 34 of the Federal Rules of Civil Procedure and/or as further

                 defined as “ESI” herein.

           13.   “ESI” refers to Electronically Stored Information, as consistent with Rule 34 of the

                 Federal Rules of Civil Procedure and includes all computer or electronically stored

                 or generated data and information, including all attachments to and enclosures

                 within any requested item, and all drafts thereof. ESI includes all information and

                 documents stored in any format and on any storage media, including, but not limited

                 to: internal and external storage devices, hard drives, flash drives; and magnetic

                 tape, whether fixed, portable or removable, and ESI further includes, but is not

                 limited to, electronic spreadsheets, electronic presentation documents, e-mail

                 messages, text messages, message platforms (including, but not limited to, Slack,

                 Teams, Discord, WhatsApp, Telegram, Messenger, Signal or any other similar

                 platforms where chat messages are exchanged); image files; sound files; material

                 or information stored in a database or accessible from a database (including, but

                 not limited to, Salesforce, Azure Cloud, or SQL databases). Responsive ESI may

                 also include data on social media websites (e.g., LinkedIn, Facebook, Twitter,

                 Instagram, and internal intranet social media). To the extent that a document or ESI

                 contains tracked changes, comments, or other hidden text, the document or ESI

                 should be imaged with that hidden text displayed. ESI also includes all associated

                 metadata that is maintained or saved (including for example, author, recipient, file

                 creation date, file modification date, etc.). Metadata preservation includes

                 preserving parent-child relationships within a document family (the association

                 between an attachment and its parents’ document or between embedded documents



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                 and their parent). The entire document and attachments will be produced, except

                 any attachments that may be withheld or redacted on the basis of any protection or

                 privilege, work product, or other applicable protection. Best efforts shall be made

                 to ensure that the parent-child relationships within a document family (the

                 association between an attachment and its parent document) are preserved and that

                 such responsive child document(s) should be consecutively produced immediately

                 after the responsive parent document.

           14.   “FTT” refers to the digital token created by the FTX Entities.

           15.   “FTX Entities” refers to FTX Trading and/or FTX US.

           16.   “FTX Trading” refers to FTX Trading Ltd. d/b/a FTX Trading, including, but not

                 limited to, its past and present subsidiaries, affiliates, divisions, segments

                 (including any mobile application and/or web-based cryptocurrency investment

                 services or trading platform, such as FTX.com), predecessors (including acquired

                 entities or lines of business such as Blockfolio, Inc.), successors, directors, officers,

                 employees, representatives and/or agents. No specific reference to any of the

                 foregoing in the following Requests, including any specific reference to Samuel

                 Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                 scope of any reference to FTX Trading herein.

           17.   “FTX US” refers to West Realm Shires Services Inc. d/b/a FTX US, including, but

                 not limited to, its past and present subsidiaries, affiliates, divisions, segments

                 (including any mobile application and/or web-based cryptocurrency investment

                 services or platform, such as FTX.com), predecessors (including acquired entities

                 or lines of business such as Blockfolio, Inc.), successors, directors, officers,



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                 employees, representatives and/or agents. No specific reference to any of the

                 foregoing in the following Requests, including any specific reference to Samuel

                 Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                 scope of any reference to FTX US herein.

           18.   “Liquidators” refers to all liquidators in the Bankruptcy Actions, including, but not

                 limited to, the Joint Provisional Liquidators of FTX Digital Markets Ltd.

           19.   “Moonstone” refers to Farmington State Bank d/b/a Moonstone Bank, its

                 predecessors, successors, subsidiaries, departments divisions, and/or affiliates,

                 including, but not limited to, any banking entities affiliated with or held by

                 Moonstone or in which Moonstone is a member or other owner, its international,

                 national or local branches or offices. “Moonstone” shall also encompass

                 Moonstone’s current and prior partners, officers, directors, employees,

                 representatives, agents or any persons acting or purporting to act on behalf of

                 Moonstone, including but not limited to Jean Chalopin and Janvier Chalopin

           20.   “Person” or “People” refers to any natural person(s) or any business, legal, or

                 governmental entity (or entities) or association(s).

           21.   “Trustee” refers to the U.S. Trustee assigned in the Bankruptcy Actions, including

                 any of the Trustee’s employee or agents, including any examiner appointed in the

                 Bankruptcy Actions.

           22.   “You” or “Your” shall refer to Deltec Bank and Trust Company Limited (“Deltec”),

                 its predecessors, successors, subsidiaries, departments divisions, and/or affiliates,

                 including, but not limited to, any banking entities affiliated with or held by Deltec

                 or in which Deltec is a member or other owner, its international, national or local



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                 branches or offices. “You” or “Your” shall also encompass Deltec’s current and

                 prior partners, officers, directors, employees, representatives, agents or any persons

                 acting or purporting to act on behalf of Deltec, including but not limited to Jean

                 Chalopin.

           23.   Whenever a reference to a business entity appears, the reference shall mean the

                 business entity, its affiliated companies, partnerships, divisions, subdivisions,

                 directors, officers, employees, agents, clients or other representatives of affiliated

                 third parties.

           24.   Defined terms may or may not be capitalized or made uppercase; the given

                 definitions apply even if a term in question is not capitalized or made uppercase.

                 No waiver of a definition is implied by the use of a defined term in a non-capitalized

                 or lowercase form.




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                                            INSTRUCTIONS

           1.   Production of documents and items requested herein shall be made at the offices of

                The Moskowitz Law Firm, P.O. Box 653409, Miami, FL 33133, or via electronic

                mail to the email addresses provided in the signature blocks of the attorneys serving

                these requests.

           2.   Unless otherwise stated in a request, the time period for which you must respond is

                January 1, 2019, through the date of production.

           3.   Objections: Where an objection is made to any request, the objection shall state

                with specificity all grounds for the objection and respond to the Request to the

                extent it is not objectionable. Any ground not stated in an objection within the time

                provided by the Federal Rules of Civil Procedure, or by the Court’s order, or any

                extensions thereof, shall be waived.

           4.   These requests shall include all documents that are in your possession, custody or

                control or in the possession, custody or control of your present or former agents,

                representatives, or your attorneys, or any and all persons acting on your behalf, or

                your present or former agents, representatives, or attorneys.

           5.   For any document, or portion thereof, covered by a request that is withheld from

                production (or redacted in whole or in part) under claim of privilege, work product

                protection or any other basis, you shall provide the following information in the

                form of a privilege log:


                a.     the reasons and each and every fact supporting any withholding, and legal
                       basis for withholding the document including sufficient facts for the Court
                       to make a full determination as to whether the claim of privilege is valid;

                b.     the date such document was prepared;


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                c.     the names, employment positions and addresses of the author or preparers
                       of such document;

                d.     the names, employment positions, and the addresses of each person who
                       received such document;

                e.     the title, a brief description, and the subject matter of the document;

                f.     the number of the request under which such document would be produced
                       but for the objection; and

                g.     description of the subject matter sufficient to determine whether the
                       privilege is properly invoked (without revealing privileged information)

           6.   If any document responsive to a request has been destroyed, produce all documents

                describing or referencing:


                a.     the contents of the lost or destroyed document;

                b.     all locations in which any copy of the lost or destroyed document had been
                       maintained;

                c.     the date of such loss or destruction;

                d.     the name of each person who ordered, authorized, and carried out the
                       destruction of any responsive document;

                e.     all document retention and destruction policies in effect at the time any
                       requested document was destroyed; and

                f.     all efforts made to locate any responsive document alleged to have been
                       lost.

           7.   In producing the documents requested, indicate the specific request(s) pursuant to

                which document or group of documents is being produced.

           8.   These requests should be deemed continuing such that if you, your directors,

                officers, employees, agents, representatives, or any person acting on your behalf,

                subsequently discover or obtain possession, custody, or control of any document or

                ESI previously requested or required to be produced, you should make a



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                 supplemental production of such document or ESI. Supplemental productions

                 should be provided on a rolling basis as additional documents become available.

           9.    All documents that cannot be accurately represented in TIFF format (such as

                 spreadsheets, computer slide presentations, audio files, video files, and other

                 similar file types) shall be provided in native format. The parties will further meet

                 and confer regarding appropriate format of production for databases and structured

                 data (e.g., Microsoft Teams, Slack, Microsoft Access, Azure Cloud, Salesforce,

                 Oracle, or other ephemeral messaging or proprietary database systems).

           10.   In responding to these Document Requests, you are to include Documents:


                 a.     obtained from witnesses who gave information to any governmental agency
                        or investigatory body;

                 b.     that constitute, or refer or relate to, summaries of testimony or other
                        statements in connection with any governmental agency or investigatory
                        body proceeding or investigation; or

                 c.     obtained on your behalf by counsel in preparing for testimony or interviews
                        before any governmental agency or investigatory body.


           11.   All documents are to be produced in the following method if not produced in its

                 Native Format:


                 a.     Single page .TIFF images

                 b.     Color.jpg (documents wherein reflection of importance relies on color, shall
                        be produced in .jpg format)

                 c.     Document level Text Files containing extracted full text or OCR text

                 d.     Electronic documents, e-mails, text or instant messages are to be processed
                        and converted from the electronic format to single page tiff.




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                               REQUESTS FOR PRODUCTION

           1.   Work papers, communications, and/or other documents prepared by you and/or

                delivered to, exchanged with, or received from the FTX Entities and/or Alameda,

                including, but not limited to Samuel Bankman-Fried, Gary Wang, Nishad Singh,

                Caroline Ellison, Constance Wang, Brett Harrison, Sam Trabucco, Zach Dexter,

                Ryne Miller, Ryan Salame, Dan Friedberg, and Ramnik Arora.

           2.   Work papers, communications, and/or other documents prepared by you and/or

                delivered to, exchanged with, or received from the other Defendants concerning the

                FTX Entities and/or Alameda.

           3.   Work papers, communications, and/or other documents concerning your efforts to

                transform Bahamian laws, regulations, policies, or other guidance in order to make

                them more favorable for digital asset startups, including, but not limited to,

                correspondence with Ryan Pinder.

           4.   Work papers, communications, and/or other documents concerning the Crypto

                Bahamas cryptocurrency summit that you co-hosted with FTX in the Bahamas.

           5.   Work papers, communications, and/or other documents prepared by you and/or

                delivered to, exchanged with, or received from the other Defendants concerning the

                cryptocurrency summit that you co-hosted with FTX in the Bahamas.

           6.   Work papers, communications, and/or other documents concerning Deltec’s efforts

                to raise debt capital in New York.

           7.   Work papers, communications, and/or other documents concerning the $50 million

                loan in favor of Deltec International Group from Norton Hall Ltd.




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           8.    Workpapers, communications and/or documents concerning the accounts opened

                 by Tether Limited Inc. (“Tether”) at Deltec, Tether’s expected banking activity at

                 Deltec, Tether’s actual banking activity at Deltec, including transactions by, to, or

                 through the FTX entities, their insiders, or their affiliates.

           9.    Work papers, communications, and/or other documents concerning your efforts to

                 obtain funding, whether via investment or loan or any other form whatsoever, for

                 Deltec or Moonstone from the FTX Entities and/or Alameda.

           10.   Work papers, communications, and/or other documents concerning Alameda’s

                 $11.5 million investment in Moonstone.

           11.   Work papers, communications, and/or other documents between FTX Entities

                 and/or Alameda and you, whether in your personal capacity or representative

                 capacity for Deltec and/or Moonstone, concerning the U.S. banking services that

                 FTX Entities and/or Alameda requested or required.

           12.   Work papers, communications, and/or other documents concerning Moonstone’s

                 application for and membership in the Federal Reserve.

           13.   Work papers, communications, agreements and/or other documents concerning

                 ownership, purchase, and/or sale of the Albany condominium complex, by or to

                 you, Joe Lewis, Sam Bankman-Fried, FTX and/or Alameda.

           14.   All documents, communications, or other discovery concerning your conducting

                 business, or seeking financing or other investments, in the United States.

           15.   To the extent not produced in response to any of the foregoing requests, all

                 documents and communications concerning any account at Deltec or Moonstone in

                 the name of FTX Entities and/or Alameda. This includes a request for documents



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                 sufficient to identify your employees involved in (a) opening such accounts, (b)

                 ongoing activity in such accounts, or (c) any review, inquiry, or investigation into

                 the holders of such accounts or into any activity in such accounts.

           16.   To the extent not already produced in connection with any of the above requests,

                 all work papers, communications, transcripts and/or recordings of any depositions,

                 testimony, interviews, or statements you have provided concerning the FTX

                 Entities and/or Alameda in any court, administrative proceedings, the Bankruptcy

                 Actions, the Criminal Proceedings, or any other foreign or domestic forum or in

                 response to any governmental agency request.




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        MDL No. 3076
                                 CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation




           PLAINTIFFS’ FIRST SET OF DISCOVERY REQUESTS TO DEFENDANT
                          SINO GLOBAL CAPITAL LIMITED

           Plaintiffs in the above-titled action, pursuant to Rules 26, 33 34, and 36 of the Federal

    Rules of Civil Procedure, and Local Rule 26.1 of the United States District Court for the Southern

    District of Florida, request that Defendant Sino Global Capital Limited respond to the enclosed

    Requests for Admission and Interrogatories and produce all documents, electronically stored

    information, and things that are in your possession, custody, or control requested in response to

    the following Requests for Production.

    Respectfully submitted on November ___, 2023


                                      Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                           By: /s/ David Boies
     Adam M. Moskowitz                                David Boies
     Florida Bar No. 984280                           Alex Boies
     Joseph M. Kaye                                   Brooke Alexander
     Florida Bar No. 117520                           BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                     333 Main Street
     Continental Plaza                                Armonk, NY 10504
     3250 Mary Street, Suite 202                      Office: (914) 749-8200
     Coconut Grove, FL 33133                          dboies@bsfllp.com
     Office: (305) 740-1423                           aboies@bsfllp.com
     adam@moskowitz-law.com                           balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                               Plaintiffs’ Steering Committee Members

     Joseph R. Saveri                                 James R. Swanson
     JOSEPH SAVERI LAW FIRM                           Kerry J. Miller
     601 California Street, Suite 1000                FISHMAN HAYGOOD LLP
     San Francisco, CA 94108                          201 St. Charles Avenue, 46th Floor
     Telephone: (415) 500-6800                        New Orleans, LA 70170
     jsaveri@saverilawfirm.com                        Telephone: (504) 586-5252
                                                      jswanson@fishmanhaygood.com
                                                      kmiller@fishmanhaygood.com


     Robert Lieff
     P.O. Drawer A
     Rutherford, CA 94573
     rlieff@lieff.com




                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz
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                                            DEFINITIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

           1.     “Alameda” refers to Alameda Research LLC, including, but not limited to, its past

                  and present subsidiaries, affiliates, divisions, segments (including any mobile

                  application and/or web-based cryptocurrency investment services or trading

                  platform), predecessors (including acquired entities or lines of business), and/or

                  successors, which includes but is not limited to Alameda Ventures Ltd., and current

                  and prior partners, officers, directors, employees, representatives, agents or any

                  persons acting or purporting to act on behalf of the foregoing. No specific reference

                  to any of the foregoing in the following Requests, including any specific reference

                  to Samuel Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves

                  to limit the scope of any reference to Alameda herein.

           2.     “All/Each” and “And/Or” – The terms “all”, “each”, “and” and “or” shall be

                  construed as meaning either all or each as necessary, or conjunctively, to bring

                  within the scope of the discovery request all responses that might otherwise be

                  construed to be outside its scope.

           3.     “Bankruptcy Actions” refers to Case No. 22-11068 (JTD) (Jointly Administered)

                  pending in the United States Bankruptcy Court for the District of Delaware, and all

                  bankruptcy proceedings filed in or after November 2022 on behalf of any of the

                  FTX Entities and/or Alameda, and all adversary proceedings filed in connection

                  therewith.

           4.     “Communication” means, without limitation, the transmittal of information in the

                  form of facts, ideas, inquiries or otherwise, and whether orally or in writing, or by




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               any other means or medium, including in person, electronically and/or by exchange

               or communication of any document, and includes, without limitation,

               correspondence, memoranda, reports, presentations, face-to-face conversations,

               telephone conversations, text messages, instant messages, voice messages,

               negotiations, Agreements, inquiries, understandings, meetings, letters, notes,

               telegrams, mail, email, exchanges of recorded information, and postings of any

               type. The term “Communication” includes instances where one party disseminates

               information that the other party receives but does not respond to.

          5.   “Concerning” means relating to, referring to, describing, evidencing or

               constituting.

          6.   “Control person” means a person (as defined herein) in direct or indirect possession

               of the power to direct or cause the direction of the management and policies of a

               person (as defined herein), whether through the ownership of voting securities, by

               contract, or otherwise.

          7.   “Creditors” refers to all creditors in the Bankruptcy Actions, including, but not

               limited to, any committees of such creditors.

          8.   “Criminal Proceedings” refers to United States v. Sam Bankman-Fried, 1:22-CR-

               00673 pending in the Southern District of New York, and all criminal proceedings

               filed in or after November 2022 relating to the FTX Entities and/or Alameda.

          9.   “Debtors” refers to all FTX Entities and/or Alameda that have filed petitions for

               bankruptcy protection in the Bankruptcy Actions. When referring to the FTX

               Entities and/or Alameda in the Requests, the Requests cover the periods both prior

               to, and after, their filing of any of the Bankruptcy Actions.




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          10.   “Defendants” refers to any and all persons and/or entities named as defendants in

                any of the actions consolidated with, and into, the above-captioned action. For

                purposes of these Requests, Defendants also includes Silvergate Capital

                Corporation (a/k/a Silvergate Bank) and Signature Bank.

          11.   “Document” refers to any written, printed, typed or other graphic matter, of any

                kind or nature, whether in hard copy or electronic format, whether the original,

                draft, or a copy and copies bearing notations or marks not found on the original,

                including, but not limited to, memoranda, reports, recommendations, notes, letters,

                envelopes, post-its, emails, text messages, instant messages (including, but not

                limited to, messages exchanged or sent using Slack, Teams, Discord, WhatsApp,

                Signal or any other similar application), transcripts, studies, analyses, tests, books,

                articles, minutes, agreements, contracts, and all other written communications, of

                any type, including inter and intra-office communications, questionnaires, surveys,

                charts, graphs, videos, photographs, tapes, voice messages or other recordings,

                print-outs or compilations from which information can be obtained or, if necessary,

                translated through detection devices into reasonably usable form, including all

                underlying or preparatory materials and drafts thereof. To the extent not already

                covered in the above definition, “Document” specifically includes any “writing”,

                “recording”, “photograph”, “original” or “duplicate” as defined in Rule 1001 of the

                Federal Rules of Evidence, and/or “Electronically Stored Information” within the

                full scope of Rule 34 of the Federal Rules of Civil Procedure and/or as further

                defined as “ESI” herein.




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          12.   “ESI” refers to Electronically Stored Information, as consistent with Rule 34 of the

                Federal Rules of Civil Procedure and includes all computer or electronically stored

                or generated data and information, including all attachments to and enclosures

                within any requested item, and all drafts thereof. ESI includes all information and

                documents stored in any format and on any storage media, including, but not limited

                to: internal and external storage devices, hard drives, flash drives; and magnetic

                tape, whether fixed, portable or removable, and ESI further includes, but is not

                limited to, electronic spreadsheets, electronic presentation documents, e-mail

                messages, text messages, message platforms (including, but not limited to, Slack,

                Teams, Discord, WhatsApp, Telegram, Messenger, Signal or any other similar

                platforms where chat messages are exchanged); image files; sound files; material

                or information stored in a database or accessible from a database (including, but

                not limited to, Salesforce, Azure Cloud, or SQL databases). Responsive ESI may

                also include data on social media websites (e.g., LinkedIn, Facebook, Twitter,

                Instagram, and internal intranet social media). To the extent that a document or ESI

                contains tracked changes, comments, or other hidden text, the document or ESI

                should be imaged with that hidden text displayed. ESI also includes all associated

                metadata that is maintained or saved (including for example, author, recipient, file

                creation date, file modification date, etc.). Metadata preservation includes

                preserving parent-child relationships within a document family (the association

                between an attachment and its parents’ document or between embedded documents

                and their parent). The entire document and attachments will be produced, except

                any attachments that may be withheld or redacted on the basis of any protection or




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                privilege, work product, or other applicable protection. Best efforts shall be made

                to ensure that the parent-child relationships within a document family (the

                association between an attachment and its parent document) are preserved and that

                such responsive child document(s) should be consecutively produced immediately

                after the responsive parent document.

          13.   “FTT” refers to the digital token created by the FTX Entities.

          14.   “FTX Entities” refers to FTX Trading and/or FTX US.

          15.   “FTX Trading” refers to FTX Trading Ltd. d/b/a FTX Trading, including, but not

                limited to, its past and present subsidiaries, affiliates, divisions, segments

                (including any mobile application and/or web-based cryptocurrency investment

                services or trading platform, such as FTX.com), predecessors (including acquired

                entities or lines of business such as Blockfolio, Inc.), successors, directors, officers,

                employees, representatives and/or agents. No specific reference to any of the

                foregoing in the following Requests, including any specific reference to Samuel

                Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                scope of any reference to FTX Trading herein.

          16.   “FTX US” refers to West Realm Shires Services Inc. d/b/a FTX US, including, but

                not limited to, its past and present subsidiaries, affiliates, divisions, segments

                (including any mobile application and/or web-based cryptocurrency investment

                services or platform, such as FTX.com), predecessors (including acquired entities

                or lines of business such as Blockfolio, Inc.), successors, directors, officers,

                employees, representatives and/or agents. No specific reference to any of the

                foregoing in the following Requests, including any specific reference to Samuel




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                Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                scope of any reference to FTX US herein.

          17.   “Liquidators” refers to all liquidators in the Bankruptcy Actions, including, but not

                limited to, the Joint Provisional Liquidators of FTX Digital Markets Ltd.

          18.   “Person” or “People” refers to any natural person(s) or any business, legal, or

                governmental entity (or entities) or association(s).

          19.   “Trustee” refers to the U.S. Trustee assigned in the Bankruptcy Actions, including

                any of the Trustee’s employee or agents, including any examiner appointed in the

                Bankruptcy Actions.

          20.   “Work Papers” refers to all documents, including drafts, organizational charts,

                spreadsheets, and other data, prepared, maintained and/or obtained by you

                concerning the planning, procedures performed, information obtained, and

                conclusions reached in connection with any investment, or potential investment, in

                any of the FTX Entities and/or Alameda. “Work Papers” also includes documents

                that you have in your possession, custody or control that were prepared, maintained

                and/or obtained by you concerning the FTX Entities and/or Alameda that were

                prepared or obtained from any of the FTX Entities and/or Alameda or any other

                persons or entities investing in or providing accounting, auditing, or consulting

                services to the FTX Entities and/or Alameda.

          21.   “You” or “Your” shall refer to the Defendant responding to these requests, its

                predecessors, successors, subsidiaries, departments divisions, and/or affiliates,

                including, but not limited to, any funds or other investment vehicles held by the

                Defendant responding or in which the Defendant responding is a member or other




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                   owner, its international, national or local branches or offices, including, but not

                   limited to Sino Global Capital Holdings, LLC, Ryze Labs, and current and prior

                   partners, officers, directors, employees, representatives, agents or any persons

                   acting or purporting to act on behalf of the responding Defendant.

          22.      “Sino Global Capital Management” shall refer to Sino Global Capital Management

                   LLC, its predecessors, successors, subsidiaries, departments divisions, and/or

                   affiliates, any international, national or local branches or offices, and current and

                   prior partners, officers, directors, employees, representatives, agents or any persons

                   acting or purporting to act on its behalf.

                23. “Liquid Value” shall refer to the fund(s) in which you were co-general partners

                   with FTX Entities and/or Alameda and any funds related in any way thereto. It shall

                   refer to Liquid Value Fund I LP; Liquid Value GP Limited; Liquid Value US Fund

                   I LP; Liquid Value Offshore Feeder Fund I LP; and each of the foregoing’s

                   predecessors, successors, subsidiaries, departments divisions, and/or affiliates, any

                   international, national or local branches or offices, and current and prior partners,

                   officers, directors, employees, representatives, agents or any persons acting or

                   purporting to act on behalf of Liquid Value.

          24.      Whenever a reference to a business entity appears, the reference shall mean the

                   business entity, its affiliated companies, partnerships, divisions, subdivisions,

                   directors, officers, employees, agents, clients or other representatives of affiliated

                   third parties.

          25.      Defined terms may or may not be capitalized or made uppercase; the given

                   definitions apply even if a term in question is not capitalized or made uppercase.




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               No waiver of a definition is implied by the use of a defined term in a non-capitalized

               or lowercase form.




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                                           INSTRUCTIONS

          1.   Production of documents and items requested herein shall be made at the offices of

               The Moskowitz Law Firm, P.O. Box 653409, Miami, FL 33133, or via electronic

               mail to the email addresses provided in the signature blocks of the attorneys serving

               these requests.

          2.   Unless otherwise stated in a request, the time period for which you must respond is

               January 1, 2019, through the date of production.

          3.   Objections: Where an objection is made to any request, the objection shall state

               with specificity all grounds for the objection and respond to the Request to the

               extent it is not objectionable. Any ground not stated in an objection within the time

               provided by the Federal Rules of Civil Procedure, or by the Court’s order, or any

               extensions thereof, shall be waived.

          4.   These requests shall include all documents that are in your possession, custody or

               control or in the possession, custody or control of your present or former agents,

               representatives, or your attorneys, or any and all persons acting on your behalf, or

               your present or former agents, representatives, or attorneys.

          5.   For any document, or portion thereof, covered by a request that is withheld from

               production (or redacted in whole or in part) under claim of privilege, work product

               protection or any other basis, you shall provide the following information in the

               form of a privilege log:

               a.     the reasons and each and every fact supporting any withholding, and legal

                      basis for withholding the document including sufficient facts for the Court

                      to make a full determination as to whether the claim of privilege is valid;




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               b.     the date such document was prepared;

               c.     the names, employment positions and addresses of the author or preparers

                      of such document;

               d.     the names, employment positions, and the addresses of each person who

                      received such document;

               e.     the title, a brief description, and the subject matter of the document;

               f.     the number of the request under which such document would be produced

                      but for the objection; and

               g.     description of the subject matter sufficient to determine whether the

                      privilege is properly invoked (without revealing privileged information)

          6.   If any document responsive to a request has been destroyed, produce all documents

               describing or referencing:

               a.     the contents of the lost or destroyed document;

               b.     all locations in which any copy of the lost or destroyed document had been

                      maintained;

               c.     the date of such loss or destruction;

               d.     the name of each person who ordered, authorized, and carried out the

                      destruction of any responsive document;

               e.     all document retention and destruction policies in effect at the time any

                      requested document was destroyed; and

               f.     all efforts made to locate any responsive document alleged to have been

                      lost.

          7.   In producing the documents requested, indicate the specific request(s) pursuant to

               which document or group of documents is being produced.


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          8.    These requests should be deemed continuing such that if you, your directors,

                officers, employees, agents, representatives, or any person acting on your behalf,

                subsequently discover or obtain possession, custody, or control of any document or

                ESI previously requested or required to be produced, you should make a

                supplemental production of such document or ESI. Supplemental productions

                should be provided on a rolling basis as additional documents become available.

          9.    All documents that cannot be accurately represented in TIFF format (such as

                spreadsheets, computer slide presentations, audio files, video files, and other

                similar file types) shall be provided in native format. The parties will further meet

                and confer regarding appropriate format of production for databases and structured

                data (e.g., Microsoft Teams, Slack, Microsoft Access, Azure Cloud, Salesforce,

                Oracle, or other ephemeral messaging or proprietary database systems).

          10.   In responding to these Document Requests, you are to include Documents:

                a.     obtained from witnesses who gave information to any governmental agency

                       or investigatory body;

                b.     that constitute, or refer or relate to, summaries of testimony or other

                       statements in connection with any governmental agency or investigatory

                       body proceeding or investigation; or

                c.     obtained on your behalf by counsel in preparing for testimony or interviews

                       before any governmental agency or investigatory body.

          11.   All documents are to be produced in the following method if not produced in its

                Native Format:

                a.     Single page .TIFF images




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               b.    Color.jpg (documents wherein reflection of importance relies on color, shall

                     be produced in .jpg format)

               c.    Document level Text Files containing extracted full text or OCR text

               d.    Electronic documents, e-mails, text or instant messages are to be processed

                     and converted from the electronic format to single page tiff.




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                                    REQUESTS FOR ADMISSION

    REQUEST FOR ADMISSION NO. 1:

           Please admit that you are or were registered to conduct business in Florida.

    REQUEST FOR ADMISSION NO. 2:

           Please admit that Sino Global Capital Management is or was registered to conduct business

    in Florida.

    REQUEST FOR ADMISSION NO. 3:

           Please admit that Liquid Value is or was registered to conduct business in Florida.

    REQUEST FOR ADMISSION NO. 4:

           Please admit that Sino Global Capital Management is or was registered to conduct business

    in California.

    REQUEST FOR ADMISSION NO. 5:

           Please admit that Liquid Value is or was registered to conduct business in California.

    REQUEST FOR ADMISSION NO. 6:

           Please admit that you do or did operate, conduct, engage in, or carry on a business or

    business venture in Florida.

    REQUEST FOR ADMISSION NO. 7:

           Please admit that Sino Global Capital Management does or did operate, conduct, engage

    in, or carry on a business or business venture in Florida.

    REQUEST FOR ADMISSION NO. 8:

           Please admit that Liquid Value does or did operate, conduct, engage in, or carry on a

    business or business venture in Florida.




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    REQUEST FOR ADMISSION NO. 9:

           Please admit that Sino Global Capital Management does or did operate, conduct, engage

    in, or carry on a business or business venture in California.

    REQUEST FOR ADMISSION NO. 10:

           Please admit that Liquid Value does or did operate, conduct, engage in, or carry on a

    business or business venture in California.

    REQUEST FOR ADMISSION NO. 11:

           Please admit that you regularly conduct or conducted business in Florida.

    REQUEST FOR ADMISSION NO. 12:

           Please admit that Sino Global Capital Management regularly conducts or conducted

    business in Florida.

    REQUEST FOR ADMISSION NO. 13:

           Please admit that Liquid Value regularly conducts or conducted business in Florida.

    REQUEST FOR ADMISSION NO. 14:

           Please admit that Sino Global Capital Management regularly conducts or conducted

    business in California.

    REQUEST FOR ADMISSION NO. 15:

           Please admit that Liquid Value regularly conducts or conducted business in California.

    REQUEST FOR ADMISSION NO. 16:

           Please admit that the business that Sino Global Capital Management conducts or conducted

    in Florida and/or California relates at least in part to Plaintiffs’ factual allegations in their

    complaint (SD Fla. Case No. 23-md-3076, R. Doc. 182).




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    REQUEST FOR ADMISSION NO. 17:

           Please admit that the business that Liquid Value conducts or conducted in Florida and/or

    California relates at least in part to Plaintiffs’ factual allegations in their complaint (SD Fla. Case

    No. 23-md-3076, R. Doc. 182).

    REQUEST FOR ADMISSION NO. 18:

           Please admit that you maintain or maintained a place of business, office, facility or agency

    in Florida, or otherwise have physical operations in Florida.

    REQUEST FOR ADMISSION NO. 19:

           Please admit that Sino Global Capital Management maintains or maintained a place of

    business, office, facility or agency in Florida, or otherwise has physical operations in Florida.

    Please further admit that such “place of business, office, facility or agency in Florida” is or was

    Sino Global Capital Management’s principal office or place of business.

    REQUEST FOR ADMISSION NO. 20:

           Please admit that Liquid Value maintains or maintained a place of business, office, facility

    or agency in Florida, or otherwise has physical operations in Florida. Please further admit that such

    “place of business, office, facility or agency in Florida” is or was Liquid Value’s principal office

    or place of business.

    REQUEST FOR ADMISSION NO. 21:

           Please admit that Sino Global Capital Management maintains a place of business, office,

    facility or agency in California, or otherwise has physical operations in California.

    REQUEST FOR ADMISSION NO. 22:

           Please admit that Liquid Value maintains or maintained a place of business, office, facility

    or agency in California, or otherwise has physical operations in California. Please further admit




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    that such “place of business, office, facility or agency in California” is or was Liquid Value’s

    principal office or place of business.

    REQUEST FOR ADMISSION NO. 23:

           Please admit that Matthew Graham owns or owned in whole or in part, whether directly or

    indirectly, You, Sino Global Capital Management, and Liquid Value.

    REQUEST FOR ADMISSION NO. 24:

           Please admit that Matthew Graham manages or managed—whether directly or indirectly—

    Your, Sino Global Capital Management’s, and Liquid Value’s operations.

                                         INTERROGATORIES

    INTERROGATORY NO. 1:

           If you responded to any of the foregoing Requests for Admission in any way other than an

    unequivocal admission, please set forth all facts to support each such response(s).

    INTERROGATORY NO. 2:

           Please identify all current and former owners of Sino Global Capital Limited, Sino Global

    Capital Holdings, LLC, Sino Global Capital Management, and Liquid Value, including the

    ownership percentage held by each owner identified in response to this Interrogatory No. 2.

    INTERROGATORY NO. 3:

           Please identify your, Sino Global Capital Management’s, and Liquid Value’s employees,

    executives, and directors. In doing so, please provide their home address(es), titles and descriptions

    of their role(s) with respect to Sino Global Capital Limited, Sino Global Capital Holdings, LLC,

    Sino Global Capital Management, and/or Liquid Value, their office address(es), their work phone

    number(s), and their work email address(es).




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    INTERROGATORY NO. 4:

           Please identify the entity that pays the salaries or any other compensation of the personnel

    listed in response to Interrogatory No. 4.

    INTERROGATORY NO. 5:

           Please identify the entity that pays the expenses and/or losses of Sino Global Capital

    Holdings, LLC.

    INTERROGATORY NO. 7:

           Please describe the business of, and how such business is conveyed to you, Sino Global

    Capital Management, and/or Liquid Value.

    INTERROGATORY NO. 8:

           Please identify the executives, directors, employees, and/or representatives of Sino Global

    Capital Holdings, LLC, Sino Global Capital Limited, Sino Global Capital Management, and/or

    Liquid Value who participated in responding to these discovery requests.

                                   REQUESTS FOR PRODUCTION

           1.      All workpapers, communications, and other documents concerning subscription

                   agreements, membership agreements, partnership agreements, and/or other

                   agreements between you and any of the FTX Entities, Alameda or any of the

                   Defendants relating to any of the FTX Entities and/or Alameda.

           2.      All communications between you, Sino Global Capital Management, and/or Liquid

                   Value and any of the FTX Entities, Alameda, or any of the Defendants concerning

                   any of the FTX Entities and/or Alameda.




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          3.   All communications between Matthew Graham and any executive, director,

               employee, agent, and/or representative of any of the FTX Entities, Alameda, North

               Dimension Inc., and/or LedgerX LLC.

          4.   All communications between Matthew Graham and Defendants and/or Defendants’

               executives, directors, employees, agents, and/or representatives.

          5.   All work papers, communications, and other documents concerning the Series B

               funding of FTX Trading, which closed in October 2021, including, but not limited

               to, offering memoranda, offering circulars, prospectuses, pitch decks, capitalization

               tables, diligence memoranda, reports, opinions, and other diligence materials

               concerning any of the FTX Entities and/or Alameda.

          6.   Documents evidencing wire transfers or other payments, or instructions related to

               the foregoing, for any payments (1) from you, Sino Global Capital Management,

               and/or Liquid Value to any of the FTX Entities and/or Alameda or (2) from any of

               the FTX Entities and/or Alameda to you, Sino Global Capital Management, and/or

               Liquid Value.

          7.   Documents and communications concerning your due diligence efforts undertaken

               by you or on your behalf in conjunction with potential or actual investments in or

               with FTX Entities and/or Alameda, whether such efforts were undertaken before

               the investment or following the investment in the form of continued monitoring,

               tracking, or management. Such documents and communications should include but

               not be limited to standard due diligence policies and/or checklists for your usual

               due diligence efforts, as well as all documents and communications specifically

               relating to or collected through your due diligence efforts undertaken with respect




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                to your actual investment(s) and/or any other potential investment(s) in FTX

                Entities and/or Alameda, or your Liquid Value funds.

          8.    Contracts for any legal services you, Sino Global Capital Management, and/or

                Liquid Value sought or obtained in relation to the FTX Entities and/or Alameda.

          9.    All work papers, communications, and other documents, concerning any

                investment by FTX Entities and/or Alameda in you, Sino Global Capital

                Management, Liquid Value, or in any other investment fund, limited partnership,

                or other business venture that you own, operate, or manage, including, but not

                limited to, offering memoranda, offering circulars, prospectuses, pitch decks,

                capitalization tables, diligence memoranda, reports, opinions, and other diligence

                materials concerning any of the FTX Entities and/or Alameda.

          10.   All work papers, communications, and other documents concerning Liquid Value,

                including, but not limited to offering memoranda, offering circulars, prospectuses,

                pitch decks, capitalization tables, diligence memoranda, reports, opinions, and any

                diligence materials concerning any of the FTX Entities and/or Alameda.

          11.   All “Relationship Documents,” including but not limited to, any side letters, that

                Liquid Value references in any proofs of claim (including, but not limited to, claim

                numbers 3132 and 3967) or supplements thereto that Liquid Value filed in the

                Bankruptcy Actions. This request specifically includes any amendments or

                alterations to those claims.

          12.   All work papers, communications, and other documents concerning your, Sino

                Global Capital Management’s, and/or Liquid Value’s membership and service on

                the board, including any advisory board, of any of the FTX Entities and/or




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                Alameda, including, but not limited to, agendas, presentations, and minutes of any

                and all meetings of such board.

          13.   All work papers, communications, and other documents concerning the

                membership and service on your, Sino Global Capital Management’s, and/or

                Liquid Value’s board, including any advisory board, by any of the FTX Entities

                and/or Alameda, including, but not limited to, agendas, presentations, and minutes

                of any and all meetings of such board.

          14.   All work papers, communications, and other documents concerning any of the FTX

                Entities and/or Alameda that were prepared or maintained in connection with,

                and/or referred to, your investments in, or any other potential investments in, loans

                to, or financing for any of the FTX Entities and/or Alameda.

          15.   All documents concerning any working group lists, or the names and contact

                information for all persons or entities, you received, prepared, or maintained in

                connection with your investments, or potential investments, in any of the FTX

                Entities and/or Alameda, including, but not limited to, persons in management

                (including, but not limited to, the chief executive officer, the chief financial officer,

                the chief compliance officer, the chief technology and/or information officer, the

                general counsel, presidents, executive vice presidents, vice presidents, and any

                others positions of management), directors, and/or other personnel involved in the

                Series A, Series B, Series B-1, Series C, and/or any other funding for, investment

                in, or potential investment in any of the FTX Entities and/or Alameda.

          16.   All documents and work papers concerning the operations of any of the FTX

                Entities and/or Alameda, including, but not limited to, operating pro formas, uses




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                and sources of cash and investment proceeds, investment portfolios, status reports,

                budgets, and/or presentations concerning the performance of any of the FTX

                Entities and/or Alameda, as well as, any market research, profitability analyses,

                evaluations, and/or other reports prepared by you or for you by any investment

                bankers, research analysts, management consultants and/or other professional.

          17.   All documents and work papers concerning the formation and corporate

                governance of any of the FTX Entities and/or Alameda, including, but not limited

                to, articles of incorporation, articles of formation, by-laws, membership

                agreements, partnership agreements, certificates of good standing, charters for any

                and all board committees, compliance policies, anti-corruption policies,

                whistleblower polices, policies relating to conflicts of interest, insider trading

                policies, related party transaction policies, and codes of ethics.

          18.   All documents and work papers concerning the implementation of accounting

                controls, financial controls, cash management controls and/or audit processes at any

                of the FTX Entities and/or Alameda, including, but not limited to audit committees,

                internal and/or external audits, audited and/or unaudited financial statements,

                general ledgers, policies and procedures concerning audits, asset allocation,

                liquidity forecasting, and disbursement controls, and other financial records for any

                of the FTX Entities and/or Alameda, and the engagement of, and services provided

                by, any accounting firm by and for any of the FTX Entities and/or Alameda,

                including, but not limited to Robert Lee & Associates, Prager Metis CPAs LLC

                and/or Armanino LLP.




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          19.   Any documents evidencing updates, progress reports, or similar with respect to (1)

                your investments in FTX Entities and/or Alameda and (2) FTX Entities’ and/or

                Alameda’s financials.

          20.   All documents and work papers concerning North Dimension Inc, including, but

                not limited to, its ownership, employees, business purpose, and operations.

          21.   All documents and work papers concerning LedgerX LLC, including, but not

                limited to, its ownership, employees, business purpose, and operations.

          22.   All communications with any representative, employee, or agent of LedgerX LLC.

          23.   All documents and work papers concerning any transactions and/or transfers of fiat,

                cryptocurrency, or other assets between any of the FTX Entities, Alameda, and/or

                any director, control person, and/or person in management (including, but not

                limited to, the chief executive officer, the chief financial officer, the chief

                compliance officer, the chief technology and/or information officer, the general

                counsel, presidents, executive vice presidents, vice presidents, and any others

                positions of management) of any of the FTX Entities and/or Alameda, including,

                but not limited to, disbursements, donations, gifts, bonuses and other compensation,

                capital contributions, promissory notes, inter-company agreements, service

                agreements, and loan agreements.

          24.   All documents and work papers concerning risk management controls—and any

                exemptions or alterations thereto for, but not limited to, Alameda—at any of the

                FTX Entities and/or Alameda, including, but not limited to, policies and procedures

                concerning investment diversification, cryptocurrency products and other digital

                assets, derivative products, and leverage, including, but not limited to, the purported




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                “risk engine” auto-liquidator and other protocols to prevent a user from becoming

                over-leveraged on any of the FTX Entities’ platforms and/or the FTX Entities’

                purported policy prohibiting any user from maintaining a negative balance on their

                platforms.

          25.   All documents and work papers concerning regulatory compliance at any of the

                FTX Entities and/or Alameda, including, but not limited to, campaign finance

                regulations, licensure of the FTX Entities and/or Alameda in the jurisdictions in

                which each operates, including, but not limited to, money transmitter licenses, and

                the regulation of cryptocurrencies, tokens, and other digital assets—including the

                yield-bearing accounts offered by the FTX Entities—as securities.

          26.   All documents and work papers concerning any charitable, political and/or

                campaign contribution by any of the FTX Entities, Alameda, and/or any director,

                control person, and/or person in management (including, but not limited to, the

                chief executive officer, the chief financial officer, the chief compliance officer, the

                chief technology and/or information officer, the general counsel, presidents,

                executive vice presidents, vice presidents, and any others positions of management)

                of any of the FTX Entities and/or Alameda.

          27.   All documents and work papers concerning any internal complaints, including, but

                not limited to, “whistleblower” complaints, litigation, administrative or regulatory

                proceedings, investigations or governmental actions involving any of the FTX

                Entities and/or Alameda.

          28.   All documents and work papers concerning the custody, and/or safeguarding, of

                customer funds, including fiat, cryptocurrencies, and other digital assets, by any of




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                the FTX Entities and/or Alameda, including, but not limited to, the labeling of

                customer accounts as “for the benefit of” (“FBO”) the customer, the segregation

                (or lack thereof) of customer funds from the FTX Entities’ operating accounts, the

                storage of customer funds in digital wallets on the FTX Entities’ platforms, and the

                ledgering and/or bookkeeping of those funds by any of the FTX Entities and/or

                Alameda.

          29.   All documents and work papers concerning the terms of service for any of the FTX

                Entities and use thereof by customers or investors.

          30.   All documents and work papers concerning FTT, including, but not limited to, FTT

                held by any of the FTX Entities and/or Alameda, and their use of FTT as collateral

                for loans and other transactions.

          31.   All documents and work papers concerning the real and tangible property held by

                any FTX Entity and/or Alameda, including, but not limited to, the location and use

                of such property, and any mortgages, deeds of trust, lease and/or security

                agreements for the properties, and transfers of such properties by, among, and

                between any FTX Entity, Alameda, and/or any director, control person, and/or

                person in management (including, but not limited to, the chief executive officer, the

                chief financial officer, the chief compliance officer, the chief technology and/or

                information officer, the general counsel, presidents, executive vice presidents, vice

                presidents, and any others positions of management) of any of the FTX Entities

                and/or Alameda.

          32.   All documents and work papers concerning the decision to post, preparation of any

                post, and posting on your website, social media platform, or any other public forum




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                of any statements concerning the FTX Entities, Alameda, any director, control

                person, or person in management (including, but not limited to, the chief executive

                officer, the chief financial officer, the chief compliance officer, the chief

                technology and/or information officer, the general counsel, presidents, executive

                vice presidents, vice presidents, and any others positions of management) of any of

                the FTX Entities and/or Alameda, and/or any of the Defendants.

          33.   All documents, work papers, and/or communications concerning the FTX Entities

                and/or Alameda you provided to or exchanged with:

                a.     Officers, directors, employees, and control persons of any of the FTX

                       Entities and/or Alameda, including, but not limited to, Samuel Bankman-

                       Fried, Caroline Ellison, Gary Wang, Nishad Singh, Constance Wang, Brett

                       Harrison, Sam Trabucco, Zach Dexter, Ryne Miller, Ryan Salame, Dan

                       Friedberg, and Ramnik Arora;

                b.     any actual or prospective customer of any of the FTX Entities and/or

                       Alameda and/or any actual or prospective investor in any of the FTX

                       Entities and/or Alameda; or

                c.     any of the Defendants.

          34.   To the extent not already produced in connection with any of the above requests,

                all work papers, communications, transcripts and/or recordings of any depositions,

                testimony, interviews, or statements you have provided concerning the FTX

                Entities and/or Alameda in any court, administrative proceedings, the Bankruptcy

                Actions, the Criminal Proceedings, or any other foreign or domestic forum or in

                response to any governmental agency request for discovery.




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          35.   All documents, communications, and work papers relating to fraud detection and

                anti-money laundering protection by you, including, but not limited to, policies,

                procedures, manuals, monitoring systems, including automated monitoring

                systems, even if generated by a third party, employed by you to detect, monitor,

                and/or prevent fraud, money laundering, and/or other misconduct by the companies

                and other entities in which you invest, including, but not limited to, Know Your

                Customer or Know Your Client (together, “KYC”) obligations, policies, procedures

                and compliance; Know Your Business (“KYB”) obligations, policies, procedures,

                and compliance; Ant-Money Laundering (“AML”) obligations, policies,

                procedures, and compliance; Customer Identification Program (“CIP”) obligations,

                policies, procedures, and compliance; Bank Secrecy Act (“BSA”) obligations,

                policies, procedures and compliance; risk management; and other due diligence.

          36.   All work papers, communications, and other documents concerning your decision

                to make the investment in the FTX Entities and/or Alameda, including but not

                limited to any meeting minutes, memoranda, or materials with respect to your

                internal committee or board discussions; and any meeting minutes, memoranda, or

                materials with respect to communications with Defendants.

          37.   Documents concerning any meetings between your directors, executives,

                employees, representatives, and/or agents and FTX’s directors, executives,

                employees, representatives, and/or agents. This request includes but is not limited

                to any expense reports and calendar entries related to any such meetings.

          38.   All workpapers, communications, and other documents concerning your hiring and

                employment of Constance Wang.




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          39.   Organizational charts for Sino Global Capital Limited, Sino Global Capital

                Holdings, Sino Global Capital Management, Liquid Value, Ryze Labs, and any

                other intermediate entities existing along the chain of ownership between or among

                the entities specifically named in this request and Matthew Graham or any other

                ultimate owner and/or shareholder.

          40.   All documents and work papers concerning your, Sino Global Capital

                Management’s, and/or Liquid Value’s formation and corporate governance,

                including, but not limited to, articles of incorporation, articles of formation, by-

                laws, membership agreements, partnership agreements, certificates of good

                standing, charters for any and all board committees, policies relating to conflicts of

                interest, insider trading policies, related party transaction policies, and codes of

                ethics.

          41.   Your, Sino Global Capital Management’s, and Liquid Value’s audited financial

                statements, including income statements, balance sheets and statements of cash

                flow, whether consolidated or unconsolidated.

          42.   Your, Sino Global Capital Management’s, and Liquid Value’s Federal and State (in

                whatever state they may be filed) tax returns and reporting information.

          43.   Documents concerning your, Sino Global Capital Management’s, and/or Liquid

                Value’s banking relationships in California and/or Florida.

          44.   All documents, work papers, or other discovery concerning any agreements or

                contracts between or among Sino Global Capital Limited, Sino Global Capital

                Holdings, LLC, Sino Global Capital Management, Liquid Value, and/or any owner




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                of the foregoing, including, but not limited to, intercompany agreements, lease-

                back agreements, and/or shared services agreement.

          45.   All documents, work papers, or other discovery concerning property, personnel, or

                equipment provided to or shared by Sino Global Capital Limited, Sino Global

                Capital Holdings, LCC, Sino Global Capital Management, and/or Liquid Value.

          46.   All documents, work papers, or other discovery concerning your, Sino Global

                Capital Management’s, and/or Liquid Value’s operations in the United States,

                including, but not limited to, any offices and personnel located in California and

                Florida.

          47.   All documents, work papers, or other discovery concerning any registration by you,

                Sino Global Capital Management, and/or Liquid Value to conduct business in

                Florida or California.

          48.   All documents, work papers, or other discovery concerning your, Sino Global

                Capital Management’s, and/or Liquid Value’s operating, conducting, engaging in,

                or carrying on a business or business venture in Florida or California.

          49.   All documents, work papers, or other discovery concerning any place of business,

                office, facility, agency, or office that you, Sino Global Capital Management, and/or

                Liquid Value maintain in Florida or California.

          50.   All documents, work papers, or other discovery concerning your, Sino Global

                Capital Management’s, and/or Liquid Value’s physical operations in Florida or

                California.




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          51.   All documents, work papers, or other discovery concerning your, Sino Global

                Capital Management’s, and/or Liquid Value’s business in, or soliciting business

                within, Florida or California.




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation




           PLAINTIFFS’ FIRST SET OF DISCOVERY REQUESTS TO DEFENDANT
                       SINO GLOBAL CAPITAL HOLDINGS, LLC

           Plaintiffs in the above-titled action, pursuant to Rules 26, 33 34, and 36 of the Federal

    Rules of Civil Procedure, and Local Rule 26.1 of the United States District Court for the Southern

    District of Florida, request that Defendant Sino Global Capital Holdings, LLC, respond to the

    enclosed Requests for Admission and Interrogatories and produce all documents, electronically

    stored information, and things that are in your possession, custody, or control requested in response

    to the following Requests for Production.

    Respectfully submitted on November ___, 2023


                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                            By: /s/ David Boies
     Adam M. Moskowitz                                 David Boies
     Florida Bar No. 984280                            Alex Boies
     Joseph M. Kaye                                    Brooke Alexander
     Florida Bar No. 117520                            BOIES SCHILLER FLEXNER LLP
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                               Plaintiffs’ Steering Committee Members

     Joseph R. Saveri                                 James R. Swanson
     JOSEPH SAVERI LAW FIRM                           Kerry J. Miller
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     Robert Lieff
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     rlieff@lieff.com




                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz
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                                            DEFINITIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

           1.     “Alameda” refers to Alameda Research LLC, including, but not limited to, its past

                  and present subsidiaries, affiliates, divisions, segments (including any mobile

                  application and/or web-based cryptocurrency investment services or trading

                  platform), predecessors (including acquired entities or lines of business), and/or

                  successors, which includes but is not limited to Alameda Ventures Ltd., and current

                  and prior partners, officers, directors, employees, representatives, agents or any

                  persons acting or purporting to act on behalf of the foregoing. No specific reference

                  to any of the foregoing in the following Requests, including any specific reference

                  to Samuel Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves

                  to limit the scope of any reference to Alameda herein.

           2.     “All/Each” and “And/Or” – The terms “all”, “each”, “and” and “or” shall be

                  construed as meaning either all or each as necessary, or conjunctively, to bring

                  within the scope of the discovery request all responses that might otherwise be

                  construed to be outside its scope.

           3.     “Bankruptcy Actions” refers to Case No. 22-11068 (JTD) (Jointly Administered)

                  pending in the United States Bankruptcy Court for the District of Delaware, and all

                  bankruptcy proceedings filed in or after November 2022 on behalf of any of the

                  FTX Entities and/or Alameda, and all adversary proceedings filed in connection

                  therewith.

           4.     “Communication” means, without limitation, the transmittal of information in the

                  form of facts, ideas, inquiries or otherwise, and whether orally or in writing, or by




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                  any other means or medium, including in person, electronically and/or by exchange

                  or communication of any document, and includes, without limitation,

                  correspondence, memoranda, reports, presentations, face-to-face conversations,

                  telephone conversations, text messages, instant messages, voice messages,

                  negotiations, Agreements, inquiries, understandings, meetings, letters, notes,

                  telegrams, mail, email, exchanges of recorded information, and postings of any

                  type. The term “Communication” includes instances where one party disseminates

                  information that the other party receives but does not respond to.

          5.      “Concerning” means relating to, referring to, describing, evidencing or

                  constituting.

          6.      “Control person” means a person (as defined herein) in direct or indirect possession

                  of the power to direct or cause the direction of the management and policies of a

                  person (as defined herein), whether through the ownership of voting securities, by

                  contract, or otherwise.

          7.      “Creditors” refers to all creditors in the Bankruptcy Actions, including, but not

                  limited to, any committees of such creditors.

               8. “Criminal Proceedings” refers to United States v. Sam Bankman-Fried, 1:22-CR-

                  00673 pending in the Southern District of New York, and all criminal proceedings

                  filed in or after November 2022 relating to the FTX Entities and/or Alameda.

          9.      “Debtors” refers to all FTX Entities and/or Alameda that have filed petitions for

                  bankruptcy protection in the Bankruptcy Actions. When referring to the FTX

                  Entities and/or Alameda in the Requests, the Requests cover the periods both prior

                  to, and after, their filing of any of the Bankruptcy Actions.




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          10.   “Defendants” refers to any and all persons and/or entities named as defendants in

                any of the actions consolidated with, and into, the above-captioned action. For

                purposes of these Requests, Defendants also includes Silvergate Capital

                Corporation (a/k/a Silvergate Bank) and Signature Bank.

          11.   “Document” refers to any written, printed, typed or other graphic matter, of any

                kind or nature, whether in hard copy or electronic format, whether the original,

                draft, or a copy and copies bearing notations or marks not found on the original,

                including, but not limited to, memoranda, reports, recommendations, notes, letters,

                envelopes, post-its, emails, text messages, instant messages (including, but not

                limited to, messages exchanged or sent using Slack, Teams, Discord, WhatsApp,

                Signal or any other similar application), transcripts, studies, analyses, tests, books,

                articles, minutes, agreements, contracts, and all other written communications, of

                any type, including inter and intra-office communications, questionnaires, surveys,

                charts, graphs, videos, photographs, tapes, voice messages or other recordings,

                print-outs or compilations from which information can be obtained or, if necessary,

                translated through detection devices into reasonably usable form, including all

                underlying or preparatory materials and drafts thereof. To the extent not already

                covered in the above definition, “Document” specifically includes any “writing”,

                “recording”, “photograph”, “original” or “duplicate” as defined in Rule 1001 of the

                Federal Rules of Evidence, and/or “Electronically Stored Information” within the

                full scope of Rule 34 of the Federal Rules of Civil Procedure and/or as further

                defined as “ESI” herein.




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          12.   “ESI” refers to Electronically Stored Information, as consistent with Rule 34 of the

                Federal Rules of Civil Procedure and includes all computer or electronically stored

                or generated data and information, including all attachments to and enclosures

                within any requested item, and all drafts thereof. ESI includes all information and

                documents stored in any format and on any storage media, including, but not limited

                to: internal and external storage devices, hard drives, flash drives; and magnetic

                tape, whether fixed, portable or removable, and ESI further includes, but is not

                limited to, electronic spreadsheets, electronic presentation documents, e-mail

                messages, text messages, message platforms (including, but not limited to, Slack,

                Teams, Discord, WhatsApp, Telegram, Messenger, Signal or any other similar

                platforms where chat messages are exchanged); image files; sound files; material

                or information stored in a database or accessible from a database (including, but

                not limited to, Salesforce, Azure Cloud, or SQL databases). Responsive ESI may

                also include data on social media websites (e.g., LinkedIn, Facebook, Twitter,

                Instagram, and internal intranet social media). To the extent that a document or ESI

                contains tracked changes, comments, or other hidden text, the document or ESI

                should be imaged with that hidden text displayed. ESI also includes all associated

                metadata that is maintained or saved (including for example, author, recipient, file

                creation date, file modification date, etc.). Metadata preservation includes

                preserving parent-child relationships within a document family (the association

                between an attachment and its parents’ document or between embedded documents

                and their parent). The entire document and attachments will be produced, except

                any attachments that may be withheld or redacted on the basis of any protection or




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                privilege, work product, or other applicable protection. Best efforts shall be made

                to ensure that the parent-child relationships within a document family (the

                association between an attachment and its parent document) are preserved and that

                such responsive child document(s) should be consecutively produced immediately

                after the responsive parent document.

          13.   “FTT” refers to the digital token created by the FTX Entities.

          14.   “FTX Entities” refers to FTX Trading and/or FTX US.

          15.   “FTX Trading” refers to FTX Trading Ltd. d/b/a FTX Trading, including, but not

                limited to, its past and present subsidiaries, affiliates, divisions, segments

                (including any mobile application and/or web-based cryptocurrency investment

                services or trading platform, such as FTX.com), predecessors (including acquired

                entities or lines of business such as Blockfolio, Inc.), successors, directors, officers,

                employees, representatives and/or agents. No specific reference to any of the

                foregoing in the following Requests, including any specific reference to Samuel

                Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                scope of any reference to FTX Trading herein.

          16.   “FTX US” refers to West Realm Shires Services Inc. d/b/a FTX US, including, but

                not limited to, its past and present subsidiaries, affiliates, divisions, segments

                (including any mobile application and/or web-based cryptocurrency investment

                services or platform, such as FTX.com), predecessors (including acquired entities

                or lines of business such as Blockfolio, Inc.), successors, directors, officers,

                employees, representatives and/or agents. No specific reference to any of the

                foregoing in the following Requests, including any specific reference to Samuel




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                Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                scope of any reference to FTX US herein.

          17.   “Liquidators” refers to all liquidators in the Bankruptcy Actions, including, but not

                limited to, the Joint Provisional Liquidators of FTX Digital Markets Ltd.

          18.   “Person” or “People” refers to any natural person(s) or any business, legal, or

                governmental entity (or entities) or association(s).

          19.   “Trustee” refers to the U.S. Trustee assigned in the Bankruptcy Actions, including

                any of the Trustee’s employee or agents, including any examiner appointed in the

                Bankruptcy Actions.

          20.   “Work Papers” refers to all documents, including drafts, organizational charts,

                spreadsheets, and other data, prepared, maintained and/or obtained by you

                concerning the planning, procedures performed, information obtained, and

                conclusions reached in connection with any investment, or potential investment, in

                any of the FTX Entities and/or Alameda. “Work Papers” also includes documents

                that you have in your possession, custody or control that were prepared, maintained

                and/or obtained by you concerning the FTX Entities and/or Alameda that were

                prepared or obtained from any of the FTX Entities and/or Alameda or any other

                persons or entities investing in or providing accounting, auditing, or consulting

                services to the FTX Entities and/or Alameda.

          21.   “You” or “Your” shall refer to the Defendant responding to these requests, its

                predecessors, successors, subsidiaries, departments divisions, and/or affiliates,

                including, but not limited to, any funds or other investment vehicles held by the

                Defendant responding or in which the Defendant responding is a member or other




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                owner, its international, national or local branches or offices, including, but not

                limited to Sino Global Capital Limited, Ryze Labs, and current and prior partners,

                officers, directors, employees, representatives, agents or any persons acting or

                purporting to act on behalf of the responding Defendant.

          22.   “Sino Global Capital Management” shall refer to Sino Global Capital Management

                LLC, its predecessors, successors, subsidiaries, departments divisions, and/or

                affiliates, any international, national or local branches or offices, and current and

                prior partners, officers, directors, employees, representatives, agents or any persons

                acting or purporting to act on its behalf.

          23.   “Liquid Value” shall refer to the fund(s) in which you were co-general partners

                with FTX Entities and/or Alameda and any funds related in any way thereto. It shall

                refer to Liquid Value Fund I LP; Liquid Value GP Limited; Liquid Value US Fund

                I LP; Liquid Value Offshore Feeder Fund I LP; and each of the foregoing’s

                predecessors, successors, subsidiaries, departments divisions, and/or affiliates, any

                international, national or local branches or offices, and current and prior partners,

                officers, directors, employees, representatives, agents or any persons acting or

                purporting to act on behalf of Liquid Value.

          24.   Whenever a reference to a business entity appears, the reference shall mean the

                business entity, its affiliated companies, partnerships, divisions, subdivisions,

                directors, officers, employees, agents, clients or other representatives of affiliated

                third parties.

          25.   Defined terms may or may not be capitalized or made uppercase; the given

                definitions apply even if a term in question is not capitalized or made uppercase.




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               No waiver of a definition is implied by the use of a defined term in a non-capitalized

               or lowercase form.




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                                           INSTRUCTIONS

          1.   Production of documents and items requested herein shall be made at the offices of

               The Moskowitz Law Firm, P.O. Box 653409, Miami, FL 33133, or via electronic

               mail to the email addresses provided in the signature blocks of the attorneys serving

               these requests.

          2.   Unless otherwise stated in a request, the time period for which you must respond is

               January 1, 2019, through the date of production.

          3.   Objections: Where an objection is made to any request, the objection shall state

               with specificity all grounds for the objection and respond to the Request to the

               extent it is not objectionable. Any ground not stated in an objection within the time

               provided by the Federal Rules of Civil Procedure, or by the Court’s order, or any

               extensions thereof, shall be waived.

          4.   These requests shall include all documents that are in your possession, custody or

               control or in the possession, custody or control of your present or former agents,

               representatives, or your attorneys, or any and all persons acting on your behalf, or

               your present or former agents, representatives, or attorneys.

          5.   For any document, or portion thereof, covered by a request that is withheld from

               production (or redacted in whole or in part) under claim of privilege, work product

               protection or any other basis, you shall provide the following information in the

               form of a privilege log:

               a.     the reasons and each and every fact supporting any withholding, and legal

                      basis for withholding the document including sufficient facts for the Court

                      to make a full determination as to whether the claim of privilege is valid;




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               b.     the date such document was prepared;

               c.     the names, employment positions and addresses of the author or preparers

                      of such document;

               d.     the names, employment positions, and the addresses of each person who

                      received such document;

               e.     the title, a brief description, and the subject matter of the document;

               f.     the number of the request under which such document would be produced

                      but for the objection; and

               g.     description of the subject matter sufficient to determine whether the

                      privilege is properly invoked (without revealing privileged information)

          6.   If any document responsive to a request has been destroyed, produce all documents

               describing or referencing:

               a.     the contents of the lost or destroyed document;

               b.     all locations in which any copy of the lost or destroyed document had been

                      maintained;

               c.     the date of such loss or destruction;

               d.     the name of each person who ordered, authorized, and carried out the

                      destruction of any responsive document;

               e.     all document retention and destruction policies in effect at the time any

                      requested document was destroyed; and

               f.     all efforts made to locate any responsive document alleged to have been

                      lost.

          7.   In producing the documents requested, indicate the specific request(s) pursuant to

               which document or group of documents is being produced.


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          8.    These requests should be deemed continuing such that if you, your directors,

                officers, employees, agents, representatives, or any person acting on your behalf,

                subsequently discover or obtain possession, custody, or control of any document or

                ESI previously requested or required to be produced, you should make a

                supplemental production of such document or ESI. Supplemental productions

                should be provided on a rolling basis as additional documents become available.

          9.    All documents that cannot be accurately represented in TIFF format (such as

                spreadsheets, computer slide presentations, audio files, video files, and other

                similar file types) shall be provided in native format. The parties will further meet

                and confer regarding appropriate format of production for databases and structured

                data (e.g., Microsoft Teams, Slack, Microsoft Access, Azure Cloud, Salesforce,

                Oracle, or other ephemeral messaging or proprietary database systems).

          10.   In responding to these Document Requests, you are to include Documents:

                a.     obtained from witnesses who gave information to any governmental agency

                       or investigatory body;

                b.     that constitute, or refer or relate to, summaries of testimony or other

                       statements in connection with any governmental agency or investigatory

                       body proceeding or investigation; or

                c.     obtained on your behalf by counsel in preparing for testimony or interviews

                       before any governmental agency or investigatory body.

          11.   All documents are to be produced in the following method if not produced in its

                Native Format:

                a.     Single page .TIFF images




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               b.    Color.jpg (documents wherein reflection of importance relies on color, shall

                     be produced in .jpg format)

               c.    Document level Text Files containing extracted full text or OCR text

               d.    Electronic documents, e-mails, text or instant messages are to be processed

                     and converted from the electronic format to single page tiff.




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                                    REQUESTS FOR ADMISSION

    REQUEST FOR ADMISSION NO. 1:

           Please admit that you are or were registered to conduct business in Florida.

    REQUEST FOR ADMISSION NO. 2:

           Please admit that Sino Global Capital Management is or was registered to conduct business

    in Florida.

    REQUEST FOR ADMISSION NO. 3:

           Please admit that Liquid Value is or was registered to conduct business in Florida.

    REQUEST FOR ADMISSION NO. 4:

           Please admit that Sino Global Capital Management is or was registered to conduct business

    in California.

    REQUEST FOR ADMISSION NO. 5:

           Please admit that Liquid Value is or was registered to conduct business in California.

    REQUEST FOR ADMISSION NO. 6:

           Please admit that you do or did operate, conduct, engage in, or carry on a business or

    business venture in Florida.

    REQUEST FOR ADMISSION NO. 7:

           Please admit that Sino Global Capital Management does or did operate, conduct, engage

    in, or carry on a business or business venture in Florida.

    REQUEST FOR ADMISSION NO. 8:

           Please admit that Liquid Value does or did operate, conduct, engage in, or carry on a

    business or business venture in Florida.




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    REQUEST FOR ADMISSION NO. 9:

           Please admit that Sino Global Capital Management does or did operate, conduct, engage

    in, or carry on a business or business venture in California.

    REQUEST FOR ADMISSION NO. 10:

           Please admit that Liquid Value does or did operate, conduct, engage in, or carry on a

    business or business venture in California.

    REQUEST FOR ADMISSION NO. 11:

           Please admit that you regularly conduct or conducted business in Florida.

    REQUEST FOR ADMISSION NO. 12:

           Please admit that Sino Global Capital Management regularly conducts or conducted

    business in Florida.

    REQUEST FOR ADMISSION NO. 13:

           Please admit that Liquid Value regularly conducts or conducted business in Florida.

    REQUEST FOR ADMISSION NO. 14:

           Please admit that Sino Global Capital Management regularly conducts or conducted

    business in California.

    REQUEST FOR ADMISSION NO. 15:

           Please admit that Liquid Value regularly conducts or conducted business in California.

    REQUEST FOR ADMISSION NO. 16:

           Please admit that the business that Sino Global Capital Management conducts or conducted

    in Florida and/or California relates at least in part to Plaintiffs’ factual allegations in their

    complaint (SD Fla. Case No. 23-md-3076, R. Doc. 182).




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    REQUEST FOR ADMISSION NO. 17:

           Please admit that the business that Liquid Value conducts or conducted in Florida and/or

    California relates at least in part to Plaintiffs’ factual allegations in their complaint (SD Fla. Case

    No. 23-md-3076, R. Doc. 182).

    REQUEST FOR ADMISSION NO. 18:

           Please admit that you maintain or maintained a place of business, office, facility or agency

    in Florida, or otherwise have physical operations in Florida.

    REQUEST FOR ADMISSION NO. 19:

           Please admit that Sino Global Capital Management maintains or maintained a place of

    business, office, facility or agency in Florida, or otherwise has physical operations in Florida.

    Please further admit that such “place of business, office, facility or agency in Florida” is or was

    Sino Global Capital Management’s principal office or place of business.

    REQUEST FOR ADMISSION NO. 20:

           Please admit that Liquid Value maintains or maintained a place of business, office, facility

    or agency in Florida, or otherwise has physical operations in Florida. Please further admit that such

    “place of business, office, facility or agency in Florida” is or was Liquid Value’s principal office

    or place of business.

    REQUEST FOR ADMISSION NO. 21:

           Please admit that Sino Global Capital Management maintains a place of business, office,

    facility or agency in California, or otherwise has physical operations in California.

    REQUEST FOR ADMISSION NO. 22:

           Please admit that Liquid Value maintains or maintained a place of business, office, facility

    or agency in California, or otherwise has physical operations in California. Please further admit




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    that such “place of business, office, facility or agency in California” is or was Liquid Value’s

    principal office or place of business.

    REQUEST FOR ADMISSION NO. 23:

           Please admit that Matthew Graham owns or owned in whole or in part, whether directly or

    indirectly, You, Sino Global Capital Management, and Liquid Value.

    REQUEST FOR ADMISSION NO. 24:

           Please admit that Matthew Graham manages or managed—whether directly or indirectly—

    Your, Sino Global Capital Management’s, and Liquid Value’s operations.

                                         INTERROGATORIES

    INTERROGATORY NO. 1:

           If you responded to any of the foregoing Requests for Admission in any way other than an

    unequivocal admission, please set forth all facts to support each such response(s).

    INTERROGATORY NO. 2:

           Please identify all current and former owners of Sino Global Capital Limited, Sino Global

    Capital Holdings, LLC, Sino Global Capital Management, and Liquid Value, including the

    ownership percentage held by each owner identified in response to this Interrogatory No. 2.

    INTERROGATORY NO. 3:

           Please identify your, Sino Global Capital Management’s, and Liquid Value’s employees,

    executives, and directors. In doing so, please provide their home address(es), titles and descriptions

    of their role(s) with respect to Sino Global Capital Limited, Sino Global Capital Holdings, LLC,

    Sino Global Capital Management, and/or Liquid Value, their office address(es), their work phone

    number(s), and their work email address(es).




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    INTERROGATORY NO. 4:

           Please identify the entity that pays the salaries or any other compensation of the personnel

    listed in response to Interrogatory No. 4.

    INTERROGATORY NO. 5:

           Please identify the entity that pays the expenses and/or losses of Sino Global Capital

    Holdings, LLC.

    INTERROGATORY NO. 7:

           Please describe the business of, and how such business is conveyed to you, Sino Global

    Capital Management, and/or Liquid Value.

    INTERROGATORY NO. 8:

           Please identify the executives, directors, employees, and/or representatives of Sino Global

    Capital Holdings, LLC, Sino Global Capital Limited, Sino Global Capital Management, and/or

    Liquid Value who participated in responding to these discovery requests.

                                   REQUESTS FOR PRODUCTION

           1.      All workpapers, communications, and other documents concerning subscription

                   agreements, membership agreements, partnership agreements, and/or other

                   agreements between you and any of the FTX Entities, Alameda or any of the

                   Defendants relating to any of the FTX Entities and/or Alameda.

           2.      All communications between you, Sino Global Capital Management, and/or Liquid

                   Value and any of the FTX Entities, Alameda, or any of the Defendants concerning

                   any of the FTX Entities and/or Alameda.




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          3.   All communications between Matthew Graham and any executive, director,

               employee, agent, and/or representative of any of the FTX Entities, Alameda, North

               Dimension Inc., and/or LedgerX LLC.

          4.   All communications between Matthew Graham and Defendants and/or Defendants’

               executives, directors, employees, agents, and/or representatives.

          5.   All work papers, communications, and other documents concerning the Series B

               funding of FTX Trading, which closed in October 2021, including, but not limited

               to, offering memoranda, offering circulars, prospectuses, pitch decks, capitalization

               tables, diligence memoranda, reports, opinions, and other diligence materials

               concerning any of the FTX Entities and/or Alameda.

          6.   Documents evidencing wire transfers or other payments, or instructions related to

               the foregoing, for any payments (1) from you, Sino Global Capital Management,

               and/or Liquid Value to any of the FTX Entities and/or Alameda or (2) from any of

               the FTX Entities and/or Alameda to you, Sino Global Capital Management, and/or

               Liquid Value.

          7.   Documents and communications concerning your due diligence efforts undertaken

               by you or on your behalf in conjunction with potential or actual investments in or

               with FTX Entities and/or Alameda, whether such efforts were undertaken before

               the investment or following the investment in the form of continued monitoring,

               tracking, or management. Such documents and communications should include but

               not be limited to standard due diligence policies and/or checklists for your usual

               due diligence efforts, as well as all documents and communications specifically

               relating to or collected through your due diligence efforts undertaken with respect




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                to your actual investment(s) and/or any other potential investment(s) in FTX

                Entities and/or Alameda, or your Liquid Value funds.

          8.    Contracts for any legal services you, Sino Global Capital Management, and/or

                Liquid Value sought or obtained in relation to the FTX Entities and/or Alameda.

          9.    All work papers, communications, and other documents, concerning any

                investment by FTX Entities and/or Alameda in you, Sino Global Capital

                Management, Liquid Value, or in any other investment fund, limited partnership,

                or other business venture that you own, operate, or manage, including, but not

                limited to, offering memoranda, offering circulars, prospectuses, pitch decks,

                capitalization tables, diligence memoranda, reports, opinions, and other diligence

                materials concerning any of the FTX Entities and/or Alameda.

          10.   All work papers, communications, and other documents concerning Liquid Value,

                including, but not limited to offering memoranda, offering circulars, prospectuses,

                pitch decks, capitalization tables, diligence memoranda, reports, opinions, and any

                diligence materials concerning any of the FTX Entities and/or Alameda.

          11.   All “Relationship Documents,” including but not limited to, any side letters, that

                Liquid Value references in any proofs of claim (including, but not limited to, claim

                numbers 3132 and 3967) or supplements thereto that Liquid Value filed in the

                Bankruptcy Actions. This request specifically includes any amendments or

                alterations to those claims.

          12.   All work papers, communications, and other documents concerning your, Sino

                Global Capital Management’s, and/or Liquid Value’s membership and service on

                the board, including any advisory board, of any of the FTX Entities and/or




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                Alameda, including, but not limited to, agendas, presentations, and minutes of any

                and all meetings of such board.

          13.   All work papers, communications, and other documents concerning the

                membership and service on your, Sino Global Capital Management’s, and/or

                Liquid Value’s board, including any advisory board, by any of the FTX Entities

                and/or Alameda, including, but not limited to, agendas, presentations, and minutes

                of any and all meetings of such board.

          14.   All work papers, communications, and other documents concerning any of the FTX

                Entities and/or Alameda that were prepared or maintained in connection with,

                and/or referred to, your investments in, or any other potential investments in, loans

                to, or financing for, any of the FTX Entities and/or Alameda.

          15.   All documents concerning any working group lists, or the names and contact

                information for all persons or entities, you received, prepared, or maintained in

                connection with your investments, or potential investments, in any of the FTX

                Entities and/or Alameda, including, but not limited to, persons in management

                (including, but not limited to, the chief executive officer, the chief financial officer,

                the chief compliance officer, the chief technology and/or information officer, the

                general counsel, presidents, executive vice presidents, vice presidents, and any

                others positions of management), directors, and/or other personnel involved in the

                Series A, Series B, Series B-1, Series C, and/or any other funding for, investment

                in, or potential investment in any of the FTX Entities and/or Alameda.

          16.   All documents and work papers concerning the operations of any of the FTX

                Entities and/or Alameda, including, but not limited to, operating pro formas, uses




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                and sources of cash and investment proceeds, investment portfolios, status reports,

                budgets, and/or presentations concerning the performance of any of the FTX

                Entities and/or Alameda, as well as, any market research, profitability analyses,

                evaluations, and/or other reports prepared by you or for you by any investment

                bankers, research analysts, management consultants and/or other professional.

          17.   All documents and work papers concerning the formation and corporate

                governance of any of the FTX Entities and/or Alameda, including, but not limited

                to, articles of incorporation, articles of formation, by-laws, membership

                agreements, partnership agreements, certificates of good standing, charters for any

                and all board committees, compliance policies, anti-corruption policies,

                whistleblower polices, policies relating to conflicts of interest, insider trading

                policies, related party transaction policies, and codes of ethics.

          18.   All documents and work papers concerning the implementation of accounting

                controls, financial controls, cash management controls and/or audit processes at any

                of the FTX Entities and/or Alameda, including, but not limited to audit committees,

                internal and/or external audits, audited and/or unaudited financial statements,

                general ledgers, policies and procedures concerning audits, asset allocation,

                liquidity forecasting, and disbursement controls, and other financial records for any

                of the FTX Entities and/or Alameda, and the engagement of, and services provided

                by, any accounting firm by and for any of the FTX Entities and/or Alameda,

                including, but not limited to Robert Lee & Associates, Prager Metis CPAs LLC

                and/or Armanino LLP.




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          19.   Any documents evidencing updates, progress reports, or similar with respect to (1)

                your investments in FTX Entities and/or Alameda and (2) FTX Entities’ and/or

                Alameda’s financials.

          20.   All documents and work papers concerning North Dimension Inc, including, but

                not limited to, its ownership, employees, business purpose, and operations.

          21.   All documents and work papers concerning LedgerX LLC, including, but not

                limited to, its ownership, employees, business purpose, and operations.

          22.   All communications with any representative, employee, or agent of LedgerX LLC.

          23.   All documents and work papers concerning any transactions and/or transfers of fiat,

                cryptocurrency, or other assets between any of the FTX Entities, Alameda, and/or

                any director, control person, and/or person in management (including, but not

                limited to, the chief executive officer, the chief financial officer, the chief

                compliance officer, the chief technology and/or information officer, the general

                counsel, presidents, executive vice presidents, vice presidents, and any others

                positions of management) of any of the FTX Entities and/or Alameda, including,

                but not limited to, disbursements, donations, gifts, bonuses and other compensation,

                capital contributions, promissory notes, inter-company agreements, service

                agreements, and loan agreements.

          24.   All documents and work papers concerning risk management controls—and any

                exemptions or alterations thereto for, but not limited to, Alameda—at any of the

                FTX Entities and/or Alameda, including, but not limited to, policies and procedures

                concerning investment diversification, cryptocurrency products and other digital

                assets, derivative products, and leverage, including, but not limited to, the purported




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                “risk engine” auto-liquidator and other protocols to prevent a user from becoming

                over-leveraged on any of the FTX Entities’ platforms and/or the FTX Entities’

                purported policy prohibiting any user from maintaining a negative balance on their

                platforms.

          25.   All documents and work papers concerning regulatory compliance at any of the

                FTX Entities and/or Alameda, including, but not limited to, campaign finance

                regulations, licensure of the FTX Entities and/or Alameda in the jurisdictions in

                which each operates, including, but not limited to, money transmitter licenses, and

                the regulation of cryptocurrencies, tokens, and other digital assets—including the

                yield-bearing accounts offered by the FTX Entities—as securities.

          26.   All documents and work papers concerning any charitable, political and/or

                campaign contribution by any of the FTX Entities, Alameda, and/or any director,

                control person, and/or person in management (including, but not limited to, the

                chief executive officer, the chief financial officer, the chief compliance officer, the

                chief technology and/or information officer, the general counsel, presidents,

                executive vice presidents, vice presidents, and any others positions of management)

                of any of the FTX Entities and/or Alameda.

          27.   All documents and work papers concerning any internal complaints, including, but

                not limited to, “whistleblower” complaints, litigation, administrative or regulatory

                proceedings, investigations or governmental actions involving any of the FTX

                Entities and/or Alameda.

          28.   All documents and work papers concerning the custody, and/or safeguarding, of

                customer funds, including fiat, cryptocurrencies, and other digital assets, by any of




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                the FTX Entities and/or Alameda, including, but not limited to, the labeling of

                customer accounts as “for the benefit of” (“FBO”) the customer, the segregation

                (or lack thereof) of customer funds from the FTX Entities’ operating accounts, the

                storage of customer funds in digital wallets on the FTX Entities’ platforms, and the

                ledgering and/or bookkeeping of those funds by any of the FTX Entities and/or

                Alameda.

          29.   All documents and work papers concerning the terms of service for any of the FTX

                Entities and use thereof by customers or investors.

          30.   All documents and work papers concerning FTT, including, but not limited to, FTT

                held by any of the FTX Entities and/or Alameda, and their use of FTT as collateral

                for loans and other transactions.

          31.   All documents and work papers concerning the real and tangible property held by

                any FTX Entity and/or Alameda, including, but not limited to, the location and use

                of such property, and any mortgages, deeds of trust, lease and/or security

                agreements for the properties, and transfers of such properties by, among, and

                between any FTX Entity, Alameda, and/or any director, control person, and/or

                person in management (including, but not limited to, the chief executive officer, the

                chief financial officer, the chief compliance officer, the chief technology and/or

                information officer, the general counsel, presidents, executive vice presidents, vice

                presidents, and any others positions of management) of any of the FTX Entities

                and/or Alameda.

          32.   All documents and work papers concerning the decision to post, preparation of any

                post, and posting on your website, social media platform, or any other public forum




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                of any statements concerning the FTX Entities, Alameda, any director, control

                person, or person in management (including, but not limited to, the chief executive

                officer, the chief financial officer, the chief compliance officer, the chief

                technology and/or information officer, the general counsel, presidents, executive

                vice presidents, vice presidents, and any others positions of management) of any of

                the FTX Entities and/or Alameda, and/or any of the Defendants.

          33.   All documents, work papers, and/or communications concerning the FTX Entities

                and/or Alameda you provided to or exchanged with:

                a.     Officers, directors, employees, and control persons of any of the FTX

                       Entities and/or Alameda, including, but not limited to, Samuel Bankman-

                       Fried, Caroline Ellison, Gary Wang, Nishad Singh, Constance Wang, Brett

                       Harrison, Sam Trabucco, Zach Dexter, Ryne Miller, Ryan Salame, Dan

                       Friedberg, and Ramnik Arora;

                b.     any actual or prospective customer of any of the FTX Entities and/or

                       Alameda and/or any actual or prospective investor in any of the FTX

                       Entities and/or Alameda; or

                c.     any of the Defendants.

          34.   To the extent not already produced in connection with any of the above requests,

                all work papers, communications, transcripts and/or recordings of any depositions,

                testimony, interviews, or statements you have provided concerning the FTX

                Entities and/or Alameda in any court, administrative proceedings, the Bankruptcy

                Actions, the Criminal Proceedings, or any other foreign or domestic forum or in

                response to any governmental agency request for discovery.




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          35.   All documents, communications, and work papers relating to fraud detection and

                anti-money laundering protection by you, including, but not limited to, policies,

                procedures, manuals, monitoring systems, including automated monitoring

                systems, even if generated by a third party, employed by you to detect, monitor,

                and/or prevent fraud, money laundering, and/or other misconduct by the companies

                and other entities in which you invest, including, but not limited to, Know Your

                Customer or Know Your Client (together, “KYC”) obligations, policies, procedures

                and compliance; Know Your Business (“KYB”) obligations, policies, procedures,

                and compliance; Ant-Money Laundering (“AML”) obligations, policies,

                procedures, and compliance; Customer Identification Program (“CIP”) obligations,

                policies, procedures, and compliance; Bank Secrecy Act (“BSA”) obligations,

                policies, procedures and compliance; risk management; and other due diligence.

          36.   All work papers, communications, and other documents concerning your decision

                to make the investment in the FTX Entities and/or Alameda, including but not

                limited to any meeting minutes, memoranda, or materials with respect to your

                internal committee or board discussions; and any meeting minutes, memoranda, or

                materials with respect to communications with Defendants.

          37.   Documents concerning any meetings between your directors, executives,

                employees, representatives, and/or agents and FTX’s directors, executives,

                employees, representatives, and/or agents. This request includes but is not limited

                to any expense reports and calendar entries related to any such meetings.

          38.   All workpapers, communications, and other documents concerning your hiring and

                employment of Constance Wang.




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          39.   Organizational charts for Sino Global Capital Limited, Sino Global Capital

                Holdings, Sino Global Capital Management, Liquid Value, Ryze Labs, and any

                other intermediate entities existing along the chain of ownership between or among

                the entities specifically named in this request and Matthew Graham or any other

                ultimate owner and/or shareholder.

          40.   All documents and work papers concerning your, Sino Global Capital

                Management’s, and/or Liquid Value’s formation and corporate governance,

                including, but not limited to, articles of incorporation, articles of formation, by-

                laws, membership agreements, partnership agreements, certificates of good

                standing, charters for any and all board committees, policies relating to conflicts of

                interest, insider trading policies, related party transaction policies, and codes of

                ethics.

          41.   Your, Sino Global Capital Management’s, and Liquid Value’s audited financial

                statements, including income statements, balance sheets and statements of cash

                flow, whether consolidated or unconsolidated.

          42.   Your, Sino Global Capital Management’s, and Liquid Value’s Federal and State (in

                whatever state they may be filed) tax returns and reporting information.

          43.   Documents concerning your, Sino Global Capital Management’s, and/or Liquid

                Value’s banking relationships in California and/or Florida.

          44.   All documents, work papers, or other discovery concerning any agreements or

                contracts between or among Sino Global Capital Limited, Sino Global Capital

                Holdings, LLC, Sino Global Capital Management, Liquid Value, and/or any owner




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                of the foregoing, including, but not limited to, intercompany agreements, lease-

                back agreements, and/or shared services agreement.

          45.   All documents, work papers, or other discovery concerning property, personnel, or

                equipment provided to or shared by Sino Global Capital Limited, Sino Global

                Capital Holdings, LCC, Sino Global Capital Management, and/or Liquid Value.

          46.   All documents, work papers, or other discovery concerning your, Sino Global

                Capital Management’s, and/or Liquid Value’s operations in the United States,

                including, but not limited to, any offices and personnel located in California and

                Florida.

          47.   All documents, work papers, or other discovery concerning any registration by you,

                Sino Global Capital Management, and/or Liquid Value to conduct business in

                Florida or California.

          48.   All documents, work papers, or other discovery concerning your, Sino Global

                Capital Management’s, and/or Liquid Value’s operating, conducting, engaging in,

                or carrying on a business or business venture in Florida or California.

          49.   All documents, work papers, or other discovery concerning any place of business,

                office, facility, agency, or office that you, Sino Global Capital Management, and/or

                Liquid Value maintain in Florida or California.

          50.   All documents, work papers, or other discovery concerning your, Sino Global

                Capital Management’s, and/or Liquid Value’s physical operations in Florida or

                California.




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          51.   All documents, work papers, or other discovery concerning your, Sino Global

                Capital Management’s, and/or Liquid Value’s business in, or soliciting business

                within, Florida or California.




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation




                   PLAINTIFFS’ FIRST SET OF DISCOVERY REQUESTS TO
                   DEFENDANT TEMASEK HOLDINGS (PRIVATE) LIMITED

           Plaintiffs in the above-titled action, pursuant to Rules 26, 33, and 34 of the Federal Rules

    of Civil Procedure, and Local Rule 26.1 of the United States District Court for the Southern District

    of Florida, request that Defendant Temasek Holdings (Private) Limited, respond to the enclosed

    Interrogatories and produce all documents, electronically stored information, and things that are

    in your possession, custody, or control requested in response to the following Requests for

    Production.



    Respectfully submitted on November ___, 2023


                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                            By: /s/ David Boies
     Adam M. Moskowitz                                 David Boies
     Florida Bar No. 984280                            Alex Boies
     Joseph M. Kaye                                    Brooke Alexander
     Florida Bar No. 117520                            BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                      333 Main Street
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                               Plaintiffs’ Steering Committee Members

     Joseph R. Saveri                                 James R. Swanson
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                                                      kmiller@fishmanhaygood.com


     Robert Lieff
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     Rutherford, CA 94573
     rlieff@lieff.com




                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz
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                                            DEFINITIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

           1.     “Alameda” refers to Alameda Research LLC, including, but not limited to, its past

                  and present subsidiaries, affiliates, divisions, segments (including any mobile

                  application and/or web-based cryptocurrency investment services or trading

                  platform), predecessors (including acquired entities or lines of business),

                  successors, directors, officers, employees, representatives and/or agents. No

                  specific reference to any of the foregoing in the following Requests, including any

                  specific reference to Samuel Bankman-Fried, Caroline Ellison, Gary Wang, or

                  Nishad Singh, serves to limit the scope of any reference to Alameda herein.

           2.     “All/Each” and “And/Or” – The terms “all”, “each”, “and” and “or” shall be

                  construed as meaning either all or each as necessary, or conjunctively, to bring

                  within the scope of the discovery request all responses that might otherwise be

                  construed to be outside its scope.

           3.     “Bankruptcy Actions” refers to Case No. 22-11068 (JTD) (Jointly Administered)

                  pending in the United States Bankruptcy Court for the District of Delaware, and all

                  bankruptcy proceedings filed in or after November 2022 on behalf of any of the

                  FTX Entities and/or Alameda, and all adversary proceedings filed in connection

                  therewith.

           4.     “Communication” means, without limitation, the transmittal of information in the

                  form of facts, ideas, inquiries or otherwise, and whether orally or in writing, or by

                  any other means or medium, including in person, electronically and/or by exchange

                  or communication of any document, and includes, without limitation,




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                correspondence, memoranda, reports, presentations, face-to-face conversations,

                telephone conversations, text messages, instant messages, voice messages,

                negotiations, Agreements, inquiries, understandings, meetings, letters, notes,

                telegrams, mail, email, exchanges of recorded information, and postings of any

                type. The term “Communication” includes instances where one party disseminates

                information that the other party receives but does not respond to.

          5.    “Concerning” means relating to, referring to, describing, evidencing or

                constituting.

          6.    “Control person” means a person (as defined herein) in direct or indirect possession

                of the power to direct or cause the direction of the management and policies of a

                person (as defined herein), whether through the ownership of voting securities, by

                contract, or otherwise.

          7.    “Creditors” refers to all creditors in the Bankruptcy Actions, including, but not

                limited to, any committees of such creditors.

          8.    “Criminal Proceedings” refers to United States v. Sam Bankman-Fried, 1:22-CR-

                00673 pending in the Southern District of New York, and all criminal proceedings

                filed in or after November 2022 relating to the FTX Entities and/or Alameda.

          9.    “Debtors” refers to all FTX Entities and/or Alameda that have filed petitions for

                bankruptcy protection in the Bankruptcy Actions. When referring to the FTX

                Entities and/or Alameda in the Requests, the Requests cover the periods both prior

                to, and after, their filing of any of the Bankruptcy Actions.

          10.   “Defendants” refers to any and all persons and/or entities named as defendants in

                any of the actions consolidated with, and into, the above-captioned action. For




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                purposes of these Requests, Defendants also includes Silvergate Capital

                Corporation (a/k/a Silvergate Bank) and Signature Bank.

          11.   “Document” refers to any written, printed, typed or other graphic matter, of any

                kind or nature, whether in hard copy or electronic format, whether the original,

                draft, or a copy and copies bearing notations or marks not found on the original,

                including, but not limited to, memoranda, reports, recommendations, notes, letters,

                envelopes, post-its, emails, text messages, instant messages (including, but not

                limited to, messages exchanged or sent using Slack, Teams, Discord, WhatsApp,

                Signal or any other similar application), transcripts, studies, analyses, tests, books,

                articles, minutes, agreements, contracts, and all other written communications, of

                any type, including inter and intra-office communications, questionnaires, surveys,

                charts, graphs, videos, photographs, tapes, voice messages or other recordings,

                print-outs or compilations from which information can be obtained or, if necessary,

                translated through detection devices into reasonably usable form, including all

                underlying or preparatory materials and drafts thereof. To the extent not already

                covered in the above definition, “Document” specifically includes any “writing”,

                “recording”, “photograph”, “original” or “duplicate” as defined in Rule 1001 of the

                Federal Rules of Evidence, and/or “Electronically Stored Information” within the

                full scope of Rule 34 of the Federal Rules of Civil Procedure and/or as further

                defined as “ESI” herein.

          12.   “ESI” refers to Electronically Stored Information, as consistent with Rule 34 of the

                Federal Rules of Civil Procedure and includes all computer or electronically stored

                or generated data and information, including all attachments to and enclosures




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               within any requested item, and all drafts thereof. ESI includes all information and

               documents stored in any format and on any storage media, including, but not limited

               to: internal and external storage devices, hard drives, flash drives; and magnetic

               tape, whether fixed, portable or removable, and ESI further includes, but is not

               limited to, electronic spreadsheets, electronic presentation documents, e-mail

               messages, text messages, message platforms (including, but not limited to, Slack,

               Teams, Discord, WhatsApp, Telegram, Messenger, Signal or any other similar

               platforms where chat messages are exchanged); image files; sound files; material

               or information stored in a database or accessible from a database (including, but

               not limited to, Salesforce, Azure Cloud, or SQL databases). Responsive ESI may

               also include data on social media websites (e.g., LinkedIn, Facebook, Twitter,

               Instagram, and internal intranet social media). To the extent that a document or ESI

               contains tracked changes, comments, or other hidden text, the document or ESI

               should be imaged with that hidden text displayed. ESI also includes all associated

               metadata that is maintained or saved (including for example, author, recipient, file

               creation date, file modification date, etc.). Metadata preservation includes

               preserving parent-child relationships within a document family (the association

               between an attachment and its parents’ document or between embedded documents

               and their parent). The entire document and attachments will be produced, except

               any attachments that may be withheld or redacted on the basis of any protection or

               privilege, work product, or other applicable protection. Best efforts shall be made

               to ensure that the parent-child relationships within a document family (the

               association between an attachment and its parent document) are preserved and that




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                such responsive child document(s) should be consecutively produced immediately

                after the responsive parent document.

          13.   “FTT” refers to the digital token created by the FTX Entities.

          14.   “FTX Entities” refers to FTX Trading and/or FTX US.

          15.   “FTX Trading” refers to FTX Trading Ltd. d/b/a FTX Trading, including, but not

                limited to, its past and present subsidiaries, affiliates, divisions, segments

                (including any mobile application and/or web-based cryptocurrency investment

                services or trading platform, such as FTX.com), predecessors (including acquired

                entities or lines of business such as Blockfolio, Inc.), successors, directors, officers,

                employees, representatives and/or agents. No specific reference to any of the

                foregoing in the following Requests, including any specific reference to Samuel

                Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                scope of any reference to FTX Trading herein.

          16.   “FTX US” refers to West Realm Shires Services Inc. d/b/a FTX US, including, but

                not limited to, its past and present subsidiaries, affiliates, divisions, segments

                (including any mobile application and/or web-based cryptocurrency investment

                services or platform, such as FTX.com), predecessors (including acquired entities

                or lines of business such as Blockfolio, Inc.), successors, directors, officers,

                employees, representatives and/or agents. No specific reference to any of the

                foregoing in the following Requests, including any specific reference to Samuel

                Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                scope of any reference to FTX US herein.




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          17.   “LedgerX LLC” refers to LedgerX LLC d/b/a FTX US Derivatives or FTX

                Derivatives.

          18.   “Liquidators” refers to all liquidators in the Bankruptcy Actions, including, but not

                limited to, the Joint Provisional Liquidators of FTX Digital Markets Ltd.

          19.   “Person” or “People” refers to any natural person(s) or any business, legal, or

                governmental entity (or entities) or association(s).

          20.   “Trustee” refers to the U.S. Trustee assigned in the Bankruptcy Actions, including

                any of the Trustee’s employee or agents, including any examiner appointed in the

                Bankruptcy Actions.

          21.   “Work Papers” refers to all documents, including drafts, organizational charts,

                spreadsheets, and other data, prepared, maintained and/or obtained by you

                concerning the planning, procedures performed, information obtained, and

                conclusions reached in connection with any investment, or potential investment, in

                any of the FTX Entities and/or Alameda. “Work Papers” also includes documents

                that you have in your possession, custody or control that were prepared, maintained

                and/or obtained by you concerning the FTX Entities and/or Alameda that were

                prepared or obtained from any of the FTX Entities and/or Alameda or any other

                persons or entities investing in or providing accounting, auditing, or consulting

                services to the FTX Entities and/or Alameda.

          22.   “You” or “Your” shall refer to the Defendant responding to these requests, its

                predecessors, successors, subsidiaries, departments divisions, and/or affiliates,

                including, but not limited to, any funds or other investment vehicles held by the

                Defendant responding or in which the Defendant responding is a member or other




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                owner, its international, national or local branches or offices, including, but not

                limited to Temasek International (USA) LLC, Artz Fund Investments Pte. Ltd.,

                and/or Temasek International Pte. Ltd. and current and prior partners, officers,

                directors, employees, representatives, agents or any persons acting or purporting to

                act on behalf of the responding Defendant.

          23.   Whenever a reference to a business entity appears, the reference shall mean the

                business entity, its affiliated companies, partnerships, divisions, subdivisions,

                directors, officers, employees, agents, clients or other representatives of affiliated

                third parties.

          24.   Defined terms may or may not be capitalized or made uppercase; the given

                definitions apply even if a term in question is not capitalized or made uppercase.

                No waiver of a definition is implied by the use of a defined term in a non-capitalized

                or lowercase form.




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                                           INSTRUCTIONS

          1.   Production of documents and items requested herein shall be made at the offices of

               The Moskowitz Law Firm, P.O. Box 653409, Miami, FL 33133, or via electronic

               mail to the email addresses provided in the signature blocks of the attorneys serving

               these requests.

          2.   Unless otherwise stated in a request, the time period for which you must respond is

               January 1, 2019, through the date of production.

          3.   Objections: Where an objection is made to any request, the objection shall state

               with specificity all grounds for the objection and respond to the Request to the

               extent it is not objectionable. Any ground not stated in an objection within the time

               provided by the Federal Rules of Civil Procedure, or by the Court’s order, or any

               extensions thereof, shall be waived.

          4.   These requests shall include all documents that are in your possession, custody or

               control or in the possession, custody or control of your present or former agents,

               representatives, or your attorneys, or any and all persons acting on your behalf, or

               your present or former agents, representatives, or attorneys.

          5.   For any document, or portion thereof, covered by a request that is withheld from

               production (or redacted in whole or in part) under claim of privilege, work product

               protection or any other basis, you shall provide the following information in the

               form of a privilege log:

               a.     the reasons and each and every fact supporting any withholding, and legal

                      basis for withholding the document including sufficient facts for the Court

                      to make a full determination as to whether the claim of privilege is valid;




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               b.     the date such document was prepared;

               c.     the names, employment positions and addresses of the author or preparers

                      of such document;

               d.     the names, employment positions, and the addresses of each person who

                      received such document;

               e.     the title, a brief description, and the subject matter of the document;

               f.     the number of the request under which such document would be produced

                      but for the objection; and

               g.     description of the subject matter sufficient to determine whether the

                      privilege is properly invoked (without revealing privileged information)

          6.   If any document responsive to a request has been destroyed, produce all documents

               describing or referencing:

               a.     the contents of the lost or destroyed document;

               b.     all locations in which any copy of the lost or destroyed document had been

                      maintained;

               c.     the date of such loss or destruction;

               d.     the name of each person who ordered, authorized, and carried out the

                      destruction of any responsive document;

               e.     all document retention and destruction policies in effect at the time any

                      requested document was destroyed; and

               f.     all efforts made to locate any responsive document alleged to have been

                      lost.

          7.   In producing the documents requested, indicate the specific request(s) pursuant to

               which document or group of documents is being produced.


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          8.    These requests should be deemed continuing such that if you, your directors,

                officers, employees, agents, representatives, or any person acting on your behalf,

                subsequently discover or obtain possession, custody, or control of any document or

                ESI previously requested or required to be produced, you should make a

                supplemental production of such document or ESI. Supplemental productions

                should be provided on a rolling basis as additional documents become available.

          9.    All documents that cannot be accurately represented in TIFF format (such as

                spreadsheets, computer slide presentations, audio files, video files, and other

                similar file types) shall be provided in native format. The parties will further meet

                and confer regarding appropriate format of production for databases and structured

                data (e.g., Microsoft Teams, Slack, Microsoft Access, Azure Cloud, Salesforce,

                Oracle, or other ephemeral messaging or proprietary database systems).

          10.   In responding to these Document Requests, you are to include Documents:

                a.     obtained from witnesses who gave information to any governmental agency

                       or investigatory body;

                b.     that constitute, or refer or relate to, summaries of testimony or other

                       statements in connection with any governmental agency or investigatory

                       body proceeding or investigation; or

                c.     obtained on your behalf by counsel in preparing for testimony or interviews

                       before any governmental agency or investigatory body.

          11.   All documents are to be produced in the following method if not produced in its

                Native Format:

                a.     Single page .TIFF images




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               b.    Color.jpg (documents wherein reflection of importance relies on color, shall

                     be produced in .jpg format)

               c.    Document level Text Files containing extracted full text or OCR text

               d.    Electronic documents, e-mails, text or instant messages are to be processed

                     and converted from the electronic format to single page tiff.




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                                         INTERROGATORIES

    INTERROGATORY NO. 1:

           Please identify all current and former owners of Temasek International USA LLC,

    Temasek Holdings Private Limited, Artz Fund Investments Pte. Ltd., and/or Temasek International

    Pte. Ltd., including the ownership percentage held by each owner identified in response to this

    Interrogatory No. 1.

    INTERROGATORY NO. 2:

           Please identify the directors on the boards of Temasek International USA LLC, Temasek

    Holdings Private Limited, Artz Fund Investments Pte. Ltd., and/or Temasek International Pte. Ltd.

    INTERROGATORY NO. 3:

           Please identify the directors, executives, employees, representatives, and/or agents of

    Temasek International USA LLC, Temasek Holdings Private Limited, Artz Fund Investments Pte.

    Ltd., Temasek International Pte. Ltd., and/or any other Temasek-affiliated entity having any role

    with respect to the decision to invest in FTX, any due diligence involved in such decision,

    negotiations related to the investment in FTX, the actual investment in FTX, and/or any ongoing

    monitoring of FTX in the wake of the investment. In doing so, please provide their home

    address(es), titles and descriptions of their role(s) with respect to the Temasek-affiliated entity in

    question, their office address(es), their work phone number(s), and their work email address(es).

    INTERROGATORY NO. 4:

           Please identify the entity that pays the salaries or any other compensation of the personnel

    listed in response to Interrogatory No. 3.




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    INTERROGATORY NO. 5:

           Please identify the entity that pays the expenses and/or losses of Temasek International

    USA LLC, Temasek Holdings Private Limited, Artz Fund Investments Pte. Ltd., and/or Temasek

    International Pte. Ltd.

    INTERROGATORY NO. 6:

           Please describe the business of, and how such business is conveyed to, Temasek

    International USA LLC, Temasek Holdings Private Limited, Artz Fund Investments Pte. Ltd.,

    and/or Temasek International Pte. Ltd.

    INTERROGATORY NO. 7:

           Please identify the executives, directors, employees, and/or representatives of Temasek

    International USA LLC, Temasek Holdings Private Limited, Artz Fund Investments Pte. Ltd.,

    and/or Temasek International Pte. Ltd. who participated in responding to these discovery requests.

                                  REQUESTS FOR PRODUCTION

           1.      All workpapers, communications, and other documents concerning subscription

                   agreements, membership agreements, partnership agreements, and/or other

                   agreements between you and any of the FTX Entities, Alameda or any of the

                   Defendants relating to any of the FTX Entities and/or Alameda.

           2.      All communications between you and any of the FTX Entities, Alameda, or any of

                   the Defendants concerning any of the FTX Entities and/or Alameda.

           3.      All work papers, communications, and other documents concerning the Series B

                   and B-1 funding of FTX Trading, which closed in October 2021, including, but not

                   limited to, offering memoranda, offering circulars, prospectuses, pitch decks,




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               capitalization tables, diligence memoranda, reports, opinions, and other diligence

               materials concerning any of the FTX Entities and/or Alameda.

          4.   All work papers, communications, and other documents concerning the Series C

               funding of FTX Trading, which closed in January 2022, including, but not limited

               to, offering memoranda, offering circulars, prospectuses, pitch decks, capitalization

               tables, diligence memoranda, reports, opinions, and other diligence materials

               concerning any of the FTX Entities and/or Alameda.

          5.   All work papers, communications, and other documents concerning the Series A

               funding of FTX US, which closed in January 2022, including, but not limited to,

               offering memoranda, offering circulars, prospectuses, pitch decks, capitalization

               tables, diligence memoranda, reports, opinions, and other diligence materials

               concerning any of the FTX Entities and/or Alameda.

          6.   Documents evidencing wire transfers or other payments, or instructions related to

               the foregoing, for any payments from you to any of the FTX Entities and/or

               Alameda or from any of the FTX Entities and/or Alameda to you.

          7.   Documents and communications concerning your due diligence efforts undertaken

               by you or on your behalf in conjunction with potential or actual investments in or

               with FTX Entities and/or Alameda, whether such efforts were undertaken before

               the investment or following the investment in the form of continued monitoring,

               tracking, or management.

          8.   Contracts for any legal services you sought or obtained in relation to the FTX

               Entities and/or Alameda.




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          9.    All work papers, communications, and other documents concerning your

                membership and service on the board, including any advisory board, of any of the

                FTX Entities and/or Alameda, including, but not limited to, calendar entries,

                agendas, presentations, and minutes of any and all meetings of such board.

          10.   All work papers, communications, and other documents concerning the

                membership and service on your board, including any advisory board, by any of

                the FTX Entities and/or Alameda, including, but not limited to, agendas,

                presentations, and minutes of any and all meetings of such board.

          11.   All work papers, communications, and other documents concerning any of the FTX

                Entities and/or Alameda that were prepared or maintained in connection with,

                and/or referred to, your investments in, or any other potential investments in, loans

                to, or financings for, any of the FTX Entities and/or Alameda.

          12.   All documents concerning any working group lists, or the names and contact

                information for all persons or entities, you received, prepared, or maintained in

                connection with your investments, or potential investments, in any of the FTX

                Entities and/or Alameda, including, but not limited to, persons in management

                (including, but not limited to, the chief executive officer, the chief financial officer,

                the chief compliance officer, the chief technology and/or information officer, the

                general counsel, presidents, executive vice presidents, vice presidents, and any

                others positions of management), directors, and/or other personnel involved in the

                Series A, Series B, Series B-1, Series C, and/or any other funding for, investment

                in, or potential investment in any of the FTX Entities and/or Alameda.




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          13.   All documents and work papers concerning the operations of any of the FTX

                Entities and/or Alameda, including, but not limited to, operating pro formas, uses

                and sources of cash and investment proceeds, investment portfolios, status reports,

                budgets, and/or presentations concerning the performance of any of the FTX

                Entities and/or Alameda, as well as, any market research, profitability analyses,

                evaluations, and/or other reports prepared by you or for you by any investment

                bankers, research analysts, management consultants and/or other professional.

          14.   All documents and work papers concerning the formation and corporate

                governance of any of the FTX Entities and/or Alameda, including, but not limited

                to, articles of incorporation, articles of formation, by-laws, membership

                agreements, partnership agreements, certificates of good standing, charters for any

                and all board committees, compliance policies, anti-corruption policies,

                whistleblower polices, policies relating to conflicts of interest, insider trading

                policies, related party transaction policies, and codes of ethics.

          15.   All documents and work papers concerning the implementation of accounting

                controls, financial controls, cash management controls and/or audit processes at any

                of the FTX Entities and/or Alameda, including, but not limited to audit committees,

                internal and/or external audits, audited and/or unaudited financial statements,

                general ledgers, policies and procedures concerning audits, asset allocation,

                liquidity forecasting, and disbursement controls, and other financial records for any

                of the FTX Entities and/or Alameda, and the engagement of, and services provided

                by, any accounting firm by and for any of the FTX Entities and/or Alameda,




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                including, but not limited to Robert Lee & Associates, Prager Metis CPAs LLC

                and/or Armanino LLP.

          16.   Any documents evidencing updates, progress reports, or similar with respect to (1)

                your investments in FTX Entities and/or Alameda and (2) FTX Entities’ and/or

                Alameda’s financials.

          17.   All documents and work papers concerning North Dimension Inc, including, but

                not limited to, its ownership, employees, business purpose, and operations.

          18.   All documents and work papers concerning LedgerX LLC, including, but not

                limited to, its ownership, employees, business purpose, and operations.

          19.   All communications with any representative, employee, or agent of LedgerX LLC.

          20.   All documents and work papers concerning any transactions and/or transfers of fiat,

                cryptocurrency, or other assets between any of the FTX Entities, Alameda, and/or

                any director, control person, and/or person in management (including, but not

                limited to, the chief executive officer, the chief financial officer, the chief

                compliance officer, the chief technology and/or information officer, the general

                counsel, presidents, executive vice presidents, vice presidents, and any others

                positions of management) of any of the FTX Entities and/or Alameda, including,

                but not limited to, disbursements, donations, gifts, bonuses and other compensation,

                capital contributions, promissory notes, inter-company agreements, service

                agreements, and loan agreements.

          21.   All documents and work papers concerning risk management controls—and any

                exemptions or alterations thereto for, but not limited to, Alameda—at any of the

                FTX Entities and/or Alameda, including, but not limited to, policies and procedures




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                concerning investment diversification, cryptocurrency products and other digital

                assets, derivative products, and leverage, including, but not limited to, the purported

                “risk engine” auto-liquidator and other protocols to prevent a user from becoming

                over-leveraged on any of the FTX Entities’ platforms and/or the FTX Entities’

                purported policy prohibiting any user from maintaining a negative balance on their

                platforms.

          22.   All documents and work papers concerning regulatory compliance at any of the

                FTX Entities and/or Alameda, including, but not limited to, campaign finance

                regulations, licensure of the FTX Entities and/or Alameda in the jurisdictions in

                which each operates, including, but not limited to, money transmitter licenses, and

                the regulation of cryptocurrencies, tokens, and other digital assets—including the

                yield-bearing accounts offered by the FTX Entities—as securities.

          23.   All documents and work papers concerning any charitable, political and/or

                campaign contribution by any of the FTX Entities, Alameda, and/or any director,

                control person, and/or person in management (including, but not limited to, the

                chief executive officer, the chief financial officer, the chief compliance officer, the

                chief technology and/or information officer, the general counsel, presidents,

                executive vice presidents, vice presidents, and any others positions of management)

                of any of the FTX Entities and/or Alameda.

          24.   All documents and work papers concerning any internal complaints, including, but

                not limited to, “whistleblower” complaints, litigation, administrative or regulatory

                proceedings, investigations or governmental actions involving any of the FTX

                Entities and/or Alameda.




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          25.   All documents and work papers concerning the custody, and/or safeguarding, of

                customer funds, including fiat, cryptocurrencies, and other digital assets, by any of

                the FTX Entities and/or Alameda, including, but not limited to, the labeling of

                customer accounts as “for the benefit of” (“FBO”) the customer, the segregation

                (or lack thereof) of customer funds from the FTX Entities’ operating accounts, the

                storage of customer funds in digital wallets on the FTX Entities’ platforms, and the

                ledgering and/or bookkeeping of those funds by any of the FTX Entities and/or

                Alameda.

          26.   All documents and work papers concerning the terms of service for any of the FTX

                Entities and use thereof by customers or investors.

          27.   All documents and work papers concerning FTT, including, but not limited to, FTT

                held by any of the FTX Entities and/or Alameda, and their use of FTT as collateral

                for loans and other transactions.

          28.   All documents and work papers concerning the real and tangible property held by

                any FTX Entity and/or Alameda, including, but not limited to, the location and use

                of such property, and any mortgages, deeds of trust, lease and/or security

                agreements for the properties, and transfers of such properties by, among, and

                between any FTX Entity, Alameda, and/or any director, control person, and/or

                person in management (including, but not limited to, the chief executive officer, the

                chief financial officer, the chief compliance officer, the chief technology and/or

                information officer, the general counsel, presidents, executive vice presidents, vice

                presidents, and any others positions of management) of any of the FTX Entities

                and/or Alameda.




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          29.    All documents relating to your “interactions” with Sam Bankman-Fried and others

                 affiliated with FTX Entities, Alameda, North Dimension Inc., and/or LedgerX LLC

                 as referenced by you on your website. See Temasek, “FTX Statement and FAQs”

                 (26 November 2022), available at https://www.temasek.com.sg/en/news-and-

                 resources/news-room/statements/2022/statement-FTX (last visited October 11,

                 2023).

          30.    All documents and work papers concerning the “qualitative feedback” you gathered

                 from “people familiar with the company, including industry employees, industry

                 participants, and other investors” concerning any of the FTX Entities and/or

                 Alameda, which you reference on your website. 1

          31.    All documents and work papers concerning your “engage[ment of] management on

                 business strategy” and your “monitor[ing] of [the] performance” of any of the FTX

                 Entities and/or Alameda, which you reference on your website. 2

          32.    All documents and work papers concerning the decision to post, preparation of any

                 post, and posting on your website, social media platform, or any other public forum

                 of any statements concerning the FTX Entities, Alameda, any director, control

                 person, or person in management (including, but not limited to, the chief executive

                 officer, the chief financial officer, the chief compliance officer, the chief

                 technology and/or information officer, the general counsel, presidents, executive




    1
     See https://www.temasek.com.sg/en/news-and-resources/news-room/statements/2022/statement-
    FTX#how-did-Temasek-come-to-invest-in-FTX
    2
     See https://www.temasek.com.sg/en/news-and-resources/news-room/statements/2022/statement-
    FTX#how-did-Temasek-come-to-invest-in-FTX


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                vice presidents, vice presidents, and any others positions of management) of any of

                the FTX Entities and/or Alameda, and/or any of the Defendants.

          33.   All documents, work papers, and/or communications concerning the FTX Entities

                and/or Alameda you provided to or exchanged with:

                a.     Officers, directors, employees, and control persons of any of the FTX

                       Entities and/or Alameda, including, but not limited to, Samuel Bankman-

                       Fried, Caroline Ellison, Gary Wang, Nishad Singh, Brett Harrison, Sam

                       Trabucco, Zach Dexter, Ryne Miller, Ryan Salame, Dan Friedberg, Ramnik

                       Arora, and Constance Wang;

                b.     any actual or prospective customer of any of the FTX Entities and/or

                       Alameda and/or any actual or prospective investor in any of the FTX

                       Entities and/or Alameda; or

                c.     any of the Defendants.

          34.   To the extent not already produced in connection with any of the above requests,

                all work papers, communications, transcripts and/or recordings of any depositions,

                testimony, interviews, or statements you have provided concerning the FTX

                Entities and/or Alameda in any court, administrative proceedings, the Bankruptcy

                Actions, Criminal Proceedings, or any other foreign or domestic forum or in

                response to any governmental agency request for discovery.

          35.   All documents, communications, and work papers relating to fraud detection and

                anti-money laundering protection by you, including, but not limited to, policies,

                procedures, manuals, monitoring systems, including automated monitoring

                systems, even if generated by a third party, employed by you to detect, monitor,




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                and/or prevent fraud, money laundering, and/or other misconduct by the companies

                and other entities in which you invest, including, but not limited to, Know Your

                Customer or Know Your Client (together, “KYC”) obligations, policies, procedures

                and compliance; Know Your Business (“KYB”) obligations, policies, procedures,

                and compliance; Anti-Money Laundering (“AML”) obligations, policies,

                procedures, and compliance; Customer Identification Program (“CIP”) obligations,

                policies, procedures, and compliance; Bank Secrecy Act (“BSA”) obligations,

                policies, procedures and compliance; risk management; and other due diligence.

          36.   All work papers, communications, and other documents concerning your decision

                to make the investment in the FTX Entities and/or Alameda, including but not

                limited to any meeting minutes, memoranda, or materials with respect to your

                internal committee or board discussions; and any meeting minutes, memoranda, or

                materials with respect to communications with Defendants.

          37.   Documents concerning any meetings between your directors, executives,

                employees, representatives, and/or agents and FTX’s directors, executives,

                employees, representatives, and/or agents. This request includes but is not limited

                to any expense reports and calendar entries related to any such meetings.

          38.   Organizational charts for Temasek Holdings (Private) Limited, Temasek

                International (USA) LLC, Artz Fund Investments Pte. Ltd., Temasek International

                Pte. Ltd., and any other intermediate entities existing along the chain of ownership

                between or among the entities specifically named in this request.

          39.   All documents and work papers concerning your formation, organization, and

                corporate governance, including, but not limited to, articles of incorporation,




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                articles of formation, by-laws, board minutes, consents, membership agreements,

                partnership agreements, certificates of good standing, registrations to do business,

                licenses, charters for any and all board committees, policies relating to conflicts of

                interest, insider trading policies, related party transaction policies, and codes of

                ethics.

          40.   Your audited financial statements, including income statements, balance sheets and

                statements of cash flow, whether consolidated or unconsolidated.

          41.   Your Federal and State (California, New York, Washington, D.C. and/or Florida)

                tax returns and reporting information.

          42.   Documents concerning your banking relationships in California, New York,

                Washington, D.C., and/or Florida.

          43.   All documents, work papers, or other discovery concerning any agreements

                between Temasek Holdings (Private) Limited, Temasek International (USA) LLC,

                Artz Fund Investments Pte. Ltd., and/or Temasek International Pte. Ltd., including,

                but not limited to, intercompany agreements, lease-back agreements, and/or shared

                services agreement.

          44.   All documents, work papers, or other discovery concerning property, personnel, or

                equipment provided to or shared by Temasek Holdings (Private) Limited, Temasek

                International (USA) LLC, Artz Fund Investments Pte. Ltd., and/or Temasek

                International Pte. Ltd.

          45.   All documents, work papers, or other discovery concerning your operations in the

                United States, including, but not limited to, your offices and personnel located in

                New York, New York, San Francisco, California, and Washington, D.C.




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          46.   Documents related to your investments in any businesses that have offices or

                operations in Florida and/or California.




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MDL No. 3076
                                  CASE NO. 1:23-md-03076-KMM


     In Re: FTX Cryptocurrency Exchange Collapse Litigation




                   PLAINTIFFS’ FIRST SET OF DISCOVERY REQUESTS TO
                     DEFENDANT TEMASEK INTERNATIONAL USA LLC

           Plaintiffs in the above-titled action, pursuant to Rules 26, 33, and 34 of the Federal Rules

    of Civil Procedure, and Local Rule 26.1 of the United States District Court for the Southern District

    of Florida, request that Defendant Temasek International USA LLC, respond to the enclosed

    Interrogatories and produce all documents, electronically stored information, and things that are

    in your possession, custody, or control requested in response to the following Requests for

    Production.

    Respectfully submitted on November ___, 2023


                                       Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                            By: /s/ David Boies
     Adam M. Moskowitz                                 David Boies
     Florida Bar No. 984280                            Alex Boies
     Joseph M. Kaye                                    Brooke Alexander
     Florida Bar No. 117520                            BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                      333 Main Street
     Continental Plaza                                 Armonk, NY 10504
     3250 Mary Street, Suite 202                       Office: (914) 749-8200
     Coconut Grove, FL 33133                           dboies@bsfllp.com
     Office: (305) 740-1423                            aboies@bsfllp.com
     adam@moskowitz-law.com                            balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com
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                               Plaintiffs’ Steering Committee Members

     Joseph R. Saveri                                 James R. Swanson
     JOSEPH SAVERI LAW FIRM                           Kerry J. Miller
     601 California Street, Suite 1000                FISHMAN HAYGOOD LLP
     San Francisco, CA 94108                          201 St. Charles Avenue, 46th Floor
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     jsaveri@saverilawfirm.com                        Telephone: (504) 586-5252
                                                      jswanson@fishmanhaygood.com
                                                      kmiller@fishmanhaygood.com


     Robert Lieff
     P.O. Drawer A
     Rutherford, CA 94573
     rlieff@lieff.com



                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on November ___, 2023, a true and correct copy of the
    foregoing was served via email to all counsel of record.

                                                 By: /s/ Adam M. Moskowitz
                                                     Adam M. Moskowitz
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                                            DEFINITIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

           1.     “Alameda” refers to Alameda Research LLC, including, but not limited to, its past

                  and present subsidiaries, affiliates, divisions, segments (including any mobile

                  application and/or web-based cryptocurrency investment services or trading

                  platform), predecessors (including acquired entities or lines of business),

                  successors, directors, officers, employees, representatives and/or agents. No

                  specific reference to any of the foregoing in the following Requests, including any

                  specific reference to Samuel Bankman-Fried, Caroline Ellison, Gary Wang, or

                  Nishad Singh, serves to limit the scope of any reference to Alameda herein.

           2.     “All/Each” and “And/Or” – The terms “all”, “each”, “and” and “or” shall be

                  construed as meaning either all or each as necessary, or conjunctively, to bring

                  within the scope of the discovery request all responses that might otherwise be

                  construed to be outside its scope.

           3.     “Bankruptcy Actions” refers to Case No. 22-11068 (JTD) (Jointly Administered)

                  pending in the United States Bankruptcy Court for the District of Delaware, and all

                  bankruptcy proceedings filed in or after November 2022 on behalf of any of the

                  FTX Entities and/or Alameda, and all adversary proceedings filed in connection

                  therewith.

           4.     “Communication” means, without limitation, the transmittal of information in the

                  form of facts, ideas, inquiries or otherwise, and whether orally or in writing, or by

                  any other means or medium, including in person, electronically and/or by exchange

                  or communication of any document, and includes, without limitation,




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                correspondence, memoranda, reports, presentations, face-to-face conversations,

                telephone conversations, text messages, instant messages, voice messages,

                negotiations, Agreements, inquiries, understandings, meetings, letters, notes,

                telegrams, mail, email, exchanges of recorded information, and postings of any

                type. The term “Communication” includes instances where one party disseminates

                information that the other party receives but does not respond to.

          5.    “Concerning” means relating to, referring to, describing, evidencing or

                constituting.

          6.    “Control person” means a person (as defined herein) in direct or indirect possession

                of the power to direct or cause the direction of the management and policies of a

                person (as defined herein), whether through the ownership of voting securities, by

                contract, or otherwise.

          7.    “Creditors” refers to all creditors in the Bankruptcy Actions, including, but not

                limited to, any committees of such creditors.

          8.    “Criminal Proceedings” refers to United States v. Sam Bankman-Fried, 1:22-CR-

                00673 pending in the Southern District of New York, and all criminal proceedings

                filed in or after November 2022 relating to the FTX Entities and/or Alameda.

          9.    “Debtors” refers to all FTX Entities and/or Alameda that have filed petitions for

                bankruptcy protection in the Bankruptcy Actions. When referring to the FTX

                Entities and/or Alameda in the Requests, the Requests cover the periods both prior

                to, and after, their filing of any of the Bankruptcy Actions.

          10.   “Defendants” refers to any and all persons and/or entities named as defendants in

                any of the actions consolidated with, and into, the above-captioned action. For




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                purposes of these Requests, Defendants also includes Silvergate Capital

                Corporation (a/k/a Silvergate Bank) and Signature Bank.

          11.   “Document” refers to any written, printed, typed or other graphic matter, of any

                kind or nature, whether in hard copy or electronic format, whether the original,

                draft, or a copy and copies bearing notations or marks not found on the original,

                including, but not limited to, memoranda, reports, recommendations, notes, letters,

                envelopes, post-its, emails, text messages, instant messages (including, but not

                limited to, messages exchanged or sent using Slack, Teams, Discord, WhatsApp,

                Signal or any other similar application), transcripts, studies, analyses, tests, books,

                articles, minutes, agreements, contracts, and all other written communications, of

                any type, including inter and intra-office communications, questionnaires, surveys,

                charts, graphs, videos, photographs, tapes, voice messages or other recordings,

                print-outs or compilations from which information can be obtained or, if necessary,

                translated through detection devices into reasonably usable form, including all

                underlying or preparatory materials and drafts thereof. To the extent not already

                covered in the above definition, “Document” specifically includes any “writing”,

                “recording”, “photograph”, “original” or “duplicate” as defined in Rule 1001 of the

                Federal Rules of Evidence, and/or “Electronically Stored Information” within the

                full scope of Rule 34 of the Federal Rules of Civil Procedure and/or as further

                defined as “ESI” herein.

          12.   “ESI” refers to Electronically Stored Information, as consistent with Rule 34 of the

                Federal Rules of Civil Procedure and includes all computer or electronically stored

                or generated data and information, including all attachments to and enclosures




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               within any requested item, and all drafts thereof. ESI includes all information and

               documents stored in any format and on any storage media, including, but not limited

               to: internal and external storage devices, hard drives, flash drives; and magnetic

               tape, whether fixed, portable or removable, and ESI further includes, but is not

               limited to, electronic spreadsheets, electronic presentation documents, e-mail

               messages, text messages, message platforms (including, but not limited to, Slack,

               Teams, Discord, WhatsApp, Telegram, Messenger, Signal or any other similar

               platforms where chat messages are exchanged); image files; sound files; material

               or information stored in a database or accessible from a database (including, but

               not limited to, Salesforce, Azure Cloud, or SQL databases). Responsive ESI may

               also include data on social media websites (e.g., LinkedIn, Facebook, Twitter,

               Instagram, and internal intranet social media). To the extent that a document or ESI

               contains tracked changes, comments, or other hidden text, the document or ESI

               should be imaged with that hidden text displayed. ESI also includes all associated

               metadata that is maintained or saved (including for example, author, recipient, file

               creation date, file modification date, etc.). Metadata preservation includes

               preserving parent-child relationships within a document family (the association

               between an attachment and its parents’ document or between embedded documents

               and their parent). The entire document and attachments will be produced, except

               any attachments that may be withheld or redacted on the basis of any protection or

               privilege, work product, or other applicable protection. Best efforts shall be made

               to ensure that the parent-child relationships within a document family (the

               association between an attachment and its parent document) are preserved and that




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                such responsive child document(s) should be consecutively produced immediately

                after the responsive parent document.

          13.   “FTT” refers to the digital token created by the FTX Entities.

          14.   “FTX Entities” refers to FTX Trading and/or FTX US.

          15.   “FTX Trading” refers to FTX Trading Ltd. d/b/a FTX Trading, including, but not

                limited to, its past and present subsidiaries, affiliates, divisions, segments

                (including any mobile application and/or web-based cryptocurrency investment

                services or trading platform, such as FTX.com), predecessors (including acquired

                entities or lines of business such as Blockfolio, Inc.), successors, directors, officers,

                employees, representatives and/or agents. No specific reference to any of the

                foregoing in the following Requests, including any specific reference to Samuel

                Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                scope of any reference to FTX Trading herein.

          16.   “FTX US” refers to West Realm Shires Services Inc. d/b/a FTX US, including, but

                not limited to, its past and present subsidiaries, affiliates, divisions, segments

                (including any mobile application and/or web-based cryptocurrency investment

                services or platform, such as FTX.com), predecessors (including acquired entities

                or lines of business such as Blockfolio, Inc.), successors, directors, officers,

                employees, representatives and/or agents. No specific reference to any of the

                foregoing in the following Requests, including any specific reference to Samuel

                Bankman-Fried, Caroline Ellison, Gary Wang, or Nishad Singh, serves to limit the

                scope of any reference to FTX US herein.




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          17.   “LedgerX LLC” refers to LedgerX LLC d/b/a FTX US Derivatives or FTX

                Derivatives.

          18.   “Liquidators” refers to all liquidators in the Bankruptcy Actions, including, but not

                limited to, the Joint Provisional Liquidators of FTX Digital Markets Ltd.

          19.   “Person” or “People” refers to any natural person(s) or any business, legal, or

                governmental entity (or entities) or association(s).

          20.   “Trustee” refers to the U.S. Trustee assigned in the Bankruptcy Actions, including

                any of the Trustee’s employee or agents, including any examiner appointed in the

                Bankruptcy Actions.

          21.   “Work Papers” refers to all documents, including drafts, organizational charts,

                spreadsheets, and other data, prepared, maintained and/or obtained by you

                concerning the planning, procedures performed, information obtained, and

                conclusions reached in connection with any investment, or potential investment, in

                any of the FTX Entities and/or Alameda. “Work Papers” also includes documents

                that you have in your possession, custody or control that were prepared, maintained

                and/or obtained by you concerning the FTX Entities and/or Alameda that were

                prepared or obtained from any of the FTX Entities and/or Alameda or any other

                persons or entities investing in or providing accounting, auditing, or consulting

                services to the FTX Entities and/or Alameda.

          22.   “You” or “Your” shall refer to the Defendant responding to these requests, its

                predecessors, successors, subsidiaries, departments divisions, and/or affiliates,

                including, but not limited to, any funds or other investment vehicles held by the

                Defendant responding or in which the Defendant responding is a member or other




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                owner, its international, national or local branches or offices, including, but not

                limited to Temasek Holdings Private Limited, Artz Fund Investments Pte. Ltd.,

                and/or Temasek International Pte. Ltd. and current and prior partners, officers,

                directors, employees, representatives, agents or any persons acting or purporting to

                act on behalf of the responding Defendant.

          23.   Whenever a reference to a business entity appears, the reference shall mean the

                business entity, its affiliated companies, partnerships, divisions, subdivisions,

                directors, officers, employees, agents, clients or other representatives of affiliated

                third parties.

          24.   Defined terms may or may not be capitalized or made uppercase; the given

                definitions apply even if a term in question is not capitalized or made uppercase.

                No waiver of a definition is implied by the use of a defined term in a non-capitalized

                or lowercase form.




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                                           INSTRUCTIONS

          1.   Production of documents and items requested herein shall be made at the offices of

               The Moskowitz Law Firm, P.O. Box 653409, Miami, FL 33133, or via electronic

               mail to the email addresses provided in the signature blocks of the attorneys serving

               these requests.

          2.   Unless otherwise stated in a request, the time period for which you must respond is

               January 1, 2019, through the date of production.

          3.   Objections: Where an objection is made to any request, the objection shall state

               with specificity all grounds for the objection and respond to the Request to the

               extent it is not objectionable. Any ground not stated in an objection within the time

               provided by the Federal Rules of Civil Procedure, or by the Court’s order, or any

               extensions thereof, shall be waived.

          4.   These requests shall include all documents that are in your possession, custody or

               control or in the possession, custody or control of your present or former agents,

               representatives, or your attorneys, or any and all persons acting on your behalf, or

               your present or former agents, representatives, or attorneys.

          5.   For any document, or portion thereof, covered by a request that is withheld from

               production (or redacted in whole or in part) under claim of privilege, work product

               protection or any other basis, you shall provide the following information in the

               form of a privilege log:

               a.     the reasons and each and every fact supporting any withholding, and legal

                      basis for withholding the document including sufficient facts for the Court

                      to make a full determination as to whether the claim of privilege is valid;




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               b.     the date such document was prepared;

               c.     the names, employment positions and addresses of the author or preparers

                      of such document;

               d.     the names, employment positions, and the addresses of each person who

                      received such document;

               e.     the title, a brief description, and the subject matter of the document;

               f.     the number of the request under which such document would be produced

                      but for the objection; and

               g.     description of the subject matter sufficient to determine whether the

                      privilege is properly invoked (without revealing privileged information)

          6.   If any document responsive to a request has been destroyed, produce all documents

               describing or referencing:

               a.     the contents of the lost or destroyed document;

               b.     all locations in which any copy of the lost or destroyed document had been

                      maintained;

               c.     the date of such loss or destruction;

               d.     the name of each person who ordered, authorized, and carried out the

                      destruction of any responsive document;

               e.     all document retention and destruction policies in effect at the time any

                      requested document was destroyed; and

               f.     all efforts made to locate any responsive document alleged to have been

                      lost.

          7.   In producing the documents requested, indicate the specific request(s) pursuant to

               which document or group of documents is being produced.


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          8.    These requests should be deemed continuing such that if you, your directors,

                officers, employees, agents, representatives, or any person acting on your behalf,

                subsequently discover or obtain possession, custody, or control of any document or

                ESI previously requested or required to be produced, you should make a

                supplemental production of such document or ESI. Supplemental productions

                should be provided on a rolling basis as additional documents become available.

          9.    All documents that cannot be accurately represented in TIFF format (such as

                spreadsheets, computer slide presentations, audio files, video files, and other

                similar file types) shall be provided in native format. The parties will further meet

                and confer regarding appropriate format of production for databases and structured

                data (e.g., Microsoft Teams, Slack, Microsoft Access, Azure Cloud, Salesforce,

                Oracle, or other ephemeral messaging or proprietary database systems).

          10.   In responding to these Document Requests, you are to include Documents:

                a.     obtained from witnesses who gave information to any governmental agency

                       or investigatory body;

                b.     that constitute, or refer or relate to, summaries of testimony or other

                       statements in connection with any governmental agency or investigatory

                       body proceeding or investigation; or

                c.     obtained on your behalf by counsel in preparing for testimony or interviews

                       before any governmental agency or investigatory body.

          11.   All documents are to be produced in the following method if not produced in its

                Native Format:

                a.     Single page .TIFF images




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               b.    Color.jpg (documents wherein reflection of importance relies on color, shall

                     be produced in .jpg format)

               c.    Document level Text Files containing extracted full text or OCR text

               d.    Electronic documents, e-mails, text or instant messages are to be processed

                     and converted from the electronic format to single page tiff.




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                                         INTERROGATORIES

    INTERROGATORY NO. 1:

           Please identify all current and former owners of Temasek International USA LLC,

    Temasek Holdings Private Limited, Artz Fund Investments Pte. Ltd., and/or Temasek International

    Pte. Ltd., including the ownership percentage held by each owner identified in response to this

    Interrogatory No. 1.

    INTERROGATORY NO. 2:

           Please identify the directors on the boards of Temasek International USA LLC, Temasek

    Holdings Private Limited, Artz Fund Investments Pte. Ltd., and/or Temasek International Pte. Ltd.

    INTERROGATORY NO. 3:

           Please identify the directors, executives, employees, representatives, and/or agents of

    Temasek International USA LLC, Temasek Holdings Private Limited, Artz Fund Investments Pte.

    Ltd., Temasek International Pte. Ltd., and/or any other Temasek-affiliated entity having any role

    with respect to the decision to invest in FTX, any due diligence involved in such decision,

    negotiations related to the investment in FTX, the actual investment in FTX, and/or any ongoing

    monitoring of FTX in the wake of the investment. In doing so, please provide their home

    address(es), titles and descriptions of their role(s) with respect to the Temasek-affiliated entity in

    question, their office address(es), their work phone number(s), and their work email address(es).

    INTERROGATORY NO. 4:

           Please identify the entity that pays the salaries or any other compensation of the personnel

    listed in response to Interrogatory No. 3.




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    INTERROGATORY NO. 5:

           Please identify the entity that pays the expenses and/or losses of Temasek International

    USA LLC, Temasek Holdings Private Limited, Artz Fund Investments Pte. Ltd., and/or Temasek

    International Pte. Ltd.

    INTERROGATORY NO. 6:

           Please describe the business of, and how such business is conveyed to, Temasek

    International USA LLC, Temasek Holdings Private Limited, Artz Fund Investments Pte. Ltd.,

    and/or Temasek International Pte. Ltd.

    INTERROGATORY NO. 7:

           Please identify the executives, directors, employees, and/or representatives of Temasek

    International USA LLC, Temasek Holdings Private Limited, Artz Fund Investments Pte. Ltd.,

    and/or Temasek International Pte. Ltd. who participated in responding to these discovery requests.

                                  REQUESTS FOR PRODUCTION

           1.      All workpapers, communications, and other documents concerning subscription

                   agreements, membership agreements, partnership agreements, and/or other

                   agreements between you and any of the FTX Entities, Alameda or any of the

                   Defendants relating to any of the FTX Entities and/or Alameda.

           2.      All communications between you and any of the FTX Entities, Alameda, or any of

                   the Defendants concerning any of the FTX Entities and/or Alameda.

           3.      All work papers, communications, and other documents concerning the Series B

                   and B-1 funding of FTX Trading, which closed in October 2021, including, but not

                   limited to, offering memoranda, offering circulars, prospectuses, pitch decks,




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               capitalization tables, diligence memoranda, reports, opinions, and other diligence

               materials concerning any of the FTX Entities and/or Alameda.

          4.   All work papers, communications, and other documents concerning the Series C

               funding of FTX Trading, which closed in January 2022, including, but not limited

               to, offering memoranda, offering circulars, prospectuses, pitch decks, capitalization

               tables, diligence memoranda, reports, opinions, and other diligence materials

               concerning any of the FTX Entities and/or Alameda.

          5.   All work papers, communications, and other documents concerning the Series A

               funding of FTX US, which closed in January 2022, including, but not limited to,

               offering memoranda, offering circulars, prospectuses, pitch decks, capitalization

               tables, diligence memoranda, reports, opinions, and other diligence materials

               concerning any of the FTX Entities and/or Alameda.

          6.   Documents evidencing wire transfers or other payments, or instructions related to

               the foregoing, for any payments from you to any of the FTX Entities and/or

               Alameda or from any of the FTX Entities and/or Alameda to you.

          7.   Documents and communications concerning your due diligence efforts undertaken

               by you or on your behalf in conjunction with potential or actual investments in or

               with FTX Entities and/or Alameda, whether such efforts were undertaken before

               the investment or following the investment in the form of continued monitoring,

               tracking, or management.

          8.   Contracts for any legal services you sought or obtained in relation to the FTX

               Entities and/or Alameda.




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          9.    All work papers, communications, and other documents concerning your

                membership and service on the board, including any advisory board, of any of the

                FTX Entities and/or Alameda, including, but not limited to, calendar entries,

                agendas, presentations, and minutes of any and all meetings of such board.

          10.   All work papers, communications, and other documents concerning the

                membership and service on your board, including any advisory board, by any of

                the FTX Entities and/or Alameda, including, but not limited to, agendas,

                presentations, and minutes of any and all meetings of such board.

          11.   All work papers, communications, and other documents concerning any of the FTX

                Entities and/or Alameda that were prepared or maintained in connection with,

                and/or referred to, your investments in, or any other potential investments in, loans

                to, or financing for, any of the FTX Entities and/or Alameda.

          12.   All documents concerning any working group lists, or the names and contact

                information for all persons or entities, you received, prepared, or maintained in

                connection with your investments, or potential investments, in any of the FTX

                Entities and/or Alameda, including, but not limited to, persons in management

                (including, but not limited to, the chief executive officer, the chief financial officer,

                the chief compliance officer, the chief technology and/or information officer, the

                general counsel, presidents, executive vice presidents, vice presidents, and any

                others positions of management), directors, and/or other personnel involved in the

                Series A, Series B, Series B-1, Series C, and/or any other funding for, investment

                in, or potential investment in any of the FTX Entities and/or Alameda.




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          13.   All documents and work papers concerning the operations of any of the FTX

                Entities and/or Alameda, including, but not limited to, operating pro formas, uses

                and sources of cash and investment proceeds, investment portfolios, status reports,

                budgets, and/or presentations concerning the performance of any of the FTX

                Entities and/or Alameda, as well as, any market research, profitability analyses,

                evaluations, and/or other reports prepared by you or for you by any investment

                bankers, research analysts, management consultants and/or other professional.

          14.   All documents and work papers concerning the formation and corporate

                governance of any of the FTX Entities and/or Alameda, including, but not limited

                to, articles of incorporation, articles of formation, by-laws, membership

                agreements, partnership agreements, certificates of good standing, charters for any

                and all board committees, compliance policies, anti-corruption policies,

                whistleblower polices, policies relating to conflicts of interest, insider trading

                policies, related party transaction policies, and codes of ethics.

          15.   All documents and work papers concerning the implementation of accounting

                controls, financial controls, cash management controls and/or audit processes at any

                of the FTX Entities and/or Alameda, including, but not limited to audit committees,

                internal and/or external audits, audited and/or unaudited financial statements,

                general ledgers, policies and procedures concerning audits, asset allocation,

                liquidity forecasting, and disbursement controls, and other financial records for any

                of the FTX Entities and/or Alameda, and the engagement of, and services provided

                by, any accounting firm by and for any of the FTX Entities and/or Alameda,




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                including, but not limited to Robert Lee & Associates, Prager Metis CPAs LLC

                and/or Armanino LLP.

          16.   Any documents evidencing updates, progress reports, or similar with respect to (1)

                your investments in FTX Entities and/or Alameda and (2) FTX Entities’ and/or

                Alameda’s financials.

          17.   All documents and work papers concerning North Dimension Inc, including, but

                not limited to, its ownership, employees, business purpose, and operations.

          18.   All documents and work papers concerning LedgerX LLC, including, but not

                limited to, its ownership, employees, business purpose, and operations.

          19.   All communications with any representative, employee, or agent of LedgerX LLC.

          20.   All documents and work papers concerning any transactions and/or transfers of fiat,

                cryptocurrency, or other assets between any of the FTX Entities, Alameda, and/or

                any director, control person, and/or person in management (including, but not

                limited to, the chief executive officer, the chief financial officer, the chief

                compliance officer, the chief technology and/or information officer, the general

                counsel, presidents, executive vice presidents, vice presidents, and any others

                positions of management) of any of the FTX Entities and/or Alameda, including,

                but not limited to, disbursements, donations, gifts, bonuses and other compensation,

                capital contributions, promissory notes, inter-company agreements, service

                agreements, and loan agreements.

          21.   All documents and work papers concerning risk management controls—and any

                exemptions or alterations thereto for, but not limited to, Alameda—at any of the

                FTX Entities and/or Alameda, including, but not limited to, policies and procedures




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                concerning investment diversification, cryptocurrency products and other digital

                assets, derivative products, and leverage, including, but not limited to, the purported

                “risk engine” auto-liquidator and other protocols to prevent a user from becoming

                over-leveraged on any of the FTX Entities’ platforms and/or the FTX Entities’

                purported policy prohibiting any user from maintaining a negative balance on their

                platforms.

          22.   All documents and work papers concerning regulatory compliance at any of the

                FTX Entities and/or Alameda, including, but not limited to, campaign finance

                regulations, licensure of the FTX Entities and/or Alameda in the jurisdictions in

                which each operates, including, but not limited to, money transmitter licenses, and

                the regulation of cryptocurrencies, tokens, and other digital assets—including the

                yield-bearing accounts offered by the FTX Entities—as securities.

          23.   All documents and work papers concerning any charitable, political and/or

                campaign contribution by any of the FTX Entities, Alameda, and/or any director,

                control person, and/or person in management (including, but not limited to, the

                chief executive officer, the chief financial officer, the chief compliance officer, the

                chief technology and/or information officer, the general counsel, presidents,

                executive vice presidents, vice presidents, and any others positions of management)

                of any of the FTX Entities and/or Alameda.

          24.   All documents and work papers concerning any internal complaints, including, but

                not limited to, “whistleblower” complaints, litigation, administrative or regulatory

                proceedings, investigations or governmental actions involving any of the FTX

                Entities and/or Alameda.




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          25.   All documents and work papers concerning the custody, and/or safeguarding, of

                customer funds, including fiat, cryptocurrencies, and other digital assets, by any of

                the FTX Entities and/or Alameda, including, but not limited to, the labeling of

                customer accounts as “for the benefit of” (“FBO”) the customer, the segregation

                (or lack thereof) of customer funds from the FTX Entities’ operating accounts, the

                storage of customer funds in digital wallets on the FTX Entities’ platforms, and the

                ledgering and/or bookkeeping of those funds by any of the FTX Entities and/or

                Alameda.

          26.   All documents and work papers concerning the terms of service for any of the FTX

                Entities and use thereof by customers or investors.

          27.   All documents and work papers concerning FTT, including, but not limited to, FTT

                held by any of the FTX Entities and/or Alameda, and their use of FTT as collateral

                for loans and other transactions.

          28.   All documents and work papers concerning the real and tangible property held by

                any FTX Entity and/or Alameda, including, but not limited to, the location and use

                of such property, and any mortgages, deeds of trust, lease and/or security

                agreements for the properties, and transfers of such properties by, among, and

                between any FTX Entity, Alameda, and/or any director, control person, and/or

                person in management (including, but not limited to, the chief executive officer, the

                chief financial officer, the chief compliance officer, the chief technology and/or

                information officer, the general counsel, presidents, executive vice presidents, vice

                presidents, and any others positions of management) of any of the FTX Entities

                and/or Alameda.




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          29.    All documents relating to your “interactions” with Sam Bankman-Fried and others

                 affiliated with FTX Entities, Alameda, North Dimension Inc., and/or LedgerX LLC

                 as referenced by you on your website. See Temasek, “FTX Statement and FAQs”

                 (26 November 2022), available at https://www.temasek.com.sg/en/news-and-

                 resources/news-room/statements/2022/statement-FTX (last visited October 11,

                 2023).

          30.    All documents and work papers concerning the “qualitative feedback” you gathered

                 from “people familiar with the company, including industry employees, industry

                 participants, and other investors” concerning any of the FTX Entities and/or

                 Alameda, which you reference on your website. 1

          31.    All documents and work papers concerning your “engage[ment of] management on

                 business strategy” and your “monitor[ing] of [the] performance” of any of the FTX

                 Entities and/or Alameda, which you reference on your website. 2

          32.    All documents and work papers concerning the decision to post, preparation of any

                 post, and posting on your website, social media platform, or any other public forum

                 of any statements concerning the FTX Entities, Alameda, any director, control

                 person, or person in management (including, but not limited to, the chief executive

                 officer, the chief financial officer, the chief compliance officer, the chief

                 technology and/or information officer, the general counsel, presidents, executive




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     See https://www.temasek.com.sg/en/news-and-resources/news-room/statements/2022/statement-
    FTX#how-did-Temasek-come-to-invest-in-FTX
    2
     See https://www.temasek.com.sg/en/news-and-resources/news-room/statements/2022/statement-
    FTX#how-did-Temasek-come-to-invest-in-FTX


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                vice presidents, vice presidents, and any others positions of management) of any of

                the FTX Entities and/or Alameda, and/or any of the Defendants.

          33.   All documents, work papers, and/or communications concerning the FTX Entities

                and/or Alameda you provided to or exchanged with:

                a.     Officers, directors, employees, and control persons of any of the FTX

                       Entities and/or Alameda, including, but not limited to, Samuel Bankman-

                       Fried, Caroline Ellison, Gary Wang, Nishad Singh, Brett Harrison, Sam

                       Trabucco, Zach Dexter, Ryne Miller, Ryan Salame, Dan Friedberg, Ramnik

                       Arora, and Constance Wang;

                b.     any actual or prospective customer of any of the FTX Entities and/or

                       Alameda and/or any actual or prospective investor in any of the FTX

                       Entities and/or Alameda; or

                c.     any of the Defendants.

          34.   To the extent not already produced in connection with any of the above requests,

                all work papers, communications, transcripts and/or recordings of any depositions,

                testimony, interviews, or statements you have provided concerning the FTX

                Entities and/or Alameda in any court, administrative proceedings, the Bankruptcy

                Actions, Criminal Proceedings, or any other foreign or domestic forum or in

                response to any governmental agency request for discovery.

          35.   All documents, communications, and work papers relating to fraud detection and

                anti-money laundering protection by you, including, but not limited to, policies,

                procedures, manuals, monitoring systems, including automated monitoring

                systems, even if generated by a third party, employed by you to detect, monitor,




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                and/or prevent fraud, money laundering, and/or other misconduct by the companies

                and other entities in which you invest, including, but not limited to, Know Your

                Customer or Know Your Client (together, “KYC”) obligations, policies, procedures

                and compliance; Know Your Business (“KYB”) obligations, policies, procedures,

                and compliance; Ant-Money Laundering (“AML”) obligations, policies,

                procedures, and compliance; Customer Identification Program (“CIP”) obligations,

                policies, procedures, and compliance; Bank Secrecy Act (“BSA”) obligations,

                policies, procedures and compliance; risk management; and other due diligence.

          36.   All work papers, communications, and other documents concerning your decision

                to make the investment in the FTX Entities and/or Alameda, including but not

                limited to any meeting minutes, memoranda, or materials with respect to your

                internal committee or board discussions; and any meeting minutes, memoranda, or

                materials with respect to communications with Defendants.

          37.   Documents concerning any meetings between your directors, executives,

                employees, representatives, and/or agents and FTX’s directors, executives,

                employees, representatives, and/or agents. This request includes but is not limited

                to any expense reports and calendar entries related to any such meetings.

          38.   Organizational charts for Temasek Holdings (Private) Limited, Temasek

                International (USA) LLC, Artz Fund Investments Pte. Ltd., Temasek International

                Pte. Ltd., and any other intermediate entities existing along the chain of ownership

                between or among the entities specifically named in this request.

          39.   All documents and work papers concerning your formation, organization, and

                corporate governance, including, but not limited to, articles of incorporation,




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                articles of formation, by-laws, board minutes, consents, membership agreements,

                partnership agreements, certificates of good standing, registrations to do business,

                licenses, charters for any and all board committees, policies relating to conflicts of

                interest, insider trading policies, related party transaction policies, and codes of

                ethics.

          40.   Your audited financial statements, including income statements, balance sheets and

                statements of cash flow, whether consolidated or unconsolidated.

          41.   Your Federal and State (California, New York, Washington, D.C. and/or Florida)

                tax returns and reporting information.

          42.   Documents concerning your banking relationships in California, New York,

                Washington, D.C., and/or Florida.

          43.   All documents, work papers, or other discovery concerning any agreements

                between Temasek Holdings (Private) Limited, Temasek International (USA) LLC,

                Artz Fund Investments Pte. Ltd., and/or Temasek International Pte. Ltd., including,

                but not limited to, intercompany agreements, lease-back agreements, and/or shared

                services agreement.

          44.   All documents, work papers, or other discovery concerning property, personnel, or

                equipment provided to or shared by Temasek Holdings (Private) Limited, Temasek

                International (USA) LLC, Artz Fund Investments Pte. Ltd., and/or Temasek

                International Pte. Ltd.

          45.   All documents, work papers, or other discovery concerning your operations in the

                United States, including, but not limited to, your offices and personnel located in

                New York, New York, San Francisco, California, and Washington, D.C.




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          46.   Documents related to your investments in any businesses that have offices or

                operations in Florida and/or California.




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            Composite
            Exhibit D
   PLAINTIFFS’ OMNIBUS MOTION TO LIFT DISCOVERY STAY
  AND FOR LEAVE TO CONDUCT JURISDICTIONAL DISCOVERY,
   AND, IF NECESSARY TO AMEND THEIR COMPLAINTS WITH
         ANY FACTS ARISING FROM SUCH DISCOVERY



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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                  DEFENDANT KEVIN PAFFRATH

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Kevin Paffrath
           DATE:                   June 20, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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          Dated: May 17, 2023                  Respectfully submitted,

                                              By: /s/ Adam Moskowitz
                                              Adam M. Moskowitz
                                              Florida Bar No. 984280
                                              adam@moskowitz-law.com
                                              Joseph M. Kaye
                                              Florida Bar No. 117520
                                              joseph@moskowitz-law.com
                                              THE MOSKOWITZ LAW FIRM, PLLC
                                              2 Alhambra Plaza, Suite 601
                                              Coral Gables, FL 33134
                                              Telephone: (305) 740-1423

                                              By: /s/Stuart Z. Grossman
                                              Stuart Z. Grossman
                                              Florida Bar No. 156113
                                              Manuel A. Arteaga-Gomez
                                              Florida Bar No. 18122
                                              GROSSMAN ROTH YAFFA COHEN, P.A.
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                                              Coral Gables, FL 33134
                                              Ph: 305-442-8666
                                              Fx: 305-285-1668
                                              szg@grossmanroth.com
                                              aag@grossmanroth.com

                                              By: /s/ Stephen Neal Zack
                                              Stephen Neal Zack
                                              Florida Bar No. 145215
                                              Tyler Ulrich
                                              Florida Bar No. 94705
                                              BOIES SCHILLER FLEXNER LLP
                                              100 SE 2nd St., Suite 2800
                                              Miami, FL 33131
                                              Office: 305-539-8400
                                              szack@bsfllp.com
                                              tulrich@bsfllp.com

                                              By: /s/ Jose Ferrer
                                              Jose Ferrer
                                              Florida Bar No. 173746
                                              Michelle Genet Bernstein
                                              Florida Bar No. 1030736
                                              MARK MIGDAL HAYDEN LLP
                                              8 SW 8th Street, Suite 1999


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                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

          PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                          DEFENDANT KEVIN PAFFRATH

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Kevin Paffrath

     (“Paffrath”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
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                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/Stuart Z. Grossman
                                                      Stuart Z. Grossman
                                                      Florida Bar No. 156113
                                                      Manuel A. Arteaga-Gomez
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                                                          By: /s/ Stephen Neal Zack
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                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
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                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
                                                          MARK MIGDAL HAYDEN LLP
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                                                          Office: 305-374-0440
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                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ



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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Paffrath,” “You,” or “Your” means Defendant Kevin Paffrath and any of his

     affiliates, representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                     DEFENDANT ANDREI JIKH

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Andre Jikh
           DATE:                   June 21, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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          Dated: May 17, 2023                   Respectfully submitted,

                                               By: /s/ Adam Moskowitz
                                               Adam M. Moskowitz
                                               Florida Bar No. 984280
                                               adam@moskowitz-law.com
                                               Joseph M. Kaye
                                               Florida Bar No. 117520
                                               joseph@moskowitz-law.com
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                                               By: /s/Stuart Z. Grossman
                                               Stuart Z. Grossman
                                               Florida Bar No. 156113
                                               Manuel A. Arteaga-Gomez
                                               Florida Bar No. 18122
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                                               By: /s/ Stephen Neal Zack
                                               Stephen Neal Zack
                                               Florida Bar No. 145215
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                                               Florida Bar No. 94705
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                                               By: /s/ Jose Ferrer
                                               Jose Ferrer
                                               Florida Bar No. 173746
                                               Michelle Genet Bernstein
                                               Florida Bar No. 1030736
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                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
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    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

           PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                              DEFENDANT ANDREI JIKH

             Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Andrei Jikh

      (“Jikh”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
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                                                      Telephone: (305) 740-1423

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                                                      Stuart Z. Grossman
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                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
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                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ



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                                   DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Jikh,” “You,” or “Your” means Defendant Andrei Jikh and any of his affiliates,

     representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                 DEFENDANT GRAHAM STEPHAN

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Graham Stephan
           DATE:                   June 22, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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          Dated: May 17, 2023                   Respectfully submitted,

                                               By: /s/ Adam Moskowitz
                                               Adam M. Moskowitz
                                               Florida Bar No. 984280
                                               adam@moskowitz-law.com
                                               Joseph M. Kaye
                                               Florida Bar No. 117520
                                               joseph@moskowitz-law.com
                                               THE MOSKOWITZ LAW FIRM, PLLC
                                               2 Alhambra Plaza, Suite 601
                                               Coral Gables, FL 33134
                                               Telephone: (305) 740-1423

                                               By: /s/Stuart Z. Grossman
                                               Stuart Z. Grossman
                                               Florida Bar No. 156113
                                               Manuel A. Arteaga-Gomez
                                               Florida Bar No. 18122
                                               GROSSMAN ROTH YAFFA COHEN, P.A.
                                               2525 Ponce de Leon Boulevard, Suite 1150
                                               Coral Gables, FL 33134
                                               Ph: 305-442-8666
                                               Fx: 305-285-1668
                                               szg@grossmanroth.com
                                               aag@grossmanroth.com

                                               By: /s/ Stephen Neal Zack
                                               Stephen Neal Zack
                                               Florida Bar No. 145215
                                               Tyler Ulrich
                                               Florida Bar No. 94705
                                               BOIES SCHILLER FLEXNER LLP
                                               100 SE 2nd St., Suite 2800
                                               Miami, FL 33131
                                               Office: 305-539-8400
                                               szack@bsfllp.com
                                               tulrich@bsfllp.com

                                               By: /s/ Jose Ferrer
                                               Jose Ferrer
                                               Florida Bar No. 173746
                                               Michelle Genet Bernstein
                                               Florida Bar No. 1030736
                                               MARK MIGDAL HAYDEN LLP
                                               8 SW 8th Street, Suite 1999


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                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

           PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                           DEFENDANT GRAHAM STEPHAN

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Graham Stephan

      (“Stephan”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/Stuart Z. Grossman
                                                      Stuart Z. Grossman
                                                      Florida Bar No. 156113
                                                      Manuel A. Arteaga-Gomez
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                                                          Florida Bar No. 18122
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                                                          aag@grossmanroth.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
                                                          BOIES SCHILLER FLEXNER LLP
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                                                          tulrich@bsfllp.com

                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
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                                                          Miami, FL 33130
                                                          Office: 305-374-0440
                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ


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                                 DEFINITIONS AND INSTRUCTIONS

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            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

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            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

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            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

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            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

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     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

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     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                   DEFENDANT JASPREET SINGH

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Jaspreet Singh
           DATE:                   June 23, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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                                                 CASE NO. 23-21023-CIV-ALTONAGA/Damian

          Dated: May 17, 2023                   Respectfully submitted,

                                               By: /s/ Adam Moskowitz
                                               Adam M. Moskowitz
                                               Florida Bar No. 984280
                                               adam@moskowitz-law.com
                                               Joseph M. Kaye
                                               Florida Bar No. 117520
                                               joseph@moskowitz-law.com
                                               THE MOSKOWITZ LAW FIRM, PLLC
                                               2 Alhambra Plaza, Suite 601
                                               Coral Gables, FL 33134
                                               Telephone: (305) 740-1423

                                               By: /s/Stuart Z. Grossman
                                               Stuart Z. Grossman
                                               Florida Bar No. 156113
                                               Manuel A. Arteaga-Gomez
                                               Florida Bar No. 18122
                                               GROSSMAN ROTH YAFFA COHEN, P.A.
                                               2525 Ponce de Leon Boulevard, Suite 1150
                                               Coral Gables, FL 33134
                                               Ph: 305-442-8666
                                               Fx: 305-285-1668
                                               szg@grossmanroth.com
                                               aag@grossmanroth.com

                                               By: /s/ Stephen Neal Zack
                                               Stephen Neal Zack
                                               Florida Bar No. 145215
                                               Tyler Ulrich
                                               Florida Bar No. 94705
                                               BOIES SCHILLER FLEXNER LLP
                                               100 SE 2nd St., Suite 2800
                                               Miami, FL 33131
                                               Office: 305-539-8400
                                               szack@bsfllp.com
                                               tulrich@bsfllp.com

                                               By: /s/ Jose Ferrer
                                               Jose Ferrer
                                               Florida Bar No. 173746
                                               Michelle Genet Bernstein
                                               Florida Bar No. 1030736
                                               MARK MIGDAL HAYDEN LLP
                                               8 SW 8th Street, Suite 1999


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                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

           PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                            DEFENDANT JASPREET SINGH

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Jaspreet Singh

      (“Singh”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/Stuart Z. Grossman
                                                      Stuart Z. Grossman
                                                      Florida Bar No. 156113
                                                      Manuel A. Arteaga-Gomez
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                                                          Florida Bar No. 18122
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                                                          Fx: 305-285-1668
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                                                          aag@grossmanroth.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
                                                          BOIES SCHILLER FLEXNER LLP
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                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com
                                                          tulrich@bsfllp.com

                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
                                                          MARK MIGDAL HAYDEN LLP
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                                                          Office: 305-374-0440
                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ


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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Singh,” “You,” or “Your” means Defendant Jaspreet Singh and any of his

     affiliates, representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                      DEFENDANT BRIAN JUNG

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Brian Jung
           DATE:                   June 26, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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                                                 CASE NO. 23-21023-CIV-ALTONAGA/Damian

          Dated: May 17, 2023                   Respectfully submitted,

                                               By: /s/ Adam Moskowitz
                                               Adam M. Moskowitz
                                               Florida Bar No. 984280
                                               adam@moskowitz-law.com
                                               Joseph M. Kaye
                                               Florida Bar No. 117520
                                               joseph@moskowitz-law.com
                                               THE MOSKOWITZ LAW FIRM, PLLC
                                               2 Alhambra Plaza, Suite 601
                                               Coral Gables, FL 33134
                                               Telephone: (305) 740-1423

                                               By: /s/Stuart Z. Grossman
                                               Stuart Z. Grossman
                                               Florida Bar No. 156113
                                               Manuel A. Arteaga-Gomez
                                               Florida Bar No. 18122
                                               GROSSMAN ROTH YAFFA COHEN, P.A.
                                               2525 Ponce de Leon Boulevard, Suite 1150
                                               Coral Gables, FL 33134
                                               Ph: 305-442-8666
                                               Fx: 305-285-1668
                                               szg@grossmanroth.com
                                               aag@grossmanroth.com

                                               By: /s/ Stephen Neal Zack
                                               Stephen Neal Zack
                                               Florida Bar No. 145215
                                               Tyler Ulrich
                                               Florida Bar No. 94705
                                               BOIES SCHILLER FLEXNER LLP
                                               100 SE 2nd St., Suite 2800
                                               Miami, FL 33131
                                               Office: 305-539-8400
                                               szack@bsfllp.com
                                               tulrich@bsfllp.com

                                               By: /s/ Jose Ferrer
                                               Jose Ferrer
                                               Florida Bar No. 173746
                                               Michelle Genet Bernstein
                                               Florida Bar No. 1030736
                                               MARK MIGDAL HAYDEN LLP
                                               8 SW 8th Street, Suite 1999


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                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

           PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                              DEFENDANT BRIAN JUNG

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Brian Jung

      (“Jung”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/Stuart Z. Grossman
                                                      Stuart Z. Grossman
                                                      Florida Bar No. 156113
                                                      Manuel A. Arteaga-Gomez
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                                                          Florida Bar No. 18122
                                                          GROSSMAN ROTH YAFFA COHEN, P.A.
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                                                          Fx: 305-285-1668
                                                          szg@grossmanroth.com
                                                          aag@grossmanroth.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
                                                          BOIES SCHILLER FLEXNER LLP
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                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com
                                                          tulrich@bsfllp.com

                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
                                                          MARK MIGDAL HAYDEN LLP
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                                                          Miami, FL 33130
                                                          Office: 305-374-0440
                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ


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                                   DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Jung,” “You,” or “Your” means Defendant Brian Jung and any of his affiliates,

     representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

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    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

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           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                 DEFENDANT JEREMY LEFEBVRE

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Jeremy LeFebvre
           DATE:                   June 27, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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          Dated: May 17, 2023                   Respectfully submitted,

                                               By: /s/ Adam Moskowitz
                                               Adam M. Moskowitz
                                               Florida Bar No. 984280
                                               adam@moskowitz-law.com
                                               Joseph M. Kaye
                                               Florida Bar No. 117520
                                               joseph@moskowitz-law.com
                                               THE MOSKOWITZ LAW FIRM, PLLC
                                               2 Alhambra Plaza, Suite 601
                                               Coral Gables, FL 33134
                                               Telephone: (305) 740-1423

                                               By: /s/Stuart Z. Grossman
                                               Stuart Z. Grossman
                                               Florida Bar No. 156113
                                               Manuel A. Arteaga-Gomez
                                               Florida Bar No. 18122
                                               GROSSMAN ROTH YAFFA COHEN, P.A.
                                               2525 Ponce de Leon Boulevard, Suite 1150
                                               Coral Gables, FL 33134
                                               Ph: 305-442-8666
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                                               szg@grossmanroth.com
                                               aag@grossmanroth.com

                                               By: /s/ Stephen Neal Zack
                                               Stephen Neal Zack
                                               Florida Bar No. 145215
                                               Tyler Ulrich
                                               Florida Bar No. 94705
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                                               100 SE 2nd St., Suite 2800
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                                               Office: 305-539-8400
                                               szack@bsfllp.com
                                               tulrich@bsfllp.com

                                               By: /s/ Jose Ferrer
                                               Jose Ferrer
                                               Florida Bar No. 173746
                                               Michelle Genet Bernstein
                                               Florida Bar No. 1030736
                                               MARK MIGDAL HAYDEN LLP
                                               8 SW 8th Street, Suite 1999


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                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                     /

          PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                          DEFENDANT JEREMY LEFEBVRE

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Jeremy

      LeFebvre (“LeFebvre”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                           Respectfully submitted,

                                                     By: /s/ Adam Moskowitz
                                                     Adam M. Moskowitz
                                                     Florida Bar No. 984280
                                                     adam@moskowitz-law.com
                                                     Joseph M. Kaye
                                                     Florida Bar No. 117520
                                                     joseph@moskowitz-law.com
                                                     THE MOSKOWITZ LAW FIRM, PLLC
                                                     2 Alhambra Plaza, Suite 601
                                                     Coral Gables, FL 33134
                                                     Telephone: (305) 740-1423

                                                     By: /s/Stuart Z. Grossman
                                                     Stuart Z. Grossman
                                                     Florida Bar No. 156113
                                                     Manuel A. Arteaga-Gomez
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                                                          Florida Bar No. 18122
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                                                          Fx: 305-285-1668
                                                          szg@grossmanroth.com
                                                          aag@grossmanroth.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
                                                          BOIES SCHILLER FLEXNER LLP
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                                                          Office: 305-539-8400
                                                          szack@bsfllp.com
                                                          tulrich@bsfllp.com

                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
                                                          MARK MIGDAL HAYDEN LLP
                                                          8 SW 8th Street, Suite 1999
                                                          Miami, FL 33130
                                                          Office: 305-374-0440
                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ



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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “LeFebvre,” “You,” or “Your” means Defendant Jeremy LeFebvre and any of

     his affiliates, representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                  DEFENDANT ERIKA KULLBERG

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Erika Kullberg
           DATE:                   June 29, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
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                                                  Edwin Garrison, et al. v. Kevin Paffrath, et al.
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          Dated: May 17, 2023                   Respectfully submitted,

                                               By: /s/ Adam Moskowitz
                                               Adam M. Moskowitz
                                               Florida Bar No. 984280
                                               adam@moskowitz-law.com
                                               Joseph M. Kaye
                                               Florida Bar No. 117520
                                               joseph@moskowitz-law.com
                                               THE MOSKOWITZ LAW FIRM, PLLC
                                               2 Alhambra Plaza, Suite 601
                                               Coral Gables, FL 33134
                                               Telephone: (305) 740-1423

                                               By: /s/Stuart Z. Grossman
                                               Stuart Z. Grossman
                                               Florida Bar No. 156113
                                               Manuel A. Arteaga-Gomez
                                               Florida Bar No. 18122
                                               GROSSMAN ROTH YAFFA COHEN, P.A.
                                               2525 Ponce de Leon Boulevard, Suite 1150
                                               Coral Gables, FL 33134
                                               Ph: 305-442-8666
                                               Fx: 305-285-1668
                                               szg@grossmanroth.com
                                               aag@grossmanroth.com

                                               By: /s/ Stephen Neal Zack
                                               Stephen Neal Zack
                                               Florida Bar No. 145215
                                               Tyler Ulrich
                                               Florida Bar No. 94705
                                               BOIES SCHILLER FLEXNER LLP
                                               100 SE 2nd St., Suite 2800
                                               Miami, FL 33131
                                               Office: 305-539-8400
                                               szack@bsfllp.com
                                               tulrich@bsfllp.com

                                               By: /s/ Jose Ferrer
                                               Jose Ferrer
                                               Florida Bar No. 173746
                                               Michelle Genet Bernstein
                                               Florida Bar No. 1030736
                                               MARK MIGDAL HAYDEN LLP
                                               8 SW 8th Street, Suite 1999


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                                                         CASE NO. 23-21023-CIV-ALTONAGA/Damian

                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

           PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                           DEFENDANT ERIKA KULLBERG

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Erika Kullberg

      (“Kullberg”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/Stuart Z. Grossman
                                                      Stuart Z. Grossman
                                                      Florida Bar No. 156113
                                                      Manuel A. Arteaga-Gomez
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                                                          Florida Bar No. 18122
                                                          GROSSMAN ROTH YAFFA COHEN, P.A.
                                                          2525 Ponce de Leon Boulevard, Suite 1150
                                                          Coral Gables, FL 33134
                                                          Ph: 305-442-8666
                                                          Fx: 305-285-1668
                                                          szg@grossmanroth.com
                                                          aag@grossmanroth.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
                                                          BOIES SCHILLER FLEXNER LLP
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                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com
                                                          tulrich@bsfllp.com

                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
                                                          MARK MIGDAL HAYDEN LLP
                                                          8 SW 8th Street, Suite 1999
                                                          Miami, FL 33130
                                                          Office: 305-374-0440
                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ



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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Kullberg,” “You,” or “Your” means Defendant Erika Kullberg and any of her

     affiliates, representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                         /

          NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF DEFENDANT
            CREATORS AGENCY, LLC’S RULE 30(b)(6) REPRESENTATIVE(S)

           Pursuant to Federal Rule of Civil Procedure 30(b)(6), Plaintiff’s counsel will take the

    deposition of the below-named person/entity on the date, time, and at the location indicated.


           DEPONENT:               Defendant Creators Agency, LLC, (the “Creators”), by and
                                   through Creators’ corporate representative(s) with
                                   knowledge of the eight topics listed in Exhibit A, pursuant
                                   to Federal Rule of Civil Procedure 30(b)(6).
           DATE:                   June 30, 2023
           TIME:                   10:00am EST
           LOCATION:               Zoom (contact counsel for details)

           The aforesaid deposition will be before a court reporter, an officer authorized by law to

    administer oaths and take depositions in the State of Florida. The deposition is being taken for the

    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the

    Federal and Local Rules of Civil Procedure.
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           Pursuant to Federal Rule of Civil Procedure 30(b)(6), Defendant Creators Agency, LLC

    (the “Creators”) shall both designate one or more officers, directors, managing agents, or other

    persons to testify on its behalf on each topic listed on Exhibit A attached hereto.

           Dated: May 17, 2023                            Respectfully submitted,

                                                         By: /s/ Adam Moskowitz
                                                         Adam M. Moskowitz
                                                         Florida Bar No. 984280
                                                         adam@moskowitz-law.com
                                                         Joseph M. Kaye
                                                         Florida Bar No. 117520
                                                         joseph@moskowitz-law.com
                                                         THE MOSKOWITZ LAW FIRM, PLLC
                                                         2 Alhambra Plaza, Suite 601
                                                         Coral Gables, FL 33134
                                                         Telephone: (305) 740-1423

                                                         By: /s/Stuart Z. Grossman
                                                         Stuart Z. Grossman
                                                         Florida Bar No. 156113
                                                         Manuel A. Arteaga-Gomez
                                                         Florida Bar No. 18122
                                                         GROSSMAN ROTH YAFFA COHEN, P.A.
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                                                         szg@grossmanroth.com
                                                         aag@grossmanroth.com

                                                         By: /s/ Stephen Neal Zack
                                                         Stephen Neal Zack
                                                         Florida Bar No. 145215
                                                         Tyler Ulrich
                                                         Florida Bar No. 94705
                                                         BOIES SCHILLER FLEXNER LLP
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                                                         Miami, FL 33131
                                                         Office: 305-539-8400
                                                         szack@bsfllp.com
                                                         tulrich@bsfllp.com




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                                                       By: /s/ Jose Ferrer
                                                       Jose Ferrer
                                                       Florida Bar No. 173746
                                                       Michelle Genet Bernstein
                                                       Florida Bar No. 1030736
                                                       MARK MIGDAL HAYDEN LLP
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                                                       Miami, FL 33130
                                                       Office: 305-374-0440
                                                       jose@markmigdal.com
                                                       michelle@markmigdal.com
                                                       eservice@markmigdal.com

                                                       Co-Counsel for Plaintiffs and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on May 17,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                                EXHIBIT A

                                I. DEFINITIONS AND INSTRUCTIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

             1.      “CA,” “You,” or “Your” means Defendant Creators Agency LLC and any of its

     affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

             2.      “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

             3.      “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

             4.      “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

             5.      “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

             6.      “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

             7.      “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,




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     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and

     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

             8.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             9.      All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             10.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall

     be waived.

             11.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

             12.     Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.




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                                   II. EIGHT DEPOSITION SUBJECTS

              Pursuant to Rule 30(b)(6), CA shall designate and produce for deposition one or more of
    its officers, directors, managing agents, or other persons who are knowledgeable about and consent
    to testify on its behalf concerning the following subject matters:

               1.      All Documents and responses provided in response to Plaintiffs’ request for

        production, dated and served on May 18, 2023.

               2.      All Documents and Communications, including contracts or agreements,

        regarding any business You (personally or through any entity owned by You, or any of Your or

        Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

        including all documents and communications regarding any payments made to You (personally

        or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

        employees, or agents) in accordance with any such contract or agreement.

               3.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               4.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.


    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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           5.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’

    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           6.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           7.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

            8.      All Documents that show, evidence and/or relate to Your purchases, ownership,

     or control of FTT, including any wallet addresses controlled by You related to your FTT

     holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                       /

          PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                       DEFENDANT CREATORS AGENCY LLC

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Creators Agency

     LLC (“CA”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                             Respectfully submitted,

                                                       By: /s/ Adam Moskowitz
                                                       Adam M. Moskowitz
                                                       Florida Bar No. 984280
                                                       adam@moskowitz-law.com
                                                       Joseph M. Kaye
                                                       Florida Bar No. 117520
                                                       joseph@moskowitz-law.com
                                                       THE MOSKOWITZ LAW FIRM, PLLC
                                                       2 Alhambra Plaza, Suite 601
                                                       Coral Gables, FL 33134
                                                       Telephone: (305) 740-1423

                                                       By: /s/Stuart Z. Grossman
                                                       Stuart Z. Grossman
                                                       Florida Bar No. 156113
                                                       Manuel A. Arteaga-Gomez
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                                                          Florida Bar No. 18122
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                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
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                                                          Office: 305-539-8400
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                                                          tulrich@bsfllp.com

                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
                                                          MARK MIGDAL HAYDEN LLP
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                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com
                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ



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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “CA,” “You,” or “Your” means Defendant Creators Agency LLC and any of its

     affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

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     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

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     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,



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     agreements, contracts, and all other written communications, of any type, including inter and

     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries




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          at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email

          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;




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                         d.      the name of each person who ordered, authorized, and carried out

                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                     CASE NO. 1:22-cv-23753-KMM

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    SAM BANKMAN-FRIED, et al.,

           Defendants.
                                                      /

          PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR PRODUCTION TO
                    DEFENDANT GOLDEN STATE WARRIORS LLC

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Golden State

     Warriors LLC (“GSW”), produce the documents requested in response to these three requests.

    Dated: April 21, 2023                           Respectfully submitted,

                                                     By: /s/ Adam Moskowitz
                                                     Adam M. Moskowitz
                                                     Florida Bar No. 984280
                                                     adam@moskowitz-law.com
                                                     Joseph M. Kaye
                                                     Florida Bar No. 117520
                                                     joseph@moskowitz-law.com
                                                     THE MOSKOWITZ LAW FIRM, PLLC
                                                     2 Alhambra Plaza, Suite 601
                                                     Coral Gables, FL 33134
                                                     Telephone: (305) 740-1423

                                                     By: /s/ David Boies
                                                     David Boies
                                                     (Pro Hac Vice)
                                                     Alex Boies
                                                     (Pro Hac Vice)
                                                     BOIES SCHILLER FLEXNER LLP
                                                     333 Main Street
                                                     Armonk, NY 10504
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                                                          Phone: (914) 749–8200
                                                          dboies@bsfllp.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          BOIES SCHILLER FLEXNER LLP
                                                          100 SE 2nd St., Suite 2800
                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com

                                                          Co-Counsel for Plaintiff and the Class




                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on April 21, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ




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                                DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “GSW,” “You,” or “Your” means Defendant Golden State Warriors LLC and

     any of its affiliates, subsidiaries, divisions, segments, predecessors, successors, officers,

     directors, employees, representatives, or agents.

            2.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., and any of their affiliates, subsidiaries, divisions, segments, predecessors,

     successors, officers, directors, employees, representatives, or agents.

            3.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            4.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            5.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            6.       “FTX Platform” refers to the FTX Entities’ mobile application cryptocurrency

     investment service that places cryptocurrency trade orders on behalf of users.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and


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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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          addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out




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                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                             THREE REQUESTS FOR PRODUCTION
      Please refer to the Definitions and Instructions when responding to these requests. To the
          extent that any of these requests seek information considered by Defendants to be
        confidential, Plaintiff have already agreed to enter into any reasonable confidentiality
            agreement with Defendants to protect such alleged confidential information.
             1.    All Documents and Communications, including but not limited to contracts or

    agreements, regarding Your “First-Of-Its-Kind” International Partnership with the FTX Entities.

    See https://www.nba.com/warriors/warriors-ftx-partnership-20211214 (accessed April 21,

    2023).

              2.   All Documents and Communications, that show, evidence and/or relate to

     Defendant “targeting” Defendant’s Florida fans, and Florida’s FTX consumers, including but

     not limited to (1) any advertising for the FTX Platform or FTX Entities located in the Chase

     Center that was broadcast in or viewable by Florida investors and GSW fans residing in Florida

     during GSW games (including GSW home games where GSW played either the Miami Heat or

     Orlando Magic); (2) any advertising for the FTX Platform or FTX Entities located in the

     Warriors Gaming Squad court during NBA 2K League games; and (3) any NFTs that GSW

     offered for sale on the FTX Platform.

             3.    All documents regarding any and all communications with the FTX Entities

    regarding whether YBAs or FTT constitute a security under any federal or state law.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                      CASE NO. 1:22-cv-23753-KMM

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    SAM BANKMAN-FRIED, et al.,

           Defendants.
                                                         /

          NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF DEFENDANT
          GOLDEN STATE WARRIORS LLC’S RULE 30(b)(6) REPRESENTATIVE(S)

           Pursuant to Federal Rule of Civil Procedure 30(b)(6), Plaintiff’s counsel will take the

    deposition of the below-named person/entity on the date, time, and at the location indicated.


           DEPONENT:               Defendant Golden State Warriors LLC, (the “GSW”), by and
                                   through GSW’ corporate representative(s) with knowledge
                                   of the four topics listed in Exhibit A, pursuant to Federal
                                   Rule of Civil Procedure 30(b)(6).
           DATE:                   May 8, 2023
           TIME:                   10:00 AM (PDT) // 1:00 PM (EDT)
           LOCATION:               Boies, Schiller Flexner, LLP
                                   725 S Figueroa Street, 31st Floor
                                   Los Angeles, CA 90017
                                   Phone (213) 629–9040


           The aforesaid deposition will be before a court reporter, an officer authorized by law to

    administer oaths and take depositions in the State of California. The deposition is being taken for

    the purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under

    the Federal and Local Rules of Civil Procedure.
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           Pursuant to Federal Rule of Civil Procedure 30(b)(6), Defendant Golden State Warriors

    LLC (the “GSW”) shall both designate one or more officers, directors, managing agents, or other

    persons to testify on its behalf on each topic listed on Exhibit A attached hereto.

    Dated: April 21, 2023                                Respectfully submitted,

                                                         By: /s/ Adam Moskowitz
                                                         Adam M. Moskowitz
                                                         Florida Bar No. 984280
                                                         adam@moskowitz-law.com
                                                         Joseph M. Kaye
                                                         Florida Bar No. 117520
                                                         joseph@moskowitz-law.com
                                                         THE MOSKOWITZ LAW FIRM, PLLC
                                                         2 Alhambra Plaza, Suite 601
                                                         Coral Gables, FL 33134
                                                         Telephone: (305) 740-1423

                                                         By: /s/ David Boies
                                                         David Boies
                                                         (Pro Hac Vice)
                                                         Alex Boies
                                                         (Pro Hac Vice)
                                                         BOIES SCHILLER FLEXNER LLP
                                                         333 Main Street
                                                         Armonk, NY 10504
                                                         Phone: (914) 749–8200
                                                         dboies@bsfllp.com

                                                         By: /s/ Stephen Neal Zack
                                                         Stephen Neal Zack
                                                         Florida Bar No. 145215
                                                         BOIES SCHILLER FLEXNER LLP
                                                         100 SE 2nd St., Suite 2800
                                                         Miami, FL 33131
                                                         Office: 305-539-8400
                                                         szack@bsfllp.com

                                                         Co-Counsel for Plaintiff and the Class




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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on April 21,

    2023, via the Court’s CM/ECF system, which will send notification of such filing to all attorneys

    of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                                EXHIBIT A

                               I. DEFINITIONS AND INSTRUCTIONS

    Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “GSW,” “You,” or “Your” means Defendant, Golden State Warriors LLC, any

     of its affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            2.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., and any of their affiliates, subsidiaries, divisions, segments, predecessors,

     successors, officers, directors, employees, representatives, or agents.

            3.       “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            4.       “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            5.       “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            6.       “FTX Platform” refers to the FTX Entities’ mobile application cryptocurrency

     investment service that places cryptocurrency trade orders on behalf of users.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,



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     agreements, contracts, and all other written communications, of any type, including inter and

     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

             8.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             9.      All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             10.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall

     be waived.

             11.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

             12.     Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.




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                                   II. FOUR DEPOSITION SUBJECTS

             Pursuant to Rule 30(b)(6), the GSW shall designate and produce for deposition one or more
    of its officers, directors, managing agents, or other persons who are knowledgeable about and
    consent to testify on its behalf concerning the following subject matters:

              1.      All Documents and responses provided in response to Plaintiffs’ request for

     production, each dated and served on April 21, 2023.

              2.      All contracts or agreements and circumstances regarding Your “First-Of-Its-

     Kind”         International     Partnership      with      the      FTX         Entities.     See

     https://www.nba.com/warriors/warriors-ftx-partnership-20211214 (accessed April 21, 2023).

              3.      All Documents and Communications, that show, evidence and/or relate to

     Defendant “targeting” Defendant’s Florida fans, and Florida’s FTX consumers, including but

     not limited to (1) any advertising for the FTX Platform or FTX Entities located in the Chase

     Center that was broadcast in or viewable by Florida investors and GSW fans residing in Florida

     during GSW games (including GSW home games where GSW played either the Miami Heat or

     Orlando Magic); (2) any advertising for the FTX Platform or FTX Entities located in the

     Warriors Gaming Squad court during NBA 2K League games; and (3) any NFTs that GSW

     offered for sale on the FTX Platform.

              4.      All research or due diligence YOU and/or the NBA performed about the FTX

     Entities, the FTX Platform, or whether YBAs or FTT constitute a security under any federal or

     state law.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                     CASE NO. 1:22-cv-23753-KMM

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    SAM BANKMAN-FRIED, et al.,

           Defendants.
                                                      /

          PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR PRODUCTION TO
                        DEFENDANT LAWRENCE GENE DAVID

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Lawrence Gene

     David (“David”), produce the documents requested in response to these three requests.

    Dated: April 21, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/ David Boies
                                                      David Boies
                                                      (Pro Hac Vice)
                                                      Alex Boies
                                                      (Pro Hac Vice)
                                                      BOIES SCHILLER FLEXNER LLP
                                                      333 Main Street
                                                      Armonk, NY 10504
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                                                          Phone: (914) 749–8200
                                                          dboies@bsfllp.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          BOIES SCHILLER FLEXNER LLP
                                                          100 SE 2nd St., Suite 2800
                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com

                                                          Co-Counsel for Plaintiff and the Class




                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on April 21, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ




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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “David,” “You,” or “Your” means Defendant Lawrence Gene David and any of

     his affiliates, representatives, or agents.

            2.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., and any of their affiliates, subsidiaries, divisions, segments, predecessors,

     successors, officers, directors, employees, representatives, or agents.

            3.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            4.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            5.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            6.       “FTX Platform” refers to the FTX Entities’ mobile application cryptocurrency

     investment service that places cryptocurrency trade orders on behalf of users.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and

     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,


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     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email

           addresses provided in the signature blocks of the attorneys serving these requests.




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    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out

                                 the destruction of any responsive document;




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                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                             THREE REQUESTS FOR PRODUCTION
      Please refer to the Definitions and Instructions when responding to these requests. To the
          extent that any of these requests seek information considered by Defendants to be
        confidential, Plaintiff have already agreed to enter into any reasonable confidentiality
            agreement with Defendants to protect such alleged confidential information.
           1.     All Documents and Communications, including contracts or agreements,

    regarding any business You conducted with the FTX Entities.

            2.    All Documents and Communications, that show, evidence and/or relate to

     Defendant “targeting” Defendant’s Florida fans, and Florida’s FTX consumers, including but

     not limited to the “Don’t Miss Out on Crypto” 2022 Super Bowl advertisement. See

     https://youtu.be/hWMnbJJpeZc (accessed April 21, 2023).

           3.     All documents regarding any and all communications with the FTX Entities

    regarding whether YBAs or FTT constitute a security under any federal or state law.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                      CASE NO. 1:22-cv-23753-KMM

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    SAM BANKMAN-FRIED, et al.,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                              DEFENDANT LAWRENCE GENE DAVID

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Lawrence Gene David
           DATE:                   May 11, 2023
           TIME:                   10:00 AM (PDT) // 1:00 PM (EDT)
           LOCATION:               Boies, Schiller Flexner, LLP
                                   725 S Figueroa Street, 31st Floor
                                   Los Angeles, CA 90017
                                   Phone (213) 629–9040

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of California. The deposition is being taken for
    the purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under
    the Federal and Local Rules of Civil Procedure.



    Dated: April 21, 2023                               Respectfully submitted,

                                                        By: /s/ Adam Moskowitz
                                                        Adam M. Moskowitz
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                                                       Florida Bar No. 984280
                                                       adam@moskowitz-law.com
                                                       Joseph M. Kaye
                                                       Florida Bar No. 117520
                                                       joseph@moskowitz-law.com
                                                       THE MOSKOWITZ LAW FIRM, PLLC
                                                       2 Alhambra Plaza, Suite 601
                                                       Coral Gables, FL 33134
                                                       Telephone: (305) 740-1423

                                                       By: /s/ David Boies
                                                       David Boies
                                                       (Pro Hac Vice)
                                                       Alex Boies
                                                       (Pro Hac Vice)
                                                       BOIES SCHILLER FLEXNER LLP
                                                       333 Main Street
                                                       Armonk, NY 10504
                                                       Phone: (914) 749–8200
                                                       dboies@bsfllp.com

                                                       By: /s/ Stephen Neal Zack
                                                       Stephen Neal Zack
                                                       Florida Bar No. 145215
                                                       BOIES SCHILLER FLEXNER LLP
                                                       100 SE 2nd St., Suite 2800
                                                       Miami, FL 33131
                                                       Office: 305-539-8400
                                                       szack@bsfllp.com

                                                       Co-Counsel for Plaintiff and the Class



                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on April 21,

    2023, via the Court’s CM/ECF system, which will send notification of such filing to all attorneys

    of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                     CASE NO. 1:22-cv-23753-KMM

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    SAM BANKMAN-FRIED, et al.,

           Defendants.
                                                     /

          PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR PRODUCTION TO
                            DEFENDANT NAOMI OSAKA

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Naomi Osaka

     (“Osaka”), produce the documents requested in response to these three requests.

    Dated: April 21, 2023                           Respectfully submitted,

                                                     By: /s/ Adam Moskowitz
                                                     Adam M. Moskowitz
                                                     Florida Bar No. 984280
                                                     adam@moskowitz-law.com
                                                     Joseph M. Kaye
                                                     Florida Bar No. 117520
                                                     joseph@moskowitz-law.com
                                                     THE MOSKOWITZ LAW FIRM, PLLC
                                                     2 Alhambra Plaza, Suite 601
                                                     Coral Gables, FL 33134
                                                     Telephone: (305) 740-1423

                                                     By: /s/ David Boies
                                                     David Boies
                                                     (Pro Hac Vice)
                                                     Alex Boies
                                                     (Pro Hac Vice)
                                                     BOIES SCHILLER FLEXNER LLP
                                                     333 Main Street
                                                     Armonk, NY 10504
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                                                                           Case No. 1:22-cv-23753-KMM

                                                          Phone: (914) 749–8200
                                                          dboies@bsfllp.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          BOIES SCHILLER FLEXNER LLP
                                                          100 SE 2nd St., Suite 2800
                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com

                                                          Co-Counsel for Plaintiff and the Class




                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on April 21, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ




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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Osaka,” “You,” or “Your” means Defendant Naomi Osaka and any of her

     affiliates, representatives, or agents.

            2.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., and any of their affiliates, subsidiaries, divisions, segments, predecessors,

     successors, officers, directors, employees, representatives, or agents.

            3.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            4.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            5.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            6.       “FTX Platform” refers to the FTX Entities’ mobile application cryptocurrency

     investment service that places cryptocurrency trade orders on behalf of users.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and

     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,


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     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email

           addresses provided in the signature blocks of the attorneys serving these requests.




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    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out

                                 the destruction of any responsive document;




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                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                             THREE REQUESTS FOR PRODUCTION
      Please refer to the Definitions and Instructions when responding to these requests. To the
          extent that any of these requests seek information considered by Defendants to be
        confidential, Plaintiff have already agreed to enter into any reasonable confidentiality
            agreement with Defendants to protect such alleged confidential information.
             1.     All Documents and Communications, including contracts or agreements,

    regarding      Your     Global      Partnership            with    the    FTX      Entities.    See

    https://www.prnewswire.com/news-releases/naomi-osaka-world-renowned-tennis-player-and-

    activist-becomes-global-ambassador-and-shareholder-of-ftx-with-long-term-partnership-to-

    increase-access-and-opportunity-for-women-in-crypto-301506633.html (accessed April 21,

    2023).

              2.    All Documents and Communications, that show, evidence and/or relate to

     Defendant “targeting” Defendant’s Florida fans, and Florida’s FTX consumers, including but

     not limited to, (1) through wearing the FTX logo on the kit Defendant wore at tournaments,

     including the 2022 Miami Open, and (2) through any and all content you directed, created,

     produced, or participated in in association with the FTX Entities designed to promote the FTX

     Platform,     FTT,   and/or     YBAs,   such         as     the   advertisement   viewable    here:

     https://youtu.be/pkuf8avR50k (accessed April 21, 2023).

             3.     All documents regarding any and all communications with the FTX Entities

    regarding whether YBAs or FTT constitute a security under any federal or state law.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                      CASE NO. 1:22-cv-23753-KMM

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    SAM BANKMAN-FRIED, et al.,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                    DEFENDANT NAOMI OSAKA

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Naomi Osaka
           DATE:                   May 10, 2023
           TIME:                   10:00 AM (PDT) // 1:00 PM (EDT)
           LOCATION:               Boies, Schiller Flexner, LLP
                                   725 S Figueroa Street, 31st Floor
                                   Los Angeles, CA 90017
                                   Phone (213) 629–9040

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of California. The deposition is being taken for
    the purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under
    the Federal and Local Rules of Civil Procedure.



    Dated: April 21, 2023                               Respectfully submitted,

                                                        By: /s/ Adam Moskowitz
                                                        Adam M. Moskowitz
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                                                       Florida Bar No. 984280
                                                       adam@moskowitz-law.com
                                                       Joseph M. Kaye
                                                       Florida Bar No. 117520
                                                       joseph@moskowitz-law.com
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                                                       Coral Gables, FL 33134
                                                       Telephone: (305) 740-1423

                                                       By: /s/ David Boies
                                                       David Boies
                                                       (Pro Hac Vice)
                                                       Alex Boies
                                                       (Pro Hac Vice)
                                                       BOIES SCHILLER FLEXNER LLP
                                                       333 Main Street
                                                       Armonk, NY 10504
                                                       Phone: (914) 749–8200
                                                       dboies@bsfllp.com

                                                       By: /s/ Stephen Neal Zack
                                                       Stephen Neal Zack
                                                       Florida Bar No. 145215
                                                       BOIES SCHILLER FLEXNER LLP
                                                       100 SE 2nd St., Suite 2800
                                                       Miami, FL 33131
                                                       Office: 305-539-8400
                                                       szack@bsfllp.com

                                                       Co-Counsel for Plaintiff and the Class



                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on April 21,

    2023, via the Court’s CM/ECF system, which will send notification of such filing to all attorneys

    of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                     CASE NO. 1:22-cv-23753-KMM

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    SAM BANKMAN-FRIED, et al.,

           Defendants.
                                                      /

          PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR PRODUCTION TO
                           DEFENDANT STEPHEN CURRY

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Stephen Curry

     (“Curry”), produce the documents requested in response to these three requests.

    Dated: April 21, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/ David Boies
                                                      David Boies
                                                      (Pro Hac Vice)
                                                      Alex Boies
                                                      (Pro Hac Vice)
                                                      BOIES SCHILLER FLEXNER LLP
                                                      333 Main Street
                                                      Armonk, NY 10504
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                                                                           Case No. 1:22-cv-23753-KMM

                                                          Phone: (914) 749–8200
                                                          dboies@bsfllp.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          BOIES SCHILLER FLEXNER LLP
                                                          100 SE 2nd St., Suite 2800
                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com

                                                          Co-Counsel for Plaintiff and the Class




                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on April 21, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ




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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Curry,” “You,” or “Your” means Defendant Stephen Curry and any of his

     affiliates, representatives, or agents.

            2.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., and any of their affiliates, subsidiaries, divisions, segments, predecessors,

     successors, officers, directors, employees, representatives, or agents.

            3.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            4.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            5.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            6.       “FTX Platform” refers to the FTX Entities’ mobile application cryptocurrency

     investment service that places cryptocurrency trade orders on behalf of users.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and

     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,


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     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email

           addresses provided in the signature blocks of the attorneys serving these requests.




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    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document

                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out

                                 the destruction of any responsive document;




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                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                             THREE REQUESTS FOR PRODUCTION
      Please refer to the Definitions and Instructions when responding to these requests. To the
          extent that any of these requests seek information considered by Defendants to be
        confidential, Plaintiff have already agreed to enter into any reasonable confidentiality
            agreement with Defendants to protect such alleged confidential information.
           1.     All Documents and Communications, including contracts or agreements,

    regarding     Your      Global     Partnership       with     the     FTX       Entities.     See

    https://www.prnewswire.com/news-releases/nba-superstar-stephen-curry-becomes-global-

    ambassador-and-shareholder-of-leading-cryptocurrency-exchange-ftx-through-long-term-

    partnership-301370497.html (accessed April 21, 2023).

            2.    All Documents and Communications, including but not limited to Contracts or

     Agreements and any negotiations, that shows, evidences and/or relates to Defendant “targeting”

     Defendant’s Florida fans, and Florida’s FTX consumers, including but not limited to, through

     any NFTs You offered for sale on the FTX Platform, or through the extremely well-marketed

     the “#notanexpert” campaign and Your statements made in that campaign, including “I’m not

     an expert, and I don’t need to be. With FTX I have everything I need to buy, sell, and trade

     crypto safely.” See https://www.youtube.com/watch?v=gsy2N-XI04o (accessed April 21,

     2023); see also https://www.prnewswire.com/news-releases/stephen-curry-drops-surprise-nft-

     for-charity-to-commemorate-breaking-all-time-nba-three-point-record-301447687.html

     (accessed April 21, 2023).

           3.     All documents regarding any and all communications with the FTX Entities

    regarding whether YBAs or FTT constitute a security under any federal or state law.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                      CASE NO. 1:22-cv-23753-KMM

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    SAM BANKMAN-FRIED, et al.,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                   DEFENDANT STEPHEN CURRY

           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Stephen Curry
           DATE:                   May 9, 2023
           TIME:                   10:00 AM (PDT) // 1:00 PM (EDT)
           LOCATION:               Boies, Schiller Flexner, LLP
                                   725 S Figueroa Street, 31st Floor
                                   Los Angeles, CA 90017
                                   Phone (213) 629–9040


           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of California. The deposition is being taken for
    the purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under
    the Federal and Local Rules of Civil Procedure.
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    Dated: April 21, 2023                              Respectfully submitted,

                                                       By: /s/ Adam Moskowitz
                                                       Adam M. Moskowitz
                                                       Florida Bar No. 984280
                                                       adam@moskowitz-law.com
                                                       Joseph M. Kaye
                                                       Florida Bar No. 117520
                                                       joseph@moskowitz-law.com
                                                       THE MOSKOWITZ LAW FIRM, PLLC
                                                       2 Alhambra Plaza, Suite 601
                                                       Coral Gables, FL 33134
                                                       Telephone: (305) 740-1423

                                                       By: /s/ David Boies
                                                       David Boies
                                                       (Pro Hac Vice)
                                                       Alex Boies
                                                       (Pro Hac Vice)
                                                       BOIES SCHILLER FLEXNER LLP
                                                       333 Main Street
                                                       Armonk, NY 10504
                                                       Phone: (914) 749–8200
                                                       dboies@bsfllp.com

                                                       By: /s/ Stephen Neal Zack
                                                       Stephen Neal Zack
                                                       Florida Bar No. 145215
                                                       BOIES SCHILLER FLEXNER LLP
                                                       100 SE 2nd St., Suite 2800
                                                       Miami, FL 33131
                                                       Office: 305-539-8400
                                                       szack@bsfllp.com
                                                       Co-Counsel for Plaintiff and the Class


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was filed on April 21,

    2023, via Court’s CM/ECF system, which will send notification to all attorneys of record.


                                                 By: /s/ Adam M. Moskowitz______
                                                    ADAM M. MOSKOWITZ




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                     CASE NO. 1:22-cv-23753-KMM

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    SAM BANKMAN-FRIED, et al.,

           Defendants.
                                                      /

          PLAINTIFF’S FIRST SET OF THREE REQUESTS FOR PRODUCTION TO
                           DEFENDANT UDONIS HASLEM

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Udonis Haslem

     (“Haslem”), produce the documents requested in response to these three requests.

    Dated: May 26, 2023                              Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      3250 Mary Street, Suite 202
                                                      Miami, FL 33133
                                                      Mailing Address:
                                                      P.O. Box 653409
                                                      Miami, FL 33175
                                                      Telephone: (305) 740-1423
                                                      adam@moskowitz-law.com
                                                      joseph@moskowitz-law.com

                                                      By: /s/ David Boies
                                                      David Boies
                                                      (Pro Hac Vice)
                                                      Alex Boies
                                                      (Pro Hac Vice)
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                                                          BOIES SCHILLER FLEXNER LLP
                                                          333 Main Street
                                                          Armonk, NY 10504
                                                          Phone: (914) 749–8200
                                                          dboies@bsfllp.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          BOIES SCHILLER FLEXNER LLP
                                                          100 SE 2nd St., Suite 2800
                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com

                                                          By: /s/Jose M. Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
                                                          MARK MIGDAL HAYDEN LLP
                                                          80 SW 8th Street, Suite 1999
                                                          Miami, FL 33130
                                                          Office: 305-374-0440
                                                          jose@markmigdal.com
                                                          michelle@markmigdal.com

                                                          Co-Counsel for Plaintiff and the Class



                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 26, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ




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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Haslem,” “You,” or “Your” means Defendant Udonis Haslem and any of his

     affiliates, representatives, or agents.

            2.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., and any of their affiliates, subsidiaries, divisions, segments, predecessors,

     successors, officers, directors, employees, representatives, or agents.

            3.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            4.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            5.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            6.       “FTX Platform” refers to the FTX Entities’ mobile application cryptocurrency

     investment service that places cryptocurrency trade orders on behalf of users.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and

     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,


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     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.




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                                          INSTRUCTIONS

    1.    Production of documents and items requested herein shall be made at the offices of The

          Moskowitz Law Firm, P.O. Box 653409, Miami, FL 33133 or via electronic mail to the

          email addresses provided in the signature blocks of the attorneys serving these requests.

    2.    These requests shall include all documents that are in the possession, custody or control of

          Defendant or in the possession, custody or control of the present or former agents,

          representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

          Defendant, or its present or former agents, representatives, or attorneys.

    3.    For any document covered by a request that is withheld from production, Defendant shall

          provide the following information in the form of a privilege log:

                         a.      the reasons and facts supporting any withholding;

                         b.      the date such document was prepared;

                         c.      the names, employment positions and addresses of the author or

                                 preparers of such document;

                         d.      the names, employment positions, and the addresses of each person

                                 who received such document;

                         e.      the title and a brief description of the document; and

                         f.      the number of the request under which such document would be

                                 produced but for the objection.

    4.    If any document responsive to a request has been destroyed, produce all documents

          describing or referencing:

                         a.      the contents of the lost or destroyed document;

                         b.      all locations in which any copy of the lost or destroyed document




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                                 had been maintained;

                         c.      the date of such loss or destruction;

                         d.      the name of each person who ordered, authorized, and carried out

                                 the destruction of any responsive document;

                         e.      all document retention and destruction policies in effect at the time

                                 any requested document was destroyed; and

                         f.      all efforts made to locate any responsive document alleged to have

                                 been lost.

    5.    In producing the documents requested, indicate the specific request(s) pursuant to which

          document or group of documents is being produced.

    6.    These requests should be deemed continuing, and supplemental productions should be

          provided as additional documents become available.

    7.    All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

               produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

               with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

               electronic format to single page tiff




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                             THREE REQUESTS FOR PRODUCTION
      Please refer to the Definitions and Instructions when responding to these requests. To the
          extent that any of these requests seek information considered by Defendants to be
        confidential, Plaintiff have already agreed to enter into any reasonable confidentiality
            agreement with Defendants to protect such alleged confidential information.
            1.    All Documents and Communications, including contracts or agreements,

     regarding Your Partnership with the FTX Entities. See https://heatnation.com/media/udonis-

     haslem-reveals-ftx-gypped-him-out-of-15m/ (accessed May 26, 2023).

            2.    All Documents and Communications, that show, evidence and/or relate to

     Defendant “targeting” Defendant’s Florida fans and Florida’s FTX consumers, including but not

     limited to the FTX Charity Hackathon and “You In?” advertising campaign. See

     https://www.youtube.com/watch?v=4sD8uLYzzwM (accessed May 26, 2023).

           3.     All documents regarding any and all communications with the FTX Entities

    regarding whether YBAs or FTT constitute a security under any federal or state law.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                      CASE NO. 1:22-cv-23753-KMM

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    SAM BANKMAN-FRIED, et al.,

           Defendants.
                                                         /

                   NOTICE OF TAKING THE VIDEOTAPED DEPOSITION OF
                                   DEFENDANT UDONIS HASLEM
           Pursuant to Federal Rule of Civil Procedure 30, Plaintiff’s counsel will take the deposition
    of the below-named person/entity on the date, time, and at the location indicated.

           DEPONENT:               Defendant Udonis Haslem
           DATE:                   July 20, 2023
           TIME:                   10:00 AM (EDT)
           LOCATION:               Boies, Schiller Flexner, LLP
                                   BOIES SCHILLER FLEXNER LLP
                                   100 SE 2nd St., Suite 2800
                                   Miami, FL 33131

           The aforesaid deposition will be before a court reporter, an officer authorized by law to
    administer oaths and take depositions in the State of Florida. The deposition is being taken for the
    purpose of discovery, for use at trial, or both, or for such other purposes as are permitted under the
    Federal and Local Rules of Civil Procedure.
    Dated: May 30, 2023                                 Respectfully submitted,

                                                        By: /s/ Adam Moskowitz
                                                        Adam M. Moskowitz
                                                        Florida Bar No. 984280
                                                        Joseph M. Kaye
                                                        Florida Bar No. 117520
                                                        THE MOSKOWITZ LAW FIRM, PLLC
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                                             3250 Mary Street, Suite 202
                                             Miami, FL 33133
                                             Mailing Address:
                                             P.O. Box 653409
                                             Miami, FL 33175
                                             Telephone: (305) 740-1423
                                             adam@moskowitz-law.com
                                             joseph@moskowitz-law.com

                                             By: /s/ David Boies
                                             David Boies
                                             (Pro Hac Vice)
                                             Alex Boies
                                             (Pro Hac Vice)
                                             BOIES SCHILLER FLEXNER LLP
                                             333 Main Street
                                             Armonk, NY 10504
                                             Phone: (914) 749–8200
                                             dboies@bsfllp.com

                                             By: /s/ Stephen Neal Zack
                                             Stephen Neal Zack
                                             Florida Bar No. 145215
                                             BOIES SCHILLER FLEXNER LLP
                                             100 SE 2nd St., Suite 2800
                                             Miami, FL 33131
                                             Office: 305-539-8400
                                             szack@bsfllp.com

                                             By: /s/Jose M. Ferrer
                                             Jose Ferrer
                                             Florida Bar No. 173746
                                             Michelle Genet Bernstein
                                             Florida Bar No. 1030736
                                             MARK MIGDAL HAYDEN LLP
                                             80 SW 8th Street, Suite 1999
                                             Miami, FL 33130
                                             Office: 305-374-0440
                                             jose@markmigdal.com
                                             michelle@markmigdal.com

                                             Co-Counsel for Plaintiff and the Class




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                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the forgoing was served on May 30,

    2023, via email to all attorneys of record.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ




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                                 A                                    B               C              D              E              F
 1 Project Name                                                Status          Lead(s)        Investment Ty Category         Investment am
 2 Modulo Capital                                              8. Closed       Adam Jin, Ram Equity         Mining            $550,000,000
 3 Anthropic                                                   8. Closed       Sam Bankman-Equity           AI                $499,999,900
 4 Digital Assets DA AG                                        8. Closed       Sam Bankman-Acquisition, EquMining             $320,000,000
 5 IEX                                                         8. Closed       Sam Bankman-Acquisition      Exchange          $270,000,000
 6 Genesis Digital Assets (Feb 22)                             8. Closed       Adam Jin, Ram Equity         Mining            $250,565,931
 7 Modulo Capital (Second Subscription)                        8. Closed       Sam Bankman-Fund                               $250,000,000
 8 K5                                                          4. Soft committ Sam Bankman-Equity           Fund              $200,000,000
 9 Modulo Capital                                              8. Closed       Sam Bankman-Fund                               $150,000,000
10 Pionic (Toss)                                               8. Closed       Sam Bankman-Equity           Digital Banking $113,700,000
11 LUNA                                                        9. Exited       Brian Lee      OTC, Token                      $107,700,346
12 Genesis Digital Assets                                      8. Closed       Ramnik Arora, AEquity        Mining            $100,000,000
13 Dave Inc                                                    8. Closed       Ramnik Arora Convertible NotDigital Banking $100,000,000
14 Sequoia Capital Fund, L.P.                                  8. Closed       Sam Bankman-Fund             Fund              $100,000,000
15 Sequoia Capital Heritage Fund / SCHF Cayman LP              8. Closed       Sam Bankman-Fund             Fund              $100,000,000
16 LINEAR                                                      9. Exited       Brian Lee      OTC, Token                      $100,000,000
17 Mysten Labs                                                 8. Closed       Amy Wu         Equity        Infrastructure     $99,999,843
18 ONT                                                         9. Exited       Brian Lee      OTC, Token                       $96,222,857
19 VOYAGER DIGITAL LTD.                                        8. Closed       Ramnik Arora Equity          Borrowing/Lend $75,000,001
20 VOYAGER DIGITAL LTD. (Loan)                                 8. Closed       Ramnik Arora Promissory Note                    $75,000,000
21 Aptos / Matonee Inc(Series A)                               8. Closed       Ramnik Arora Equity          Layer1             $74,999,941
22 HOLE Tokens                                                 8. Closed       Ramnik Arora Token                              $67,500,000
23 Liquid Value Fund I LP                                      8. Closed       Ramnik Arora Fund            Fund               $60,000,000
24 Triple Dot                                                  8. Closed       Amy Wu         Equity        Gaming             $50,000,000
25 NEAR (FTX follow up)                                        8. Closed       Brian Lee, Amy Token         Layer1             $50,000,000
26 Polygon Network                                             8. Closed       Ramnik Arora Token           Layer2             $50,000,000
27 Yuga Labs (BAYC)                                            8. Closed       Amy Wu         Equity        NFT                $50,000,000
28 Exodus                                                      8. Closed       Sam Bankman-Equity           Wallet             $49,999,986
29 SkyBridge Capital II, LLC                                   7. Pending on pRamnik Arora Fund                                $45,000,000
30 REN                                                         9. Exited       Brian Lee      OTC, Token                       $40,948,702
31 Critical Ideas, Inc. (Chipper Cash)                         8. Closed       Ramnik Arora Equity                             $40,000,000
32 LayerZero Labs Ltd                                          8. Closed       Ramnik Arora, Equity         Bridge, Infrastru $40,000,000
33 Brinc Drones                                                8. Closed       Ramnik Arora Equity                             $39,999,992
34 Chipper Cash / Critical Ideas Inc (additional investment)   8. Closed       Ramnik Arora Equity                             $35,000,000
35 Play Up                                                     8. Closed       Sam Bankman-Fried                               $35,000,000
36 Voyager Digital PIPE                                        8. Closed       Ramnik Arora PIPE                               $35,000,000
37 FTM                                                         9. Exited       Brian Lee      OTC, Token                       $34,949,727
38 Port Finance (Token Swap) / Contrarian Defi LLC             8. Closed       Sam Bankman-Token                               $33,400,000
39 PROM                                                        9. Exited       Brian Lee      OTC, Token                       $30,725,590
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     UNIFORM APPLICATION FOR INVESTMENT ADVISER REGISTRATION AND REPORT BY EXEMPT REPORTING ADVISERS

Primary Business Name: SINO GLOBAL CAPITAL MANAGEMENT LLC                                                                                         CRD Number: 326303
Other-Than-Annual Amendment - All Sections                                                                                                                 Rev. 10/2021
6/30/2023 12:36:30 PM



WARNING: Complete this form truthfully. False statements or omissions may result in denial of your application, revocation of your registration, or criminal
         prosecution. You must keep this form updated by filing periodic amendments. See Form ADV General Instruction 4.
Item 1 Identifying Information

Responses to this Item tell us who you are, where you are doing business, and how we can contact you. If you are filing an umbrella registration, the
information in Item 1 should be provided for the filing adviser only. General Instruction 5 provides information to assist you with filing an umbrella registration.

A.   Your full legal name (if you are a sole proprietor, your last, first, and middle names):
     SINO GLOBAL CAPITAL MANAGEMENT LLC


B.   (1) Name under which you primarily conduct your advisory business, if different from Item 1.A.
     SINO GLOBAL CAPITAL MANAGEMENT LLC


     List on Section 1.B. of Schedule D any additional names under which you conduct your advisory business.


     (2) If you are using this Form ADV to register more than one investment adviser under an umbrella registration, check this box


     If you check this box, complete a Schedule R for each relying adviser.


C.   If this filing is reporting a change in your legal name (Item 1.A.) or primary business name (Item 1.B.(1)), enter the new name and specify whether the
     name change is of
        your legal name or        your primary business name:


D.   (1) If you are registered with the SEC as an investment adviser, your SEC file number:
     (2) If you report to the SEC as an exempt reporting adviser, your SEC file number: 802-127878
     (3) If you have one or more Central Index Key numbers assigned by the SEC ("CIK Numbers"), all of your CIK numbers:
                                                                              No Information Filed



E.   (1) If you have a number ("CRD Number") assigned by the FINRA's CRD system or by the IARD system, your CRD number: 326303


     If your firm does not have a CRD number, skip this Item 1.E. Do not provide the CRD number of one of your officers, employees, or affiliates.


     (2) If you have additional CRD Numbers, your additional CRD numbers:
                                                                              No Information Filed



F.   Principal Office and Place of Business
     (1) Address (do not use a P.O. Box):
         Number and Street 1:                                                                Number and Street 2:
         1111 BRICKELL AVENUE, 10TH FLOOR
         City:                           State:                                              Country:                        ZIP+4/Postal Code:
         MIAMI                                   Florida                                     United States                   33131


         If this address is a private residence, check this box:


         List on Section 1.F. of Schedule D any office, other than your principal office and place of business, at which you conduct investment advisory business. If
         you are applying for registration, or are registered, with one or more state securities authorities, you must list all of your offices in the state or states to
         which you are applying for registration or with whom you are registered. If you are applying for SEC registration, if you are registered only with the SEC, or
         if you are reporting to the SEC as an exempt reporting adviser, list the largest twenty-five offices in terms of numbers of employees as of the end of your
         most recently completed fiscal year.


     (2) Days of week that you normally conduct business at your principal office and place of business:
            Monday - Friday      Other:

         Normal business hours at this location:
         9-5
     (3) Telephone number at this location:
         1 206 972 6047
     (4) Facsimile number at this location, if any:
     (5) What is the total number of offices, other than your principal office and place of business, at which you conduct investment advisory business as of
         the end of your most recently completed fiscal year?
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     Mailing address, if different from your principal office and place of business address:

     Number and Street 1:                                                   Number and Street 2:
     City:                          State:                                  Country:                       ZIP+4/Postal Code:


     If this address is a private residence, check this box:


H.   If you are a sole proprietor, state your full residence address, if different from your principal office and place of business address in Item 1.F.:

     Number and Street 1:                                                    Number and Street 2:
     City:                          State:                                  Country:                       ZIP+4/Postal Code:

                                                                                                                                                                      Yes No
I.   Do you have one or more websites or accounts on publicly available social media platforms (including, but not limited to, Twitter, Facebook and
     LinkedIn)?


     If "yes," list all firm website addresses and the address for each of the firm's accounts on publicly available social media platforms on Section 1.I. of Schedule D.
     If a website address serves as a portal through which to access other information you have published on the web, you may list the portal without listing
     addresses for all of the other information. You may need to list more than one portal address. Do not provide the addresses of websites or accounts on publicly
     available social media platforms where you do not control the content. Do not provide the individual electronic mail (e-mail) addresses of employees or the
     addresses of employee accounts on publicly available social media platforms.


J.   Chief Compliance Officer
     (1) Provide the name and contact information of your Chief Compliance Officer. If you are an exempt reporting adviser, you must provide the contact
     information for your Chief Compliance Officer, if you have one. If not, you must complete Item 1.K. below.

     Name:                                                                   Other titles, if any:
     Telephone number:                                                       Facsimile number, if any:
     Number and Street 1:                                                    Number and Street 2:
     City:                          State:                                  Country:                       ZIP+4/Postal Code:


     Electronic mail (e-mail) address, if Chief Compliance Officer has one:


     (2) If your Chief Compliance Officer is compensated or employed by any person other than you, a related person or an investment company registered
     under the Investment Company Act of 1940 that you advise for providing chief compliance officer services to you, provide the person's name and IRS
     Employer Identification Number (if any):
     Name:
     IRS Employer Identification Number:


K.   Additional Regulatory Contact Person: If a person other than the Chief Compliance Officer is authorized to receive information and respond to questions
     about this Form ADV, you may provide that information here.

     Name:                                                                  Titles:
     Telephone number:                                                      Facsimile number, if any:
     Number and Street 1:                                                   Number and Street 2:
     City:                          State:                                  Country:                       ZIP+4/Postal Code:


     Electronic mail (e-mail) address, if contact person has one:

                                                                                                                                                                      Yes No
L.   Do you maintain some or all of the books and records you are required to keep under Section 204 of the Advisers Act, or similar state law,
     somewhere other than your principal office and place of business?


     If "yes," complete Section 1.L. of Schedule D.
                                                                                                                                                                      Yes No
M.   Are you registered with a foreign financial regulatory authority?


     Answer "no" if you are not registered with a foreign financial regulatory authority, even if you have an affiliate that is registered with a foreign financial
     regulatory authority. If "yes," complete Section 1.M. of Schedule D.
                                                                                                                                                                      Yes No
N.   Are you a public reporting company under Sections 12 or 15(d) of the Securities Exchange Act of 1934?

                                                                                                                                                                      Yes No
O.   Did you have $1 billion or more in assets on the last day of your most recent fiscal year?
     If yes, what is the approximate amount of your assets:
          $1 billion to less than $10 billion

          $10 billion to less than $50 billion
          $50 billion or more

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     For purposes of Item 1.O. only, "assets" refers to your total assets, rather than the assets you manage on behalf of clients. Determine your total assets using
     the total assets shown on the balance sheet for your most recent fiscal year end.


P.   Provide your Legal Entity Identifier if you have one:



     A legal entity identifier is a unique number that companies use to identify each other in the financial marketplace. You may not have a legal entity
     identifier.




SECTION 1.B. Other Business Names


                                                                        No Information Filed




SECTION 1.F. Other Offices


                                                                        No Information Filed




SECTION 1.I. Website Addresses


 List your website addresses, including addresses for accounts on publicly available social media platforms where you control the content (including, but not
 limited to, Twitter, Facebook and/or LinkedIn). You must complete a separate Schedule D Section 1.I. for each website or account on a publicly available
 social media platform.


 Address of Website/Account on Publicly Available Social Media Platform:      https://sinoglobalcapital.com/




 Address of Website/Account on Publicly Available Social Media Platform:      https://twitter.com/SinoGlobalCap




 Address of Website/Account on Publicly Available Social Media Platform:      https://www.linkedin.com/company/sinoglobalcapital




SECTION 1.L. Location of Books and Records


                                                                        No Information Filed



SECTION 1.M. Registration with Foreign Financial Regulatory Authorities


                                                                        No Information Filed




Item 2 SEC Registration/Reporting
SEC Reporting by Exempt Reporting Advisers
B.   Complete this Item 2.B. only if you are reporting to the SEC as an exempt reporting adviser. Check all that apply. You:
        (1) qualify for the exemption from registration as an adviser solely to one or more venture capital funds, as defined in rule 203(l)-1;
        (2) qualify for the exemption from registration because you act solely as an adviser to private funds and have assets under management, as defined
            in rule 203(m)-1, in the United States of less than $150 million;
        (3) act solely as an adviser to private funds but you are no longer eligible to check box 2.B.(2) because you have assets under management, as
            defined in rule 203(m)-1, in the United States of $150 million or more.


        If you check box (2) or (3), complete Section 2.B. of Schedule D.



SECTION 2.B. Private Fund Assets
If you check Item 2.B.(2) or (3), what is the amount of the private fund assets that you manage?                                                                   $
NOTE: "Private fund assets" has the same meaning here as it has under rule 203(m)-1. If you are an investment adviser with its principal office and place of
business outside the United States only include private fund assets that you manage at a place of business in the United States.
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Item 3 Form of Organization
If you are filing an umbrella registration, the information in Item 3 should be provided for the filing adviser only.
A.   How are you organized?
           Corporation

           Sole Proprietorship

           Limited Liability Partnership (LLP)

           Partnership

           Limited Liability Company (LLC)

           Limited Partnership (LP)

           Other (specify):


     If you are changing your response to this Item, see Part 1A Instruction 4.


B.   In what month does your fiscal year end each year?
     DECEMBER


C.   Under the laws of what state or country are you organized?
      State       Country
      Delaware United States


     If you are a partnership, provide the name of the state or country under whose laws your partnership was formed. If you are a sole proprietor, provide the
     name of the state or country where you reside.

     If you are changing your response to this Item, see Part 1A Instruction 4.




Item 6 Other Business Activities

In this Item, we request information about your firm's other business activities.

A.   You are actively engaged in business as a (check all that apply):
           (1)   broker-dealer (registered or unregistered)
           (2)   registered representative of a broker-dealer
           (3)   commodity pool operator or commodity trading advisor (whether registered or exempt from registration)
           (4)   futures commission merchant
           (5)   real estate broker, dealer, or agent
           (6)   insurance broker or agent
           (7)   bank (including a separately identifiable department or division of a bank)
           (8)   trust company
           (9)   registered municipal advisor
           (10) registered security-based swap dealer
           (11) major security-based swap participant
           (12) accountant or accounting firm
           (13) lawyer or law firm
           (14) other financial product salesperson (specify):


     If you engage in other business using a name that is different from the names reported in Items 1.A. or 1.B.(1), complete Section 6.A. of Schedule D.
                                                                                                                                                             Yes No
B.   (1)   Are you actively engaged in any other business not listed in Item 6.A. (other than giving investment advice)?

     (2)   If yes, is this other business your primary business?

           If "yes," describe this other business on Section 6.B.(2) of Schedule D, and if you engage in this business under a different name, provide that name.
                                                                                                                                                             Yes No
     (3)   Do you sell products or provide services other than investment advice to your advisory clients?


           If "yes," describe this other business on Section 6.B.(3) of Schedule D, and if you engage in this business under a different name, provide that name.




SECTION 6.A. Names of Your Other Businesses
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SECTION 6.B.(2) Description of Primary Business   720
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Describe your primary business (not your investment advisory business):



If you engage in that business under a different name, provide that name:




SECTION 6.B.(3) Description of Other Products and Services
Describe other products or services you sell to your client. You may omit products and services that you listed in Section 6.B.(2) above.


If you engage in that business under a different name, provide that name:




Item 7 Financial Industry Affiliations

In this Item, we request information about your financial industry affiliations and activities. This information identifies areas in which conflicts of interest may
occur between you and your clients.

A.   This part of Item 7 requires you to provide information about you and your related persons, including foreign affiliates. Your related persons are all of your
     advisory affiliates and any person that is under common control with you.
     You have a related person that is a (check all that apply):
             (1)   broker-dealer, municipal securities dealer, or government securities broker or dealer (registered or unregistered)
             (2)   other investment adviser (including financial planners)
             (3)   registered municipal advisor
             (4)   registered security-based swap dealer
             (5)   major security-based swap participant
             (6)   commodity pool operator or commodity trading advisor (whether registered or exempt from registration)
             (7)   futures commission merchant
             (8)   banking or thrift institution
             (9) trust company
             (10) accountant or accounting firm
             (11) lawyer or law firm
             (12) insurance company or agency
             (13) pension consultant
             (14) real estate broker or dealer
             (15) sponsor or syndicator of limited partnerships (or equivalent), excluding pooled investment vehicles
             (16) sponsor, general partner, managing member (or equivalent) of pooled investment vehicles


         Note that Item 7.A. should not be used to disclose that some of your employees perform investment advisory functions or are registered representatives of a
         broker-dealer. The number of your firm's employees who perform investment advisory functions should be disclosed under Item 5.B.(1). The number of your
         firm's employees who are registered representatives of a broker-dealer should be disclosed under Item 5.B.(2).


         Note that if you are filing an umbrella registration, you should not check Item 7.A.(2) with respect to your relying advisers, and you do not have to complete
         Section 7.A. in Schedule D for your relying advisers. You should complete a Schedule R for each relying adviser.

         For each related person, including foreign affiliates that may not be registered or required to be registered in the United States, complete Section 7.A. of
         Schedule D.


         You do not need to complete Section 7.A. of Schedule D for any related person if: (1) you have no business dealings with the related person in connection with
         advisory services you provide to your clients; (2) you do not conduct shared operations with the related person; (3) you do not refer clients or business to the
         related person, and the related person does not refer prospective clients or business to you; (4) you do not share supervised persons or premises with the
         related person; and (5) you have no reason to believe that your relationship with the related person otherwise creates a conflict of interest with your clients.


         You must complete Section 7.A. of Schedule D for each related person acting as qualified custodian in connection with advisory services you provide to your
         clients (other than any mutual fund transfer agent pursuant to rule 206(4)-2(b)(1)), regardless of whether you have determined the related person to be
         operationally independent under rule 206(4)-2 of the Advisers Act.



SECTION 7.A. Financial Industry Affiliations

Complete a separate Schedule D Section 7.A. for each related person listed in Item 7.A.


1.   Legal Name of Related Person:
     LIQUID VALUE GP LIMITED


2.   Primary Business Name of Related Person:
     LIQUID VALUE GP LIMITED


3.   Related Person's SEC File Number (if any) (e.g., 801-, 8-, 866-, 802-)
     -
      or
      Other
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4.    Related Person's
      (a)   CRD Number (if any):


      (b)   CIK Number(s) (if any):
                                                                                No Information Filed



5.    Related Person is: (check all that apply)
      (a)       broker-dealer, municipal securities dealer, or government securities broker or dealer
      (b)       other investment adviser (including financial planners)
      (c)       registered municipal advisor
      (d)        registered security-based swap dealer
      (e)       major security-based swap participant
      (f)       commodity pool operator or commodity trading advisor (whether registered or exempt from registration)
      (g)       futures commission merchant
      (h)       banking or thrift institution
      (i)       trust company
      (j)       accountant or accounting firm
      (k)       lawyer or law firm
      (l)       insurance company or agency
      (m)        pension consultant
      (n)        real estate broker or dealer
      (o)       sponsor or syndicator of limited partnerships (or equivalent), excluding pooled investment vehicles
      (p)       sponsor, general partner, managing member (or equivalent) of pooled investment vehicles
                                                                                                                                                                  Yes No
6.    Do you control or are you controlled by the related person?


7.    Are you and the related person under common control?


8.    (a)   Does the related person act as a qualified custodian for your clients in connection with advisory services you provide to clients?
      (b)   If you are registering or registered with the SEC and you have answered "yes," to question 8.(a) above, have you overcome the
            presumption that you are not operationally independent (pursuant to rule 206(4)-2(d)(5)) from the related person and thus are not required
            to obtain a surprise examination for your clients' funds or securities that are maintained at the related person?
      (c)   If you have answered "yes" to question 8.(a) above, provide the location of the related person's office responsible for custody of your clients' assets:
            Number and Street 1:                                                Number and Street 2:
            City:                         State:                                Country:                     ZIP+4/Postal Code:
            If this address is a private residence, check this box:
                                                                                                                                                                  Yes No
9.    (a)   If the related person is an investment adviser, is it exempt from registration?

      (b)   If the answer is yes, under what exemption?


10. (a)     Is the related person registered with a foreign financial regulatory authority ?
      (b)   If the answer is yes, list the name and country, in English of each foreign financial regulatory authority with which the related person is registered.
                                                                              No Information Filed
11. Do you and the related person share any supervised persons?


12. Do you and the related person share the same physical location?



Item 7 Private Fund Reporting

                                                                                                                                                                   Yes No

B. Are you an adviser to any private fund?


     If "yes," then for each private fund that you advise, you must complete a Section 7.B.(1) of Schedule D, except in certain circumstances described in the next
     sentence and in Instruction 6 of the Instructions to Part 1A. If you are registered or applying for registration with the SEC or reporting as an SEC exempt
     reporting adviser, and another SEC-registered adviser or SEC exempt reporting adviser reports this information with respect to any such private fund in Section
     7.B.(1) of Schedule D of its Form ADV (e.g., if you are a subadviser), do not complete Section 7.B.(1) of Schedule D with respect to that private fund. You must,
     instead, complete Section 7.B.(2) of Schedule D.


     In either case, if you seek to preserve the anonymity of a private fund client by maintaining its identity in your books and records in numerical or alphabetical
     code, or similar designation, pursuant to rule 204-2(d), you may identify the private fund in Section 7.B.(1) or 7.B.(2) of Schedule D using the same code or
     designation in place of the fund's name.
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 A. PRIVATE FUND


 Information About the Private Fund


  1.   (a) Name of the private fund:
           LIQUID VALUE OFFSHORE FEEDER FUND I LP
       (b) Private fund identification number:
           (include the "805-" prefix also)
           805-3374738176




  2.   Under the laws of what state or country is the private fund organized:
           State:                                        Country:
                                                         Cayman Islands


  3.   (a) Name(s) of General Partner, Manager, Trustee, or Directors (or persons serving in a similar capacity):
       Name of General Partner, Manager, Trustee, or Director
       LIQUID VALUE GP LIMITED



       (b) If filing an umbrella registration, identify the filing adviser and/or relying adviser(s) that sponsor(s) or manage(s) this private fund.

                                                                            No Information Filed



  4.   The private fund (check all that apply; you must check at least one):
           (1) qualifies for the exclusion from the definition of investment company under section 3(c)(1) of the Investment Company Act of 1940
           (2) qualifies for the exclusion from the definition of investment company under section 3(c)(7) of the Investment Company Act of 1940


  5.   List the name and country, in English, of each foreign financial regulatory authority with which the private fund is registered.

                                                                            No Information Filed

                                                                                                                                                          Yes No
  6.   (a) Is this a "master fund" in a master-feeder arrangement?

       (b) If yes, what is the name and private fund identification number (if any) of the feeder funds investing in this private fund?

                                                                            No Information Filed


                                                                                                                                                          Yes No
       (c) Is this a "feeder fund" in a master-feeder arrangement?

       (d) If yes, what is the name and private fund identification number (if any) of the master fund in which this private fund invests?
           Name of private fund:
           LIQUID VALUE FUND I LP
           Private fund identification number:
           (include the "805-" prefix also)




       NOTE: You must complete question 6 for each master-feeder arrangement regardless of whether you are filing a single Schedule D, Section 7.B.(1)
       for the master-feeder arrangement or reporting on the funds separately.


  7.   If you are filing a single Schedule D, Section 7.B.(1) for a master-feeder arrangement according to the instructions to this Section 7.B.(1), for each of
       the feeder funds answer the following questions:



                                                                            No Information Filed




       NOTE: For purposes of questions 6 and 7, in a master-feeder arrangement, one or more funds ("feeder funds") invest all or substantially all of their
       assets in a single fund ("master fund"). A fund would also be a "feeder fund" investing in a "master fund" for purposes of this question if it issued
       multiple classes (or series) of shares or interests, and each class (or series) invests substantially all of its assets in a single master fund.
                                                                                                                                                          Yes No
8.   (a) Is this private fund a "fund of funds"?
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     NOTE: For purposes of this question only, answer "yes" if the fund invests 10 percent or more of its total assets in other pooled investment
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     vehicles, regardless of whether they are also private funds or registered investment companies.
     (b) If yes, does the private fund invest in funds managed by you or by a related person?



                                                                                                                                                    Yes No
9.   During your last fiscal year, did the private fund invest in securities issued by investment companies registered under the Investment
     Company Act of 1940 (other than "money market funds," to the extent provided in Instruction 6.e.)?


10. What type of fund is the private fund?

          hedge fund     liquidity fund   private equity fund      real estate fund    securitized asset fund   venture capital fund   Other private fund:


     NOTE: For definitions of these fund types, please see Instruction 6 of the Instructions to Part 1A.


11. Current gross asset value of the private fund:
     $ 111,351,942


Ownership


12. Minimum investment commitment required of an investor in the private fund:
     $ 1,000,000
     NOTE: Report the amount routinely required of investors who are not your related persons (even if different from the amount set forth in the
     organizational documents of the fund).


13. Approximate number of the private fund's beneficial owners:
     20


14. What is the approximate percentage of the private fund beneficially owned by you and your related persons:
     2%


15. (a) What is the approximate percentage of the private fund beneficially owned (in the aggregate) by funds of funds:
     5%
                                                                                                                                                    Yes No
     (b) If the private fund qualifies for the exclusion from the definition of investment company under section 3(c)(1) of the Investment
         Company Act of 1940, are sales of the fund limited to qualified clients?



16. What is the approximate percentage of the private fund beneficially owned by non-United States persons:
     98%


Your Advisory Services
                                                                                                                                                    Yes No
17. (a) Are you a subadviser to this private fund?

     (b) If the answer to question 17.(a) is "yes," provide the name and SEC file number, if any, of the adviser of the private fund. If the answer to
         question 17.(a) is "no," leave this question blank.
                                                                          No Information Filed

                                                                                                                                                    Yes No
18. (a) Do any investment advisers (other than the investment advisers listed in Section 7.B.(1).A.3.(b)) advise the private fund?

     (b) If the answer to question 18.(a) is "yes," provide the name and SEC file number, if any, of the other advisers to the private fund. If the answer
          to question 18.(a) is "no," leave this question blank.
                                                                          No Information Filed

                                                                                                                                                    Yes No
19. Are your clients solicited to invest in the private fund?

     NOTE: For purposes of this question, do not consider feeder funds of the private fund.


20. Approximately what percentage of your clients has invested in the private fund?
     0%


Private Offering
                                                                                                                                                    Yes No
21. Has the private fund ever relied on an exemption from registration of its securities under Regulation D of the Securities Act of 1933?
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22. If yes, provide the private fund's Form D file number (if any):  Docket01/05/2024
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                                               19
                                         No Information Filed



B. SERVICE PROVIDERS


Auditors
                                                                                                                                                   Yes No
23. (a) (1) Are the private fund's financial statements subject to an annual audit?

        (2) If the answer to question 23.(a)(1) is "yes," are the financial statements prepared in accordance with U.S. GAAP?

        If the answer to question 23.(a)(1) is "yes," respond to questions (b) through (h) below. If the private fund uses more than one auditing firm,
        you must complete questions (b) through (f) separately for each auditing firm.


           Additional Auditor Information : 1 Record(s) Filed.


            If the answer to question 23.(a)(1) is "yes," respond to questions (b) through (h) below. If the private fund uses more than one auditing
            firm, you must complete questions (b) through (f) separately for each auditing firm.


            (b) Name of the auditing firm:
                MARCUM (CAYMAN)


            (c) The location of the auditing firm's office responsible for the private fund's audit (city, state and country):
                City:                                                  State:                  Country:
                GRAND CAYMAN                                                                   Cayman Islands
                                                                                                                                                 Yes No
            (d) Is the auditing firm an independent public accountant?


            (e) Is the auditing firm registered with the Public Company Accounting Oversight Board?


                If yes, Public Company Accounting Oversight Board-Assigned Number:




            (f) If "yes" to (e) above, is the auditing firm subject to regular inspection by the Public Company Accounting Oversight Board in
                accordance with its rules?



                                                                                                                                                   Yes No
    (g) Are the private fund's audited financial statements for the most recently completed fiscal year distributed to the private fund's
        investors?

    (h) Do all of the reports prepared by the auditing firm for the private fund since your last annual updating amendment contain unqualified opinions?

             Yes     No     Report Not Yet Received

        If you check "Report Not Yet Received," you must promptly file an amendment to your Form ADV to update your response when the report is available.


Prime Broker
                                                                                                                                                   Yes No
24. (a) Does the private fund use one or more prime brokers?

        If the answer to question 24.(a) is "yes," respond to questions (b) through (e) below for each prime broker the private fund uses. If the private
        fund uses more than one prime broker, you must complete questions (b) through (e) separately for each prime broker.



                                                                           No Information Filed




Custodian
                                                                                                                                                   Yes No
25. (a) Does the private fund use any custodians (including the prime brokers listed above) to hold some or all of its assets?

        If the answer to question 25.(a) is "yes," respond to questions (b) through (g) below for each custodian the private fund uses. If the private fund
        uses more than one custodian, you must complete questions (b) through (g) separately for each custodian.



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Administrator                                720
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                                                                                                                                                     Yes No
26. (a) Does the private fund use an administrator other than your firm?

          If the answer to question 26.(a) is "yes," respond to questions (b) through (f) below. If the private fund uses more than one administrator, you
          must complete questions (b) through (f) separately for each administrator.


          Additional Administrator Information : 1 Record(s) Filed.



            If the answer to question 26.(a) is "yes," respond to questions (b) through (f) below. If the private fund uses more than one
            administrator, you must complete questions (b) through (f) separately for each administrator.


            (b) Name of administrator:
                   MG STOVER & CO


            (c) Location of administrator (city, state and country):
                   City:                               State:                              Country:
                   DENVER                              Colorado                            United States
                                                                                                                                                Yes No
            (d) Is the administrator a related person of your firm?


            (e) Does the administrator prepare and send investor account statements to the private fund's investors?
                     Yes (provided to all investors)     Some (provided to some but not all investors)     No (provided to no investors)



            (f) If the answer to question 26.(e) is "no" or "some," who sends the investor account statements to the (rest of the) private fund's
                investors? If investor account statements are not sent to the (rest of the) private fund's investors, respond "not applicable."




27. During your last fiscal year, what percentage of the private fund's assets (by value) was valued by a person, such as an administrator, that is not
    your related person?
     0%
     Include only those assets where (i) such person carried out the valuation procedure established for that asset, if any, including obtaining any
     relevant quotes, and (ii) the valuation used for purposes of investor subscriptions, redemptions or distributions, and fee calculations (including
     allocations) was the valuation determined by such person.


Marketers
                                                                                                                                                     Yes No
28. (a) Does the private fund use the services of someone other than you or your employees for marketing purposes?

          You must answer "yes" whether the person acts as a placement agent, consultant, finder, introducer, municipal advisor or other solicitor, or
          similar person. If the answer to question 28.(a) is "yes," respond to questions (b) through (g) below for each such marketer the private fund
          uses. If the private fund uses more than one marketer you must complete questions (b) through (g) separately for each marketer.



                                                                            No Information Filed




A. PRIVATE FUND


Information About the Private Fund


1.   (a) Name of the private fund:
          LIQUID VALUE US FUND I LP
     (b) Private fund identification number:
          (include the "805-" prefix also)
          805-4350860371




2.   Under the laws of what state or country is the private fund organized:
          State:                                                       Country:
          Delaware                                                     United States
3.   (a) Name(s) of General Partner, Manager, Trustee, or Directors (or persons serving in a similar capacity):
     Name of General Partner, Manager, Trustee, or Director
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     (b) If filing an umbrella registration, identify the filing adviser and/or relying adviser(s) that sponsor(s) or manage(s) this private fund.
                                                                         No Information Filed



4.   The private fund (check all that apply; you must check at least one):
         (1) qualifies for the exclusion from the definition of investment company under section 3(c)(1) of the Investment Company Act of 1940
         (2) qualifies for the exclusion from the definition of investment company under section 3(c)(7) of the Investment Company Act of 1940


5.   List the name and country, in English, of each foreign financial regulatory authority with which the private fund is registered.
                                                                         No Information Filed

                                                                                                                                                          Yes No
6.   (a) Is this a "master fund" in a master-feeder arrangement?

     (b) If yes, what is the name and private fund identification number (if any) of the feeder funds investing in this private fund?
                                                                         No Information Filed


                                                                                                                                                          Yes No
     (c) Is this a "feeder fund" in a master-feeder arrangement?

     (d) If yes, what is the name and private fund identification number (if any) of the master fund in which this private fund invests?
         Name of private fund:
         LIQUID VALUE FUND I LP
         Private fund identification number:
         (include the "805-" prefix also)




     NOTE: You must complete question 6 for each master-feeder arrangement regardless of whether you are filing a single Schedule D, Section 7.B.(1)
     for the master-feeder arrangement or reporting on the funds separately.


7.   If you are filing a single Schedule D, Section 7.B.(1) for a master-feeder arrangement according to the instructions to this Section 7.B.(1), for each of
     the feeder funds answer the following questions:



                                                                         No Information Filed




     NOTE: For purposes of questions 6 and 7, in a master-feeder arrangement, one or more funds ("feeder funds") invest all or substantially all of their
     assets in a single fund ("master fund"). A fund would also be a "feeder fund" investing in a "master fund" for purposes of this question if it issued
     multiple classes (or series) of shares or interests, and each class (or series) invests substantially all of its assets in a single master fund.
                                                                                                                                                          Yes No
8.   (a) Is this private fund a "fund of funds"?

     NOTE: For purposes of this question only, answer "yes" if the fund invests 10 percent or more of its total assets in other pooled investment
     vehicles, regardless of whether they are also private funds or registered investment companies.
     (b) If yes, does the private fund invest in funds managed by you or by a related person?



                                                                                                                                                          Yes No
9.   During your last fiscal year, did the private fund invest in securities issued by investment companies registered under the Investment
     Company Act of 1940 (other than "money market funds," to the extent provided in Instruction 6.e.)?


10. What type of fund is the private fund?

        hedge fund       liquidity fund    private equity fund     real estate fund      securitized asset fund     venture capital fund      Other private fund:


     NOTE: For definitions of these fund types, please see Instruction 6 of the Instructions to Part 1A.


11. Current gross asset value of the private fund:
     $ 53,543,260


Ownership
12. Minimum investment commitment required of an investor in the private fund:
    $ 1,000,000
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    NOTE: Report the amount routinely required of investors who are not your related persons (even if different from the amount set forth in the
    organizational documents of the fund).


13. Approximate number of the private fund's beneficial owners:
    25


14. What is the approximate percentage of the private fund beneficially owned by you and your related persons:
    2%


15. (a) What is the approximate percentage of the private fund beneficially owned (in the aggregate) by funds of funds:
    8%
                                                                                                                                                   Yes No
    (b) If the private fund qualifies for the exclusion from the definition of investment company under section 3(c)(1) of the Investment
         Company Act of 1940, are sales of the fund limited to qualified clients?



16. What is the approximate percentage of the private fund beneficially owned by non-United States persons:
    1%


Your Advisory Services
                                                                                                                                                   Yes No
17. (a) Are you a subadviser to this private fund?

    (b) If the answer to question 17.(a) is "yes," provide the name and SEC file number, if any, of the adviser of the private fund. If the answer to
        question 17.(a) is "no," leave this question blank.

                                                                         No Information Filed

                                                                                                                                                   Yes No
18. (a) Do any investment advisers (other than the investment advisers listed in Section 7.B.(1).A.3.(b)) advise the private fund?

    (b) If the answer to question 18.(a) is "yes," provide the name and SEC file number, if any, of the other advisers to the private fund. If the answer
        to question 18.(a) is "no," leave this question blank.

                                                                         No Information Filed

                                                                                                                                                   Yes No
19. Are your clients solicited to invest in the private fund?

    NOTE: For purposes of this question, do not consider feeder funds of the private fund.


20. Approximately what percentage of your clients has invested in the private fund?
    0%


Private Offering
                                                                                                                                                   Yes No
21. Has the private fund ever relied on an exemption from registration of its securities under Regulation D of the Securities Act of 1933?


22. If yes, provide the private fund's Form D file number (if any):
     Form D file number
     021-424560



B. SERVICE PROVIDERS


Auditors
                                                                                                                                                   Yes No
23. (a) (1) Are the private fund's financial statements subject to an annual audit?

         (2) If the answer to question 23.(a)(1) is "yes," are the financial statements prepared in accordance with U.S. GAAP?

         If the answer to question 23.(a)(1) is "yes," respond to questions (b) through (h) below. If the private fund uses more than one auditing firm,
         you must complete questions (b) through (f) separately for each auditing firm.


           Additional Auditor Information : 1 Record(s) Filed.


            If the answer to question 23.(a)(1) is "yes," respond to questions (b) through (h) below. If the private fund uses more than one auditing
            firm, you must complete questions (b) through (f) separately for each auditing firm.
            (b) Name of the auditing firm:
           MARCUM (CAYMAN)
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            (c) The location of the auditing firm's office responsible for the private fund's audit (city, state and country):
                City:                                                  State:                  Country:
                GRAND CAYMAN                                                                   Cayman Islands
                                                                                                                                                Yes No
            (d) Is the auditing firm an independent public accountant?


            (e) Is the auditing firm registered with the Public Company Accounting Oversight Board?


                If yes, Public Company Accounting Oversight Board-Assigned Number:




            (f) If "yes" to (e) above, is the auditing firm subject to regular inspection by the Public Company Accounting Oversight Board in
                accordance with its rules?



                                                                                                                                                  Yes No
    (g) Are the private fund's audited financial statements for the most recently completed fiscal year distributed to the private fund's
        investors?

    (h) Do all of the reports prepared by the auditing firm for the private fund since your last annual updating amendment contain unqualified opinions?

             Yes        No   Report Not Yet Received

        If you check "Report Not Yet Received," you must promptly file an amendment to your Form ADV to update your response when the report is available.


Prime Broker
                                                                                                                                                  Yes No
24. (a) Does the private fund use one or more prime brokers?

        If the answer to question 24.(a) is "yes," respond to questions (b) through (e) below for each prime broker the private fund uses. If the private
        fund uses more than one prime broker, you must complete questions (b) through (e) separately for each prime broker.



                                                                           No Information Filed




Custodian
                                                                                                                                                  Yes No
25. (a) Does the private fund use any custodians (including the prime brokers listed above) to hold some or all of its assets?

        If the answer to question 25.(a) is "yes," respond to questions (b) through (g) below for each custodian the private fund uses. If the private fund
        uses more than one custodian, you must complete questions (b) through (g) separately for each custodian.



                                                                           No Information Filed




Administrator
                                                                                                                                                  Yes No
26. (a) Does the private fund use an administrator other than your firm?

        If the answer to question 26.(a) is "yes," respond to questions (b) through (f) below. If the private fund uses more than one administrator, you
        must complete questions (b) through (f) separately for each administrator.


         Additional Administrator Information : 1 Record(s) Filed.



            If the answer to question 26.(a) is "yes," respond to questions (b) through (f) below. If the private fund uses more than one
            administrator, you must complete questions (b) through (f) separately for each administrator.


            (b) Name of administrator:
                MG STOVER & CO


            (c) Location of administrator (city, state and country):
                City:                              State:                                   Country:
                DENVER                             Colorado                                 United States
                                                                                                                                                        Yes No
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                 Is the administrator a related person of your firm?449-3
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                (e) Does the administrator prepare and send investor account statements to the private fund's investors?
                      Yes (provided to all investors)   Some (provided to some but not all investors)       No (provided to no investors)



                (f) If the answer to question 26.(e) is "no" or "some," who sends the investor account statements to the (rest of the) private fund's
                    investors? If investor account statements are not sent to the (rest of the) private fund's investors, respond "not applicable."




     27. During your last fiscal year, what percentage of the private fund's assets (by value) was valued by a person, such as an administrator, that is not
         your related person?
         0%
         Include only those assets where (i) such person carried out the valuation procedure established for that asset, if any, including obtaining any
         relevant quotes, and (ii) the valuation used for purposes of investor subscriptions, redemptions or distributions, and fee calculations (including
         allocations) was the valuation determined by such person.


     Marketers
                                                                                                                                                             Yes No
     28. (a) Does the private fund use the services of someone other than you or your employees for marketing purposes?

              You must answer "yes" whether the person acts as a placement agent, consultant, finder, introducer, municipal advisor or other solicitor, or
              similar person. If the answer to question 28.(a) is "yes," respond to questions (b) through (g) below for each such marketer the private fund
              uses. If the private fund uses more than one marketer you must complete questions (b) through (g) separately for each marketer.



                                                                              No Information Filed




                                                                   Funds per Page: 15     Total Funds: 2




SECTION 7.B.(2) Private Fund Reporting


                                                                         No Information Filed




Item 10 Control Persons

In this Item, we ask you to identify every person that, directly or indirectly, controls you. If you are filing an umbrella registration, the information in Item 10
should be provided for the filing adviser only.

If you are submitting an initial application or report, you must complete Schedule A and Schedule B. Schedule A asks for information about your direct owners
and executive officers. Schedule B asks for information about your indirect owners. If this is an amendment and you are updating information you reported
on either Schedule A or Schedule B (or both) that you filed with your initial application or report, you must complete Schedule C.
                                                                                                                                                               Yes No
A.     Does any person not named in Item 1.A. or Schedules A, B, or C, directly or indirectly, control your management or policies?


       If yes, complete Section 10.A. of Schedule D.


B.     If any person named in Schedules A, B, or C or in Section 10.A. of Schedule D is a public reporting company under Sections 12 or 15(d) of the Securities
       Exchange Act of 1934, please complete Section 10.B. of Schedule D.




SECTION 10.A. Control Persons


                                                                         No Information Filed



SECTION 10.B. Control Person Public Reporting Companies


                                                                         No Information Filed
Item 11 Disclosure Information
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In this Item, we ask for information about your disciplinary history and the disciplinary history of all your advisory affiliates. We use this information to
                                                720
                                                 19
determine whether to grant your application for registration, to decide whether to revoke your registration or to place limitations on your activities as an
investment adviser, and to identify potential problem areas to focus on during our on-site examinations. One event may result in "yes" answers to more than
one of the questions below. In accordance with General Instruction 5 to Form ADV, "you" and "your" include the filing adviser and all relying advisers under an
umbrella registration.

Your advisory affiliates are: (1) all of your current employees (other than employees performing only clerical, administrative, support or similar functions); (2) all
of your officers, partners, or directors (or any person performing similar functions); and (3) all persons directly or indirectly controlling you or controlled by you.
If you are a "separately identifiable department or division" (SID) of a bank, see the Glossary of Terms to determine who your advisory affiliates are.

If you are registered or registering with the SEC or if you are an exempt reporting adviser, you may limit your disclosure of any event listed in Item 11 to ten years
following the date of the event. If you are registered or registering with a state, you must respond to the questions as posed; you may, therefore, limit your
disclosure to ten years following the date of an event only in responding to Items 11.A.(1), 11.A.(2), 11.B.(1), 11.B.(2), 11.D.(4), and 11.H.(1)(a). For purposes of
calculating this ten-year period, the date of an event is the date the final order, judgment, or decree was entered, or the date any rights of appeal from preliminary
orders, judgments, or decrees lapsed.

You must complete the appropriate Disclosure Reporting Page ("DRP") for "yes" answers to the questions in this Item 11.

                                                                                                                                                                 Yes No
Do any of the events below involve you or any of your supervised persons?

For "yes" answers to the following questions, complete a Criminal Action DRP:
A.   In the past ten years, have you or any advisory affiliate:                                                                                                  Yes No
     (1) been convicted of or pled guilty or nolo contendere ("no contest") in a domestic, foreign, or military court to any felony?

     (2) been charged with any felony?


     If you are registered or registering with the SEC, or if you are reporting as an exempt reporting adviser, you may limit your response to Item 11.A.(2) to
     charges that are currently pending.


B.   In the past ten years, have you or any advisory affiliate:
     (1) been convicted of or pled guilty or nolo contendere ("no contest") in a domestic, foreign, or military court to a misdemeanor involving:
         investments or an investment-related business, or any fraud, false statements, or omissions, wrongful taking of property, bribery, perjury,
         forgery, counterfeiting, extortion, or a conspiracy to commit any of these offenses?
     (2) been charged with a misdemeanor listed in Item 11.B.(1)?


     If you are registered or registering with the SEC, or if you are reporting as an exempt reporting adviser, you may limit your response to Item 11.B.(2) to
     charges that are currently pending.


For "yes" answers to the following questions, complete a Regulatory Action DRP:
C.   Has the SEC or the Commodity Futures Trading Commission (CFTC) ever:                                                                                        Yes No
     (1) found you or any advisory affiliate to have made a false statement or omission?

     (2) found you or any advisory affiliate to have been involved in a violation of SEC or CFTC regulations or statutes?

     (3) found you or any advisory affiliate to have been a cause of an investment-related business having its authorization to do business denied,
         suspended, revoked, or restricted?
     (4) entered an order against you or any advisory affiliate in connection with investment-related activity?

     (5) imposed a civil money penalty on you or any advisory affiliate, or ordered you or any advisory affiliate to cease and desist from any activity?


D.   Has any other federal regulatory agency, any state regulatory agency, or any foreign financial regulatory authority:
     (1) ever found you or any advisory affiliate to have made a false statement or omission, or been dishonest, unfair, or unethical?

     (2) ever found you or any advisory affiliate to have been involved in a violation of investment-related regulations or statutes?

     (3) ever found you or any advisory affiliate to have been a cause of an investment-related business having its authorization to do business
         denied, suspended, revoked, or restricted?
     (4) in the past ten years, entered an order against you or any advisory affiliate in connection with an investment-related activity?

     (5) ever denied, suspended, or revoked your or any advisory affiliate's registration or license, or otherwise prevented you or any advisory
         affiliate, by order, from associating with an investment-related business or restricted your or any advisory affiliate's activity?


E.   Has any self-regulatory organization or commodities exchange ever:
     (1) found you or any advisory affiliate to have made a false statement or omission?

     (2) found you or any advisory affiliate to have been involved in a violation of its rules (other than a violation designated as a "minor rule
         violation" under a plan approved by the SEC)?
     (3) found you or any advisory affiliate to have been the cause of an investment-related business having its authorization to do business denied,
         suspended, revoked, or restricted?
     (4) disciplined you or any advisory affiliate by expelling or suspending you or the advisory affiliate from membership, barring or suspending you
         or the advisory affiliate from association with other members, or otherwise restricting your or the advisory affiliate's activities?
F.     Has an authorization to act as an attorney, accountant, or federal contractor granted to you or any advisory affiliate ever been revoked or
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       suspended?                         348-10 Entered
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G.     Are you or any advisory affiliate now the subject of any regulatory proceeding that could result in a "yes" answer to any part of Item 11.C.,
       11.D., or 11.E.?


For "yes" answers to the following questions, complete a Civil Judicial Action DRP:
H.     (1) Has any domestic or foreign court:                                                                                                                 Yes No
           (a) in the past ten years, enjoined you or any advisory affiliate in connection with any investment-related activity?

           (b) ever found that you or any advisory affiliate were involved in a violation of investment-related statutes or regulations?

           (c) ever dismissed, pursuant to a settlement agreement, an investment-related civil action brought against you or any advisory affiliate by a
               state or foreign financial regulatory authority?
       (2) Are you or any advisory affiliate now the subject of any civil proceeding that could result in a "yes" answer to any part of Item 11.H.(1)?




Schedule A
Direct Owners and Executive Officers
1. Complete Schedule A only if you are submitting an initial application or report. Schedule A asks for information about your direct owners and executive
   officers. Use Schedule C to amend this information.
2. Direct Owners and Executive Officers. List below the names of:
     (a) each Chief Executive Officer, Chief Financial Officer, Chief Operations Officer, Chief Legal Officer, Chief Compliance Officer(Chief Compliance Officer is
         required if you are registered or applying for registration and cannot be more than one individual), director, and any other individuals with similar
         status or functions;
     (b) if you are organized as a corporation, each shareholder that is a direct owner of 5% or more of a class of your voting securities, unless you are a
        public reporting company (a company subject to Section 12 or 15(d) of the Exchange Act);
        Direct owners include any person that owns, beneficially owns, has the right to vote, or has the power to sell or direct the sale of, 5% or more of a
        class of your voting securities. For purposes of this Schedule, a person beneficially owns any securities: (i) owned by his/her child, stepchild, grandchild,
        parent, stepparent, grandparent, spouse, sibling, mother-in-law, father-in-law, son-in-law, daughter-in-law, brother-in-law, or sister-in-law, sharing
       the same residence; or (ii) that he/she has the right to acquire, within 60 days, through the exercise of any option, warrant, or right to purchase the
       security.
   (c) if you are organized as a partnership, all general partners and those limited and special partners that have the right to receive upon dissolution, or
       have contributed, 5% or more of your capital;
   (d) in the case of a trust that directly owns 5% or more of a class of your voting securities, or that has the right to receive upon dissolution, or has
       contributed, 5% or more of your capital, the trust and each trustee; and
   (e) if you are organized as a limited liability company ("LLC"), (i) those members that have the right to receive upon dissolution, or have contributed, 5%
       or more of your capital, and (ii) if managed by elected managers, all elected managers.
3. Do you have any indirect owners to be reported on Schedule B?           Yes    No

4. In the DE/FE/I column below, enter "DE" if the owner is a domestic entity, "FE" if the owner is an entity incorporated or domiciled in a foreign country, or
   "I" if the owner or executive officer is an individual.
5. Complete the Title or Status column by entering board/management titles; status as partner, trustee, sole proprietor, elected manager, shareholder, or
   member; and for shareholders or members, the class of securities owned (if more than one is issued).
6. Ownership codes are:       NA - less than 5%            B - 10% but less than 25%       D - 50% but less than 75%
                              A - 5% but less than 10%     C - 25% but less than 50%       E - 75% or more
7. (a) In the Control Person column, enter "Yes" if the person has control as defined in the Glossary of Terms to Form ADV, and enter "No" if the person does
        not have control. Note that under this definition, most executive officers and all 25% owners, general partners, elected managers, and trustees are
        control persons.
     (b) In the PR column, enter "PR" if the owner is a public reporting company under Sections 12 or 15(d) of the Exchange Act.
     (c) Complete each column.
FULL LEGAL NAME (Individuals: Last              DE/FE/I Title or      Date Title or Status      Ownership Control PR CRD No. If None: S.S. No. and Date of
Name, First Name, Middle Name)                          Status        Acquired MM/YYYY          Code      Person     Birth, IRS Tax No. or Employer ID No.
Graham, Matthew                                  I        MANAGING 12/2022                       E           Y         N   7495930
                                                          MEMBER



Schedule B
Indirect Owners
1. Complete Schedule B only if you are submitting an initial application or report. Schedule B asks for information about your indirect owners; you must first
   complete Schedule A, which asks for information about your direct owners. Use Schedule C to amend this information.
2. Indirect Owners. With respect to each owner listed on Schedule A (except individual owners), list below:
     (a) in the case of an owner that is a corporation, each of its shareholders that beneficially owns, has the right to vote, or has the power to sell or direct
         the sale of, 25% or more of a class of a voting security of that corporation;


         For purposes of this Schedule, a person beneficially owns any securities: (i) owned by his/her child, stepchild, grandchild, parent, stepparent,
         grandparent, spouse, sibling, mother-in-law, father-in-law, son-in-law, daughter-in-law, brother-in-law, or sister-in-law, sharing the same residence;
         or (ii) that he/she has the right to acquire, within 60 days, through the exercise of any option, warrant, or right to purchase the security.
     (b) in the case of an owner that is a partnership, all general partners and those limited and special partners that have the right to receive upon
         dissolution, or have contributed, 25% or more of the partnership's capital;
   (c) in the case of an owner that is a trust, the trust and each trustee; and
   (d) in the case of an owner that is a limited liability company ("LLC"), (i) those members that have the right to receive upon dissolution, or have
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       contributed, 25% or more of the LLC's capital, and (ii) if managed by elected managers, all elected managers.
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3. Continue up the chain of ownership listing all 25% owners at each level. Once a public reporting company (a company subject to Sections 12 or 15(d) of
   the Exchange Act) is reached, no further ownership information need be given.
4. In the DE/FE/I column below, enter "DE" if the owner is a domestic entity, "FE" if the owner is an entity incorporated or domiciled in a foreign country, or
   "I" if the owner is an individual.
5. Complete the Status column by entering the owner's status as partner, trustee, elected manager, shareholder, or member; and for shareholders or
   members, the class of securities owned (if more than one is issued).
6. Ownership codes are:       C - 25% but less than 50%       E - 75% or more
                              D - 50% but less than 75%       F - Other (general partner, trustee, or elected manager)
7. (a) In the Control Person column, enter "Yes" if the person has control as defined in the Glossary of Terms to Form ADV, and enter "No" if the person does
       not have control. Note that under this definition, most executive officers and all 25% owners, general partners, elected managers, and trustees are
        control persons.
   (b) In the PR column, enter "PR" if the owner is a public reporting company under Sections 12 or 15(d) of the Exchange Act.
   (c) Complete each column.

No Information Filed




Schedule D - Miscellaneous
You may use the space below to explain a response to an Item or to provide any other information.




DRP Pages


CRIMINAL DISCLOSURE REPORTING PAGE (ADV)

No Information Filed



REGULATORY ACTION DISCLOSURE REPORTING PAGE (ADV)

No Information Filed



CIVIL JUDICIAL ACTION DISCLOSURE REPORTING PAGE (ADV)

No Information Filed




Execution Pages
DOMESTIC INVESTMENT ADVISER EXECUTION PAGE
 You must complete the following Execution Page to Form ADV. This execution page must be signed and attached to your initial submission of Form ADV to
 the SEC and all amendments.


 Appointment of Agent for Service of Process

 By signing this Form ADV Execution Page, you, the undersigned adviser, irrevocably appoint the Secretary of State or other legally designated officer, of the
 state in which you maintain your principal office and place of business and any other state in which you are submitting a notice filing, as your agents to
 receive service, and agree that such persons may accept service on your behalf, of any notice, subpoena, summons, order instituting proceedings, demand
 for arbitration, or other process or papers, and you further agree that such service may be made by registered or certified mail, in any federal or state
 action, administrative proceeding or arbitration brought against you in any place subject to the jurisdiction of the United States, if the action, proceeding, or
 arbitration (a) arises out of any activity in connection with your investment advisory business that is subject to the jurisdiction of the United States, and (b)
 is founded, directly or indirectly, upon the provisions of: (i) the Securities Act of 1933, the Securities Exchange Act of 1934, the Trust Indenture Act of 1939,
 the Investment Company Act of 1940, or the Investment Advisers Act of 1940, or any rule or regulation under any of these acts, or (ii) the laws of the state
 in which you maintain your principal office and place of business or of any state in which you are submitting a notice filing.


 Signature

 I, the undersigned, sign this Form ADV on behalf of, and with the authority of, the investment adviser. The investment adviser and I both certify, under
 penalty of perjury under the laws of the United States of America, that the information and statements made in this ADV, including exhibits and any other
 information submitted, are true and correct, and that I am signing this Form ADV Execution Page as a free and voluntary act.


 I certify that the adviser's books and records will be preserved and available for inspection as required by law. Finally, I authorize any person having
 custody or possession of these books and records to make them available to federal and state regulatory representatives.
Signature:                                                                Date: MM/DD/YYYY
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PATRICK LONEY                           348-10    Entered
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Printed Name:                              Title:
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                                                  19
PATRICK LONEY                                                             GENERAL COUNSEL
Adviser CRD Number:
326303




NON-RESIDENT INVESTMENT ADVISER EXECUTION PAGE
You must complete the following Execution Page to Form ADV. This execution page must be signed and attached to your initial submission of Form ADV to
the SEC and all amendments.


1. Appointment of Agent for Service of Process

By signing this Form ADV Execution Page, you, the undersigned adviser, irrevocably appoint each of the Secretary of the SEC, and the Secretary of State or
other legally designated officer, of any other state in which you are submitting a notice filing, as your agents to receive service, and agree that such
persons may accept service on your behalf, of any notice, subpoena, summons, order instituting proceedings, demand for arbitration, or other process or
papers, and you further agree that such service may be made by registered or certified mail, in any federal or state action, administrative proceeding or
arbitration brought against you in any place subject to the jurisdiction of the United States, if the action, proceeding or arbitration (a) arises out of any
activity in connection with your investment advisory business that is subject to the jurisdiction of the United States, and (b) is founded, directly or indirectly,
upon the provisions of: (i) the Securities Act of 1933, the Securities Exchange Act of 1934, the Trust Indenture Act of 1939, the Investment Company Act of
1940, or the Investment Advisers Act of 1940, or any rule or regulation under any of these acts, or (ii) the laws of any state in which you are submitting a
notice filing.


2. Appointment and Consent: Effect on Partnerships

If you are organized as a partnership, this irrevocable power of attorney and consent to service of process will continue in effect if any partner withdraws
from or is admitted to the partnership, provided that the admission or withdrawal does not create a new partnership. If the partnership dissolves, this
irrevocable power of attorney and consent shall be in effect for any action brought against you or any of your former partners.


3. Non-Resident Investment Adviser Undertaking Regarding Books and Records

By signing this Form ADV, you also agree to provide, at your own expense, to the U.S. Securities and Exchange Commission at its principal office in
Washington D.C., at any Regional or District Office of the Commission, or at any one of its offices in the United States, as specified by the Commission,
correct, current, and complete copies of any or all records that you are required to maintain under Rule 204-2 under the Investment Advisers Act of 1940.
This undertaking shall be binding upon you, your heirs, successors and assigns, and any person subject to your written irrevocable consents or powers of
attorney or any of your general partners and managing agents.


Signature

I, the undersigned, sign this Form ADV on behalf of, and with the authority of, the non-resident investment adviser. The investment adviser and I both
certify, under penalty of perjury under the laws of the United States of America, that the information and statements made in this ADV, including exhibits
and any other information submitted, are true and correct, and that I am signing this Form ADV Execution Page as a free and voluntary act.


I certify that the adviser's books and records will be preserved and available for inspection as required by law. Finally, I authorize any person having
custody or possession of these books and records to make them available to federal and state regulatory representatives.


Signature:                                                              Date: MM/DD/YYYY
Printed Name:                                                            Title:
Adviser CRD Number:
326303
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Link to fund raise folder: https://drive.google.com/drive/folders/13aqMtWqNA1LJWR5-6sROtri4qNcSdfaX?usp=sharing

Name                                                     Contacts                    BTIG                         Signature Block                   Side letter
Sequoia                                .com, lin@sequoiacap.com, pfu@sequoiacap.com & Goodwi                         Executed                          Yes

Paradigm Capital                       att@paradigm.xyz, arjun@paradigm.xyz & Latha           No         Sig packet sent to Adam Zuckerman at Latham    Yes
Thoma Bravo                           @thomabravo.com, cchan@thomabravo.com & Kirkland                                      Executed                    Yes
SoftBank                               ank.com, zelda.desouza@softbank.com, hayley.chan@softban                             Executed                    Yes
Third Point LLC (Dan Loeb's fund)      m, RBrem@thirdpoint.com, Morgan Lewis (scot            No     com/drive/folders/1bv2Fb6KnHf-O5t5vs8yutis4jbE     Yes
Insight Partners                        com, efisher@insightpartners.com, Astarker@insightpartners                          Executed                    Yes
Ribbit Capital                          tcap.com, zack@ribbitcap.com & Latham; max@ No                             Sig Packet sent to attorney          Yes
Lightspeed Venture Partners            an@lsvp.com, ryan@lsvp.com, morgan@lsvp.com, Ravi@lsv                                Executed                    Yes
Willoughby Capital (Dan Och's fund)    om>, Adnan Ahmad <adnan@willcapllc.com>,               Yes     V 6, LLC – $5mmhttps://drive.google.com/drive/f   Yes
40 North Capital LLC.                   n.leidinger@40north.com, matthew.pavia@40no           Yes     om/drive/folders/1j4jSkBc0twQI9epl3iq-RCRR3hR     Yes
Multicoin Capital                       kyle@multicoin.capital, brian@multicoin.capital       No      /drive/folders/1NhBO7pNE-Y4Rse55ZiOeDl0mz         No
Altimeter                              @altimeter.com, James Ho <james@altimeter.co           No     om/drive/folders/1k-0oac6jQw3gdlPNcAzccYJoVu       No
Coinbase Ventures                      ase.com, shan.aggarwal@coinbase.com, ventures          No                            Executed                    Yes
Bond Capital                           om, paul@bondcap.com, katie@bondcap.com, k             No                            Executed                    Yes
Precept (Mark Cuban) + Hunt Family     ker@preceptfund.com, nroossien@preceptfund.            Yes    com/drive/folders/1yjgv1MEHfvt-JozIAezM112ng       No
Senator Investment Group                         JArmao@senatorlp.com & SRZ             rive.google.com/drive/folders/1SWnH7CrNnGafNyxT_s6CyddV         Yes
Paul Tudor Jones                       m.com, Colleen.Dodman@jnsgrp.com, Michael.D No                 m/drive/folders/1bRCInlrCOSWiXtioMbcMkAjLg        No
Tribe Capital                          a@tribecap.co, raaid@tribecap.co, arj@tribecap.Tribe Capital                                                     No
Tekne                                                   ben@teknecap.com                      Yes    m/drive/folders/1g-Sa-vwM7K-1G2mH-24ngTQ_D         No
DWF                                                m.rendchen@digital-wave.ch                 Yes      om/drive/folders/1-roK9tNvIy7GhLx7-yrPL6Hyn      No
Circle                                 m, pcorker@circle.com, jallaire@circle.com, fnav Yes           /drive/folders/1WwVzMZCmJWRnlHKsynos8wam          No
Race Capital                            @race.capital, alfred@race.capital, edith@race.c      Yes m/drive/folders/1vazPyBHbrTVa89WuhBUB-ZFRW            No
Pantera Capital                       an@panteracapital.com, Lauren@panteracapital.c          Yes                     Ramnik to reach out               No
Ryan Rabaglia (LCV Shire Holdings)     glia@gmail.com, partner@lc.ventures, invest@lc         Yes     m/drive/folders/108tzGwECUundUIe9Axw0e3xyJ        No
Alan Howard                            com, Craig.Adams@brevanhoward.com, Naomi               No      om/drive/folders/1aKygwi2ZTrVSDbnxFch28jyqx       No
Izzy Englander                               JWhitney@iefo.com, spavel@iefo.com               No                            Executed                    Yes
Matthew Graham/Sino Global                   matthew.graham@sinoglobalcapital.com             Yes m/drive/folders/1aCsCAVDvAPVvMemr6h62ZzN3             No
Belfer Management LLC                  staub@belfermgmt.com, cdamore@belfermgmt.              Yes LLC C/O BELFER MGMT associated with Belfer M          Yes
White Truffle                          fle.fund, nikita.masyukov@its-trade.com, sergei.v      Yes m/drive/folders/1QuWiCDsV9QP7rAyJMA95DxuX             No
Nibbio                                  bbio.io, arnaud.mazzucco@nibbio.io, clarens.caraccio@nibbio
                                                                                        ve.google.com/drive/folders/1b2tiy_1-8bHOLgNMGcm1W3Wq           No
NEA                                     r@nea.com, sbrecher@nea.com, SThompson@nea.com                                      Executed                    Yes
Jason Tang/True Edge Capital                      quant@trueedgecapital.com.cn                Yes m/drive/folders/1qLp4XRxtZPShtzudMTrnv5Xmm            No
Kraft Family                           lls@thekraftgroup.com, davidl@thekraftgroup.co         Yes     m/drive/folders/1ZO7bycbajStSBR4c6mt8yGQUW        Yes
Hazoor Partners                        ers.com, Craig@hazoorpartners.com, Harpreet@           Yes    om/drive/folders/18Cv4ogBStr_zsFwc_0MydzlGn6       No
VanEck - Asset Manager                 ggurbacs@vaneck.com, lrappaport@vaneck.com             Yes     m/drive/folders/1CSa9Lskra5cK6uWEsRuAFb7xE        No
Folkvang                               e@folkvang.io, jeff@folkvang,io, james@folkvang.io                       Siganture packet sent to attorney       No
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Name                                     Media        tro'ed to Fenwi                                      Contacts
OTPP                                  1 (Confirmed)         1                          emmanuelle_norchet@otpp.com, andrew_jang@otpp.com
Sequoia Global Equities               1 (Confirmed)         1      sequoiacap.com, Kimberly Summe <summe@sequoiacap.com>, Scott Wu <Wu@sequoiacap
Temasek                               1 (Confirmed)         1                            antonylewis@temasek.com.sg, sijia@temasek.com.sg,
SEA                                   1 (Confirmed)         1                                         David Ma <mad@sea.com>
Ribbit Capital                        1 (Confirmed)         1      tcap.com, zack@ribbitcap.com, Ben Paull <ben@ribbitcap.com>, Max Montgomery <max@
Blackrock                             1 (Confirmed)         1      axwell Stein <Maxwell.Stein@blackrock.com>, Michael Svidrun <Michael.Svidrun@blackrock
Sequoia Capital                                             1       ap.com, lin@sequoiacap.com, Joe Binder <jbinder@sequoiacap.com>; Megan Dollar <dai@s
Altimeter                                                   1               james@altimeter.com, hab@altimeter.com, Judy Yuan <judy@altimeter.com>
ICONIQ Capital                        1 (Confirmed)         1       >, Divesh Makan <divesh@iconiqcapital.com>, Ryan Koh <rkoh@iconiqcapital.com>, Zach
IVP                                   1 (Confirmed)         1       cooley.com>, Eric Liaw <eliaw@ivp.com>, Jason Kong <jason@ivp.com>, James Black <jb
Ausvic Capital Limited                                      1                      Alan Li <alanli@dawanasset.com>, chenping@ausviccapital.com
Lightspeed Venture Partners           1 (Confirmed)         1           amy@lsvp.com, shan@lsvp.com, ryan@lsvp.com, morgan@lsvp.com, Ravi@lsvp.com
Pulsar Trading                                              1                       joanna.li@pulsartradingcap.com, partners@pulsartradingcap.com
SkyBridge                                                   1       kybridge.com>, Daniel Barile <DBarile@skybridge.com>, Brett Messing <BMessing@skybri
Tiger Global                          1 (Confirmed)         1      m>, Whitney Bishop <WBishop@fenwick.com>, can@ftx.com, dan@ftx.com, Steven L. Bagl
Belfer Management                                           1      an@belfermgmt.com, staub@belfermgmt.com, cdamore@belfermgmt.com, jganz@belfermgm
Insight Partners                                            1      htpartners.com, efisher@insightpartners.com, Rebecca E. Wainstein <RWainstein@willkie.com
Blue Pool Capital                                           1      om>, Erin Kim <EKim@bluepoolcapital.com>, Jordan Oreck <JOreck@bluepoolcapital.com
Base 10 Ventures                                            1       w Lebovitz <andrew@base10.vc>, adeyemi ajao <ade@base10.vc>, tj nahigian <tj@base10.v
ThirdPoint Ventures                                         1      thirdpoint.com>, Scott D. Karchmer <scott.karchmer@morganlewis.com>, Danielle Ebenste
Race Capital                                                1                          chris@race.capital, alfred@race.capital, edith@race.capital
UOB Group                                                   1                      Charles KOK Hoong Chwan <Charles.KokHC@uobgroup.com>
Whale Rock Capital                                          1     @whalerockcapital.com>, Wei Guo <wei@whalerockcapital.com>, James Houghtlin <james@
xnlp                                                        1                             tb@xnlp.com, Thomas O’Grady <tog@xnlp.com>
Phil Fayer                                                                                       pfayer@nuvei.com, avi@fayerfo.com
Willoughby Capital                                          1                   adnan@willcapllc.com, Jeff Derbyshire <jderbyshire@willcapllc.com>
APES Partners                                               1                Stewart Gruen <stew@apes.partners>, edward cheung <ed@apes.partners>
Samsung Next                                                1       d Lee <david.lee@samsungnext.com>, Preethi Kasireddy <preethi.kasireddy@samsungnext.c
Tribe Capital                                               1       tribecap.co, lauren@tribecap.co, Lisa Potocsnak <lisa@tribecap.co>, Alex Chee <alex@tribec
Chuang Family                                               1      <EdwinChuang@chuangs-china.com>, Boris Lee <borislee@chuangs.com.hk>, Leo Chan <
Senator Investment Group                                    1                JArmao@senatorlp.com, raustin@senatorlp.com, operations@senatorlp.com
JFK                                                         1                           jfk@th3ia.io, gav@th3ia.io, johann.kirsten@Gmail.com
2021-015 Investments LLC                                    1       Van Voris <tvanvoris@thielcapital.com>, David Wheelock <dwheelock@thielcapital.com>,
Anthos Capital                                              1      ily@anthoscapital.com>,Pam Ryan <pryan@anthoscapital.com>, Randy Chandler <rchandler
Meritech Capital                                            1     >, Alex Kurland <ak@meritechcapital.com>, Joel Backman <jbackman@meritechcapital.com
Hof Capital Growth Fund                                     1      dad@hof.capital, David Wittmann <dwittmann@hof.capital>, Sinan Koc <sinankoc95@gmai
Telstra Ventures                                            1      Matthew Koertge <Matthew@telstraventures.com>, Joseph An <joseph@telstraventures.com
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                Exhibit J
    PLAINTIFFS’ OMNIBUS MOTION TO LIFT DISCOVERY STAY
   AND FOR LEAVE TO CONDUCT JURISDICTIONAL DISCOVERY,
    AND, IF NECESSARY TO AMEND THEIR COMPLAINTS WITH
          ANY FACTS ARISING FROM SUCH DISCOVERY
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  Appointment

  From:         Antony LEWIS [antonylewis@temasek.com.sg1
  Sent:         11/16/2021 4:54:56 PM
  To:           Pradyumna AGRAWAL [pradyumna@temasek.com.sg]; Ramnik Arora [ramnik@ftx.com]; Sam Bankman-Fried
                {sam@ftx.com]

  Subject:      Temasek/FTX
  Location:     375 Park Avenue, 14th Floor, New York, NY 10152

  Start:        11/16/2021 11:30:00 PM
  End:          11/17/2021 12:30:00 AM
  Show Time As: Busy



  Recurrence:   (none)




  Meeting in the office then head to dinner (we will book).

  Thanks



  This email is confidential and may also be privileged. If this email has been sent to you in error, please delete it
  immediately and notify us. Please do not copy, distribute or disseminate part or whole of this email if you are
  not the intended recipient or if you have not been authorized to do so. We reserve the right, to the extent and
  under circumstances permitted by applicable laws, to retain, monitor and intercept email messages to and from
  our systems. Thank you.

  We provide investment advice and other investment-related services to certain Temasek group entities only and
  not to any other parties.




                                                                                        GOVERNMENT
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CONFIDENTIAL TREATMENT REQUESTED BY FTX                                                                      FTX000658485
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               Exhibit K
   PLAINTIFFS’ OMNIBUS MOTION TO LIFT DISCOVERY STAY
  AND FOR LEAVE TO CONDUCT JURISDICTIONAL DISCOVERY,
   AND, IF NECESSARY TO AMEND THEIR COMPLAINTS WITH
         ANY FACTS ARISING FROM SUCH DISCOVERY
Case
Case1:23-md-03076-KMM
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                                                                   GOVERNMENT
                                                                      EXHIBIT
    UNITED STATES DISTRICT COURT                                                        2003
    SOUTHERN DISTRICT OF NEW YORK


     UNITED STATES OF AMERICA                                   :   22 Cr. 673 (LAK)

                                 v.                             :   STIPULATION
                                                                :   REGARDING RECORDS
     SAMUEL BANKMAN-FRIED,                                      :   AUTHENTICITY
       a/k/a "SBF,                                              :




                          Defendant.                            :

                                                                x
               IT IS HEREBY STIPULATED AND AGREED by and between the United States of

    America, by DAMIAN WILLIAMS, United States Attorney for the Southern District of New

    York, by the undersigned counsel, and SAMUEL BANKMAN-FRIED, the defendant, by and

    with the consent of his attorneys, that:

               1.    The exhibits set forth in Attachments A-1, A-2, A-3, and B, below, consist of true

    and correct copies    of the documents, audio files, emails, and messages described in those

    Attachments.

               2.    The exhibits set forth in Attachment A-1 are documents and audio files. The "Date"

    listed for each document is the date it was created, and the "File Name" refers to the name of the

    document or audio file.

               3.    The exhibits set forth in Attachment A-2 are emails and their attachments. The

    "Date" listed for each email is the date it was sent, and the "Subject Line" refers to the Subject

    Line of the email.

               4,    The exhibits set forth in Attachment A-3 are text messages or other messaging

    communications. The "Message Participants" listed for each message are the participants in the

    message, and the date is the date the first message was sent.


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                5.    The exhibits set forth in Attachment B are documents. The "Date" listed for each

    document is the date it was created, and the "File Name" refers to the name of the document or

    audio file.

                IT IS FURTHER STIPULATED AND AGREED that no party will raise any objection

    under Federal Rule of Evidence 901 or 1003 with respect to any exhibit referenced in Attachments

    A-1, A-2, A-3, or B below.




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                IT IS FURTHER STIPULATED AND AGREED that this stipulation may be received into

    evidence at trial.

    Dated: New York, New York

                October   2023

                                                     DAMIAN WILLIAMS
                                                     United States Attorney
                                                     Southern District of New York


                                                          é



                                               By:
                                                     Danielle Kudla      5




                                                     Samuel Raymond
                                                     Thane Rehn
                                                     Nicolas Roos
                                                     Danielle R. Sassoon
                                                     Assistant United States Attorneys




                                                     SAMUEL BANKMAN-FRIED
                                                     Defendant



                                             By:
                                                     Christian Everdell
                                                     Mark Cohen
                                                     Counsel for Samuel Bankman-Fried




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                                       ATTACHMENT A-1
                                   (Documents and Audio Files)




     GX #                                File Name                                 Date

        3               FTXPHL Properties 2021 (Leased & Purchased)              12/20/2021


        4                         Current outstanding loans                      11/7/2022

        5                                    locs                                 9/5/2022

        6                  Full Comprehensive Hedging Model 9/ 8                  9/8/2022


                                     Hedging Our Deltas                           9/2/2022

        8                                README                                  6/7/2022

       10                      [External] Balance Sheet 10/1/22                  10/17/2022

       11                           Balance Sheet 10/1/22                        10/7/2022

       12                             Sources of Capital                         11/7/2022

      14A          Venture Deals 2fe7e91dbbec4427ab80e3297b485113.csv            6/17/2022

      14B      20220926 Venture Deals 2fe7e9 1 dbbec4427ab80e3297b485 1 13.csv   9/26/2022

       17                       Rough Balance Sheet 6/19/22                      6/19/2022

       18                      We came, we saw, we researched                    9/7/2022

       19                           Balance Sheet 9/1/22                         9/1/2022

       20                            Untitled document                           11/6/2022

       21                                  sources                               11/6/2022


       22                      Alameda Assets November 2022                      11/8/2022

       23                  Daily NAV Recon 2021-11-7&8 (after)                   12/4/2021


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       24                          Annotated but confused              9/13/2022

      25A                             Life Plans 8/6/22                 8/5/2022


      25B                             Life Plans 8/6/22                 8/5/2022


       26                       Investor List for Allocations          5/16/2021


       27                    FTX SG investor protection features       10/14/2022

                                Alameda-FTX Donations-
       28                                                                N/A
               etc.   LESWKRmVLUADFtV49 J2luAggyT48CsVm7CJuFZ2KTxc
       29                   AdvisoryBoard Update 202 10818 (1)         8/18/2021


       30                                       K5                      3/7/2022


       31                        Business updates 4/27/2019            4/27/2019

       32                       State of Alameda March 2022            3/14/2022

      32A                       State of Alameda March 2022            3/14/2022

       33                          May Crash Takeaways                 5/24/2022

      33A                          May Crash Takeaways                 5/24/2022

       34                          Alameda NAV Tracker                 4/6/2022

       36                          NAV minus Sam Coins                 9/27/2021


       37                         State of Alameda 8/6/22               8/5/2022


       38                      Ramnik, K5, and what matters            8/11/2022


      38A                       Ramnik, K5, and what matters           8/11/2022


       39                             Modulo/Alameda                   8/15/2022


      39A                             Modulo/Alameda                   8/15/2022


       40                 Modulo/Alameda   --
                                                from SBF to CE/BX/LZ   8/17/2022

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      40A               Modulo/Alameda         --
                                                    from SBF to CE/BX/LZ           8/17/2022

       41                                Intercompany Stuff                        9/18/2022

       42                          K5, relationships, and marketing                2/15/2022

       44                           Rough Balance Sheet 6/20/22                    6/19/2022

       45                Caroline Ellison Review 2022S1 Response                   8/12/2022

      ASA                Caroline Ellison Review 202251 Response                   8/12/2022

       46                Things people are getting wrong right now                 10/24/2020


      46A                Things people are getting wrong right now                 10/24/2020


       47                                    Funds Flow                            5/21/2022

      48A                                       to DO                               1/6/2019


      48B                                       to DO                               1/6/2019


       49                               Alameda Updates 5/7                        4/25/2022

      49A                               Alameda Updates 5/7                        4/25/2022

       50                          Alameda Balances by FTX Sub                     6/13/2022

       51                              FTX stats 2022 08 01                         8/2/2022

       53                          Alameda Balances by FTX Sub                     6/13/2022

       54                               FTX stats 2021-04-23                       2/18/2020

       55                               FTX stats 2021-05-22                       2/18/2020


       56       Project KSX   -
                                  AR Payment Confirmation Side Letter (Executed)   4/18/2022


       63                          Balance Sheet Questions to Dos                  6/18/2022


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        64                             State of Alameda 1125 21                          11/25/2021


        65                             How Contingent Is History_                        6/28/2020

      65A                              How Contingent Is History_                        6/28/2020

        66                          Copy of GAP funding thoughts(1)                      9/19/2022

        67                        Alameda Structure Chart JJan 2020.pptx                 1/30/2020

        68                             Advisory Board-comments                           8/18/2021


       70                                  Copy of Funds Flow                             9/1/2022

       74                   FTX Trading LTD assets and liabilities 2022_11_10            11/10/2022


       76                 115743 Term Sheet Alameda Research ETH 04132021                4/13/2021


       77                       S5A- Payment Agent Form Agreement                        4/16/2021


                  June 30 2022 Alameda BALANCE SHEET 2022-07 04 (from
       78                                                                                7/4/2022
                                      Caroline Ellison)

       79                             Founder Loans (updated 9.29)                       12/3/2021


        80                  name change CLIFtoN BAY INVESTMENTS LLC                      9/8/2022


        $1
                  3   -
                          SkyBridge GP Holdings, LLC Third Amended and Restated
                                                       -


                                                                                         9/9/2022
                                                 LLCA

        84      Written Resolutions of the Directors   -
                                                           Change of Company Name (1)    9/25/2022



        86        Updated CERTIFICATE OF iNCORPORATION                 -
                                                                           Clifton Bay
                                                                                         10/6/2022
                                    Investments Ltd.


        87                    Promissory Note (Cancelled for PIPE) EX-10.1               10/11/2022

        88                         subscription_additional_ 11-04                        11/6/2022


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       89      2022-04-07-Conveyance-Latitude to Allan Bankman & Barbara Fried                5/3/2022
                                      (singed by ALL)


       91           FTX Trading Ltd.    -
                                            Series B-1 Pro Forma(12433194.1) (4)             10/6/2021


       92                 2021-04-27 FTX Financial Model (Simple) (6)                         4/27/21


       93
                FTX Trading Ltd. Financial Statement December 31, 2020 and 2019
                                                                                             7/30/2021
                                                    (3) GB)
       94                FTX Trading Ltd      -
                                                  Financial Statements 1H 2021               1/12/2022

       95                             Balance sheet 2022-1001                                10/3/2022

       96            Please ]DocuSign GravitTeamLtd_-TXLineo(1)                              3/22/2021

       97
               Alameda Research LLC           -
                                                  General Ledger 2019 to 2022.xlsx
                                                                                              9/8/2022

       98
                   Alameda Research LLC 2022 General Ledger.xlsx
                                                     -


                                                                                              9/8/2022

      100                221103   -
                                      Alameda TermSheet_200 BTC.pdf                          11/3/2021

               TermSheetFor PermissionedLoan Alameda Research                       Apollo
      101                                                                     ___



                                                                                             9/15/2022
                                       _Capital       Revised_.pdf
      102                Invoice Alameda Research August2022 All.pdf                         8/31/2022


               Loan Agreement      Term Sheetfor PermissionedPool                Alameda
      103                                                                                _

                                                                                             9/16/2022
                                  Compound Capital Partners .pdf


      104               InvoiceAlameda Research October2022_All.pdf                          10/31/2022

      105            Please ]DocuSign Genesis Term Sheet__Alamedpd.pdf                       11/7/2022

      106          Please DocuSign Genesis TermSheet                 Alamedpd (1).pdf        11/7/2022

      107          Please DocuSign Genesis Term _Sheet          _    Alamedpd (2) pdf        11/7/2022

      108      Copy of Voyager loan and collateral transactions from 31 Dec 2021 to          9/6/2022
                                   31 July 2022 (shared).xlsx

      110              Invoice Alameda Research September2022_All.pdf                        9/30/2022


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                     Loan and Collateral Balance as at 30 June 2022 (summary)
       111                                                                              7/18/2022
                                           (shared).xlsx
       112                2211Alameda Term Sheet245ETH.pdf                              11/3/2022


       113              220927 Alameda Term Sheet- 3M USD.docx.pdf                      9/27/2022

       114      Loan and Collateral Balance as at 31 Jul 2021 (summary) (shared).xlsx   8/13/2021

                     Loan and Collateral Balance as at 30 Nov 2021 (summary)
       115                                                                              12/25/2021
                                           (shared).xlsx
       116                      Copy of Invoice C002-2022-06.pdf
                                                    -
                                                                                        7/1/2022


       117                          Invoice   -
                                                  C002-2022-07 pdf                       8/1/2022


       118                           Loans Spreadsheet Fix.xlsx                         12/5/2020


       119                  Open vs Fixed Term loans 31 May 2022.xlsx                   6/13/2022

                      Loan and Collateral Balance as at 30 Sep 2021 (summary)
       120                                                                              10/12/2021
                                            (shared).xlsx
       121                                    Loan Status                               11/9/2022


       122                Updated_Loan_Term_Sheet5anuary_2022.pdf                       3/8/2022


       123                          Invoice   -
                                                  C002-2022-04.pdf                      5/2/2022


       124                          Invoice   -
                                                  C002-2022-05 pdf                      6/2/2022

                Ledn replace termsheetsfor the consolidationof BTC and USD
       125                                                                              7/4/2022
                                      C_loans_2022-06-17.pdf
                     Loan and Collateral Balance as at 31 Dec 2021 (summary)
       126                                                                              1/1 1/2022
                                            (shared).xlsx
                  Tesseract     Alameda- Updated Loan Term Sheet USDC-
       127                                                                              3/25/2022
                                            _250322.pdf
                 Loan and collateral balances as at 31 May 2022 (summary for large
       128                                                                              6/1/2022
                                         OTC lenders).xlsx
                     Loan and Collateral Balance as at 28 Feb 2022 (summary)
       129                                                                              3/13/2022
                                            (shared).xlsx
       130                     Transfer History 2022 02      11 V2.xlsx                 4/22/2022

       131                   210921 Alameda Term Sheet_230BTC.pdf                       9/20/2021

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       132                   Tesseract_Term_Sheet_2021-09-22.pdf                                 9/30/2021

       133         Loan and Collateral Balance as at 31 Dec 2020 (shared).xlsx                   1/11/2021

       134         Loan and Collateral Balance as at 31 Mar 2021 (shared).xlsx                    4/5/2021

       135         Loan and Collateral Balance as at 31 Jan 2021 (shared).xlsx                    2/7/2021

       136         Loan and Collateral Balance as at 30 Apr 2021 (shared).xlsx                    5/4/2021

                    Loan and Collateral Balance as at 31 May 2021 (summary)
       137                                                                                       6/10/2021
                                          (shared).xlsx
                    Loan and Collateral Balance as at 30 June 2021 (summary)
       138                                                                                        7/8/2021
                                          (shared).xlsx
       139                                Loan Status                                            11/10/2022

       140          Notice of Default Alameda Research Ltd
                                     -                         -
                                                                   9.11.2022.pdf                 11/9/2022

       141           Alameda+Research+LLC_General+Ledger 07.01.2020                   -


                                                                                                 11/13/2022
                                     09.30.2020.xlsx

      141A        Excerpt of Alameda Research LLC General Ledger (GX 141)                        11/13/2022

       142        Alameda+Research+LLC_General+Ledger February 2021.xlsx                         11/13/2022

       143     Alameda+Research+LLC_General+Ledger 07.01.2022                -
                                                                                 9.30.22.xlsx    11/13/2022

       144       Alameda+Research+LLC_General+Ledger Full Year 2018.xlsx
                                                           -
                                                                                                 11/13/2022

       145     Alameda+Research+LLC_General+Ledger 1.1.2019 6.30.2019.xlsx
                                                                     -
                                                                                                 11/13/2022

       146       Alameda+Research+LLC_General+Ledger Full Year 2017.xlsx
                                                           -
                                                                                                 11/13/2022

       147          Alameda+Research+LLC_General+Ledger 01.01.2020                    -


                                                                                                 11/13/2022
                                    03.31.2020.xlsx

       148     Alameda+Research+LLC_General+Ledger 01.01.2022 3.31.22.xlsx   -
                                                                                                 11/13/2022

       149          Alameda+Research+LLC_General+Ledger 04.01.2020                    -



                                                                                                 11/13/2022
                                    06.30.2020.xlsx

       150     Alameda+Research+LLC_General+Ledger 10.01.2022            -
                                                                                 11.13.22.xlsx   11/13/2022

       151     Alameda+Research+LLC_General+Ledger 04.01.2022            -
                                                                                 6.30.22.xlsx    11/13/2022

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       152       Alameda+Research+LLC_General+Ledger September 2021.xlsx                                11/13/2022


      153           Alameda+Research+LLC_General+Ledger July 2021.xlsx                                  11/13/2022


      154           Alameda+Research+LLC_General+Ledger May 2021.xlsx                                   11/13/2022

      155        Alameda+Research+LLC_General+Ledger December2021.xlsx                                  11/13/2022

      156           Alameda+Research+LLC_General+Ledger June 2021.xlsx                                  11/13/2022

      157         Alameda+Research+LLC_General+Ledger October2021.xlsx                                  11/13/2022

      158          Alameda+Research+LLC_General+Ledger March 2021.xlsx                                  11/13/2022


      159      Alameda+Research+LLC_General+Ledger 7.1.2019                -
                                                                               12.31.2019.xlsx          11/13/2022

      160      Alameda+Research+LLC_General+Ledger 10.01.2022                      -
                                                                                        11.13.22.xlsx   11/13/2022

      161         Alameda+Research+LLC_General+Ledger August 2021.xlsx                                  11/13/2022

      162          Alameda+Research+LLC_General+Ledger April 2021.xlsx                                  11/13/2022

      163      alamedatresearchtlc_general+ledger 07.01.2022 9.30.22 2022-11-
                                                                   -



                                                                                                        11/13/2022
                                      13 23 03 57.xlsx

      164      Alameda+Research+Ventures+LLC_General+Ledger All Data.xlsx      -
                                                                                                        11/13/2022

      165          Blockfolio,+Inc. General+Ledger 10.1.2020   -
                                                                       11.13.22.xlsx                    11/13/2022


      166       FTX+Digital+Markets+Ltd._General+Ledger 7.1.22                 -
                                                                                       11.13.22.xlsx    11/13/2022


      167       FTX+Digital+Markets+Ltd._General+Ledger Full Year2021.xlsx                              11/13/2022

      168                                  General+Ledger 1.1.22                   -
                                                                                       6.30.22.xlsx     11/13/2022


      169         FTX+Property+Holdings+Ltd_General+Ledger All Data.xlsx
                                                                       -
                                                                                                        11/13/2022


      170           FTX+Trading,+Ltd_General+Ledger Full year 2019.xlsx                                 11/13/2022


      171          FTX+Trading,+Ltd_General+Ledger Full Year 2020.xlsx
                                                      -
                                                                                                        11/13/2022


      172           FTX+Trading,+Ltd_General+Ledger Full Year 2021.xlsx
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       173          FTX+Trading,+Ltd_General+Ledger 1.1.22   -           -
                                                                             11.13.22.xlsx        11/13/2022

       174              FTX+Ventures+Ltd_General+Ledger All Data.xlsx-
                                                                                                  11/13/2022


       175                Paper+Bird+Inc_General+Ledger All Data.xlsx
                                                                 -
                                                                                                  11/13/2022

       176             West+Realm+Shirest+Inc. General+Ledger(2020).xlsx                          11/13/2022


       177             WesttRealmtShirestinc._General+Ledger(2021).xIsx                           11/13/2022


       178          West+Realm+ShirestInc. General+Ledger (2022 YTD).xlsx                         11/13/2022


       179      West+Realm+Shires+Financial+Services+Inc_General+Ledger(2020)                     11/13/2022
                                             xlsx

       180      West+Realm+Shires+Financial+Servicest+Inc_General+Ledger(2021)                    11/13/2022
                                                 xlsx

       181      West+Realm+Shires+Financial+Services+Inc_General+Ledger(2022                      11/13/2022
                                             YTD).xlsx
                West+Realm+Shires+Services,+Inc. General+Ledger(Oct 1                -
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       182                                                                                        11/13/2022
                                         2022).xlsx
       183        West+Realm+Shires+Services,+Inc._General+Ledger(2020).xlsx                      11/13/2022

       184        West+Realm+Shires+Services,tInc. General+Ledger(2021).xlsx                      11/13/2022


       185      WesttRealm+ShirestServices,+Inc._GeneraltLedger(Q1 2022).xlsx                     11/13/2022

       186      West+Realm+Shires+Services,+Inc. General+Ledger(Q2 2022).xlsx                     11/13/2022


       187      West+Realm+Shires+Services,+Inc. General+Ledger(Q3 2022).xlsx                     11/13/2022

       188                                 private-ventures                                       9/26/2021


       190      Rivers & Moorehead Consultant Re: Customer Digital Assets Analysis                 5/1/2021


       192                      Alameda Research Investments Ltd                                  9/12/2022

       193                           Memorandum of Terms                                          4/15/2022

                 Alameda Research Ltd. Unanimous Consent of Board of Directors
                                       -



       200                                                                                        4/30/2022
                                        Stock Transfer

       201                           Subscription Agreement                                        9/7/2022

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      202        Skybridge Capital I, LLC Fifth Amended and Restated Limited                          9/7/2022
                                Liability Company Agreement
      203                                     historical_margin_stats                                 9/3/2022

                 June 30 2022 Alameda BALANCE SHEET 2022-07                                   (from
      205                                                                                             10/6/2021
                                   Caroline Ellison).xlsb

      207                             Gary Promissory Note (LedgerX).pdf                              2/26/2022

      208               Note     -
                                     Alameda & Gary (WRS Binance Buyout)2.pdf                         5/18/2022

      209            Note    -
                                 Alameda & Nishad (WRS Binance Buyout)2.pdf                           5/18/2022

      210               Note     -
                                     Alameda & SBF (WRS Binance Buyout)2.pdf                          5/18/2022

      211                             Sam Promissory Note Dec 2021.pdf                                2/26/2022

      213
                                                   Binance   -
                                                                 FTX   -


                                                                                                      7/15/2021
                    Share                    EXECUTION VERSION).pdf
                             Transfer vaAgreement
                                       WestRealm-
      214      _Share Transfer Agreement (Dinghuato Sam) (EXECUTION _VE
                    _
                                                                                                      7/15/2021
                                        RSION) pdf
                                       West Realm-
      215       Share Transfer Agreement (Lim_to Gary) (EXECUTION VERSI                               7/15/2021
                                                      ON).pdf
                                                    West Realm-
      216       Share Transfer_Agreement_(Lim_to Nishad)                         (EXECUTION VERS      7/15/2021
                                                      ION).pdf
      225            Promissory Note Alameda & Sam (Sept 2022).doc.pdf
                                               -
                                                                                                      10/1/2022


      226           Promissory Note Alameda & Gary (Sept 2022).doc.pdf
                                               -
                                                                                                      10/1/2022


      230          Please DocuSign_Genesis_Term_Sheet_
                                                    Alamedpd (1).pdf                                  11/7/2022


      236                    SBF Emergent Funding Loan 1 executed.pdf  -
                                                                                                      5/18/2022

      237                   SBF Emergent Funding Loan 2 executed.pdf
                                                             -             -
                                                                                                      5/18/2022

      238                   Gary Emergent Funding Loan 1     -             -

                                                                               Executed.pdf           5/18/2022

      239                   Gary Emergent Funding Loan 2 Executed.pdf
                                                             -             -
                                                                                                      5/18/2022

      240         Promissory Note         -
                                              Alameda & Sam (Oct 2021) (LedgerX).pdf                  3/2/2022

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      241                       Sam Promissory Note March 2020 (LoC).pdf                          2/26/2022

      242              Promissory Note Alameda & Sam (July 2022).doc.pdf
                                                    -
                                                                                                  7/22/2022

      243              Promissory Note Alameda & Gary (July 2022).doc.pdf
                                                    -
                                                                                                  7/22/2022

      254                                               FTX-LoC.pdf                               10/20/2022


      294                       FTX Advisory Board Meeting 03 21 2022.pdf                         3/21/2022


      297              FTX       -
                                     Customer Digital Assets Analysis 2021.docx.pdf                5/6/2022


      300                                           FTX Trade Lifecycle                           12/16/2022


      309         SA (Non-US) Modulo Capital Alpha Fund LP [Final].DOCX.pdf
                                       -
                                                                                                  6/17/2022


      315                            additional_subscription ($250M).docx.pdf                     9/26/2022


      323                        FTX IEF Rewards Agreement(SIGNED).pdf                            3/12/2022

                Safeguarding of Assets and Digital token Management Policy -issue 1
                                                                                              -



      325                                                                                         8/17/2021
                                        Checkpoint Draft.docx
      327         Dave Convertible Note Purchase Agreement [EXECUTION] .pdf
                        -
                                                                                                  4/25/2022

      330                       S5A                                   _Agreement.pdf              1/12/2022


      331        Modulo Capital Inc.        -
                                                Shareholders Agreement [Executed]. DDOC.pdf       6/18/2022


      332                             Nishad Promissory Note (LedgerX).pdf                        2/26/2022

       333            Promissory Note Alameda & Nishad (Sept 2022).doc.pdf
                                                -
                                                                                                  10/1/2022


       335                                  Payment Agent Agreement                               4/12/2021


       336                                  Payment Agent Agreement                               1/12/2022


       339                                          Hedging Thoughts 9/6                           9/6/2022

                    FDM Safeguarding of Assets and Digital Token Management
                            -



       340                                                                                        11/22/2021
                                                         Policy.pdf
       343                                 Sponsorships (Full) (4).xlsx                           3/23/2022

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      401                     [Abridged] What is FTX pdf                6/1/2022


      404                 [21 08-22] FTX Call w Ramnik.pdf              8/21/2022


      4ll                             Capital .xlsx                     11/7/2022


      417               Alameda credit memo 7nov2022.docx
                                  -
                                                                        11/7/2022


      418              Alamed2022 Q3 Balance Sheet(1).xlsx              10/1/2022


      419               Alameda 2022 Q3 Balance Sheet.xlsx


      420             [External]2022 Q3 Balance Sheet       2   .xlsx   11/7/2022


      422                  torch Data Output2022-10-03.csv              10/3/2022


      432             Excerpts from the journal of Caroline Ellison


      433         Audio Recording of Final Alameda All Hands Meeting    11/9/2022


     433A         Audio Recording of Final Alameda All Hands Meeting    11/9/2022


     433B         Audio Recording of Final Alameda All Hands Meeting    11/9/2022


     433C         Audio Recording of Final Alameda All Hands Meeting    11/9/2022


     433D         Audio Recording of Final Alameda All Hands Meeting    11/9/2022


     433E         Audio Recording of Final Alameda All Hands Meeting    11/9/2022


      433F        Audio Recording of Final Alameda All Hands Meeting    11/9/2022


     433G         Audio Recording of Final Alameda All Hands Meeting    11/9/2022


     433H         Audio Recording of Final Alameda All Hands Meeting    11/9/2022


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      450           Credit Note Alameda Research x YE Allowance v2.pdf           May 2022


      453                     Alameda 2022 Q3 Financials.xlsx                      N/A

      454                               FTX Balance.pdf                          12/8/2022


      455                  Ledn Notice to Alameda 2022.11.08.pdf                 11/8/2022


      458                             Withdrawal request.pdf                     12/8/2022


      459             WORKING DOC Alameda CIRRA 10.2022.docx
                                          -
                                                                                  10/2022


      460       WORKING DOC Credit Due Diligence Alameda Research.docx
                                -                                  -
                                                                                   N/A

      461           WORKING DOCUMENT Alameda Transactions .xlsx
                                                        -
                                                                                 11/30/2022

                 Modulo Capital Alpha Fund LP Additional Subscription Form   -


      473                                                                        11/6/2022
                                  Goodman Investments Ltd

      481                                 Founder Loans                          12/3/2021


      484               October 13 2021       -
                                                  FTX Final IC Memo vF.pdf       10/11/2021


      498               FTX Series B Investment Memo SIGNED.pdf                  June 2021


      499                           [Abridged] What is FTX.pdf                    6/1/2022


       500                      FTX Presentation August.pdf                      8/18/2022


       501                                README.pdf                              6/7/2022


       502               CPPIB Questions for FTX (June 28, 2022).pdf             6/28/2022


       517                          FTX Trading Ltd Deck.pdf                     6/26/2021


       519                          FTX Notes       -
                                                            Michelle.docx         7/9/2021


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      520                        MF Notes London.docx
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                                                                              11/7/2022


      522                    AUDIO-2022-11-09-17-42-14.m4a                    11/11/2022


      530                        FTX Diligence Discussion                     9/14/2022


      533                            FTX Slide Deck                           3/17/2021


      536                    Tareq Morad CIBC Payment Order                   2/24/2022


      537                    Tareq Morad CIBC Payment Order                    4/1/2022


      538                    Tareq Morad CIBC Payment Order                   5/10/2022


      539                     Tareq Morad Portfolio Snapshot                  11/10/2022


      540                    Tareq Morad CIBC Payment Order                   2/8/2022


      541                  Tareq Morad FTX Trades Spreadsheet                    N/A

      544            20230921 google meetevents original 202206               6/14/2022


      1103                 Alameda $25MM 2022-08-11.docx.pdf                  8/11/2022


      1104                 Alameda $45MM 2022-08-11.docx.pdf                  8/11/2022


      1105     Alameda Master Loan and Security Agreement 11.16.2020.pdf
                       -
                                                                              11/20/2020


      1106                 Alameda 2021-09-09 terms (2).docx.pdf              9/9/2021


      1107             Alameda 2021-09-20       -
                                                    indicative (1).docx.pdf   9/21/2021


      1108                     Alameda 2021-09-22 .docx.pdf                   9/22/2021


      1109                     Alameda2021-10-21.docx.pdf                     10/22/2021


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      1110                                            Alameda 2022-08-26 .pdf                8/31/2022


      1111                                        Alameda_2021-10-14.docx.pdf                10/26/2021


      1112                                        Alameda_2021-11-10.docx.pdf                11/12/2021

      1178                            MNDA- FTX Japan KK BitGo 08.18.22                      8/18/2022
      1179                           MSA- Alameda and BitGo, Inc 12.18.20.pdf                12/18/2020
      1180       MSA Amended and Restated- Alameda Research Ltd. 04.23.21.pdf                4/23/2021
      1181         MLA Alameda Research and BitGo Prime LLC 01.20.20.pdf                      1/20/2020
      1182               Amendment No. to the MLA- Alameda.pdf  1                            10/19/2022
      1183      BitGo Prime LLC Parent Guaranty (Alameda Research Limited, LLC)              10/19/2022
                                          10.19.22.pdf
      1184               Loan Term Sheet- Alameda ETH 09.01.21.pdf                            9/1/2021
      1185               Loan Term Sheet- Alameda USD 10.26.22.pdf                           10/26/2022
      1186               Loan Term Sheet- Alameda ETH 10.26.22.pdf                           10/26/2022
      1187               Loan Term Sheet- Alameda BTC 10.26.22.pdf                           10/26/2022
      1188            MNDA- BitGo, Inc. F FTX Ventures 09.09.22.docx.pdf                      9/9/2022
      1189            MNDA- FTX Japan KK BitGo Holdings 04.07.22 pdf                          4/7/2022
      1190       FTX BitGo Custodial Services Agreement Alameda Research
                         -                -                                      -
                                                                                             11/13/2022
                                           LLC pdf
      1191      FTX BitGo Custodial Services Agreement FTX Trading Ltd.pdf
                     -                -                                      -
                                                                                             11/13/2022
      1192          FTX BitGo Custodial Services Agreement Clifton Bay
                                 -                -                                      -
                                                                                             11/13/2022
                                        Investment.pdf
      1193       FTX BitGo Custodial Services Agreement West Realm Shires
                         -                -                                      -
                                                                                             11/13/2022
                                            Inc.pdf
      1194             FTX BitGo CSA LedgerX LLC March 2020.pdf
                                      -               -     -
                                                                                             2/6/2020
      1195        FTX BitGo Custodial Services Agreement Quoine Pte.pdf
                             -                -                                      -
                                                                                             1/18/2023
      1197                          Loan Borrower Request                                    9/1/2021
      1234         Alameda Research Portfolio Refinance 11072022.docx.pdf                    11/7/2022
      1289             Master Loan Agreement and Supporting Documents                        1/27/2022
      1340      LOAN TERM SHEET Alameda 1.12.22 BTC (collateralized).docx                    1/12/2022
                                            (1).pdf
      1341                        Voyager  Letter to Alameda                                 9/19/2022
      1604                                        FTX Intl Assets and Liabilities            11/10/2022


      1605                                                Alameda USD                        11/7/2022


      1607                                alamedabahamas employment (1).pdf                  3/30/2022




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      1608                    Capital Discussion (1).docx             4/10/2023




      1610          [External] 2022 Q3 Balance Sheet (1).xlsx.XLSX




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                                          ATTACHMENT A-2
                                                (Emails)



     GX #                                     Subject                                  Date


        15         Spreadsheet shared with you: [External] Balance Sheet 10/1/22"    11/4/2022



        16              Spreadsheet shared with you: "Balance Sheet 10/1/22"         11/4/2022


       90                              Re: Portfolio Review                          1/19/2022


       109         Genesis Capital.NMargin Call => 9/21/2022 (Alameda Research)      9/22/2022

       191                                 Re: Hey Sam!                              7/20/2021


       194                              Re: OTPP Catch-up                            7/22/2021


       195
                FTX stats 2021-07_19.xlsx (Attachment to Re: OTPP Catch-up) (GX
                                                194)

       196                    Re: Project Wunderkind // Bond Capital                 6/17/2021


       197
                FTX stats 2021-06-10.xlsx (Attachment to Re: Project Wunderkind //
                                      Bond Capital) (GX 196)

       198                                Re: Checking In                            5/21/2021


       199      FTX stats 2021-05-20.xlsx (Attachment to Re: Checking In) (GX 198)
                   Invitation: Sen. Stabenow <> FTX @ Thu Sep 8, 2022 1:15pm    -


       220                                                                           9/7/2022
                                   2: 15pm (EDT) (sam@ftx.com)

       221                                   Re: Guys                                9/21/2022

       223                      Re: PRESS: BLOOMBERG NEWS                            9/22/2022

       224                           Re: Follow up from dinner                       9/22/2022

       234                Advisory Board Meeting Materials 09/19/2022
                                                              -
                                                                                     9/18/2022

       235
                   FTX Advisory Board Meeting 09192022.pdf (Attachment To
                                                                                     9/18/2022
                     Advisory Board Meeting Materials 09/19/2022) (GX 234)
                                                         -




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      244                                Re: Donation processing                         7/20/2021


      248                                        Re: FTX / Binance                       11/9/2022


      253           Re: Congratulations from Silvergate North Dimension Inc
                                                                    -
                                                                                         3/25/2021


      256                     Re: Compliance / Monitoring Questions                      5/15/2020

      259           Re: Congratulations from Silvergate North Dimension Inc
                                                                    -
                                                                                         3/25/2021


      260                  RE: North Dimension Inc. account activated
                                                                -
                                                                                         4/27/2021


      261            RE: [EXT] Re: Clifford Chance Regulatory DD Fischer
                                                            -           -
                                                                                         4/29/2021


      262         Project Fischer Responses.pdf (Attachment to RE: [EXT] Re:
                                    --


                                                                                         4/29/2021
                       Clifford Chance Regulatory DD Fischer) (GX 261)
                                             -                      -




      263                         RE: FTX Jurisdiction Counsel Calls                     7/27/2021

               Project Fischer Questions for call with FTX (Initial List 27 July 2021)
                              -




      264         (sent to FTX) .docx (Attachment to RE: FTX Jurisdiction Counsel        7/27/2021
                                             Calls) (GX 263)
                    Re: Setting Up New Subaccounts for Silvergate under Alameda
      266                                                                                12/14/2020
                                              Research LLC
                     Silvergate-Initial Due Diligence Questionnaire for Traders.pdf
      267       (Attachment to Re: Setting Up New Subaccounts for Silvergate under       12/14/2020
                                   Alameda Research LLC) (GX 266)

      268                           Re: [Urgent] political donations                      8/1/2021


      269                                                                                2/6/2022
                            FTX's Key Principles on Investor Protection
               FTX's Key Principles on Investor Protection.pdf (Attachment to FTX's
      270                                                                                2/6/2022
                        Key Principles on Investor Protection) (GX 269)
      271                                    Re: Wire transfers etc.                     1/24/2022


      278                     RE: Advisory Board Meeting tomorrow                        11/9/2022


      281                         Binance Investment <> FTX Sync-up                       6/8/2021

               Invitation: Quick photoshoot for Forbes story (at Equinox hotel) @ Fri
      282                                                                                 9/9/2021
                Sep 17, 2021 8:30am 8:45am (HKT) (sam@alameda-research.com)
                                         -




      283      Updated invitation: SBF visit to Virtu @ Wed Sep 15, 2021 12:30am    -


                                                                                         9/10/2021
                           4:30am (HKT) (sam@alameda-research.com)

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                   7:30am Breakfast: Brad/Sam @ Equinox Hotel                 -
                                                                                  Electric Lemon
       284                                                                                         9/12/2021
                                       Restaurant 24th floor

       285      Updated invitation: SALT Fund (Alex, AJ) / FTX (Sam) @ Fri Sep 17,                 9/16/2021
                          2021 10:30pm 11:30pm (HKT) (sam@ftx.com)
                                               -




       286                                         Temasek/FTX                                     11/16/2021


       287      Updated invitation: Dinner with the mayor @ Thu Mar 3, 2022 8:30pm                  3/1/2022
                                   -

                                      10pm (EST) (sam@ftx.com)

       289       Updated invitation: Piper Sandler Conf Meetings with Investors @
                                                                         --


                                                                                                    6/8/2022
                       Thu Jun 9, 2022 9:30am Llam (EDT) (sam@ftx.com)
                                                       -




       290                                           FTX/IEX                                       8/15/2022

      291                       SBF meeting w/NY Governor Hochul                                   8/18/2022

      292       Updated invitation: Meeting w/President Clinton @ Tue Sep 20, 2022                 9/19/2022
                                 4pm Spm (EDT) (sam@ftx.com)
                                       -




      293          Updated invitation [NYC] small group dinner w/ H.E. Yasir
                                           -


                                                                                                   9/21/2022
                                                    Rumayyan
       301                                     Re: Long form docs                                  3/10/2022

       302               Re: Fwd: FTX Group Dinner July 19 (New York)-
                                                                                                    7/1/2022

       318                                         Re: Thank you                                   3/22/2022

       320                                         Re: rob sarver                                  4/25/2021

     320A        FTX stats 2021-04-23.xlsx (Attachment to: Re: rob sarver) (GX 320)                4/25/2021

       321                Re: [Action Required] Update on FTX fund raise                           5/22/2021


       322                Re: [Action Required] Update on FTX fund raise                           5/25/2021


     322A
                 FTX stats 2021-05-22.xlsx (Attachment to to Re: [Action Required]                 5/25/2021
                               Update on FTX fund raise) (GX 322)
                                   Re: FTX Cyprus Additional     -


       326                                                                                         5/13/2022
                                                       Reps
       337                          RE: Susquehanna/ FTX.Com                                       6/29/2022

       34]                             Re: FTX<>Alpaca VIP's                                       12/28/2021


       342                                                 Re:                                      9/8/2022

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       344                        Re: followup on our conversation                4/11/2021

       400                         RE: Introduction FTX/Altimeter                 6/12/2021


       402                                     Fwd: FTX                            3/4/2021


       403              FTX2: 21.pdf (Attachment to Fwd: FTX) (GX 402)             3/4/2021


       416      BlockFi Mail Re alameda Memo recording approval by BARC.pdf
                            -

                                  _
                                                     -
                                                                                  11/7/2022


       421                        Re: New Alameda Trade Approval                  5/11/2022


       445                      Re: Alameda Follow Up Qs <> Genesis               11/7/2022


       446         Genesis Capital Margin Call => 11/8/2022 (Alameda Research)    11/8/2022


       447                                Alameda <> Genesis                      11/9/2022


       448             Notice of Default from Genesis Global Capital, LLC         11/9/2022


       449               RE: Genesis <> Alameda Quick Risk/legal synch            5/3/2022


       451          Genesis Capital Margin Call-> 5/11/22 (Alameda Research)      5/11/2022


       462                            Re: Intro (FTX <> Lightspeed)               5/11/2021


       463                         Re: FTX Data Room Follow-Up                    7/6/2021


       464                                 FTX Meeting Prep                       10/31/2022


       465        Corp Structure.pdf (Attachment to FTX Meeting Prep) (GX 464)    10/31/2022


       466
                FTX Series C One-Pager.pdf (Attachment to FTX Meeting Prep) (GX   12/13/2021
                                                  464)

       467       Company Description.pdf (Attachment to FTX Meeting Prep) (GX     10/31/2022
                                              464)


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       468
                FTXLSVP Diligence Deck, 0830'22.pdf (Attachment to FTX Meeting              8/30/2022
                                              Prep) (GX 464)

      469                               Fwd: FTX investment memo                            12/7/2021


      470
                 FTX Series B IM.pdf (Attachment to: Fwd: FTX investment memo)              7/19/2021
                                                 (GX 469)
      471                                   Fwd: Thune request                              8/19/2022


      472                                        Re: Intro                                   3/6/2022


      482                                   Re: OTPP Catch-up                               7/22/2021


      483
                FTX stats 2021-07 19.xlsx (Attachment to Re: OTPP Catch-up) (GX             7/22/2021
                                                   482)

      485                           Re: Diligence questions for Alameda                     10/25/2021


      486                                Fwd: FTX process update                             5/3/2021


      487                                  FTX Series     Y
                                                              Memo                          11/28/2021

                 Paradigm FTX Model v2.xlsx (Attachment to FTX Series
                                                                                Y


      488                                                                           Memo)   11/28/2021
                                                 (GX 487).
      489
                 FTX Series    C                                          Y
                                                                              Memo) (GX     11/28/2021
                                                 487)
                                               FTX Memo                                     4/25/2021
      490

      491              FTX Memo.pdf (Attachment to FFTX Memo) (GX 490)                      4/25/2021


      492                                     Re: rob sarver                                4/22/2021


      493                                     Re: Follow up                                 4/25/2021


       494                          Written Answers to Clifford Chance                      7/2/2021


       495      Project Fischer DRAFT of responses Abridged.pdf (Attachment to
                                   --                          -


                                                                                            7/2/2021
                            Written Answers to Clifford Chance) (GX 494)
                              FTX's Key Principles on Investor Protection
       496                                                                                  2/6/2022

                FTX's Key Principles for Investor Protection.pdf (Attachment to FTX's
       497                                                                                  2/6/2022
                          Key Principles on Investor Protection) (GX 496)
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      507                          Re: Sculptor open items list                      6/23/2022

               FTX Digital Markets Limited: Safeguarding of Assets & Digital Token
      513      Management Policy (Attachment to Re: Sculptor open items list) (GX     7/1/2022
                                            507)

      514                          Re: Sculptor open items list                       6/23/2022


      515                          Re: Sculptor open items list                       6/27/2022


      516                               Re: FTX Series C                              7/10/2021


      518          Re: Meet with partnership 7am PST/ 10pm HK this Monday?            7/13/2021


      521              RE: Updates from FTX and allocation for Series B-1             9/28/2021


      523                   RE: Dan/Bob < Sam/Darren // FTX.msg                       3/16/2021


      524                   RE: Dan/Bob < Sam/Darren // FTX.msg                       3/21/2021


      525                             pls take alook... FTX                           4/20/2021


      526        FTX-Deck.pptx (Attachment to pls take alook... FTX) (GX 525)         4/8/2021


      527                               Re: FTX/Sam BF                               10/11/2022


      528                 RE: Miscellaneous October Updates from FTX                 10/17/2022


      529                             SBF Deleted Tweets                              11/9/2022


      531                                Re: FTX Memo                                 4/25/2021


      532           FTX Slide Deck (Attachment to Re: FTX Memo) (GX 531)              4/25/2021


      534                       Re: Hi Sam --> Third Point    FTX                     4/10/2021


      535                Folder shared with you: "Raise 2022 November"               11/10/2022

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      545                       Signet Transferred                    9/29/2021

      1196                 FTT Reduction July 27, 2022
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                                          ATTACHMENT A-3
                                               (Messages)



      GX #                             Message Participants                              Date


        59                      Michael Sadowsky and Ryan Salame


                                                                                       10/10/2022
                Richard Chang, Caroline Ellison, Rahul Sharma, Sam Bankman-Fried,
       189                                   and others


                   Caroline Ellison, Caroline Papadopoulos, Dan Friedberg, Jayesh
       204        Peswani, Jen, Josephine, Karis Wun, Lynn, Ramnik Arora, Richard
                                                                                       2/23/2022
                   Chang, Ruari Donnelly, Ryan Salame, Sam Bankman-Fried, Sam
                                               Trabucco
                  Can Sun; Jen; Sam Bankman-Fried; Caroline Papadopoulos; Ryan
       252                                                                             10/10/2022
                                       Salame; Caroline Ellison
                                                                                       4/24/2021
       257            Jen; Sam Bankman-Fried; Delaney Ornelas; Ryan Salame

                Richard Chang; Caroline Ellison; Slackbot; Mark Wetjen; Ryne Miller;
       273      Jay; Jen; Ramnik Arora; Sam Bankman-Fried; Amy Wu; Claire Zhang;       5/19/2022
                 Adam J.; Josephine; Brian; Kelly Yamashita; Jack; Zach Dexter; Tim
                                 Wilson; Ryan Salame; Sam Trabucco
                Richard Chang; Caroline Ellison; Mark Wetjen; Ryne Miller; Jay; Jen;   3/17/2022
                 Ramnik Arora; Sam Bankman-Fried; Amy Wu; Claire Zhang; Tanay
       298
                Nandgaonkar; Adam J.; Josephine; Brian; Constance Wang; Jack; Zach
                           Dexter; Tim Wilson; Ryan Salame; Sam Trabucco
       299       Leopold Aschenbrenner, Sam Bankman-Fried, and Caroline Ellison        5/5/2022

       308       Fab; Jen; Sam Bankman-Fried; Delaney Ornelas; Lynn; Ryan Salame       10/8/2021

                    Caroline Ellison; Slackbot; Mark Wetjen; Ryne Miller; Jay; Jen;
                Ramnik Arora; Sam Bankman-Fried; Amy Wu; Claire Zhang; Aravind;
       310                                                                             6/24/2022
                   Adam J.; Josephine; Brian; Jack; Zach Dexter; Tim Wilson; Ryan
                                         Salame; Sam Trabucco
                  Mark Wetjen; Ryne Miller; Jay; JJen; Ramnik Arora; Sam Bankman-
                  Fried; Amy Wu; Claire Zhang; Aravind; Adam J.; Josephine; Brian;
       311                                                                             6/24/2022
                 Jack; Zach Dexter; Tim Wilson; Ryan Salame; Caroline Ellison; Sam
                                           Trabucco; Slackbot



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                 Mark Wetjen; Ryne Miller; Jay; Jen; Ramnik Arora; Sam Bankman-
       312        Fried; Amy Wu; Adam J.; Josephine; Brian; JJack; Zach Dexter; Tim     6/25/2022
                         Wilson; Ryan Salame; Caroline Ellison; Sam Trabucco
                 Caroline Ellison; Mark Wetjen; Ryne Miller; Jay; JJen; Ramnik Arora;
       313       Sam Bankman-Fried; Amy Wu; Josephine; Brian; Jack; Zach Dexter;        6/27/2022
                               Tim Wilson; Ryan Salame; Sam Trabucco
                    Caroline Ellison; Mark Wetjen; Ryne Miller; Jay; Can Sun; Jen;
       314      Ramnik Arora; Sam Bankman-Fried; Amy Wu; Josephine; Brian; Jack;        9/26/2022
                        Zach Dexter; Tim Wilson; Ryan Salame; Sam Trabucco

       328          Zane Tackett; Sam Bankman-Fried; Gary Wang; Nishad Singh            11/24/2021


       405                     Sam Bankman-Fried and Ramnik Arora                       11/6/2022

                 Caroline Ellison; Sam Bankman-Fried; Joe Bankman; Ramnik Arora;
       406       Zach Dexter; Ryne Miller; Can Sun; Constance Wang; Ryan Salame;        11/7/2022
                           Nishad Singh; Victor Xu; Gary Wang, and others
                 Caroline Ellison; Sam Bankman-Fried; JJoe Bankman; Ramnik Arora;
       407       Zach Dexter; Ryne Miller; Can Sun; Constance Wang; Ryan Salame;        11/7/2022
                           Nishad Singh; Victor Xu; Gary Wang, and others
                 Caroline Ellison; Sam Bankman-Fried; Joe Bankman; Ramnik Arora;
       408       Zach Dexter; Ryne Miller; Can Sun; Constance Wang; Ryan Salame;        11/7/2022
                           Nishad Singh; Victor Xu; Gary Wang, and others
                 Caroline Ellison; Sam Bankman-Fried; JJoe Bankman; Ramnik Arora;
       409       Zach Dexter; Ryne Miller; Can Sun; Constance Wang; Ryan Salame;        11/7/2022
                           Nishad Singh; Victor Xu; Gary Wang, and others
                 Caroline Ellison; Sam Bankman-Fried; Joe Bankman; Ramnik Arora;
       410       Zach Dexter; Ryne Miller; Can Sun; Constance Wang; Ryan Salame;        11/8/2022
                           Nishad Singh; Victor Xu; Gary Wang, and others
                 Caroline Ellison; Sam Bankman-Fried; JJoe Bankman; Ramnik Arora;
       412       Zach Dexter; Ryne Miller; Can Sun; Constance Wang; Ryan Salame;        11/8/2022
                           Nishad Singh; Victor Xu; Gary Wang, and others

     413A          Ben Xie, Sam Bankman-Fried, Caroline Ellison, Sam Trabucco           11/6/2022


     413B          Ben Xie, Sam Bankman-Fried, Caroline Ellison, Sam Trabucco           11/6/2022


     413C          Ben Xie, Sam Bankman-Fried, Caroline Ellison, Sam Trabucco           1   1/6/2022


     413D          Ben Xie, Sam Bankman-Fried, Caroline Ellison, Sam Trabucco           11/6/2022

                 Caroline Ellison; Sam Bankman-Fried; JJoe Bankman; Ramnik Arora;
                 Zach Dexter; Ryne Miller; Can Sun; Constance Wang; Ryan Salame;
       414                                                                              11/9/2022
                Nishad Singh; Victor Xu; Gary Wang; Tim Wilson; Rahul Sharma, and
                                               others
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       415                        Caroline Ellison and Ben Xie                    11/16/2021


       452                 Ketan Ramakrishnan, Sam Bankman-Fried                  2/8/2022

                 Lynn, Carlos Ng, John Glover, Lena Ngoy, Adam Reeds, Richard
       456       Chang, Caroline Ellison, Drew Turchin, Mauricio di Bartolomeo,    7/7/2021
                              T'Shae Cooper, Papi, Anton, C, others
                 Lynn, Carlos Ng, John Glover, Lena Ngoy, Adam Reeds, Richard
       457       Chang, Caroline Ellison, Drew Turchin, Mauricio di Bartolomeo,   12/16/2022
                              T'Shae Cooper, Papi, Anton, C, others

       474                      Lily Zhang, Sam Bankman-Fried                     1/20/2022

                Nishad Singh, Caroline Ellison, Sam Bankman-Fried, Ryan Salame,
       475                                                                        10/17/2022
                                             others

       477                    Michael Sadowsky and Nishad Singh                   7/5/2022


       479                     Caroline Ellison and Nishad Singh                  11/8/2022


     480A                    Sam Bankman-Fried and Nishad Singh                   11/6/2022


     480B                    Sam Bankman-Fried and Nishad Singh                   11/6/2022


     480C                    Sam Bankman-Fried and Nishad Singh                   11/8/2022


     480D                      Caroline Ellison and Nishad Singh                  11/6/2022


       503       Richard Chang, Can Sun, Sam Bankman-Fried, Caroline Ellison      11/8/2022


       504              Sam Bankman-Fried, Ryan Salame, Mark Wetjen               3/2/2022


       505                        Ryan Salame, Scott Salame                       11/2/2021


       506              Sam Bankman-Fried, Ryan Salame, Mark Wetjen               3/2/2022


       542                 Sam Bankman-Fried, Nishad Singh, others                11/14/2021




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                  Caroline Ellison, Tim Wilson, Sam Bankman-Fried, Zach Dexter,
       543
                                              others

                  Nishad Singh, Sam Bankman-Fried, Ryan Salame, Adam Yedidia,
      1600                                                                           11/6/2022
                    Andrea Lincoln, Keith Lennox, Vince, Clement, Alfred, others

                  Nishad Singh, Sam Bankman-Fried, Ryan Salame, Adam Yedidia,
      1601                                                                           11/6/2022
                    Andrea Lincoln, Keith Lennox, Vince, Clement, Alfred, others


                  Nishad Singh, Sam Bankman-Fried, Ryan Salame, Adam Yedidia,
      1602                                                                           11/9/2022
                    Andrea Lincoln, Keith Lennox, Vince, Clement, Alfred, others


                  Nishad Singh, Sam Bankman-Fried, Ryan Salame, Adam Yedidia,
      1603                                                                           11/7/2022
                    Andrea Lincoln, Keith Lennox, Vince, Clement, Alfred, others



      1611                      Caroline Ellison and Sam Trabucco                    1/14/2021




      1612                      Caroline Ellison and Richard Chang                   8/27/2021




      1613                         Caroline Ellison and Ben Xie                      11/16/2021




      1615                   Caroline Ellison and Sam Bankman-Fried                  11/10/2022




      1616                   Caroline Ellison and Sam Bankman-Fried                  11/10/2022




      1617        Caroline Ellison, Sam Bankman-Fried, Gary Wang, Nishad Singh       5/11/2021


                 Caroline Ellison, Sam Bankman-Fried, Ramnik Arora, JJoe Bankman,
                Constance Wang, Zach Dexter, Ryan Mendel, Ryne Miller, Nate Parke,
      1618                                                                           11/6/2022
                 Kumanan Ramanathan, Ryan Salame, Rahul Sharma, Nishad Singh,
                                  Victor Xu, Gary Wang, Tim Wilson


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      1619             Caroline Ellison, Sam Bankman-Fried, Nick Beckstead            1/5/2022




      1621              Caroline Ellison, Nishad Singh, Sam Bankman-Fried            11/6/2022




      1622                          Caroline Ellison, Victor Xu                      6/22/2021


                Caroline Ellison, Andrea Lincoln, Sam Bankman-Fried, Nishad Singh,
      1625       Adam Yedidia, Gary Wang, Claire Watanabe, Ross Rheingans- Yoo,      11/11/2021
                                               others



      1628             Caroline Ellison, Sam Bankman-Fried, Sam Trabucco             11/21/2021




      1629             Caroline Ellison, Sam Bankman-Fried, Sam Trabucco             11/24/2021




      1630             Caroline Ellison, Sam Bankman-Fried, Sam Trabucco             1/24/2022




      1631             Caroline Ellison, Sam Bankman-Fried, Sam Trabucco             1/28/2022




      1647               Caroline Ellison, and dozens of other participants          6/13/2022



                 Caroline Ellison, Matt Ballensweig, Ryan Salame, Richard Chang,
      1648                                                                           6/14/2022
                                Hamill Serrant, Michael Paleokrassas




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      1649                  Matt Ballensweig and Caroline Ellison                6/18/2022




      1650                  Matt Ballensweig and Caroline Ellison                6/20/2022




               Caroline Ellison, Matt Ballensweig, Ryan Salame, Richard Chang,
      1651                                                                       6/13/2022
                              Hamill Serrant, Michael Paleokrassas




      1652             Caroline Ellison, and dozens of other participants        6/18/2022




      1656      Ben Xie, Sam Bankman-Fried, Caroline Ellison, Sam Trabucco       1/24/2022




               Nishad Singh, Ramnik Arora, Caroline Ellison, Gary Wang, Sam
      1658                                                                       5/9/2022
                                     Bankman-Fried




      1659                Caroline Ellison and Sam Bankman-Fried                 3/5/2021




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                                          ATTACHMENT B
                                        (Documents and Emails)

     DX         File Name                                             Created Date/Time

                Rant                                                  09/13/2022 11:01 PM
                Alameda 2022 S1 Overview                              07/07/2022 11:59 PM
                Caroline Ellison Review 2022S1 Response               08/12/2022
     10         EV of Alameda                                         07/22/2021 09:33 AM
     48         Hedging Our Deltas                                    09/02/2022 05:39 PM
     49         [External] Balance Sheet 10/1/22                      10/17/2022 05:11 PM
     50         Venture Deals 2fe7e9 1 dbbec4427ab8063297b485 13 7-   07/25/2022 12:05 PM
                18-2022 (SY edit) (1).xlsx
     63         Hedging Thoughts 9/6                                  09/06/2022 11:09 PM
     64         NAV Stuff to Check                                    08/03/2022 09:03 PM
     65         Alameda Top Product/Tech Asks From FTX                08/16/2022 08:58 PM
     76         Important Things                                      07/19/2020 07:02 PM
     79         Caroline Self Review 2021 S2                          01/04/2022 05:39 PM
     82         Life Plans 8/6/22                                     08/05/2022 08:47 PM
     146        Trabucco Thoughts 2/15                                02/14/2022 09:49 PM
     147        State of Alameda March 2022                           03/14/2022 08:57 PM
     148        NAV Desires                                           04/06/2022 04:05 PM
     149        Demandingness and Time/Money Tradeoffs are            04/30/2022 10:13 PM
                Orthogonal
     150        Alameda Balances by FTX Sub                           06/13/2022
     151        State of Alameda 8/6/22                               08/05/2022 10:43 PM
     152        Goals for Alameda 2022 S2                             08/07/2022 11:39 PM
     153        Modulo/Alameda from SBF to CE/BX/LZ
                                   --
                                                                      08/17/2022 08:55 PM
     159        Modulo                                                07/11/2022 04:22 PM
     176        TO DO                                                 01/06/2019 07:24 PM
     185        May Crash Takeaways                                   05/24/2022 05:46 PM
     186        Alameda Balances by FTX Sub                           06/13/2022
     187        Alameda Balances by FTX Sub                           6/14/2022
     221        My Worries About Spending Money
     222        Sam Stories
     223        What is my Motivation -comments                       9/26/2021
     224        How Do I Feel About Working Closely With Sam
     237        Untitled document(6)
     238        2020 YE Financials                                    01/27/2021 03:16 AM
     247        What is my Motivation?                                09/21/2021 04:44 AM
     248        Journaling 10/1                                       10/01/2021 03:32 AM
     249        Untitled document(18)
     250        Hamming Problem
     301        Feelings, etc.
     302        Feedback Loop
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     DX         File Name                                 Created Date/Time

     303        Thoughts 710
     304        Thoughts 2 6 22
     305        Breakup Thoughts 4 15
     420        Balance Sheet 10/1/22                     10/07/2022 05:41 PM
     697        Modulo                                    07/11/2022 04:22 PM
     761        Modulo Feelings
     762        Caroline Ellison Review 2022S1 Response   08/12/2022
     763        Balance Sheet Questions To Dos
     764        Initial Thoughts on Ben as Co-CEO
     765        What is my Motivation
     766        Notes 7 7
     767        Thoughts on Trabby
     768        Trabucco Review Notes
     769        Communicating Priorities
     770        Thoughts on Trabby(1)
     771        My Life
     772        Things that Make Me Sad
     791        Untitled document(25)




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